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    EXHIBIT 2
 To Report & Recommendation for Claimants
              in November 2021 Cohort
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : ALFONSINA
                                                                       : CUEVAS
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Alfonsina Cuevas (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on January 5, 2021, with respect to Ms. Cuevas’s
demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Alfonsina
Cuevas, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Alfonsina Cuevas (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Cuevas will have
judgment against the BOE as follows:

   1. Backpay in the amount of $352,207;

   2. Tax-component award in the amount of $41,384;

   3. LAST Fees in the amount of $880;

   4. ASAF account award in the amount of $1,625;

   5. CAR Day award in the amount of $5,435;

   6. Pre-judgment interest calculated to be $46,808; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Cuevas will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Cuevas’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Alfonsina Cuevas; and

       c. Grant Ms. Cuevas retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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            Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : ALFONSINA
THE BOARD OF EDUCATION OF THE CITY SCHOOL : CUEVAS
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Alfonsina Cuevas:

    1. Class Membership. Ms. Cuevas is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Cuevas would have been appointed as a
                regularly appointed teacher in April 2002. The Special Master also finds, and the
                Court agrees, that Ms. Cuevas is eligible to accrue backpay damages beginning
                April 2002.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Cuevas would have worked as a
                regularly appointed teacher until November 1, 2011, Ms. Cuevas accrues backpay
                damages until June 1, 2014, and Ms. Cuevas’s backpay damages should be
                reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Cuevas’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Cuevas’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Cuevas has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $352,207;

       b. A tax-component award in the amount of $41,384;

       c. $880 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $1,625;

       e. CAR Day damages in the amount of $5,435; and

       f. Pre-judgment interest in the amount of $46,808.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Cuevas has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Cuevas’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Cuevas should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Cuevas (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —            1951

               ii.   Gender — Female

               iii. Address —                                      Bronx, NY 10468

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   April 21, 2002



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — November
                   1, 2011

               x.   Retirement date (if any) — February 3, 2013

DATED: November 23, 2021




                                            3
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                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly        Monthly                        Cumulative
Month       Monthly                                     Damages with
                           Mitigation     Damages                         Damages
             Earnings                                     Attrition
2002-04           $2,962         $2,962            $0              $0                $0
2002-05           $2,962         $2,962            $0              $0                $0
2002-06           $2,962         $2,962            $0              $0                $0
2002-07           $2,962         $2,962            $0              $0                $0
2002-08           $2,962         $2,962            $0              $0                $0
2002-09           $3,304         $3,208           $96             $96               $96
2002-10           $3,304         $3,208           $96             $96             $192
2002-11           $3,304         $3,208           $96             $96             $288
2002-12           $3,304         $3,208           $96             $96             $384
2003-01           $3,304         $3,208           $96             $96             $480
2003-02           $3,304         $3,208           $96             $96             $577
2003-03           $3,304         $3,208           $96             $96             $673
2003-04           $3,304         $3,208           $96             $96             $769
2003-05           $3,304         $3,208           $96             $96             $865
2003-06           $3,304         $3,208           $96             $96             $961
2003-07           $3,304         $3,208           $96             $96            $1,057
2003-08           $3,304         $3,208           $96             $96            $1,153
2003-09           $3,352         $1,208        $2,145          $2,137            $3,290
2003-10           $3,352         $1,208        $2,145          $2,129            $5,419
2003-11           $3,751         $1,208        $2,543          $2,516            $7,935
2003-12           $3,826         $1,208        $2,619          $2,581           $10,516
2004-01           $3,826         $1,208        $2,619          $2,571           $13,087
2004-02           $3,826         $1,208        $2,619          $2,562           $15,649
2004-03           $3,826         $1,208        $2,619          $2,553           $18,202
2004-04           $3,826         $1,208        $2,619          $2,543           $20,745
2004-05           $3,826         $1,208        $2,619          $2,534           $23,280
2004-06           $3,826         $1,208        $2,619          $2,525           $25,805
2004-07           $3,826         $1,208        $2,619          $2,516           $28,321
2004-08           $3,826         $1,208        $2,619          $2,507           $30,829
2004-09           $3,868         $1,208        $2,661          $2,538           $33,367
2004-10           $3,868         $1,208        $2,661          $2,530           $35,897
2004-11           $3,868         $1,208        $2,661          $2,521           $38,417
2004-12           $4,003         $1,208        $2,796          $2,640           $41,057
2005-01           $4,003         $1,237        $2,767          $2,603           $43,660
2005-02           $4,003         $1,237        $2,767          $2,593           $46,253
2005-03           $4,003         $1,237        $2,767          $2,584           $48,837
2005-04           $4,003         $1,237        $2,767          $2,575           $51,412
2005-05           $4,003         $1,237        $2,767          $2,566           $53,978
2005-06           $4,003         $1,237        $2,767          $2,557           $56,535
2005-07           $4,003         $1,237        $2,767          $2,548           $59,083
2005-08           $4,003         $1,237        $2,767          $2,539           $61,622
2005-09           $4,051         $1,237        $2,814          $2,582           $64,204
2005-10           $4,051         $1,237        $2,814          $2,582           $66,786

                                                                                Exhibit A to
                                                                A. Cuevas's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly        Monthly                        Cumulative
Month       Monthly                                     Damages with
                           Mitigation     Damages                         Damages
             Earnings                                     Attrition
2005-11           $4,273         $1,237        $3,037          $2,787          $69,573
2005-12           $4,273         $1,237        $3,037          $2,787          $72,359
2006-01           $4,273         $1,301        $2,972          $2,728          $75,087
2006-02           $4,273         $1,301        $2,972          $2,728          $77,815
2006-03           $4,344         $1,301        $3,043          $2,792          $80,607
2006-04           $4,366         $1,301        $3,065          $2,812          $83,419
2006-05           $4,366         $1,301        $3,065          $2,812          $86,232
2006-06           $4,366         $1,301        $3,065          $2,812          $89,044
2006-07           $4,366         $1,301        $3,065          $2,812          $91,857
2006-08           $4,366         $1,301        $3,065          $2,791          $94,648
2006-09           $4,470         $1,301        $3,169          $2,886          $97,534
2006-10           $4,615         $1,301        $3,315          $3,018         $100,552
2006-11           $4,615         $1,301        $3,315          $3,018         $103,571
2006-12           $4,615         $1,301        $3,315          $3,018         $106,589
2007-01           $4,748         $1,590        $3,158          $2,876         $109,466
2007-02           $4,748         $1,590        $3,158          $2,716         $112,182
2007-03           $5,001         $1,590        $3,411          $2,922         $115,104
2007-04           $5,001         $1,590        $3,411          $2,912         $118,016
2007-05           $5,001         $1,590        $3,411          $2,901         $120,917
2007-06           $5,001         $1,590        $3,411          $2,890         $123,807
2007-07           $5,001         $1,590        $3,411          $2,880         $126,687
2007-08           $5,001         $1,590        $3,411          $2,869         $129,556
2007-09           $5,249         $1,590        $3,659          $3,066         $132,622
2007-10           $5,354         $1,590        $3,764          $3,142         $135,764
2007-11           $5,354         $1,590        $3,764          $3,130         $138,895
2007-12           $5,354         $1,590        $3,764          $3,119         $142,013
2008-01           $5,354         $1,807        $3,547          $2,928         $144,941
2008-02           $5,354         $1,807        $3,547          $2,917         $147,859
2008-03           $5,640         $1,807        $3,833          $3,141         $150,999
2008-04           $5,640         $1,807        $3,833          $3,129         $154,128
2008-05           $6,005         $1,807        $4,198          $3,414         $157,542
2008-06           $6,005         $1,807        $4,198          $3,401         $160,943
2008-07           $6,005         $1,807        $4,198          $3,388         $164,331
2008-08           $6,005         $1,807        $4,198          $3,376         $167,707
2008-09           $6,005         $1,807        $4,198          $3,363         $171,070
2008-10           $6,005         $1,807        $4,198          $3,350         $174,420
2008-11           $6,005         $1,807        $4,198          $3,338         $177,758
2008-12           $6,005         $1,807        $4,198          $3,325         $181,083
2009-01           $6,005         $1,939        $4,066          $3,208         $184,290
2009-02           $6,005         $1,939        $4,066          $3,195         $187,486
2009-03           $6,005         $1,939        $4,066          $3,183         $190,669
2009-04           $6,005         $1,939        $4,066          $3,171         $193,839
2009-05           $6,005         $1,939        $4,066          $3,158         $196,998

                                                                                Exhibit A to
                                                                A. Cuevas's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 10 of 299
                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly        Monthly                        Cumulative
Month       Monthly                                     Damages with
                           Mitigation     Damages                         Damages
             Earnings                                     Attrition
2009-06           $6,005         $1,939        $4,066          $3,146         $200,144
2009-07           $6,005         $1,939        $4,066          $3,134         $203,278
2009-08           $6,005         $1,939        $4,066          $3,121         $206,399
2009-09           $6,005         $1,939        $4,066          $3,109         $209,508
2009-10           $6,005         $1,939        $4,066          $3,097         $212,605
2009-11           $6,005         $1,939        $4,066          $3,085         $215,690
2009-12           $6,005         $1,939        $4,066          $3,072         $218,762
2010-01           $6,005         $2,064        $3,941          $2,966         $221,728
2010-02           $6,005         $2,064        $3,941          $2,954         $224,682
2010-03           $6,005         $2,064        $3,941          $2,943         $227,625
2010-04           $6,005         $2,064        $3,941          $2,931         $230,555
2010-05           $6,005         $2,064        $3,941          $2,919         $233,474
2010-06           $6,005         $2,064        $3,941          $2,907         $236,382
2010-07           $6,005         $2,064        $3,941          $2,896         $239,277
2010-08           $6,005         $2,064        $3,941          $2,884         $242,161
2010-09           $6,262         $2,064        $4,199          $3,060         $245,221
2010-10           $6,262         $2,064        $4,199          $3,047         $248,268
2010-11           $6,262         $2,064        $4,199          $3,035         $251,303
2010-12           $6,262         $2,064        $4,199          $3,023         $254,326
2011-01           $6,262         $1,954        $4,308          $3,089         $257,415
2011-02           $6,262         $1,954        $4,308          $3,076         $260,491
2011-03           $6,262         $1,954        $4,308          $3,064         $263,555
2011-04           $6,262         $1,954        $4,308          $3,051         $266,606
2011-05           $6,262         $1,954        $4,308          $3,038         $269,644
2011-06           $6,262         $1,954        $4,308          $3,026         $272,670
2011-07           $6,262         $1,954        $4,308          $3,013         $275,683
2011-08           $6,262         $1,954        $4,308          $3,000         $278,683
2011-09           $6,262         $1,954        $4,308          $2,988         $281,671
2011-10           $6,262         $1,954        $4,308          $2,975         $284,646
2011-11           $6,262         $1,954        $4,308          $2,963         $287,609
2011-12           $6,262         $1,954        $4,308          $2,950         $290,559
2012-01           $6,262         $2,030        $4,233          $2,886         $293,444
2012-02           $6,262         $2,030        $4,233          $2,873         $296,317
2012-03           $6,262         $2,030        $4,233          $2,861         $299,178
2012-04           $6,262         $2,030        $4,233          $2,848         $302,027
2012-05           $6,262         $2,030        $4,233          $2,836         $304,863
2012-06           $6,262         $2,030        $4,233          $2,824         $307,686
2012-07           $6,262         $2,030        $4,233          $2,812         $310,498
2012-08           $6,262         $2,030        $4,233          $2,799         $313,297
2012-09           $6,262         $2,030        $4,233          $2,787         $316,084
2012-10           $6,262         $2,030        $4,233          $2,775         $318,859
2012-11           $6,262         $2,030        $4,233          $2,763         $321,622
2012-12           $6,262         $2,030        $4,233          $2,750         $324,372

                                                                                Exhibit A to
                                                                A. Cuevas's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly        Monthly                        Cumulative
Month       Monthly                                     Damages with
                           Mitigation     Damages                         Damages
             Earnings                                     Attrition
2013-01           $6,262         $1,476        $4,787          $3,096         $327,468
2013-02           $6,262         $1,476        $4,787          $3,082         $330,551
2013-03           $6,262         $1,476        $4,787          $3,069         $333,619
2013-04           $6,262         $1,476        $4,787          $3,055         $336,674
2013-05           $6,325         $1,476        $4,849          $3,081         $339,755
2013-06           $6,325         $1,476        $4,849          $3,067         $342,822
2013-07               $0             $0            $0              $0         $342,822
2013-08               $0             $0            $0              $0         $342,822
2013-09               $0             $0            $0              $0         $342,822
2013-10               $0             $0            $0              $0         $342,822
2013-11               $0             $0            $0              $0         $342,822
2013-12               $0             $0            $0              $0         $342,822
2014-01               $0             $0            $0              $0         $342,822
2014-02           $6,325         $2,468        $3,857          $2,284         $345,106
2014-03           $6,325         $2,468        $3,857          $2,284         $347,390
2014-04           $6,502         $2,468        $4,034          $2,389         $349,779
2014-05           $6,567         $2,468        $4,099          $2,428         $352,207




                                                                                Exhibit A to
                                                                A. Cuevas's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2002-04     Regularly Appointed Teacher               $35,544
          2002-05     Regularly Appointed Teacher               $35,544
          2002-06     Regularly Appointed Teacher               $35,544
          2002-07     Regularly Appointed Teacher               $35,544
          2002-08     Regularly Appointed Teacher               $35,544
          2002-09     Regularly Appointed Teacher               $39,650
          2002-10     Regularly Appointed Teacher               $39,650
          2002-11     Regularly Appointed Teacher               $39,650
          2002-12     Regularly Appointed Teacher               $39,650
          2003-01     Regularly Appointed Teacher               $39,650
          2003-02     Regularly Appointed Teacher               $39,650
          2003-03     Regularly Appointed Teacher               $39,650
          2003-04     Regularly Appointed Teacher               $39,650
          2003-05     Regularly Appointed Teacher               $39,650
          2003-06     Regularly Appointed Teacher               $39,650
          2003-07     Regularly Appointed Teacher               $39,650
          2003-08     Regularly Appointed Teacher               $39,650
          2003-09     Regularly Appointed Teacher               $40,225
          2003-10     Regularly Appointed Teacher               $40,225
          2003-11     Regularly Appointed Teacher               $45,011
          2003-12     Regularly Appointed Teacher               $45,912
          2004-01     Regularly Appointed Teacher               $45,912
          2004-02     Regularly Appointed Teacher               $45,912
          2004-03     Regularly Appointed Teacher               $45,912
          2004-04     Regularly Appointed Teacher               $45,912
          2004-05     Regularly Appointed Teacher               $45,912
          2004-06     Regularly Appointed Teacher               $45,912
          2004-07     Regularly Appointed Teacher               $45,912
          2004-08     Regularly Appointed Teacher               $45,912
          2004-09     Regularly Appointed Teacher               $46,416
          2004-10     Regularly Appointed Teacher               $46,416
          2004-11     Regularly Appointed Teacher               $46,416
          2004-12     Regularly Appointed Teacher               $48,041
          2005-01     Regularly Appointed Teacher               $48,041
          2005-02     Regularly Appointed Teacher               $48,041
          2005-03     Regularly Appointed Teacher               $48,041
          2005-04     Regularly Appointed Teacher               $48,041
          2005-05     Regularly Appointed Teacher               $48,041
          2005-06     Regularly Appointed Teacher               $48,041
          2005-07     Regularly Appointed Teacher               $48,041
          2005-08     Regularly Appointed Teacher               $48,041
          2005-09     Regularly Appointed Teacher               $48,606
          2005-10     Regularly Appointed Teacher               $48,606

                                                                                    Exhibit B to
                                                                    A. Cuevas's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 13 of 299

                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2005-11     Regularly Appointed Teacher               $51,279
          2005-12     Regularly Appointed Teacher               $51,279
          2006-01     Regularly Appointed Teacher               $51,279
          2006-02     Regularly Appointed Teacher               $51,279
          2006-03     Regularly Appointed Teacher               $52,122
          2006-04     Regularly Appointed Teacher               $52,388
          2006-05     Regularly Appointed Teacher               $52,388
          2006-06     Regularly Appointed Teacher               $52,388
          2006-07     Regularly Appointed Teacher               $52,388
          2006-08     Regularly Appointed Teacher               $52,388
          2006-09     Regularly Appointed Teacher               $53,641
          2006-10     Regularly Appointed Teacher               $55,385
          2006-11     Regularly Appointed Teacher               $55,385
          2006-12     Regularly Appointed Teacher               $55,385
          2007-01     Regularly Appointed Teacher               $56,981
          2007-02     Regularly Appointed Teacher               $56,981
          2007-03     Regularly Appointed Teacher               $60,008
          2007-04     Regularly Appointed Teacher               $60,008
          2007-05     Regularly Appointed Teacher               $60,008
          2007-06     Regularly Appointed Teacher               $60,008
          2007-07     Regularly Appointed Teacher               $60,008
          2007-08     Regularly Appointed Teacher               $60,008
          2007-09     Regularly Appointed Teacher               $62,986
          2007-10     Regularly Appointed Teacher               $64,246
          2007-11     Regularly Appointed Teacher               $64,246
          2007-12     Regularly Appointed Teacher               $64,246
          2008-01     Regularly Appointed Teacher               $64,246
          2008-02     Regularly Appointed Teacher               $64,246
          2008-03     Regularly Appointed Teacher               $67,677
          2008-04     Regularly Appointed Teacher               $67,677
          2008-05     Regularly Appointed Teacher               $72,060
          2008-06     Regularly Appointed Teacher               $72,060
          2008-07     Regularly Appointed Teacher               $72,060
          2008-08     Regularly Appointed Teacher               $72,060
          2008-09     Regularly Appointed Teacher               $72,060
          2008-10     Regularly Appointed Teacher               $72,060
          2008-11     Regularly Appointed Teacher               $72,060
          2008-12     Regularly Appointed Teacher               $72,060
          2009-01     Regularly Appointed Teacher               $72,060
          2009-02     Regularly Appointed Teacher               $72,060
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060

                                                                                    Exhibit B to
                                                                    A. Cuevas's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 14 of 299

                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $75,149
          2010-10     Regularly Appointed Teacher               $75,149
          2010-11     Regularly Appointed Teacher               $75,149
          2010-12     Regularly Appointed Teacher               $75,149
          2011-01     Regularly Appointed Teacher               $75,149
          2011-02     Regularly Appointed Teacher               $75,149
          2011-03     Regularly Appointed Teacher               $75,149
          2011-04     Regularly Appointed Teacher               $75,149
          2011-05     Regularly Appointed Teacher               $75,149
          2011-06     Regularly Appointed Teacher               $75,149
          2011-07     Regularly Appointed Teacher               $75,149
          2011-08     Regularly Appointed Teacher               $75,149
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149




                                                                                    Exhibit B to
                                                                    A. Cuevas's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : ALONZO
                                                                       : HOLCOMBE
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Alonzo Holcombe (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on December 1, 2020, with respect to Mr.
Holcombe’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Alonzo
Holcombe, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Alonzo Holcombe (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Holcombe will have
judgment against the BOE as follows:

   1. Backpay in the amount of $83,604;

   2. Tax-component award in the amount of $9,823;

   3. LAST Fees in the amount of $280;

   4. CAR Day award in the amount of $1,835;

   5. Pre-judgment interest calculated to be $13,801; and

   6. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Holcombe will be
entitled to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Mr. Holcombe’s counterfactual monthly service history, as listed on
          Exhibit B to the Findings of Fact and Conclusions of Law for Alonzo Holcombe; and

       c. Grant Mr. Holcombe retroactive seniority based on her counterfactual monthly
          service history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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            Exhibit 1
     Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 18 of 299




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : ALONZO
THE BOARD OF EDUCATION OF THE CITY SCHOOL : HOLCOMBE
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Alonzo Holcombe:

    1. Class Membership. Mr. Holcombe is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       he suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Holcombe would have been appointed
                as a regularly appointed teacher in June 2004. The Special Master also finds, and
                the Court agrees, that Mr. Holcombe is eligible to accrue backpay damages
                beginning June 2004.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Holcombe would have worked as a
                regularly appointed teacher until June 1, 2008, Mr. Holcombe accrues backpay
                damages until September 1, 2008, and Mr. Holcombe’s backpay damages should
                be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Mr. Holcombe’s monthly mitigation during each month of the damages
                period was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Mr. Holcombe’s monthly backpay damages are as listed in the column
          entitled Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Mr. Holcombe has satisfied his burden of establishing his entitlement
   to the following monetary relief:

       a. Backpay in the amount of $83,604;

       b. A tax-component award in the amount of $9,823;

       c. $280 to compensate him for the fees he paid to take the Liberal Arts and Sciences
          Test;

       d. CAR Day damages in the amount of $1,835; and

       e. Pre-judgment interest in the amount of $13,801.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Mr. Holcombe has satisfied his burden of establishing his
   entitlement to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Mr. Holcombe’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Mr. Holcombe should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Mr. Holcombe (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

              i.    Date of Birth —             1961

              ii.   Gender — Male

              iii. Address —                       Baldwin, NY 11510

              iv. Counterfactual date of appointment as a regularly appointed teacher —
                  June 7, 2004

              v.    BOE Employment Title — As listed in column entitled Title on Exhibit B



                                            2
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               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — June 1,
                   2008

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




                                            3
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2004-06             $3,343         $1,787         $1,556          $1,556           $1,556
2004-07             $3,343         $1,260         $2,082          $2,082           $3,638
2004-08             $3,343         $1,260         $2,082          $2,082           $5,721
2004-09             $3,343         $1,260         $2,082          $2,082           $7,803
2004-10             $3,343         $1,917         $1,426          $1,426           $9,229
2004-11             $3,343         $1,260         $2,082          $2,082          $11,311
2004-12             $3,460         $1,260         $2,199          $2,192          $13,503
2005-01             $3,460         $3,072          $388            $385           $13,888
2005-02             $3,460         $3,072          $388            $384           $14,272
2005-03             $3,460         $3,072          $388            $383           $14,655
2005-04             $3,460         $3,072          $388            $381           $15,036
2005-05             $3,460         $3,072          $388            $380           $15,416
2005-06             $3,488         $3,072          $417            $406           $15,822
2005-07             $3,488         $3,072          $417            $405           $16,227
2005-08             $3,488         $3,072          $417            $404           $16,631
2005-09             $3,488         $3,072          $417            $402           $17,033
2005-10             $3,488         $3,072          $417            $401           $17,433
2005-11             $3,680         $3,072          $608            $583           $18,016
2005-12             $3,680         $3,072          $608            $581           $18,597
2006-01             $4,124         $2,307         $1,817          $1,729          $20,326
2006-02             $4,124         $2,307         $1,817          $1,724          $22,050
2006-03             $4,124         $2,307         $1,817          $1,718          $23,768
2006-04             $4,124         $2,307         $1,817          $1,712          $25,480
2006-05             $4,124         $2,307         $1,817          $1,707          $27,187
2006-06             $4,178         $2,307         $1,871          $1,751          $28,938
2006-07             $4,178         $2,307         $1,871          $1,746          $30,684
2006-08             $4,178         $2,307         $1,871          $1,740          $32,424
2006-09             $4,178         $2,307         $1,871          $1,735          $34,158
2006-10             $4,314         $2,307         $2,006          $1,855          $36,013
2006-11             $4,314         $2,307         $2,006          $1,849          $37,862
2006-12             $4,314         $2,307         $2,006          $1,843          $39,704
2007-01             $4,314         $2,144         $2,170          $1,986          $41,691
2007-02             $4,314         $2,144         $2,170          $1,980          $43,671
2007-03             $4,314         $2,144         $2,170          $1,974          $45,644
2007-04             $4,314         $2,144         $2,170          $1,967          $47,612
2007-05             $4,314         $2,144         $2,170          $1,961          $49,573
2007-06             $4,361         $2,144         $2,217          $1,998          $51,571
2007-07             $4,361         $2,144         $2,217          $1,991          $53,562
2007-08             $4,361         $2,144         $2,217          $1,985          $55,547
2007-09             $4,361         $2,144         $2,217          $1,979          $57,526
2007-10             $4,448         $2,144         $2,305          $2,050          $59,576
2007-11             $4,448         $2,144         $2,305          $2,044          $61,620
2007-12             $4,448         $2,144         $2,305          $2,037          $63,657


                                                                                 Exhibit A to
                                                               A. Holcombe's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2008-01             $4,448         $1,768         $2,680          $2,362          $66,019
2008-02             $4,448         $1,768         $2,680          $2,354          $68,373
2008-03             $4,448         $1,768         $2,680          $2,347          $70,719
2008-04             $4,448         $1,768         $2,680          $2,339          $73,059
2008-05             $4,754         $1,768         $2,986          $2,597          $75,656
2008-06             $4,833         $1,768         $3,065          $2,658          $78,314
2008-07             $4,833         $1,768         $3,065          $2,649          $80,963
2008-08             $4,833         $1,768         $3,065          $2,641          $83,604




                                                                                 Exhibit A to
                                                               A. Holcombe's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 23 of 299

                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2004-06     Regularly Appointed Teacher               $40,112
          2004-07     Regularly Appointed Teacher               $40,112
          2004-08     Regularly Appointed Teacher               $40,112
          2004-09     Regularly Appointed Teacher               $40,112
          2004-10     Regularly Appointed Teacher               $40,112
          2004-11     Regularly Appointed Teacher               $40,112
          2004-12     Regularly Appointed Teacher               $41,516
          2005-01     Regularly Appointed Teacher               $41,516
          2005-02     Regularly Appointed Teacher               $41,516
          2005-03     Regularly Appointed Teacher               $41,516
          2005-04     Regularly Appointed Teacher               $41,516
          2005-05     Regularly Appointed Teacher               $41,516
          2005-06     Regularly Appointed Teacher               $41,859
          2005-07     Regularly Appointed Teacher               $41,859
          2005-08     Regularly Appointed Teacher               $41,859
          2005-09     Regularly Appointed Teacher               $41,859
          2005-10     Regularly Appointed Teacher               $41,859
          2005-11     Regularly Appointed Teacher               $44,161
          2005-12     Regularly Appointed Teacher               $44,161
          2006-01     Regularly Appointed Teacher               $49,492
          2006-02     Regularly Appointed Teacher               $49,492
          2006-03     Regularly Appointed Teacher               $49,492
          2006-04     Regularly Appointed Teacher               $49,492
          2006-05     Regularly Appointed Teacher               $49,492
          2006-06     Regularly Appointed Teacher               $50,133
          2006-07     Regularly Appointed Teacher               $50,133
          2006-08     Regularly Appointed Teacher               $50,133
          2006-09     Regularly Appointed Teacher               $50,133
          2006-10     Regularly Appointed Teacher               $51,763
          2006-11     Regularly Appointed Teacher               $51,763
          2006-12     Regularly Appointed Teacher               $51,763
          2007-01     Regularly Appointed Teacher               $51,763
          2007-02     Regularly Appointed Teacher               $51,763
          2007-03     Regularly Appointed Teacher               $51,763
          2007-04     Regularly Appointed Teacher               $51,763
          2007-05     Regularly Appointed Teacher               $51,763
          2007-06     Regularly Appointed Teacher               $52,332
          2007-07     Regularly Appointed Teacher               $52,332
          2007-08     Regularly Appointed Teacher               $52,332
          2007-09     Regularly Appointed Teacher               $52,332
          2007-10     Regularly Appointed Teacher               $53,379
          2007-11     Regularly Appointed Teacher               $53,379
          2007-12     Regularly Appointed Teacher               $53,379

                                                                                 Exhibit B to
                                                               A. Holcombe's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 24 of 299

                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2008-01     Regularly Appointed Teacher               $53,379
          2008-02     Regularly Appointed Teacher               $53,379
          2008-03     Regularly Appointed Teacher               $53,379
          2008-04     Regularly Appointed Teacher               $53,379
          2008-05     Regularly Appointed Teacher               $57,048




                                                                                 Exhibit B to
                                                               A. Holcombe's Findings of Fact
    Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 25 of 299




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : ANTOINETTE
                                                                       : BURROWS
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Antoinette Burrows (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on February 23, 2021, with respect to Ms.
Burrows’s demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Antoinette
Burrows, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
    Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 26 of 299




IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Antoinette Burrows (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Burrows will have
judgment against the BOE as follows:

   1. Backpay in the amount of $387,542;

   2. Tax-component award in the amount of $45,536;

   3. LAST Fees in the amount of $480;

   4. ASAF account award in the amount of $4,550;

   5. CAR Day award in the amount of $15,390;

   6. Pre-judgment interest calculated to be $34,595; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Burrows will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Burrows’s counterfactual monthly service history, as listed on
          Exhibit B to the Findings of Fact and Conclusions of Law for Antoinette Burrows;
          and

       c. Grant Ms. Burrows retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

   2. The BOE is ordered to provide the findings of fact contained in the “Pension Inputs”
      section, Paragraph 4 of Exhibit 1, to the New York City Office of the Actuary.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.




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This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                3
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            Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : ANTOINETTE
THE BOARD OF EDUCATION OF THE CITY SCHOOL : BURROWS
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Antoinette Burrows:

    1. Class Membership. Ms. Burrows is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Burrows would have been appointed as
                a regularly appointed teacher in January 2003. The Special Master also finds, and
                the Court agrees, that Ms. Burrows is eligible to accrue backpay damages
                beginning September 2002.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Burrows would have worked as a
                regularly appointed teacher until July 1, 2020, Ms. Burrows accrues backpay
                damages through the date of judgment, and Ms. Burrows’s backpay damages
                should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Burrows’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Burrows’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Burrows has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $387,542;

       b. A tax-component award in the amount of $45,536;

       c. $480 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $4,550;

       e. CAR Day damages in the amount of $15,390; and

       f. Pre-judgment interest in the amount of $34,595.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Burrows has satisfied her burden of establishing her
   entitlement to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Burrows’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Burrows should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Burrows (the “Pension Inputs”)
          should be provided to the New York City Office of the Actuary by the BOE, and
          then imported into the Teachers’ Retirement System of the City of New York
          (“TRS”):

               i.    Date of Birth —            1968

               ii.   Gender — Female

               iii. Address —                                New York, NY 10027




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               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   January 14, 2003

               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — July 1,
                   2020

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2002-09             $3,277         $3,277             $0              $0               $0
2002-10             $3,277         $1,208         $2,070          $2,070           $2,070
2002-11             $3,277         $1,208         $2,070          $2,070           $4,139
2002-12             $3,277         $1,208         $2,070          $2,070           $6,209
2003-01             $3,277         $1,208         $2,070          $2,070           $8,278
2003-02             $3,277         $1,208         $2,070          $2,070          $10,348
2003-03             $3,277         $1,208         $2,070          $2,070          $12,417
2003-04             $3,277         $1,208         $2,070          $2,070          $14,487
2003-05             $3,277         $1,208         $2,070          $2,070          $16,557
2003-06             $3,277         $1,208         $2,070          $2,070          $18,626
2003-07             $3,277         $1,208         $2,070          $2,070          $20,696
2003-08             $3,277         $1,208         $2,070          $2,070          $22,765
2003-09             $3,304         $1,208         $2,097          $2,097          $24,862
2003-10             $3,304         $1,208         $2,097          $2,097          $26,959
2003-11             $3,304         $1,208         $2,097          $2,097          $29,055
2003-12             $3,370         $1,208         $2,163          $2,163          $31,218
2004-01             $3,370         $3,427             $0              $0          $31,218
2004-02             $3,370         $3,427             $0              $0          $31,218
2004-03             $3,370         $3,427             $0              $0          $31,218
2004-04             $3,370         $3,427             $0              $0          $31,218
2004-05             $3,370         $3,427             $0              $0          $31,218
2004-06             $3,370         $3,427             $0              $0          $31,218
2004-07             $3,370         $3,427             $0              $0          $31,218
2004-08             $3,777         $3,427          $350            $350           $31,568
2004-09             $3,826         $3,427          $399            $399           $31,967
2004-10             $3,826         $3,427          $399            $399           $32,366
2004-11             $3,826         $3,427          $399            $399           $32,766
2004-12             $3,960         $3,427          $533            $533           $33,299
2005-01             $3,960         $3,766          $194            $194           $33,493
2005-02             $3,960         $3,766          $194            $194           $33,687
2005-03             $3,960         $3,766          $194            $194           $33,881
2005-04             $3,960         $3,766          $194            $194           $34,076
2005-05             $3,960         $3,766          $194            $194           $34,270
2005-06             $3,960         $3,766          $194            $194           $34,464
2005-07             $3,960         $3,766          $194            $194           $34,658
2005-08             $3,960         $3,766          $194            $194           $34,853
2005-09             $4,003         $3,766          $238            $238           $35,090
2005-10             $4,003         $3,766          $238            $238           $35,328
2005-11             $4,224         $3,766          $458            $458           $35,786
2005-12             $4,224         $3,766          $458            $458           $36,244
2006-01             $4,224         $2,215         $2,009          $2,009          $38,253
2006-02             $4,224         $2,215         $2,009          $2,009          $40,261
2006-03             $4,224         $2,215         $2,009          $2,009          $42,270


                                                                                 Exhibit A to
                                                                 A. Burrows' Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2006-04             $4,224         $2,215         $2,009          $2,009          $44,279
2006-05             $4,224         $2,215         $2,009          $2,009          $46,287
2006-06             $4,224         $2,215         $2,009          $2,009          $48,296
2006-07             $4,224         $2,215         $2,009          $2,009          $50,305
2006-08             $4,224         $2,215         $2,009          $2,009          $52,313
2006-09             $4,273         $2,215         $2,058          $2,058          $54,372
2006-10             $4,412         $2,215         $2,197          $2,197          $56,569
2006-11             $4,412         $2,215         $2,197          $2,197          $58,766
2006-12             $4,412         $2,215         $2,197          $2,197          $60,964
2007-01             $4,435         $3,633          $802            $802           $61,765
2007-02             $4,435         $3,633          $802            $802           $62,567
2007-03             $4,508         $3,633          $874            $874           $63,441
2007-04             $4,508         $3,633          $874            $874           $64,316
2007-05             $4,508         $3,633          $874            $874           $65,190
2007-06             $4,508         $3,633          $874            $874           $66,064
2007-07             $4,508         $3,633          $874            $874           $66,939
2007-08             $4,508         $3,633          $874            $874           $67,813
2007-09             $4,615         $3,633          $982            $982           $68,795
2007-10             $4,843         $3,633         $1,210          $1,210          $70,005
2007-11             $4,843         $3,633         $1,210          $1,210          $71,215
2007-12             $4,843         $3,633         $1,210          $1,210          $72,425
2008-01             $4,843         $4,134          $709            $709           $73,134
2008-02             $4,843         $4,134          $709            $709           $73,844
2008-03             $5,101         $4,134          $967            $967           $74,810
2008-04             $5,101         $4,134          $967            $967           $75,777
2008-05             $5,439         $4,134         $1,305          $1,305          $77,082
2008-06             $5,452         $4,134         $1,318          $1,318          $78,400
2008-07             $5,452         $4,134         $1,318          $1,318          $79,719
2008-08             $5,452         $4,134         $1,318          $1,318          $81,037
2008-09             $5,705         $4,134         $1,571          $1,571          $82,608
2008-10             $5,705         $4,134         $1,571          $1,571          $84,179
2008-11             $5,705         $4,134         $1,571          $1,571          $85,749
2008-12             $5,705         $4,134         $1,571          $1,571          $87,320
2009-01             $5,705         $4,780          $925            $925           $88,246
2009-02             $5,705         $4,780          $925            $925           $89,171
2009-03             $6,005         $4,780         $1,225          $1,225          $90,396
2009-04             $6,005         $4,780         $1,225          $1,225          $91,621
2009-05             $6,005         $4,780         $1,225          $1,225          $92,846
2009-06             $6,005         $4,780         $1,225          $1,225          $94,072
2009-07             $6,005         $4,780         $1,225          $1,225          $95,297
2009-08             $6,005         $4,780         $1,225          $1,225          $96,522
2009-09             $6,005         $4,780         $1,225          $1,225          $97,748
2009-10             $6,005         $4,780         $1,225          $1,225          $98,973


                                                                                 Exhibit A to
                                                                 A. Burrows' Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2009-11             $6,005         $4,780         $1,225          $1,225         $100,198
2009-12             $6,005         $4,780         $1,225          $1,225         $101,423
2010-01             $6,005         $4,625         $1,380          $1,380         $102,803
2010-02             $6,005         $4,625         $1,380          $1,380         $104,183
2010-03             $6,005         $4,625         $1,380          $1,380         $105,562
2010-04             $6,005         $4,625         $1,380          $1,380         $106,942
2010-05             $6,005         $4,625         $1,380          $1,380         $108,321
2010-06             $6,005         $4,625         $1,380          $1,380         $109,701
2010-07             $6,005         $4,625         $1,380          $1,380         $111,081
2010-08             $6,005         $4,625         $1,380          $1,380         $112,460
2010-09             $6,005         $4,625         $1,380          $1,380         $113,840
2010-10             $6,005         $4,625         $1,380          $1,380         $115,220
2010-11             $6,005         $4,625         $1,380          $1,380         $116,599
2010-12             $6,005         $4,625         $1,380          $1,380         $117,979
2011-01             $6,005         $4,334         $1,671          $1,671         $119,649
2011-02             $6,005         $4,334         $1,671          $1,671         $121,320
2011-03             $6,005         $4,334         $1,671          $1,671         $122,991
2011-04             $6,005         $4,334         $1,671          $1,671         $124,662
2011-05             $6,005         $4,334         $1,671          $1,671         $126,332
2011-06             $6,005         $4,334         $1,671          $1,671         $128,003
2011-07             $6,005         $4,334         $1,671          $1,671         $129,674
2011-08             $6,005         $4,334         $1,671          $1,671         $131,344
2011-09             $6,005         $4,334         $1,671          $1,671         $133,015
2011-10             $6,262         $4,334         $1,928          $1,928         $134,943
2011-11             $6,262         $4,334         $1,928          $1,928         $136,871
2011-12             $6,262         $4,334         $1,928          $1,928         $138,799
2012-01             $6,262         $4,163         $2,099          $2,099         $140,899
2012-02             $6,262         $4,163         $2,099          $2,099         $142,998
2012-03             $6,262         $4,163         $2,099          $2,099         $145,097
2012-04             $6,262         $4,163         $2,099          $2,099         $147,196
2012-05             $6,262         $4,163         $2,099          $2,099         $149,296
2012-06             $6,262         $4,163         $2,099          $2,099         $151,395
2012-07             $6,262         $4,163         $2,099          $2,099         $153,494
2012-08             $6,262         $4,163         $2,099          $2,099         $155,594
2012-09             $6,262         $4,163         $2,099          $2,099         $157,693
2012-10             $6,262         $4,163         $2,099          $2,099         $159,792
2012-11             $6,262         $4,163         $2,099          $2,099         $161,891
2012-12             $6,262         $4,163         $2,099          $2,099         $163,991
2013-01             $6,262         $4,454         $1,808          $1,808         $165,799
2013-02             $6,262         $4,454         $1,808          $1,808         $167,607
2013-03             $6,262         $4,454         $1,808          $1,808         $169,415
2013-04             $6,262         $4,454         $1,808          $1,808         $171,224
2013-05             $6,325         $4,454         $1,871          $1,871         $173,095


                                                                                 Exhibit A to
                                                                 A. Burrows' Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2013-06             $6,325         $4,454         $1,871          $1,871         $174,966
2013-07             $6,325         $4,454         $1,871          $1,871         $176,836
2013-08             $6,325         $4,454         $1,871          $1,871         $178,707
2013-09             $6,325         $4,454         $1,871          $1,871         $180,578
2013-10             $6,325         $4,454         $1,871          $1,871         $182,449
2013-11             $6,325         $4,454         $1,871          $1,871         $184,320
2013-12             $6,325         $4,454         $1,871          $1,871         $186,191
2014-01             $6,325         $5,320         $1,005          $1,005         $187,196
2014-02             $6,325         $5,320         $1,005          $1,005         $188,202
2014-03             $6,325         $5,320         $1,005          $1,005         $189,207
2014-04             $6,325         $5,320         $1,005          $1,005         $190,213
2014-05             $6,388         $5,320         $1,069          $1,069         $191,281
2014-06             $6,388         $5,320         $1,069          $2,069         $193,350
2014-07             $6,388         $5,320         $1,069          $1,069         $194,419
2014-08             $6,388         $5,320         $1,069          $1,069         $195,487
2014-09             $6,388         $5,320         $1,069          $1,069         $196,556
2014-10             $6,567         $5,320         $1,247          $1,247         $197,803
2014-11             $6,567         $5,320         $1,247          $1,247         $199,050
2014-12             $6,567         $5,320         $1,247          $1,247         $200,298
2015-01             $6,567         $4,008         $2,559          $2,559         $202,857
2015-02             $6,567         $4,008         $2,559          $2,559         $205,415
2015-03             $6,567         $4,008         $2,559          $2,559         $207,974
2015-04             $6,567         $4,008         $2,559          $2,559         $210,533
2015-05             $6,765         $4,008         $2,757          $2,757         $213,290
2015-06             $6,765         $4,008         $2,757          $2,757         $216,048
2015-07             $6,765         $4,008         $2,757          $2,757         $218,805
2015-08             $6,765         $4,008         $2,757          $2,757         $221,562
2015-09             $6,765         $4,008         $2,757          $2,744         $224,306
2015-10             $6,765         $4,008         $2,757          $2,730         $227,036
2015-11             $6,765         $4,008         $2,757          $2,716         $229,752
2015-12             $6,765         $4,008         $2,757          $2,703         $232,454
2016-01             $6,765         $3,353         $3,412          $3,328         $235,782
2016-02             $6,765         $3,353         $3,412          $3,311         $239,093
2016-03             $6,765         $3,353         $3,412          $3,294         $242,387
2016-04             $6,765         $3,353         $3,412          $3,277         $245,663
2016-05             $7,001         $3,353         $3,648          $3,486         $249,149
2016-06             $7,001         $3,353         $3,648          $3,468         $252,617
2016-07             $7,001         $3,353         $3,648          $3,450         $256,066
2016-08             $7,001         $3,353         $3,648          $3,432         $259,498
2016-09             $7,001         $3,353         $3,648          $3,414         $262,912
2016-10             $7,404         $3,353         $4,051          $3,770         $266,681
2016-11             $7,404         $3,353         $4,051          $3,750         $270,431
2016-12             $7,404         $3,353         $4,051          $3,730         $274,162


                                                                                 Exhibit A to
                                                                 A. Burrows' Findings of Fact
 Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 36 of 299
                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2017-01             $7,404         $4,282         $3,121          $2,859         $277,020
2017-02             $7,404         $4,282         $3,121          $2,844         $279,864
2017-03             $7,404         $4,282         $3,121          $2,828         $282,692
2017-04             $7,404         $4,282         $3,121          $2,813         $285,505
2017-05             $7,741         $4,282         $3,458          $3,100         $288,605
2017-06             $7,741         $4,282         $3,458          $3,083         $291,687
2017-07             $7,741         $4,282         $3,458          $3,066         $294,753
2017-08             $7,741         $4,282         $3,458          $3,049         $297,802
2017-09             $7,741         $4,282         $3,458          $3,032         $300,834
2017-10             $7,741         $4,282         $3,458          $3,015         $303,848
2017-11             $7,741         $4,282         $3,458          $2,998         $306,847
2017-12             $7,741         $4,282         $3,458          $2,981         $309,828
2018-01             $7,741         $5,623         $2,118          $1,815         $311,643
2018-02             $7,741         $5,623         $2,118          $1,805         $313,448
2018-03             $7,741         $5,623         $2,118          $1,794         $315,242
2018-04             $7,741         $5,623         $2,118          $1,784         $317,026
2018-05             $7,892         $5,623         $2,269          $1,901         $318,927
2018-06             $8,129         $5,623         $2,506          $2,087         $321,014
2018-07             $8,129         $5,623         $2,506          $2,075         $323,089
2018-08             $8,129         $5,623         $2,506          $2,063         $325,152
2018-09             $8,129         $5,623         $2,506          $2,051         $327,203
2018-10             $8,129         $5,623         $2,506          $2,038         $329,241
2018-11             $8,129         $5,623         $2,506          $2,026         $331,268
2018-12             $8,129         $5,623         $2,506          $2,014         $333,282
2019-01             $8,129         $5,962         $2,167          $1,731         $335,013
2019-02             $8,292         $5,962         $2,329          $1,850         $336,862
2019-03             $8,292         $5,962         $2,329          $1,838         $338,701
2019-04             $8,292         $5,962         $2,329          $1,827         $340,527
2019-05             $8,292         $5,962         $2,329          $1,816         $342,343
2019-06             $8,292         $5,962         $2,329          $1,804         $344,148
2019-07             $8,292         $5,962         $2,329          $1,793         $345,941
2019-08             $8,292         $5,962         $2,329          $1,782         $347,723
2019-09             $8,292         $5,962         $2,329          $1,771         $349,493
2019-10             $8,410         $5,962         $2,448          $1,849         $351,342
2019-11             $8,410         $5,962         $2,448          $1,837         $353,179
2019-12             $8,410         $5,962         $2,448          $1,825         $355,004
2020-01             $8,410         $6,082         $2,328          $1,725         $356,729
2020-02             $8,410         $6,082         $2,328          $1,713         $358,442
2020-03             $8,410         $6,082         $2,328          $1,702         $360,144
2020-04             $8,410         $6,082         $2,328          $1,691         $361,835
2020-05             $8,620         $6,082         $2,538          $1,832         $363,667
2020-06             $8,620         $6,082         $2,538          $1,819         $365,486
2020-07             $8,620         $6,082         $2,538          $1,807         $367,293


                                                                                 Exhibit A to
                                                                 A. Burrows' Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2020-08             $8,620         $6,082         $2,538          $1,795         $369,088
2020-09             $8,620         $6,082         $2,538          $1,783         $370,871
2020-10             $8,620         $6,082         $2,538          $1,771         $372,641
2020-11             $8,620         $6,082         $2,538          $1,758         $374,400
2020-12             $8,620         $6,082         $2,538          $1,746         $376,146
2021-01             $8,620         $6,205         $2,416          $1,651         $377,796
2021-02             $8,620         $6,205         $2,416          $1,639         $379,435
2021-03             $8,620         $6,205         $2,416          $1,627         $381,063
2021-04             $8,620         $6,205         $2,416          $1,616         $382,679
2021-05             $8,657         $6,205         $2,452          $1,629         $384,308
2021-06             $8,657         $6,205         $2,452          $1,617         $385,925
2021-07             $8,657         $6,205         $2,452          $1,617         $387,542




                                                                                 Exhibit A to
                                                                 A. Burrows' Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2002-09     Regular Substitute Teacher                $39,325
          2002-10     Regular Substitute Teacher                $39,325
          2002-11     Regular Substitute Teacher                $39,325
          2002-12     Regular Substitute Teacher                $39,325
          2003-01     Regularly Appointed Teacher               $39,325
          2003-02     Regularly Appointed Teacher               $39,325
          2003-03     Regularly Appointed Teacher               $39,325
          2003-04     Regularly Appointed Teacher               $39,325
          2003-05     Regularly Appointed Teacher               $39,325
          2003-06     Regularly Appointed Teacher               $39,325
          2003-07     Regularly Appointed Teacher               $39,325
          2003-08     Regularly Appointed Teacher               $39,325
          2003-09     Regularly Appointed Teacher               $39,650
          2003-10     Regularly Appointed Teacher               $39,650
          2003-11     Regularly Appointed Teacher               $39,650
          2003-12     Regularly Appointed Teacher               $40,443
          2004-01     Regularly Appointed Teacher               $40,443
          2004-02     Regularly Appointed Teacher               $40,443
          2004-03     Regularly Appointed Teacher               $40,443
          2004-04     Regularly Appointed Teacher               $40,443
          2004-05     Regularly Appointed Teacher               $40,443
          2004-06     Regularly Appointed Teacher               $40,443
          2004-07     Regularly Appointed Teacher               $40,443
          2004-08     Regularly Appointed Teacher               $45,325
          2004-09     Regularly Appointed Teacher               $45,912
          2004-10     Regularly Appointed Teacher               $45,912
          2004-11     Regularly Appointed Teacher               $45,912
          2004-12     Regularly Appointed Teacher               $47,519
          2005-01     Regularly Appointed Teacher               $47,519
          2005-02     Regularly Appointed Teacher               $47,519
          2005-03     Regularly Appointed Teacher               $47,519
          2005-04     Regularly Appointed Teacher               $47,519
          2005-05     Regularly Appointed Teacher               $47,519
          2005-06     Regularly Appointed Teacher               $47,519
          2005-07     Regularly Appointed Teacher               $47,519
          2005-08     Regularly Appointed Teacher               $47,519
          2005-09     Regularly Appointed Teacher               $48,041
          2005-10     Regularly Appointed Teacher               $48,041
          2005-11     Regularly Appointed Teacher               $50,683
          2005-12     Regularly Appointed Teacher               $50,683
          2006-01     Regularly Appointed Teacher               $50,683
          2006-02     Regularly Appointed Teacher               $50,683
          2006-03     Regularly Appointed Teacher               $50,683

                                                                                    Exhibit B to
                                                                    A. Burrows' Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2006-04     Regularly Appointed Teacher               $50,683
          2006-05     Regularly Appointed Teacher               $50,683
          2006-06     Regularly Appointed Teacher               $50,683
          2006-07     Regularly Appointed Teacher               $50,683
          2006-08     Regularly Appointed Teacher               $50,683
          2006-09     Regularly Appointed Teacher               $51,279
          2006-10     Regularly Appointed Teacher               $52,947
          2006-11     Regularly Appointed Teacher               $52,947
          2006-12     Regularly Appointed Teacher               $52,947
          2007-01     Regularly Appointed Teacher               $53,222
          2007-02     Regularly Appointed Teacher               $53,222
          2007-03     Regularly Appointed Teacher               $54,093
          2007-04     Regularly Appointed Teacher               $54,093
          2007-05     Regularly Appointed Teacher               $54,093
          2007-06     Regularly Appointed Teacher               $54,093
          2007-07     Regularly Appointed Teacher               $54,093
          2007-08     Regularly Appointed Teacher               $54,093
          2007-09     Regularly Appointed Teacher               $55,385
          2007-10     Regularly Appointed Teacher               $58,120
          2007-11     Regularly Appointed Teacher               $58,120
          2007-12     Regularly Appointed Teacher               $58,120
          2008-01     Regularly Appointed Teacher               $58,120
          2008-02     Regularly Appointed Teacher               $58,120
          2008-03     Regularly Appointed Teacher               $61,208
          2008-04     Regularly Appointed Teacher               $61,208
          2008-05     Regularly Appointed Teacher               $65,269
          2008-06     Regularly Appointed Teacher               $65,424
          2008-07     Regularly Appointed Teacher               $65,424
          2008-08     Regularly Appointed Teacher               $65,424
          2008-09     Regularly Appointed Teacher               $68,458
          2008-10     Regularly Appointed Teacher               $68,458
          2008-11     Regularly Appointed Teacher               $68,458
          2008-12     Regularly Appointed Teacher               $68,458
          2009-01     Regularly Appointed Teacher               $68,458
          2009-02     Regularly Appointed Teacher               $68,458
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060

                                                                                    Exhibit B to
                                                                    A. Burrows' Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $72,060
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $72,060
          2011-06     Regularly Appointed Teacher               $72,060
          2011-07     Regularly Appointed Teacher               $72,060
          2011-08     Regularly Appointed Teacher               $72,060
          2011-09     Regularly Appointed Teacher               $72,060
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149
          2012-06     Regularly Appointed Teacher               $75,149
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $75,149
          2013-05     Regularly Appointed Teacher               $75,901

                                                                                    Exhibit B to
                                                                    A. Burrows' Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2013-06     Regularly Appointed Teacher               $75,901
          2013-07     Regularly Appointed Teacher               $75,901
          2013-08     Regularly Appointed Teacher               $75,901
          2013-09     Regularly Appointed Teacher               $75,901
          2013-10     Regularly Appointed Teacher               $75,901
          2013-11     Regularly Appointed Teacher               $75,901
          2013-12     Regularly Appointed Teacher               $75,901
          2014-01     Regularly Appointed Teacher               $75,901
          2014-02     Regularly Appointed Teacher               $75,901
          2014-03     Regularly Appointed Teacher               $75,901
          2014-04     Regularly Appointed Teacher               $75,901
          2014-05     Regularly Appointed Teacher               $76,660
          2014-06     Regularly Appointed Teacher               $76,660
          2014-07     Regularly Appointed Teacher               $76,660
          2014-08     Regularly Appointed Teacher               $76,660
          2014-09     Regularly Appointed Teacher               $76,660
          2014-10     Regularly Appointed Teacher               $78,804
          2014-11     Regularly Appointed Teacher               $78,804
          2014-12     Regularly Appointed Teacher               $78,804
          2015-01     Regularly Appointed Teacher               $78,804
          2015-02     Regularly Appointed Teacher               $78,804
          2015-03     Regularly Appointed Teacher               $78,804
          2015-04     Regularly Appointed Teacher               $78,804
          2015-05     Regularly Appointed Teacher               $81,184
          2015-06     Regularly Appointed Teacher               $81,184
          2015-07     Regularly Appointed Teacher               $81,184
          2015-08     Regularly Appointed Teacher               $81,184
          2015-09     Regularly Appointed Teacher               $81,184
          2015-10     Regularly Appointed Teacher               $81,184
          2015-11     Regularly Appointed Teacher               $81,184
          2015-12     Regularly Appointed Teacher               $81,184
          2016-01     Regularly Appointed Teacher               $81,184
          2016-02     Regularly Appointed Teacher               $81,184
          2016-03     Regularly Appointed Teacher               $81,184
          2016-04     Regularly Appointed Teacher               $81,184
          2016-05     Regularly Appointed Teacher               $84,018
          2016-06     Regularly Appointed Teacher               $84,018
          2016-07     Regularly Appointed Teacher               $84,018
          2016-08     Regularly Appointed Teacher               $84,018
          2016-09     Regularly Appointed Teacher               $84,018
          2016-10     Regularly Appointed Teacher               $88,844
          2016-11     Regularly Appointed Teacher               $88,844
          2016-12     Regularly Appointed Teacher               $88,844

                                                                                    Exhibit B to
                                                                    A. Burrows' Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2017-01     Regularly Appointed Teacher                $88,844
          2017-02     Regularly Appointed Teacher                $88,844
          2017-03     Regularly Appointed Teacher                $88,844
          2017-04     Regularly Appointed Teacher                $88,844
          2017-05     Regularly Appointed Teacher                $92,886
          2017-06     Regularly Appointed Teacher                $92,886
          2017-07     Regularly Appointed Teacher                $92,886
          2017-08     Regularly Appointed Teacher                $92,886
          2017-09     Regularly Appointed Teacher                $92,886
          2017-10     Regularly Appointed Teacher                $92,886
          2017-11     Regularly Appointed Teacher                $92,886
          2017-12     Regularly Appointed Teacher                $92,886
          2018-01     Regularly Appointed Teacher                $92,886
          2018-02     Regularly Appointed Teacher                $92,886
          2018-03     Regularly Appointed Teacher                $92,886
          2018-04     Regularly Appointed Teacher                $92,886
          2018-05     Regularly Appointed Teacher                $94,708
          2018-06     Regularly Appointed Teacher                $97,549
          2018-07     Regularly Appointed Teacher                $97,549
          2018-08     Regularly Appointed Teacher                $97,549
          2018-09     Regularly Appointed Teacher                $97,549
          2018-10     Regularly Appointed Teacher                $97,549
          2018-11     Regularly Appointed Teacher                $97,549
          2018-12     Regularly Appointed Teacher                $97,549
          2019-01     Regularly Appointed Teacher                $97,549
          2019-02     Regularly Appointed Teacher                $99,501
          2019-03     Regularly Appointed Teacher                $99,501
          2019-04     Regularly Appointed Teacher                $99,501
          2019-05     Regularly Appointed Teacher                $99,501
          2019-06     Regularly Appointed Teacher                $99,501
          2019-07     Regularly Appointed Teacher                $99,501
          2019-08     Regularly Appointed Teacher                $99,501
          2019-09     Regularly Appointed Teacher                $99,501
          2019-10     Regularly Appointed Teacher               $100,920
          2019-11     Regularly Appointed Teacher               $100,920
          2019-12     Regularly Appointed Teacher               $100,920
          2020-01     Regularly Appointed Teacher               $100,920
          2020-02     Regularly Appointed Teacher               $100,920
          2020-03     Regularly Appointed Teacher               $100,920
          2020-04     Regularly Appointed Teacher               $100,920
          2020-05     Regularly Appointed Teacher               $103,443
          2020-06     Regularly Appointed Teacher               $103,443



                                                                                    Exhibit B to
                                                                    A. Burrows' Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : ANTONIO
                                                                       : MARTINEZ
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Antonio Martinez (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on September 24, 2020, with respect to Mr.
Martinez ’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Antonio
Martinez, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
    Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 44 of 299




IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Antonio Martinez (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Martinez will have
judgment against the BOE as follows:

   1. Backpay in the amount of $412,404;

   2. Tax-component award in the amount of $48,458;

   3. LAST Fees in the amount of $180;

   4. ASAF account award in the amount of $2,605;

   5. CAR Day award in the amount of $9,328;

   6. Pre-judgment interest calculated to be $33,069; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Martinez will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Mr. Martinez ’s counterfactual monthly service history, as listed on
          Exhibit B to the Findings of Fact and Conclusions of Law for Antonio Martinez; and

       c. Grant Mr. Martinez retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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            Exhibit 1
     Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 46 of 299




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : ANTONIO
THE BOARD OF EDUCATION OF THE CITY SCHOOL : MARTINEZ
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Antonio Martinez:

    1. Class Membership. Mr. Martinez is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       he suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Martinez would have been appointed as
                a regularly appointed teacher in January 2003. The Special Master also finds, and
                the Court agrees, that Mr. Martinez is eligible to accrue backpay damages
                beginning January 2003.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Martinez would have worked as a
                regularly appointed teacher until December 1, 2014, Mr. Martinez accrues
                backpay damages through the date of judgment, and Mr. Martinez ’s backpay
                damages should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Mr. Martinez ’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Mr. Martinez ’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Mr. Martinez has satisfied his burden of establishing his entitlement to
   the following monetary relief:

       a. Backpay in the amount of $412,404;

       b. A tax-component award in the amount of $48,458;

       c. $180 to compensate him for the fees he paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $2,605;

       e. CAR Day damages in the amount of $9,328; and

       f. Pre-judgment interest in the amount of $33,069.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Mr. Martinez has satisfied his burden of establishing his
   entitlement to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Mr. Martinez ’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Mr. Martinez should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Mr. Martinez (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —             1968

               ii.   Gender — Male

               iii. Address —                           Jacksonville, FL 32258

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   January 14, 2003



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — July 1, 2013 through December 31,
                     2013

               ix. Termination of regularly appointed teacher service (if any) — December
                   1, 2014

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly        Monthly                        Cumulative
Month       Monthly                                     Damages with
                           Mitigation     Damages                         Damages
             Earnings                                     Attrition
2003-01           $3,277         $3,146         $131            $131              $131
2003-02           $3,277         $3,146         $131            $131              $261
2003-03           $3,277         $3,146         $131            $131              $392
2003-04           $3,277         $3,146         $131            $131              $523
2003-05           $3,277         $3,146         $131            $131              $653
2003-06           $3,277         $3,146         $131            $131              $784
2003-07           $3,277         $3,146         $131            $131              $915
2003-08           $3,277         $3,146         $131            $131             $1,045
2003-09           $3,304         $2,172        $1,132          $1,132            $2,177
2003-10           $3,304         $2,172        $1,132          $1,128            $3,305
2003-11           $3,304         $2,172        $1,132          $1,123            $4,428
2003-12           $3,370         $2,172        $1,198          $1,184            $5,612
2004-01           $3,370         $2,276        $1,094          $1,077            $6,689
2004-02           $3,370         $2,276        $1,094          $1,073            $7,762
2004-03           $3,370         $2,276        $1,094          $1,069            $8,831
2004-04           $3,370         $2,276        $1,094          $1,065            $9,896
2004-05           $3,370         $2,276        $1,094          $1,061           $10,957
2004-06           $3,370         $2,276        $1,094          $1,057           $12,013
2004-07           $3,370         $2,276        $1,094          $1,053           $13,066
2004-08           $3,777         $2,276        $1,501          $1,438           $14,504
2004-09           $3,826         $2,276        $1,550          $1,480           $15,984
2004-10           $3,826         $2,276        $1,550          $1,474           $17,458
2004-11           $3,826         $2,276        $1,550          $1,469           $18,927
2004-12           $3,960         $2,276        $1,684          $1,589           $20,516
2005-01           $3,960         $2,731        $1,229          $1,156           $21,672
2005-02           $3,960         $2,731        $1,229          $1,151           $22,823
2005-03           $3,960         $2,731        $1,229          $1,147           $23,971
2005-04           $3,960         $2,731        $1,229          $1,143           $25,113
2005-05           $3,960         $2,731        $1,229          $1,139           $26,252
2005-06           $3,960         $2,731        $1,229          $1,134           $27,386
2005-07           $3,960         $2,731        $1,229          $1,130           $28,516
2005-08           $3,960         $2,731        $1,229          $1,126           $29,642
2005-09           $4,003         $2,731        $1,273          $1,161           $30,803
2005-10           $4,003         $2,731        $1,273          $1,157           $31,960
2005-11           $4,224         $2,731        $1,493          $1,352           $33,312
2005-12           $4,224         $2,731        $1,493          $1,347           $34,658
2006-01           $4,224         $3,029        $1,194          $1,073           $35,731
2006-02           $4,224         $3,029        $1,194          $1,069           $36,801
2006-03           $4,224         $3,029        $1,194          $1,065           $37,866
2006-04           $4,224         $3,029        $1,194          $1,061           $38,927




                                                                                Exhibit A to
                                                              A. Martinez's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 50 of 299
                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly        Monthly                        Cumulative
Month       Monthly                                     Damages with
                           Mitigation     Damages                         Damages
             Earnings                                     Attrition
2006-05           $4,224         $3,029        $1,194          $1,057           $39,984
2006-06           $4,224         $3,029        $1,194          $1,053           $41,037
2006-07           $4,224         $3,029        $1,194          $1,049           $42,086
2006-08           $4,224         $3,029        $1,194          $1,045           $43,132
2006-09           $4,273         $3,029        $1,244          $1,084           $44,216
2006-10           $4,412         $3,029        $1,383          $1,201           $45,417
2006-11           $4,412         $3,029        $1,383          $1,196           $46,614
2006-12           $4,412         $3,029        $1,383          $1,192           $47,805
2007-01           $4,435         $3,179        $1,256          $1,078           $48,884
2007-02           $4,435         $3,179        $1,256          $1,074           $49,958
2007-03           $4,508         $3,179        $1,328          $1,132           $51,089
2007-04           $4,508         $3,179        $1,328          $1,128           $52,217
2007-05           $4,508         $3,179        $1,328          $1,123           $53,340
2007-06           $4,508         $3,179        $1,328          $1,119           $54,459
2007-07           $4,508         $3,179        $1,328          $1,115           $55,574
2007-08           $4,508         $3,179        $1,328          $1,110           $56,684
2007-09           $4,615         $3,179        $1,436          $1,196           $57,880
2007-10           $4,843         $3,179        $1,664          $1,380           $59,260
2007-11           $4,843         $3,179        $1,664          $1,375           $60,634
2007-12           $4,843         $3,179        $1,664          $1,369           $62,003
2008-01           $4,843         $3,584        $1,259          $1,032           $63,035
2008-02           $4,843         $3,584        $1,259          $1,028           $64,063
2008-03           $5,101         $3,584        $1,517          $1,233           $65,297
2008-04           $5,101         $3,584        $1,517          $1,228           $66,525
2008-05           $5,439         $3,584        $1,855          $1,497           $68,022
2008-06           $5,452         $3,584        $1,868          $1,501           $69,523
2008-07           $5,452         $3,584        $1,868          $1,495           $71,018
2008-08           $5,452         $3,584        $1,868          $1,489           $72,507
2008-09           $5,705         $3,584        $2,121          $1,684           $74,191
2008-10           $5,705         $3,584        $2,121          $1,677           $75,868
2008-11           $5,705         $3,584        $2,121          $1,671           $77,539
2008-12           $5,705         $3,584        $2,121          $1,664           $79,203
2009-01           $5,705         $3,807        $1,898          $1,483           $80,686
2009-02           $5,705         $3,807        $1,898          $1,477           $82,163
2009-03           $6,005         $3,807        $2,198          $1,704           $83,866
2009-04           $6,005         $3,807        $2,198          $1,697           $85,563
2009-05           $6,005         $3,807        $2,198          $1,690           $87,253
2009-06           $6,005         $3,807        $2,198          $1,683           $88,936
2009-07           $6,005         $3,807        $2,198          $1,676           $90,612
2009-08           $6,005         $3,807        $2,198          $1,669           $92,282




                                                                                Exhibit A to
                                                              A. Martinez's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 51 of 299
                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly        Monthly                        Cumulative
Month       Monthly                                     Damages with
                           Mitigation     Damages                         Damages
             Earnings                                     Attrition
2009-09           $6,005         $3,807        $2,198          $1,662           $93,944
2009-10           $6,005         $3,807        $2,198          $1,656           $95,600
2009-11           $6,005         $3,807        $2,198          $1,649           $97,248
2009-12           $6,005         $3,807        $2,198          $1,642           $98,890
2010-01           $6,005         $3,727        $2,278          $1,695          $100,585
2010-02           $6,005         $3,727        $2,278          $1,688          $102,273
2010-03           $6,005         $3,727        $2,278          $1,681          $103,953
2010-04           $6,005         $3,727        $2,278          $1,674          $105,627
2010-05           $6,005         $3,727        $2,278          $1,667          $107,294
2010-06           $6,005         $3,727        $2,278          $1,660          $108,954
2010-07           $6,005         $3,727        $2,278          $1,653          $110,606
2010-08           $6,005         $3,727        $2,278          $1,646          $112,252
2010-09           $6,005         $3,727        $2,278          $1,639          $113,891
2010-10           $6,005         $3,727        $2,278          $1,632          $115,523
2010-11           $6,005         $3,727        $2,278          $1,625          $117,147
2010-12           $6,005         $3,727        $2,278          $1,618          $118,765
2011-01           $6,005         $3,798        $2,207          $1,560          $120,325
2011-02           $6,005         $3,798        $2,207          $1,554          $121,879
2011-03           $6,005         $3,798        $2,207          $1,547          $123,426
2011-04           $6,005         $3,798        $2,207          $1,540          $124,966
2011-05           $6,005         $3,798        $2,207          $1,534          $126,500
2011-06           $6,005         $3,798        $2,207          $1,527          $128,026
2011-07           $6,005         $3,798        $2,207          $1,520          $129,547
2011-08           $6,005         $3,798        $2,207          $1,513          $131,060
2011-09           $6,262         $3,798        $2,464          $1,683          $132,742
2011-10           $6,262         $3,798        $2,464          $1,675          $134,418
2011-11           $6,262         $3,798        $2,464          $1,668          $136,085
2011-12           $6,262         $3,798        $2,464          $1,660          $137,745
2012-01           $6,262         $3,182        $3,080          $2,066          $139,811
2012-02           $6,262         $3,182        $3,080          $2,057          $141,868
2012-03           $6,262         $3,182        $3,080          $2,047          $143,915
2012-04           $6,262         $3,182        $3,080          $2,038          $145,953
2012-05           $6,262         $3,182        $3,080          $2,029          $147,982
2012-06           $6,262         $3,182        $3,080          $2,020          $150,002
2012-07           $6,262         $3,182        $3,080          $2,010          $152,012
2012-08           $6,262         $3,182        $3,080          $2,001          $154,013
2012-09           $6,262         $3,182        $3,080          $1,992          $156,005
2012-10           $6,262         $3,182        $3,080          $1,983          $157,988
2012-11           $6,262         $3,182        $3,080          $1,974          $159,962
2012-12           $6,262         $3,182        $3,080          $1,964          $161,926




                                                                                Exhibit A to
                                                              A. Martinez's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 52 of 299
                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly        Monthly                        Cumulative
Month       Monthly                                     Damages with
                           Mitigation     Damages                         Damages
             Earnings                                     Attrition
2013-01           $6,262         $1,930        $4,332          $2,750          $164,676
2013-02           $6,262         $1,930        $4,332          $2,737          $167,412
2013-03           $6,262         $1,930        $4,332          $2,724          $170,136
2013-04           $6,262         $1,930        $4,332          $2,711          $172,847
2013-05           $6,325         $1,930        $4,395          $2,737          $175,585
2013-06           $6,325         $1,930        $4,395          $2,724          $178,309
2013-07               $0             $0            $0              $0          $178,309
2013-08               $0             $0            $0              $0          $178,309
2013-09               $0             $0            $0              $0          $178,309
2013-10               $0             $0            $0              $0          $178,309
2013-11               $0             $0            $0              $0          $178,309
2013-12               $0             $0            $0              $0          $178,309
2014-01           $6,325         $1,488        $4,838          $2,898          $181,207
2014-02           $6,325         $1,488        $4,838          $2,884          $184,092
2014-03           $6,325         $1,488        $4,838          $2,870          $186,961
2014-04           $6,325         $1,488        $4,838          $2,856          $189,817
2014-05           $6,388         $1,488        $4,901          $2,879          $192,696
2014-06           $6,388         $1,488        $4,901          $3,449          $196,144
2014-07           $6,388         $1,488        $4,901          $2,850          $198,994
2014-08           $6,388         $1,488        $4,901          $2,835          $201,830
2014-09           $6,388         $1,488        $4,901          $2,821          $204,651
2014-10           $6,388         $1,488        $4,901          $2,807          $207,457
2014-11           $6,388         $1,488        $4,901          $2,792          $210,250
2014-12           $6,388         $1,488        $4,901          $2,778          $213,028
2015-01           $6,388         $1,540        $4,848          $2,734          $215,762
2015-02           $6,388         $1,540        $4,848          $2,720          $218,482
2015-03           $6,567         $1,540        $5,027          $2,805          $221,287
2015-04           $6,567         $1,540        $5,027          $2,791          $224,078
2015-05           $6,765         $1,540        $5,225          $2,886          $226,964
2015-06           $6,765         $1,540        $5,225          $2,871          $229,834
2015-07           $6,765         $1,540        $5,225          $2,855          $232,689
2015-08           $6,765         $1,540        $5,225          $2,840          $235,530
2015-09           $6,765         $1,540        $5,225          $2,825          $238,354
2015-10           $6,765         $1,540        $5,225          $2,810          $241,164
2015-11           $6,765         $1,540        $5,225          $2,795          $243,959
2015-12           $6,765         $1,540        $5,225          $2,780          $246,738
2016-01           $6,765         $1,593        $5,173          $2,737          $249,475
2016-02           $6,765         $1,593        $5,173          $2,722          $252,197
2016-03           $6,765         $1,593        $5,173          $2,707          $254,904
2016-04           $6,765         $1,593        $5,173          $2,692          $257,595




                                                                                Exhibit A to
                                                              A. Martinez's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly        Monthly                        Cumulative
Month       Monthly                                     Damages with
                           Mitigation     Damages                         Damages
             Earnings                                     Attrition
2016-05           $7,001         $1,593        $5,409          $2,799          $260,394
2016-06           $7,001         $1,593        $5,409          $2,783          $263,178
2016-07           $7,001         $1,593        $5,409          $2,768          $265,946
2016-08           $7,001         $1,593        $5,409          $2,752          $268,698
2016-09           $7,001         $1,593        $5,409          $2,737          $271,435
2016-10           $7,001         $1,593        $5,409          $2,721          $274,155
2016-11           $7,001         $1,593        $5,409          $2,705          $276,861
2016-12           $7,001         $1,593        $5,409          $2,690          $279,550
2017-01           $7,001         $1,663        $5,339          $2,639          $282,190
2017-02           $7,001         $1,663        $5,339          $2,624          $284,814
2017-03           $7,404         $1,663        $5,741          $2,805          $287,619
2017-04           $7,404         $1,663        $5,741          $2,789          $290,408
2017-05           $7,741         $1,663        $6,078          $2,935          $293,343
2017-06           $7,741         $1,663        $6,078          $2,918          $296,261
2017-07           $7,741         $1,663        $6,078          $2,900          $299,161
2017-08           $7,741         $1,663        $6,078          $2,883          $302,044
2017-09           $7,741         $1,663        $6,078          $2,865          $304,909
2017-10           $7,741         $1,663        $6,078          $2,848          $307,758
2017-11           $7,741         $1,663        $6,078          $2,831          $310,588
2017-12           $7,741         $1,663        $6,078          $2,813          $313,402
2018-01           $7,741         $1,712        $6,028          $2,773          $316,175
2018-02           $7,741         $1,712        $6,028          $2,756          $318,931
2018-03           $7,741         $1,712        $6,028          $2,739          $321,669
2018-04           $7,741         $1,712        $6,028          $2,722          $324,391
2018-05           $7,892         $1,712        $6,180          $2,773          $327,163
2018-06           $8,129         $1,712        $6,417          $2,860          $330,024
2018-07           $8,129         $1,712        $6,417          $2,842          $332,866
2018-08           $8,129         $1,712        $6,417          $2,824          $335,690
2018-09           $8,129         $1,712        $6,417          $2,806          $338,496
2018-10           $8,129         $1,712        $6,417          $2,788          $341,284
2018-11           $8,129         $1,712        $6,417          $2,769          $344,053
2018-12           $8,129         $1,712        $6,417          $2,751          $346,804
2019-01           $8,129         $1,763        $6,366          $2,263          $349,067
2019-02           $8,292         $1,763        $6,528          $2,287          $351,355
2019-03           $8,292         $1,763        $6,528          $2,282          $353,637
2019-04           $8,292         $1,763        $6,528          $2,267          $355,903
2019-05           $8,292         $1,763        $6,528          $2,251          $358,155
2019-06           $8,292         $1,763        $6,528          $2,236          $360,391
2019-07           $8,292         $1,763        $6,528          $2,221          $362,612
2019-08           $8,292         $1,763        $6,528          $2,206          $364,818




                                                                                Exhibit A to
                                                              A. Martinez's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly        Monthly                        Cumulative
Month       Monthly                                     Damages with
                           Mitigation     Damages                         Damages
             Earnings                                     Attrition
2019-09           $8,292         $1,763        $6,528          $2,190          $367,008
2019-10           $8,292         $1,763        $6,528          $2,175          $369,183
2019-11           $8,292         $1,763        $6,528          $2,160          $371,343
2019-12           $8,292         $1,763        $6,528          $2,145          $373,488
2020-01           $8,292         $1,822        $6,470          $2,111          $375,599
2020-02           $8,292         $1,822        $6,470          $2,077          $377,676
2020-03           $8,410         $1,822        $6,588          $2,100          $379,776
2020-04           $8,410         $1,822        $6,588          $2,091          $381,867
2020-05           $8,620         $1,822        $6,799          $2,143          $384,010
2020-06           $8,620         $1,822        $6,799          $2,139          $386,149
2020-07           $8,620         $1,822        $6,799          $2,123          $388,271
2020-08           $8,620         $1,822        $6,799          $2,107          $390,379
2020-09           $8,620         $1,822        $6,799          $2,091          $392,470
2020-10           $8,620         $1,822        $6,799          $2,076          $394,545
2020-11           $8,620         $1,822        $6,799          $2,060          $396,605
2020-12           $8,620         $1,822        $6,799          $2,044          $398,649
2021-01           $8,620         $1,876        $6,744          $2,012          $400,661
2021-02           $8,620         $1,876        $6,744          $1,996          $402,657
2021-03           $8,620         $1,876        $6,744          $1,981          $404,638
2021-04           $8,620         $1,876        $6,744          $1,965          $406,603
2021-05           $8,620         $1,876        $6,744          $1,949          $408,553
2021-06           $8,620         $1,876        $6,744          $1,934          $410,486
2021-07           $8,620         $1,876        $6,744          $1,918          $412,404




                                                                                Exhibit A to
                                                              A. Martinez's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2003-01     Regularly Appointed Teacher               $39,325
          2003-02     Regularly Appointed Teacher               $39,325
          2003-03     Regularly Appointed Teacher               $39,325
          2003-04     Regularly Appointed Teacher               $39,325
          2003-05     Regularly Appointed Teacher               $39,325
          2003-06     Regularly Appointed Teacher               $39,325
          2003-07     Regularly Appointed Teacher               $39,325
          2003-08     Regularly Appointed Teacher               $39,325
          2003-09     Regularly Appointed Teacher               $39,650
          2003-10     Regularly Appointed Teacher               $39,650
          2003-11     Regularly Appointed Teacher               $39,650
          2003-12     Regularly Appointed Teacher               $40,443
          2004-01     Regularly Appointed Teacher               $40,443
          2004-02     Regularly Appointed Teacher               $40,443
          2004-03     Regularly Appointed Teacher               $40,443
          2004-04     Regularly Appointed Teacher               $40,443
          2004-05     Regularly Appointed Teacher               $40,443
          2004-06     Regularly Appointed Teacher               $40,443
          2004-07     Regularly Appointed Teacher               $40,443
          2004-08     Regularly Appointed Teacher               $45,325
          2004-09     Regularly Appointed Teacher               $45,912
          2004-10     Regularly Appointed Teacher               $45,912
          2004-11     Regularly Appointed Teacher               $45,912
          2004-12     Regularly Appointed Teacher               $47,519
          2005-01     Regularly Appointed Teacher               $47,519
          2005-02     Regularly Appointed Teacher               $47,519
          2005-03     Regularly Appointed Teacher               $47,519
          2005-04     Regularly Appointed Teacher               $47,519
          2005-05     Regularly Appointed Teacher               $47,519
          2005-06     Regularly Appointed Teacher               $47,519
          2005-07     Regularly Appointed Teacher               $47,519
          2005-08     Regularly Appointed Teacher               $47,519
          2005-09     Regularly Appointed Teacher               $48,041
          2005-10     Regularly Appointed Teacher               $48,041
          2005-11     Regularly Appointed Teacher               $50,683
          2005-12     Regularly Appointed Teacher               $50,683
          2006-01     Regularly Appointed Teacher               $50,683
          2006-02     Regularly Appointed Teacher               $50,683
          2006-03     Regularly Appointed Teacher               $50,683
          2006-04     Regularly Appointed Teacher               $50,683




                                                                                      Exhibit B to
                                                                    A. Martinez's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2006-05     Regularly Appointed Teacher               $50,683
          2006-06     Regularly Appointed Teacher               $50,683
          2006-07     Regularly Appointed Teacher               $50,683
          2006-08     Regularly Appointed Teacher               $50,683
          2006-09     Regularly Appointed Teacher               $51,279
          2006-10     Regularly Appointed Teacher               $52,947
          2006-11     Regularly Appointed Teacher               $52,947
          2006-12     Regularly Appointed Teacher               $52,947
          2007-01     Regularly Appointed Teacher               $53,222
          2007-02     Regularly Appointed Teacher               $53,222
          2007-03     Regularly Appointed Teacher               $54,093
          2007-04     Regularly Appointed Teacher               $54,093
          2007-05     Regularly Appointed Teacher               $54,093
          2007-06     Regularly Appointed Teacher               $54,093
          2007-07     Regularly Appointed Teacher               $54,093
          2007-08     Regularly Appointed Teacher               $54,093
          2007-09     Regularly Appointed Teacher               $55,385
          2007-10     Regularly Appointed Teacher               $58,120
          2007-11     Regularly Appointed Teacher               $58,120
          2007-12     Regularly Appointed Teacher               $58,120
          2008-01     Regularly Appointed Teacher               $58,120
          2008-02     Regularly Appointed Teacher               $58,120
          2008-03     Regularly Appointed Teacher               $61,208
          2008-04     Regularly Appointed Teacher               $61,208
          2008-05     Regularly Appointed Teacher               $65,269
          2008-06     Regularly Appointed Teacher               $65,424
          2008-07     Regularly Appointed Teacher               $65,424
          2008-08     Regularly Appointed Teacher               $65,424
          2008-09     Regularly Appointed Teacher               $68,458
          2008-10     Regularly Appointed Teacher               $68,458
          2008-11     Regularly Appointed Teacher               $68,458
          2008-12     Regularly Appointed Teacher               $68,458
          2009-01     Regularly Appointed Teacher               $68,458
          2009-02     Regularly Appointed Teacher               $68,458
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060




                                                                                      Exhibit B to
                                                                    A. Martinez's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $72,060
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $72,060
          2011-06     Regularly Appointed Teacher               $72,060
          2011-07     Regularly Appointed Teacher               $72,060
          2011-08     Regularly Appointed Teacher               $72,060
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149
          2012-06     Regularly Appointed Teacher               $75,149
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149




                                                                                      Exhibit B to
                                                                    A. Martinez's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $75,149
          2013-05     Regularly Appointed Teacher               $75,901
          2013-06     Regularly Appointed Teacher               $75,901
          2013-07     Regularly Appointed Teacher / LWOP        $75,901
          2013-08     Regularly Appointed Teacher / LWOP        $75,901
          2013-09     Regularly Appointed Teacher / LWOP        $75,901
          2013-10     Regularly Appointed Teacher / LWOP        $75,901
          2013-11     Regularly Appointed Teacher / LWOP        $75,901
          2013-12     Regularly Appointed Teacher / LWOP        $75,901
          2014-01     Regularly Appointed Teacher               $75,901
          2014-02     Regularly Appointed Teacher               $75,901
          2014-03     Regularly Appointed Teacher               $75,901
          2014-04     Regularly Appointed Teacher               $75,901
          2014-05     Regularly Appointed Teacher               $76,660
          2014-06     Regularly Appointed Teacher               $76,660
          2014-07     Regularly Appointed Teacher               $76,660
          2014-08     Regularly Appointed Teacher               $76,660
          2014-09     Regularly Appointed Teacher               $76,660
          2014-10     Regularly Appointed Teacher               $76,660
          2014-11     Regularly Appointed Teacher               $76,660




                                                                                      Exhibit B to
                                                                    A. Martinez's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : CARMEN
                                                                       : CONCEPCION
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Carmen Concepcion (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on March 2, 2021, with respect to Ms.
Concepcion’s demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Carmen
Concepcion, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Carmen Concepcion (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Concepcion will have
judgment against the BOE as follows:

   1. Backpay in the amount of $105,588;

   2. Tax-component award in the amount of $12,407;

   3. LAST Fees in the amount of $70;

   4. CAR Day award in the amount of $1,630;

   5. Pre-judgment interest calculated to be $31,169; and

   6. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Concepcion will be
entitled to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Concepcion’s counterfactual monthly service history, as listed on
          Exhibit B to the Findings of Fact and Conclusions of Law for Carmen Concepcion;
          and

       c. Grant Ms. Concepcion retroactive seniority based on her counterfactual monthly
          service history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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            Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : CARMEN
THE BOARD OF EDUCATION OF THE CITY SCHOOL : CONCEPCION
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Carmen Concepcion:

    1. Class Membership. Ms. Concepcion is a member of the Plaintiff class in this action, and
       is entitled to monetary and injunctive relief from Defendant, the Board of Education of
       the City School District of the City of New York (“BOE”), as compensation for the
       injuries she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Concepcion would have been
                appointed as a regularly appointed teacher in October 2000. The Special Master
                also finds, and the Court agrees, that Ms. Concepcion is eligible to accrue
                backpay damages beginning October 2000.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Concepcion would have worked as a
                regularly appointed teacher until January 1, 2005, Ms. Concepcion accrues
                backpay damages until April 1, 2005, and Ms. Concepcion’s backpay damages
                should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Concepcion’s monthly mitigation during each month of the damages
                period was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Concepcion’s monthly backpay damages are as listed in the column
          entitled Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Concepcion has satisfied her burden of establishing her entitlement
   to the following monetary relief:

       a. Backpay in the amount of $105,588;

       b. A tax-component award in the amount of $12,407;

       c. $70 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. CAR Day damages in the amount of $1,630; and

       e. Pre-judgment interest in the amount of $31,169.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Concepcion has satisfied her burden of establishing her
   entitlement to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Concepcion’s counterfactual monthly BOE
          service history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Concepcion should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Concepcion (the “Pension
          Inputs”) should be imported into the Teachers’ Retirement System of the City of
          New York (“TRS”):

              i.    Date of Birth —                1950

              ii.   Gender — Female

              iii. Address —                                Orlando, FL 32825

              iv. Counterfactual date of appointment as a regularly appointed teacher —
                  October 17, 2000

              v.    BOE Employment Title — As listed in column entitled Title on Exhibit B



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               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — January 1,
                   2005

               x.   Retirement date (if any) — September 28, 2012

DATED: November 23, 2021




                                            3
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2000-10             $2,653         $1,765          $888            $888              $888
2000-11             $2,766         $1,248         $1,517          $1,517            $2,405
2000-12             $2,766         $1,376         $1,389          $1,389            $3,794
2001-01             $2,766         $2,272          $494            $494             $4,288
2001-02             $2,766         $1,132         $1,634          $1,634            $5,922
2001-03             $2,821         $1,132         $1,689          $1,689            $7,611
2001-04             $2,821         $2,766            $55             $55            $7,667
2001-05             $2,821         $2,766            $55             $55            $7,722
2001-06             $2,821         $2,766            $55             $55            $7,778
2001-07             $2,821         $2,766            $55             $55            $7,833
2001-08             $2,821         $1,132         $1,689          $1,689            $9,522
2001-09             $2,821         $1,132         $1,689          $1,689           $11,212
2001-10             $2,821         $1,132         $1,689          $1,689           $12,901
2001-11             $2,962         $1,132         $1,830          $1,817           $14,718
2001-12             $2,962         $1,132         $1,830          $1,811           $16,529
2002-01             $2,962         $1,208         $1,755          $1,730           $18,260
2002-02             $2,962         $1,208         $1,755          $1,724           $19,984
2002-03             $3,020         $1,208         $1,813          $1,775           $21,759
2002-04             $3,020         $1,208         $1,813          $1,769           $23,527
2002-05             $3,396         $1,208         $2,189          $2,128           $25,656
2002-06             $3,396         $1,208         $2,189          $2,121           $27,777
2002-07             $3,396         $1,208         $2,189          $2,113           $29,890
2002-08             $3,396         $1,208         $2,189          $2,106           $31,996
2002-09             $3,703         $1,208         $2,496          $2,393           $34,389
2002-10             $3,703         $1,208         $2,496          $2,384           $36,773
2002-11             $3,703         $1,208         $2,496          $2,376           $39,149
2002-12             $3,703         $1,208         $2,496          $2,367           $41,516
2003-01             $3,703         $1,208         $2,496          $2,359           $43,874
2003-02             $3,703         $1,208         $2,496          $2,350           $46,224
2003-03             $3,751         $1,208         $2,543          $2,386           $48,611
2003-04             $3,751         $1,208         $2,543          $2,378           $50,989
2003-05             $3,751         $1,208         $2,543          $2,371           $53,359
2003-06             $3,751         $1,208         $2,543          $2,363           $55,722
2003-07             $3,751         $1,208         $2,543          $2,355           $58,077
2003-08             $3,751         $1,208         $2,543          $2,347           $60,423
2003-09             $3,751         $1,208         $2,543          $2,339           $62,762
2003-10             $3,751         $1,208         $2,543          $2,331           $65,093
2003-11             $3,751         $1,208         $2,543          $2,323           $67,415
2003-12             $3,826         $1,208         $2,619          $2,383           $69,799
2004-01             $3,826         $1,208         $2,619          $2,375           $72,174
2004-02             $3,826         $1,208         $2,619          $2,367           $74,540
2004-03             $3,868         $1,208         $2,661          $2,396           $76,937
2004-04             $3,868         $1,208         $2,661          $2,388           $79,325


                                                                                  Exhibit A to
                                                              C. Concepcion's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2004-05             $3,868         $1,208         $2,661          $2,380           $81,705
2004-06             $3,868         $1,208         $2,661          $2,371           $84,076
2004-07             $3,868         $1,208         $2,661          $2,363           $86,439
2004-08             $3,868         $1,208         $2,661          $2,355           $88,794
2004-09             $3,868         $1,208         $2,661          $2,346           $91,140
2004-10             $3,888         $1,208         $2,681          $2,356           $93,496
2004-11             $3,888         $1,208         $2,681          $2,348           $95,844
2004-12             $4,024         $1,208         $2,817          $2,458           $98,302
2005-01             $4,024         $1,237         $2,788          $2,424          $100,726
2005-02             $4,024         $1,237         $2,788          $2,415          $103,141
2005-03             $4,072         $1,237         $2,835          $2,447          $105,588




                                                                                  Exhibit A to
                                                              C. Concepcion's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2000-10     Regulalry Appointed Teacher               $31,910
          2000-11     Regulalry Appointed Teacher               $33,186
          2000-12     Regulalry Appointed Teacher               $33,186
          2001-01     Regulalry Appointed Teacher               $33,186
          2001-02     Regulalry Appointed Teacher               $33,186
          2001-03     Regulalry Appointed Teacher               $33,851
          2001-04     Regulalry Appointed Teacher               $33,851
          2001-05     Regulalry Appointed Teacher               $33,851
          2001-06     Regulalry Appointed Teacher               $33,851
          2001-07     Regulalry Appointed Teacher               $33,851
          2001-08     Regulalry Appointed Teacher               $33,851
          2001-09     Regulalry Appointed Teacher               $33,851
          2001-10     Regulalry Appointed Teacher               $33,851
          2001-11     Regulalry Appointed Teacher               $35,544
          2001-12     Regulalry Appointed Teacher               $35,544
          2002-01     Regulalry Appointed Teacher               $35,544
          2002-02     Regulalry Appointed Teacher               $35,544
          2002-03     Regulalry Appointed Teacher               $36,240
          2002-04     Regulalry Appointed Teacher               $36,240
          2002-05     Regulalry Appointed Teacher               $40,755
          2002-06     Regulalry Appointed Teacher               $40,755
          2002-07     Regulalry Appointed Teacher               $40,755
          2002-08     Regulalry Appointed Teacher               $40,755
          2002-09     Regulalry Appointed Teacher               $44,436
          2002-10     Regulalry Appointed Teacher               $44,436
          2002-11     Regulalry Appointed Teacher               $44,436
          2002-12     Regulalry Appointed Teacher               $44,436
          2003-01     Regulalry Appointed Teacher               $44,436
          2003-02     Regulalry Appointed Teacher               $44,436
          2003-03     Regulalry Appointed Teacher               $45,011
          2003-04     Regulalry Appointed Teacher               $45,011
          2003-05     Regulalry Appointed Teacher               $45,011
          2003-06     Regulalry Appointed Teacher               $45,011
          2003-07     Regulalry Appointed Teacher               $45,011
          2003-08     Regulalry Appointed Teacher               $45,011
          2003-09     Regulalry Appointed Teacher               $45,011
          2003-10     Regulalry Appointed Teacher               $45,011
          2003-11     Regulalry Appointed Teacher               $45,011
          2003-12     Regulalry Appointed Teacher               $45,912
          2004-01     Regulalry Appointed Teacher               $45,912
          2004-02     Regulalry Appointed Teacher               $45,912
          2004-03     Regulalry Appointed Teacher               $46,416
          2004-04     Regulalry Appointed Teacher               $46,416

                                                                                  Exhibit B to
                                                              C. Concepcion's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2004-05     Regulalry Appointed Teacher               $46,416
          2004-06     Regulalry Appointed Teacher               $46,416
          2004-07     Regulalry Appointed Teacher               $46,416
          2004-08     Regulalry Appointed Teacher               $46,416
          2004-09     Regulalry Appointed Teacher               $46,416
          2004-10     Regulalry Appointed Teacher               $46,660
          2004-11     Regulalry Appointed Teacher               $46,660
          2004-12     Regulalry Appointed Teacher               $48,293




                                                                                  Exhibit B to
                                                              C. Concepcion's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : DOROTHY
                                                                       : TOLEN
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Dorothy Tolen (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on December 22, 2020, with respect to Ms.
Tolen’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Dorothy
Tolen, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Dorothy Tolen (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Tolen will have
judgment against the BOE as follows:

   1. Backpay in the amount of $333,949;

   2. Tax-component award in the amount of $39,239;

   3. LAST Fees in the amount of $1,798;

   4. ASAF account award in the amount of $943;

   5. CAR Day award in the amount of $4,961;

   6. Pre-judgment interest calculated to be $49,894; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Tolen will be entitled to
the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Tolen’s counterfactual monthly service history, as listed on Exhibit B
          to the Findings of Fact and Conclusions of Law for Dorothy Tolen; and

       c. Grant Ms. Tolen retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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            Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : DOROTHY
THE BOARD OF EDUCATION OF THE CITY SCHOOL : TOLEN
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Dorothy Tolen:

    1. Class Membership. Ms. Tolen is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Tolen would have been appointed as a
                regularly appointed teacher in April 2001. The Special Master also finds, and the
                Court agrees, that Ms. Tolen is eligible to accrue backpay damages beginning
                April 2001.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Tolen would have worked as a
                regularly appointed teacher until January 1, 2011, Ms. Tolen accrues backpay
                damages until July 1, 2015, and Ms. Tolen’s backpay damages should be reduced
                by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Tolen’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Tolen’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Tolen has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $333,949;

       b. A tax-component award in the amount of $39,239;

       c. $1,798 to compensate her for the fees she paid to take the Liberal Arts and
          Sciences Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $943;

       e. CAR Day damages in the amount of $4,961; and

       f. Pre-judgment interest in the amount of $49,894.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Tolen has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Tolen’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Tolen should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Tolen (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —         1945

               ii.   Gender — Female

               iii. Address —                            Virginia Beach, VA 23464

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   April 2, 2001



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — January 1,
                   2011

               x.   Retirement date (if any) — January 1, 2011

DATED: November 23, 2021




                                            3
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2001-04             $2,766         $2,766             $0              $0                $0
2001-05             $2,766         $2,766             $0              $0                $0
2001-06             $2,766         $2,766             $0              $0                $0
2001-07             $2,766         $2,766             $0              $0                $0
2001-08             $2,766         $2,766             $0              $0                $0
2001-09             $2,766         $2,766             $0              $0                $0
2001-10             $2,766         $2,766             $0              $0                $0
2001-11             $2,904         $2,904             $0              $0                $0
2001-12             $2,904         $2,904             $0              $0                $0
2002-01             $2,904         $2,904             $0              $0                $0
2002-02             $3,280         $2,904          $376            $376              $376
2002-03             $3,280         $2,904          $376            $376              $753
2002-04             $3,338         $2,962          $376            $376             $1,129
2002-05             $3,338         $2,962          $376            $376             $1,505
2002-06             $3,338         $2,962          $376            $376             $1,881
2002-07             $3,338         $2,962          $376            $376             $2,258
2002-08             $3,338         $2,962          $376            $376             $2,634
2002-09             $3,676         $3,146          $530            $530             $3,163
2002-10             $3,676         $3,146          $530            $530             $3,693
2002-11             $3,676         $3,146          $530            $530             $4,222
2002-12             $3,676         $3,146          $530            $530             $4,752
2003-01             $3,676         $3,146          $530            $530             $5,281
2003-02             $3,676         $3,146          $530            $530             $5,811
2003-03             $3,676         $3,146          $530            $530             $6,340
2003-04             $3,703         $3,208          $495            $495             $6,835
2003-05             $3,703         $3,208          $495            $495             $7,330
2003-06             $3,703         $3,208          $495            $495             $7,825
2003-07             $3,703         $3,208          $495            $495             $8,320
2003-08             $3,703         $3,208          $495            $495             $8,815
2003-09             $3,703            $68         $3,635          $3,635           $12,450
2003-10             $3,703            $68         $3,635          $3,635           $16,085
2003-11             $3,703            $68         $3,635          $3,635           $19,721
2003-12             $3,777            $68         $3,709          $3,709           $23,430
2004-01             $3,777          $951          $2,826          $2,826           $26,256
2004-02             $3,777          $951          $2,826          $2,826           $29,082
2004-03             $3,777          $951          $2,826          $2,826           $31,907
2004-04             $3,826          $951          $2,875          $2,875           $34,782
2004-05             $3,826          $951          $2,875          $2,875           $37,657
2004-06             $3,826          $951          $2,875          $2,875           $40,532
2004-07             $3,846          $951          $2,895          $2,895           $43,427
2004-08             $3,846          $951          $2,895          $2,895           $46,322
2004-09             $3,846         $1,208         $2,639          $2,639           $48,961
2004-10             $3,846         $1,208         $2,639          $2,639           $51,599


                                                                                  Exhibit A to
                                                                   D. Tolen's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2004-11             $3,846         $1,208         $2,639          $2,639           $54,238
2004-12             $3,981         $1,208         $2,773          $2,773           $57,012
2005-01             $3,981         $1,237         $2,744          $2,744           $59,756
2005-02             $3,981         $1,237         $2,744          $2,744           $62,500
2005-03             $3,981         $1,237         $2,744          $2,744           $65,244
2005-04             $4,147         $1,237         $2,910          $2,910           $68,154
2005-05             $4,147         $1,237         $2,910          $2,910           $71,064
2005-06             $4,147         $1,237         $2,910          $2,910           $73,974
2005-07             $4,147         $1,237         $2,910          $2,910           $76,884
2005-08             $4,147         $1,237         $2,910          $2,910           $79,794
2005-09             $4,147         $1,237         $2,910          $2,910           $82,704
2005-10             $4,147         $1,237         $2,910          $2,910           $85,613
2005-11             $4,375         $1,237         $3,138          $3,138           $88,751
2005-12             $4,386         $1,237         $3,150          $3,150           $91,901
2006-01             $4,386         $1,301         $3,085          $3,085           $94,986
2006-02             $4,386         $1,301         $3,085          $3,085           $98,072
2006-03             $4,386         $1,301         $3,085          $3,085          $101,157
2006-04             $4,436         $1,301         $3,135          $3,135          $104,293
2006-05             $4,436         $1,301         $3,135          $3,135          $107,428
2006-06             $4,436         $1,301         $3,135          $3,135          $110,563
2006-07             $4,436         $1,301         $3,135          $3,135          $113,698
2006-08             $4,436         $1,301         $3,135          $3,135          $116,833
2006-09             $4,436         $1,301         $3,135          $3,135          $119,968
2006-10             $4,580         $1,301         $3,279          $3,279          $123,248
2006-11             $4,580         $1,301         $3,279          $3,279          $126,527
2006-12             $4,580         $1,301         $3,279          $3,279          $129,807
2007-01             $4,580         $1,453         $3,128          $3,128          $132,934
2007-02             $4,580         $1,453         $3,128          $3,128          $136,062
2007-03             $4,653         $1,453         $3,200          $3,200          $139,263
2007-04             $4,761         $1,453         $3,308          $3,308          $142,571
2007-05             $4,761         $1,453         $3,308          $3,308          $145,879
2007-06             $4,761         $1,453         $3,308          $3,308          $149,187
2007-07             $4,761         $1,453         $3,308          $3,308          $152,495
2007-08             $4,761         $1,453         $3,308          $2,240          $154,735
2007-09             $4,761         $1,453         $3,308          $2,240          $156,976
2007-10             $4,856         $1,453         $3,403          $2,305          $159,280
2007-11             $4,856         $1,453         $3,403          $2,305          $161,585
2007-12             $4,856         $1,453         $3,403          $2,305          $163,890
2008-01             $4,856         $1,458         $3,397          $2,301          $166,191
2008-02             $4,856         $1,458         $3,397          $2,301          $168,492
2008-03             $5,113         $1,458         $3,655          $2,475          $170,967
2008-04             $5,354         $1,458         $3,895          $2,638          $173,605
2008-05             $5,705         $1,458         $4,247          $2,876          $176,482


                                                                                  Exhibit A to
                                                                   D. Tolen's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2008-06             $5,705         $1,458         $4,247          $2,876          $179,358
2008-07             $5,705         $1,458         $4,247          $2,876          $182,234
2008-08             $5,705         $1,458         $4,247          $2,548          $184,782
2008-09             $5,705         $1,458         $4,247          $2,548          $187,330
2008-10             $5,705         $1,458         $4,247          $2,548          $189,879
2008-11             $5,705         $1,458         $4,247          $2,548          $192,427
2008-12             $5,705         $1,458         $4,247          $2,548          $194,976
2009-01             $5,705         $1,458         $4,247          $2,548          $197,524
2009-02             $5,705         $1,458         $4,247          $2,548          $200,073
2009-03             $6,005         $1,458         $4,547          $2,729          $202,802
2009-04             $6,005         $1,458         $4,547          $2,729          $205,530
2009-05             $6,005         $1,458         $4,547          $2,729          $208,259
2009-06             $6,005         $1,458         $4,547          $2,729          $210,987
2009-07             $6,005         $1,458         $4,547          $2,729          $213,716
2009-08             $6,005         $1,458         $4,547          $2,376          $216,092
2009-09             $6,005         $1,458         $4,547          $2,376          $218,468
2009-10             $6,005         $1,458         $4,547          $2,376          $220,844
2009-11             $6,005         $1,458         $4,547          $2,376          $223,220
2009-12             $6,005         $1,458         $4,547          $2,376          $225,597
2010-01             $6,005         $1,458         $4,547          $2,376          $227,973
2010-02             $6,005         $1,458         $4,547          $2,376          $230,349
2010-03             $6,005         $1,458         $4,547          $2,376          $232,725
2010-04             $6,005         $1,458         $4,547          $2,376          $235,101
2010-05             $6,005         $1,458         $4,547          $2,376          $237,477
2010-06             $6,005         $1,458         $4,547          $2,376          $239,853
2010-07             $6,005         $1,458         $4,547          $2,376          $242,229
2010-08             $6,005         $1,458         $4,547          $2,035          $244,264
2010-09             $6,005         $1,458         $4,547          $2,035          $246,299
2010-10             $6,005         $1,458         $4,547          $2,035          $248,334
2010-11             $6,005         $1,458         $4,547          $2,035          $250,369
2010-12             $6,005         $1,458         $4,547          $2,035          $252,403
2011-01             $6,005         $1,458         $4,547          $2,035          $254,438
2011-02             $6,005         $1,458         $4,547          $2,035          $256,473
2011-03             $6,005         $1,458         $4,547          $2,035          $258,508
2011-04             $6,262         $1,458         $4,804          $2,150          $260,658
2011-05             $6,262         $1,458         $4,804          $2,150          $262,808
2011-06             $6,262         $1,458         $4,804          $2,150          $264,958
2011-07             $6,262         $1,458         $4,804          $2,150          $267,108
2011-08             $6,262         $1,458         $4,804          $1,812          $268,920
2011-09             $6,262         $1,458         $4,804          $1,812          $270,732
2011-10             $6,262         $1,458         $4,804          $1,812          $272,544
2011-11             $6,262         $1,458         $4,804          $1,812          $274,357
2011-12             $6,262         $1,458         $4,804          $1,812          $276,169


                                                                                  Exhibit A to
                                                                   D. Tolen's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2012-01             $6,262         $1,458         $4,804          $1,812          $277,981
2012-02             $6,262         $1,458         $4,804          $1,812          $279,793
2012-03             $6,262         $1,458         $4,804          $1,812          $281,605
2012-04             $6,262         $1,458         $4,804          $1,812          $283,418
2012-05             $6,262         $1,458         $4,804          $1,812          $285,230
2012-06             $6,262         $1,458         $4,804          $1,812          $287,042
2012-07             $6,262         $1,458         $4,804          $1,812          $288,854
2012-08             $6,262         $1,458         $4,804          $1,505          $290,359
2012-09             $6,262         $1,458         $4,804          $1,505          $291,864
2012-10             $6,262         $1,458         $4,804          $1,505          $293,369
2012-11             $6,262         $1,458         $4,804          $1,505          $294,874
2012-12             $6,262         $1,458         $4,804          $1,505          $296,379
2013-01             $6,262         $1,476         $4,787          $1,500          $297,879
2013-02             $6,262         $1,476         $4,787          $1,500          $299,378
2013-03             $6,262         $1,476         $4,787          $1,500          $300,878
2013-04             $6,262         $1,476         $4,787          $1,500          $302,377
2013-05             $6,325         $1,476         $4,849          $1,519          $303,896
2013-06             $6,325         $1,476         $4,849          $1,519          $305,415
2013-07             $6,325         $1,476         $4,849          $1,519          $306,934
2013-08             $6,325         $1,476         $4,849          $1,244          $308,179
2013-09             $6,325         $1,476         $4,849          $1,244          $309,423
2013-10             $6,325         $1,476         $4,849          $1,244          $310,668
2013-11             $6,325         $1,476         $4,849          $1,244          $311,912
2013-12             $6,325         $1,476         $4,849          $1,244          $313,156
2014-01             $6,325         $1,488         $4,838          $1,241          $314,398
2014-02             $6,325         $1,488         $4,838          $1,241          $315,639
2014-03             $6,325         $1,488         $4,838          $1,241          $316,880
2014-04             $6,502         $1,488         $5,014          $1,287          $318,167
2014-05             $6,567         $1,488         $5,079          $1,303          $319,471
2014-06             $6,567         $1,488         $5,079          $1,560          $321,031
2014-07             $6,567         $1,488         $5,079          $1,303          $322,334
2014-08             $6,567         $1,488         $5,079          $1,054          $323,389
2014-09             $6,567         $1,488         $5,079          $1,054          $324,443
2014-10             $6,567         $1,488         $5,079          $1,054          $325,497
2014-11             $6,567         $1,488         $5,079          $1,054          $326,552
2014-12             $6,567         $1,488         $5,079          $1,054          $327,606
2015-01             $6,567         $1,540         $5,027          $1,043          $328,649
2015-02             $6,567         $1,540         $5,027          $1,043          $329,693
2015-03             $6,567         $1,540         $5,027          $1,043          $330,736
2015-04             $6,567         $1,540         $5,027          $1,043          $331,780
2015-05             $6,765         $1,540         $5,225          $1,085          $332,864
2015-06             $6,765         $1,540         $5,225          $1,085          $333,949



                                                                                  Exhibit A to
                                                                   D. Tolen's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2001-04     Regularly Appointed Teacher               $33,186
          2001-05     Regularly Appointed Teacher               $33,186
          2001-06     Regularly Appointed Teacher               $33,186
          2001-07     Regularly Appointed Teacher               $33,186
          2001-08     Regularly Appointed Teacher               $33,186
          2001-09     Regularly Appointed Teacher               $33,186
          2001-10     Regularly Appointed Teacher               $33,186
          2001-11     Regularly Appointed Teacher               $34,845
          2001-12     Regularly Appointed Teacher               $34,845
          2002-01     Regularly Appointed Teacher               $34,845
          2002-02     Regularly Appointed Teacher               $39,360
          2002-03     Regularly Appointed Teacher               $39,360
          2002-04     Regularly Appointed Teacher               $40,059
          2002-05     Regularly Appointed Teacher               $40,059
          2002-06     Regularly Appointed Teacher               $40,059
          2002-07     Regularly Appointed Teacher               $40,059
          2002-08     Regularly Appointed Teacher               $40,059
          2002-09     Regularly Appointed Teacher               $44,111
          2002-10     Regularly Appointed Teacher               $44,111
          2002-11     Regularly Appointed Teacher               $44,111
          2002-12     Regularly Appointed Teacher               $44,111
          2003-01     Regularly Appointed Teacher               $44,111
          2003-02     Regularly Appointed Teacher               $44,111
          2003-03     Regularly Appointed Teacher               $44,111
          2003-04     Regularly Appointed Teacher               $44,436
          2003-05     Regularly Appointed Teacher               $44,436
          2003-06     Regularly Appointed Teacher               $44,436
          2003-07     Regularly Appointed Teacher               $44,436
          2003-08     Regularly Appointed Teacher               $44,436
          2003-09     Regularly Appointed Teacher               $44,436
          2003-10     Regularly Appointed Teacher               $44,436
          2003-11     Regularly Appointed Teacher               $44,436
          2003-12     Regularly Appointed Teacher               $45,325
          2004-01     Regularly Appointed Teacher               $45,325
          2004-02     Regularly Appointed Teacher               $45,325
          2004-03     Regularly Appointed Teacher               $45,325
          2004-04     Regularly Appointed Teacher               $45,912
          2004-05     Regularly Appointed Teacher               $45,912
          2004-06     Regularly Appointed Teacher               $45,912
          2004-07     Regularly Appointed Teacher               $46,156
          2004-08     Regularly Appointed Teacher               $46,156
          2004-09     Regularly Appointed Teacher               $46,156
          2004-10     Regularly Appointed Teacher               $46,156

                                                                                   Exhibit B to
                                                                    D. Tolen's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2004-11     Regularly Appointed Teacher               $46,156
          2004-12     Regularly Appointed Teacher               $47,771
          2005-01     Regularly Appointed Teacher               $47,771
          2005-02     Regularly Appointed Teacher               $47,771
          2005-03     Regularly Appointed Teacher               $47,771
          2005-04     Regularly Appointed Teacher               $49,758
          2005-05     Regularly Appointed Teacher               $49,758
          2005-06     Regularly Appointed Teacher               $49,758
          2005-07     Regularly Appointed Teacher               $49,758
          2005-08     Regularly Appointed Teacher               $49,758
          2005-09     Regularly Appointed Teacher               $49,758
          2005-10     Regularly Appointed Teacher               $49,758
          2005-11     Regularly Appointed Teacher               $52,495
          2005-12     Regularly Appointed Teacher               $52,636
          2006-01     Regularly Appointed Teacher               $52,636
          2006-02     Regularly Appointed Teacher               $52,636
          2006-03     Regularly Appointed Teacher               $52,636
          2006-04     Regularly Appointed Teacher               $53,232
          2006-05     Regularly Appointed Teacher               $53,232
          2006-06     Regularly Appointed Teacher               $53,232
          2006-07     Regularly Appointed Teacher               $53,232
          2006-08     Regularly Appointed Teacher               $53,232
          2006-09     Regularly Appointed Teacher               $53,232
          2006-10     Regularly Appointed Teacher               $54,963
          2006-11     Regularly Appointed Teacher               $54,963
          2006-12     Regularly Appointed Teacher               $54,963
          2007-01     Regularly Appointed Teacher               $54,963
          2007-02     Regularly Appointed Teacher               $54,963
          2007-03     Regularly Appointed Teacher               $55,834
          2007-04     Regularly Appointed Teacher               $57,126
          2007-05     Regularly Appointed Teacher               $57,126
          2007-06     Regularly Appointed Teacher               $57,126
          2007-07     Regularly Appointed Teacher               $57,126
          2007-08     Regularly Appointed Teacher               $57,126
          2007-09     Regularly Appointed Teacher               $57,126
          2007-10     Regularly Appointed Teacher               $58,269
          2007-11     Regularly Appointed Teacher               $58,269
          2007-12     Regularly Appointed Teacher               $58,269
          2008-01     Regularly Appointed Teacher               $58,269
          2008-02     Regularly Appointed Teacher               $58,269
          2008-03     Regularly Appointed Teacher               $61,357
          2008-04     Regularly Appointed Teacher               $64,246
          2008-05     Regularly Appointed Teacher               $68,458

                                                                                   Exhibit B to
                                                                    D. Tolen's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2008-06     Regularly Appointed Teacher               $68,458
          2008-07     Regularly Appointed Teacher               $68,458
          2008-08     Regularly Appointed Teacher               $68,458
          2008-09     Regularly Appointed Teacher               $68,458
          2008-10     Regularly Appointed Teacher               $68,458
          2008-11     Regularly Appointed Teacher               $68,458
          2008-12     Regularly Appointed Teacher               $68,458
          2009-01     Regularly Appointed Teacher               $68,458
          2009-02     Regularly Appointed Teacher               $68,458
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060




                                                                                   Exhibit B to
                                                                    D. Tolen's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : EDNA
                                                                       : GUEVARA
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Edna Guevara (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on December 10, 2020, with respect to Ms.
Guevara’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Edna
Guevara, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Edna Guevara (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Guevara will have
judgment against the BOE as follows:

   1. Backpay in the amount of $108,704;

   2. Tax-component award in the amount of $12,773;

   3. LAST Fees in the amount of $320;

   4. ASAF account award in the amount of $1,807;

   5. CAR Day award in the amount of $10,601;

   6. Pre-judgment interest calculated to be $14,437; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Guevara will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Guevara’s counterfactual monthly service history, as listed on
          Exhibit B to the Findings of Fact and Conclusions of Law for Edna Guevara; and

       c. Grant Ms. Guevara retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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            Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : EDNA
THE BOARD OF EDUCATION OF THE CITY SCHOOL : GUEVARA
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Edna Guevara:

    1. Class Membership. Ms. Guevara is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Guevara would have been appointed as
                a regularly appointed teacher in November 2004. The Special Master also finds,
                and the Court agrees, that Ms. Guevara is eligible to accrue backpay damages
                beginning September 2003.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Guevara would have worked as a
                regularly appointed teacher until October 1, 2015, Ms. Guevara accrues backpay
                damages through the date of judgment, and Ms. Guevara’s backpay damages
                should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Guevara’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Guevara’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Guevara has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $108,704;

       b. A tax-component award in the amount of $12,773;

       c. $320 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $1,807;

       e. CAR Day damages in the amount of $10,601; and

       f. Pre-judgment interest in the amount of $14,437.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Guevara has satisfied her burden of establishing her
   entitlement to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Guevara’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Guevara should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Guevara (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —               1972

               ii.   Gender — Female

               iii. Address —                    Haverstraw, NY 10927

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   November 30, 2004



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — October 1,
                   2015

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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                                      Exhibit A --
                               Monthly Backpay Damages

                                                               Monthly
           Counterfactual    Monthly                                           Cumulative
Month                                       Montly Damages   Damages with
          Monthly Earnings   Mitigation                                         Damages
                                                               Attrition
2003-09             $3,146           -$35           $3,181          $3,181            $3,181
2003-10             $3,146           -$35           $3,181          $3,181            $6,363
2003-11             $3,146           -$35           $3,181          $3,181            $9,544
2003-12             $3,209           -$35           $3,244          $3,244           $12,789
2004-01             $3,209         $1,613           $1,597          $1,597           $14,385
2004-02             $3,209         $1,613           $1,597          $1,597           $15,982
2004-03             $3,272         $1,613           $1,660          $1,660           $17,642
2004-04             $3,272         $1,613           $1,660          $1,660           $19,301
2004-05             $3,272         $1,613           $1,660          $1,660           $20,961
2004-06             $3,272         $1,613           $1,660          $1,660           $22,620
2004-07             $3,272         $1,613           $1,660          $1,660           $24,280
2004-08             $3,272         $1,613           $1,660          $1,660           $25,940
2004-09             $3,272         $1,613           $1,660          $1,660           $27,599
2004-10             $3,272         $1,613           $1,660          $1,660           $29,259
2004-11             $3,370         $1,613           $1,758          $1,758           $31,017
2004-12             $3,488         $1,613           $1,876          $1,876           $32,892
2005-01             $3,488         $3,571               $0              $0           $32,892
2005-02             $3,488         $3,571               $0              $0           $32,892
2005-03             $3,539         $3,571               $0              $0           $32,892
2005-04             $3,539         $3,571               $0              $0           $32,892
2005-05             $3,539         $3,571               $0              $0           $32,892
2005-06             $3,539         $3,571               $0              $0           $32,892
2005-07             $3,539         $3,571               $0              $0           $32,892
2005-08             $3,539         $3,571               $0              $0           $32,892
2005-09             $3,539         $3,571               $0              $0           $32,892
2005-10             $3,539         $3,571               $0              $0           $32,892
2005-11             $3,734         $3,571            $163            $158            $33,051
2005-12             $3,734         $3,571            $163            $158            $33,209
2006-01             $3,734         $5,163               $0              $0           $33,209
2006-02             $3,734         $5,163               $0              $0           $33,209
2006-03             $3,779         $5,163               $0              $0           $33,209
2006-04             $3,779         $5,163               $0              $0           $33,209
2006-05             $3,779         $5,163               $0              $0           $33,209
2006-06             $4,224         $5,163               $0              $0           $33,209
2006-07             $4,224         $5,163               $0              $0           $33,209
2006-08             $4,224         $5,163               $0              $0           $33,209
2006-09             $4,224         $5,163               $0              $0           $33,209
2006-10             $4,361         $5,163               $0              $0           $33,209
2006-11             $4,361         $5,163               $0              $0           $33,209
2006-12             $4,361         $5,163               $0              $0           $33,209
2007-01             $4,361         $4,977               $0              $0           $33,209
2007-02             $4,361         $4,977               $0              $0           $33,209
2007-03             $4,412         $4,977               $0              $0           $33,209


                                                                                    Exhibit A to
                                                                   E. Guevara's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                               Monthly
           Counterfactual    Monthly                                           Cumulative
Month                                       Montly Damages   Damages with
          Monthly Earnings   Mitigation                                         Damages
                                                               Attrition
2007-04             $4,412         $4,977               $0              $0           $33,209
2007-05             $4,412         $4,977               $0              $0           $33,209
2007-06             $4,412         $4,977               $0              $0           $33,209
2007-07             $4,412         $4,977               $0              $0           $33,209
2007-08             $4,412         $4,977               $0              $0           $33,209
2007-09             $4,412         $4,977               $0              $0           $33,209
2007-10             $4,501         $4,977               $0              $0           $33,209
2007-11             $4,501         $4,977               $0              $0           $33,209
2007-12             $4,501         $4,977               $0              $0           $33,209
2008-01             $4,501         $4,155            $345            $315            $33,523
2008-02             $4,501         $4,155            $345            $314            $33,837
2008-03             $4,684         $4,155            $529            $480            $34,317
2008-04             $4,684         $4,155            $529            $479            $34,796
2008-05             $5,002         $4,155            $847            $764            $35,560
2008-06             $5,002         $4,155            $847            $762            $36,322
2008-07             $5,002         $4,155            $847            $760            $37,083
2008-08             $5,002         $4,155            $847            $758            $37,841
2008-09             $5,002         $4,155            $847            $757            $38,598
2008-10             $5,002         $4,155            $847            $755            $39,352
2008-11             $5,026         $4,155            $871            $775            $40,127
2008-12             $5,026         $4,155            $871            $773            $40,900
2009-01             $5,026         $4,170            $856            $758            $41,658
2009-02             $5,026         $4,170            $856            $756            $42,413
2009-03             $5,549         $4,170           $1,379          $1,214           $43,628
2009-04             $5,549         $4,170           $1,379          $1,211           $44,839
2009-05             $5,549         $4,170           $1,379          $1,208           $46,048
2009-06             $5,549         $4,170           $1,379          $1,205           $47,253
2009-07             $5,549         $4,170           $1,379          $1,202           $48,456
2009-08             $5,692         $4,170           $1,522          $1,323           $49,779
2009-09             $5,692         $4,170           $1,522          $1,320           $51,099
2009-10             $5,692         $4,170           $1,522          $1,316           $52,415
2009-11             $5,692         $4,170           $1,522          $1,313           $53,728
2009-12             $5,692         $4,170           $1,522          $1,310           $55,038
2010-01             $5,692         $4,355           $1,337          $1,148           $56,186
2010-02             $5,692         $4,355           $1,337          $1,145           $57,331
2010-03             $5,992         $4,355           $1,637          $1,398           $58,729
2010-04             $6,005         $4,355           $1,650          $1,406           $60,135
2010-05             $6,005         $4,355           $1,650          $1,402           $61,537
2010-06             $6,005         $4,355           $1,650          $1,399           $62,936
2010-07             $6,005         $4,355           $1,650          $1,395           $64,331
2010-08             $6,005         $4,355           $1,650          $1,392           $65,723
2010-09             $6,005         $4,355           $1,650          $1,388           $67,111
2010-10             $6,005         $4,355           $1,650          $1,385           $68,495


                                                                                    Exhibit A to
                                                                   E. Guevara's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                               Monthly
           Counterfactual    Monthly                                           Cumulative
Month                                       Montly Damages   Damages with
          Monthly Earnings   Mitigation                                         Damages
                                                               Attrition
2010-11             $6,005         $4,355           $1,650          $1,381           $69,876
2010-12             $6,005         $4,355           $1,650          $1,377           $71,254
2011-01             $6,005         $4,578           $1,427          $1,188           $72,442
2011-02             $6,005         $4,578           $1,427          $1,185           $73,627
2011-03             $6,005         $4,578           $1,427          $1,182           $74,809
2011-04             $6,005         $4,578           $1,427          $1,179           $75,988
2011-05             $6,005         $4,578           $1,427          $1,176           $77,164
2011-06             $6,005         $4,578           $1,427          $1,173           $78,337
2011-07             $6,005         $4,578           $1,427          $1,170           $79,507
2011-08             $6,005         $4,578           $1,427          $1,167           $80,674
2011-09             $6,005         $4,578           $1,427          $1,164           $81,838
2011-10             $6,005         $4,578           $1,427          $1,161           $82,999
2011-11             $6,005         $4,578           $1,427          $1,158           $84,157
2011-12             $6,005         $4,578           $1,427          $1,155           $85,312
2012-01             $6,005         $4,999           $1,006           $812            $86,124
2012-02             $6,005         $4,999           $1,006           $810            $86,935
2012-03             $6,005         $4,999           $1,006           $808            $87,743
2012-04             $6,005         $4,999           $1,006           $806            $88,549
2012-05             $6,005         $4,999           $1,006           $804            $89,353
2012-06             $6,005         $4,999           $1,006           $802            $90,155
2012-07             $6,005         $4,999           $1,006           $800            $90,954
2012-08             $6,005         $4,999           $1,006           $798            $91,752
2012-09             $6,262         $4,999           $1,264           $999            $92,751
2012-10             $6,262         $4,999           $1,264           $996            $93,747
2012-11             $6,262         $4,999           $1,264           $994            $94,741
2012-12             $6,262         $4,999           $1,264           $991            $95,732
2013-01             $6,262         $6,422               $0              $0           $95,732
2013-02             $6,262         $6,422               $0              $0           $95,732
2013-03             $6,262         $6,422               $0              $0           $95,732
2013-04             $6,262         $6,422               $0              $0           $95,732
2013-05             $6,325         $6,422               $0              $0           $95,732
2013-06             $6,325         $6,422               $0              $0           $95,732
2013-07             $6,325         $6,422               $0              $0           $95,732
2013-08             $6,325         $6,422               $0              $0           $95,732
2013-09             $6,325         $6,422               $0              $0           $95,732
2013-10             $6,325         $6,422               $0              $0           $95,732
2013-11             $6,325         $6,422               $0              $0           $95,732
2013-12             $6,325         $6,422               $0              $0           $95,732
2014-01             $6,325         $7,158               $0              $0           $95,732
2014-02             $6,325         $7,158               $0              $0           $95,732
2014-03             $6,325         $7,158               $0              $0           $95,732
2014-04             $6,325         $7,158               $0              $0           $95,732
2014-05             $6,388         $7,158               $0              $0           $95,732


                                                                                    Exhibit A to
                                                                   E. Guevara's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                               Monthly
           Counterfactual    Monthly                                           Cumulative
Month                                       Montly Damages   Damages with
          Monthly Earnings   Mitigation                                         Damages
                                                               Attrition
2014-06             $6,388         $7,158               $0              $0           $95,732
2014-07             $6,388         $7,158               $0              $0           $95,732
2014-08             $6,388         $7,158               $0              $0           $95,732
2014-09             $6,388         $7,158               $0              $0           $95,732
2014-10             $6,388         $7,158               $0              $0           $95,732
2014-11             $6,388         $7,158               $0              $0           $95,732
2014-12             $6,388         $7,158               $0              $0           $95,732
2015-01             $6,388         $8,573               $0              $0           $95,732
2015-02             $6,388         $8,573               $0              $0           $95,732
2015-03             $6,388         $8,573               $0              $0           $95,732
2015-04             $6,388         $8,573               $0              $0           $95,732
2015-05             $6,581         $8,573               $0              $0           $95,732
2015-06             $6,581         $8,573               $0              $0           $95,732
2015-07             $6,581         $8,573               $0              $0           $95,732
2015-08             $6,581         $8,573               $0              $0           $95,732
2015-09             $6,765         $8,573               $0              $0           $95,732
2015-10             $6,765         $8,573               $0              $0           $95,732
2015-11             $6,765         $8,573               $0              $0           $95,732
2015-12             $6,765         $8,573               $0              $0           $95,732
2016-01             $6,765         $8,333               $0              $0           $95,732
2016-02             $6,765         $8,333               $0              $0           $95,732
2016-03             $6,765         $8,333               $0              $0           $95,732
2016-04             $6,765         $8,333               $0              $0           $95,732
2016-05             $7,001         $8,333               $0              $0           $95,732
2016-06             $7,001         $8,333               $0              $0           $95,732
2016-07             $7,001         $8,333               $0              $0           $95,732
2016-08             $7,001         $8,333               $0              $0           $95,732
2016-09             $7,001         $8,333               $0              $0           $95,732
2016-10             $7,001         $8,333               $0              $0           $95,732
2016-11             $7,001         $8,333               $0              $0           $95,732
2016-12             $7,001         $8,333               $0              $0           $95,732
2017-01             $7,001         $7,419               $0              $0           $95,732
2017-02             $7,001         $7,419               $0              $0           $95,732
2017-03             $7,001         $7,419               $0              $0           $95,732
2017-04             $7,001         $7,419               $0              $0           $95,732
2017-05             $7,320         $7,419               $0              $0           $95,732
2017-06             $7,320         $7,419               $0              $0           $95,732
2017-07             $7,320         $7,419               $0              $0           $95,732
2017-08             $7,320         $7,419               $0              $0           $95,732
2017-09             $7,741         $7,419             $322            $215           $95,947
2017-10             $7,741         $7,419             $322            $214           $96,161
2017-11             $7,741         $7,419             $322            $214           $96,375
2017-12             $7,741         $7,419             $322            $213           $96,588


                                                                                    Exhibit A to
                                                                   E. Guevara's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                               Monthly
           Counterfactual    Monthly                                           Cumulative
Month                                       Montly Damages   Damages with
          Monthly Earnings   Mitigation                                         Damages
                                                               Attrition
2018-01             $7,741         $7,667              $74             $49           $96,637
2018-02             $7,741         $7,667              $74             $49           $96,685
2018-03             $7,741         $7,667              $74             $49           $96,734
2018-04             $7,741         $7,667              $74             $48           $96,782
2018-05             $7,892         $7,667             $226            $147           $96,929
2018-06             $8,129         $7,667             $462            $301           $97,230
2018-07             $8,129         $7,667             $462            $300           $97,530
2018-08             $8,129         $7,667             $462            $299           $97,829
2018-09             $8,129         $7,667             $462            $298           $98,127
2018-10             $8,129         $7,667             $462            $297           $98,424
2018-11             $8,129         $7,667             $462            $296           $98,720
2018-12             $8,129         $7,667             $462            $295           $99,016
2019-01             $8,129         $7,786             $344            $219           $99,234
2019-02             $8,292         $7,786             $506            $321           $99,555
2019-03             $8,292         $7,786             $506            $320           $99,876
2019-04             $8,292         $7,786             $506            $319          $100,195
2019-05             $8,292         $7,786             $506            $318          $100,513
2019-06             $8,292         $7,786             $506            $317          $100,830
2019-07             $8,292         $7,786             $506            $316          $101,146
2019-08             $8,292         $7,786             $506            $315          $101,461
2019-09             $8,292         $7,786             $506            $314          $101,776
2019-10             $8,292         $7,786             $506            $313          $102,089
2019-11             $8,292         $7,786             $506            $312          $102,401
2019-12             $8,292         $7,786             $506            $311          $102,712
2020-01             $8,292         $7,942             $350            $214          $102,927
2020-02             $8,292         $7,942             $350            $214          $103,140
2020-03             $8,292         $7,942             $350            $213          $103,353
2020-04             $8,292         $7,942             $350            $212          $103,566
2020-05             $8,499         $7,942             $557            $337          $103,903
2020-06             $8,499         $7,942             $557            $336          $104,239
2020-07             $8,499         $7,942             $557            $335          $104,574
2020-08             $8,499         $7,942             $557            $334          $104,907
2020-09             $8,620         $7,942             $678            $405          $105,312
2020-10             $8,620         $7,942             $678            $404          $105,716
2020-11             $8,620         $7,942             $678            $402          $106,119
2020-12             $8,620         $7,942             $678            $401          $106,520
2021-01             $8,620         $8,101             $519            $306          $106,826
2021-02             $8,620         $8,101             $519            $305          $107,130
2021-03             $8,620         $8,101             $519            $304          $107,434
2021-04             $8,620         $8,101             $519            $303          $107,737
2021-05             $8,657         $8,101             $556            $323          $108,060
2021-06             $8,657         $8,101             $556            $322          $108,382
2021-07             $8,657         $8,101             $556            $322          $108,704


                                                                                    Exhibit A to
                                                                   E. Guevara's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2003-09     Regular Substitute Teacher                $37,757
          2003-10     Regular Substitute Teacher                $37,757
          2003-11     Regular Substitute Teacher                $37,757
          2003-12     Regular Substitute Teacher                $38,512
          2004-01     Regular Substitute Teacher                $38,512
          2004-02     Regular Substitute Teacher                $38,512
          2004-03     Regular Substitute Teacher                $39,267
          2004-04     Regular Substitute Teacher                $39,267
          2004-05     Regular Substitute Teacher                $39,267
          2004-06     Regular Substitute Teacher                $39,267
          2004-07     Regular Substitute Teacher                $39,267
          2004-08     Regular Substitute Teacher                $39,267
          2004-09     Regular Substitute Teacher                $39,267
          2004-10     Regular Substitute Teacher                $39,267
          2004-11     Regularly Appointed Teacher               $40,443
          2004-12     Regularly Appointed Teacher               $41,859
          2005-01     Regularly Appointed Teacher               $41,859
          2005-02     Regularly Appointed Teacher               $41,859
          2005-03     Regularly Appointed Teacher               $42,466
          2005-04     Regularly Appointed Teacher               $42,466
          2005-05     Regularly Appointed Teacher               $42,466
          2005-06     Regularly Appointed Teacher               $42,466
          2005-07     Regularly Appointed Teacher               $42,466
          2005-08     Regularly Appointed Teacher               $42,466
          2005-09     Regularly Appointed Teacher               $42,466
          2005-10     Regularly Appointed Teacher               $42,466
          2005-11     Regularly Appointed Teacher               $44,802
          2005-12     Regularly Appointed Teacher               $44,802
          2006-01     Regularly Appointed Teacher               $44,802
          2006-02     Regularly Appointed Teacher               $44,802
          2006-03     Regularly Appointed Teacher               $45,352
          2006-04     Regularly Appointed Teacher               $45,352
          2006-05     Regularly Appointed Teacher               $45,352
          2006-06     Regularly Appointed Teacher               $50,683
          2006-07     Regularly Appointed Teacher               $50,683
          2006-08     Regularly Appointed Teacher               $50,683
          2006-09     Regularly Appointed Teacher               $50,683
          2006-10     Regularly Appointed Teacher               $52,332
          2006-11     Regularly Appointed Teacher               $52,332
          2006-12     Regularly Appointed Teacher               $52,332
          2007-01     Regularly Appointed Teacher               $52,332
          2007-02     Regularly Appointed Teacher               $52,332
          2007-03     Regularly Appointed Teacher               $52,947

                                                                                     Exhibit B to
                                                                    E. Guevara's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2007-04     Regularly Appointed Teacher               $52,947
          2007-05     Regularly Appointed Teacher               $52,947
          2007-06     Regularly Appointed Teacher               $52,947
          2007-07     Regularly Appointed Teacher               $52,947
          2007-08     Regularly Appointed Teacher               $52,947
          2007-09     Regularly Appointed Teacher               $52,947
          2007-10     Regularly Appointed Teacher               $54,006
          2007-11     Regularly Appointed Teacher               $54,006
          2007-12     Regularly Appointed Teacher               $54,006
          2008-01     Regularly Appointed Teacher               $54,006
          2008-02     Regularly Appointed Teacher               $54,006
          2008-03     Regularly Appointed Teacher               $56,212
          2008-04     Regularly Appointed Teacher               $56,212
          2008-05     Regularly Appointed Teacher               $60,023
          2008-06     Regularly Appointed Teacher               $60,023
          2008-07     Regularly Appointed Teacher               $60,023
          2008-08     Regularly Appointed Teacher               $60,023
          2008-09     Regularly Appointed Teacher               $60,023
          2008-10     Regularly Appointed Teacher               $60,023
          2008-11     Regularly Appointed Teacher               $60,317
          2008-12     Regularly Appointed Teacher               $60,317
          2009-01     Regularly Appointed Teacher               $60,317
          2009-02     Regularly Appointed Teacher               $60,317
          2009-03     Regularly Appointed Teacher               $66,593
          2009-04     Regularly Appointed Teacher               $66,593
          2009-05     Regularly Appointed Teacher               $66,593
          2009-06     Regularly Appointed Teacher               $66,593
          2009-07     Regularly Appointed Teacher               $66,593
          2009-08     Regularly Appointed Teacher               $68,303
          2009-09     Regularly Appointed Teacher               $68,303
          2009-10     Regularly Appointed Teacher               $68,303
          2009-11     Regularly Appointed Teacher               $68,303
          2009-12     Regularly Appointed Teacher               $68,303
          2010-01     Regularly Appointed Teacher               $68,303
          2010-02     Regularly Appointed Teacher               $68,303
          2010-03     Regularly Appointed Teacher               $71,905
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060

                                                                                     Exhibit B to
                                                                    E. Guevara's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $72,060
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $72,060
          2011-06     Regularly Appointed Teacher               $72,060
          2011-07     Regularly Appointed Teacher               $72,060
          2011-08     Regularly Appointed Teacher               $72,060
          2011-09     Regularly Appointed Teacher               $72,060
          2011-10     Regularly Appointed Teacher               $72,060
          2011-11     Regularly Appointed Teacher               $72,060
          2011-12     Regularly Appointed Teacher               $72,060
          2012-01     Regularly Appointed Teacher               $72,060
          2012-02     Regularly Appointed Teacher               $72,060
          2012-03     Regularly Appointed Teacher               $72,060
          2012-04     Regularly Appointed Teacher               $72,060
          2012-05     Regularly Appointed Teacher               $72,060
          2012-06     Regularly Appointed Teacher               $72,060
          2012-07     Regularly Appointed Teacher               $72,060
          2012-08     Regularly Appointed Teacher               $72,060
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $75,149
          2013-05     Regularly Appointed Teacher               $75,901
          2013-06     Regularly Appointed Teacher               $75,901
          2013-07     Regularly Appointed Teacher               $75,901
          2013-08     Regularly Appointed Teacher               $75,901
          2013-09     Regularly Appointed Teacher               $75,901
          2013-10     Regularly Appointed Teacher               $75,901
          2013-11     Regularly Appointed Teacher               $75,901
          2013-12     Regularly Appointed Teacher               $75,901
          2014-01     Regularly Appointed Teacher               $75,901
          2014-02     Regularly Appointed Teacher               $75,901
          2014-03     Regularly Appointed Teacher               $75,901
          2014-04     Regularly Appointed Teacher               $75,901
          2014-05     Regularly Appointed Teacher               $76,660

                                                                                     Exhibit B to
                                                                    E. Guevara's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

          Month                        Title                  Annual Salary
          2014-06     Regularly Appointed Teacher               $76,660
          2014-07     Regularly Appointed Teacher               $76,660
          2014-08     Regularly Appointed Teacher               $76,660
          2014-09     Regularly Appointed Teacher               $76,660
          2014-10     Regularly Appointed Teacher               $76,660
          2014-11     Regularly Appointed Teacher               $76,660
          2014-12     Regularly Appointed Teacher               $76,660
          2015-01     Regularly Appointed Teacher               $76,660
          2015-02     Regularly Appointed Teacher               $76,660
          2015-03     Regularly Appointed Teacher               $76,660
          2015-04     Regularly Appointed Teacher               $76,660
          2015-05     Regularly Appointed Teacher               $78,975
          2015-06     Regularly Appointed Teacher               $78,975
          2015-07     Regularly Appointed Teacher               $78,975
          2015-08     Regularly Appointed Teacher               $78,975
          2015-09     Regularly Appointed Teacher               $81,184




                                                                                     Exhibit B to
                                                                    E. Guevara's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : ELLEN
                                                                       : GRANT-CALDWELL
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Ellen Grant-Caldwell (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on October 20, 2020, with respect to Ms. Grant-
Caldwell’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Ellen Grant-
Caldwell, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Ellen Grant-Caldwell (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Grant-Caldwell will
have judgment against the BOE as follows:

   1. Backpay in the amount of $30,439;

   2. Tax-component award in the amount of $3,577;

   3. LAST Fees in the amount of $140;

   4. CAR Day award in the amount of $301;

   5. Pre-judgment interest calculated to be $15,507; and

   6. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Grant-Caldwell will be
entitled to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Grant-Caldwell’s counterfactual monthly service history, as listed on
          Exhibit B to the Findings of Fact and Conclusions of Law for Ellen Grant-Caldwell;
          and

       c. Grant Ms. Grant-Caldwell retroactive seniority based on her counterfactual monthly
          service history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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            Exhibit 1
    Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 100 of 299




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : ELLEN
THE BOARD OF EDUCATION OF THE CITY SCHOOL : GRANT-CALDWELL
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Ellen Grant-Caldwell:

    1. Class Membership. Ms. Grant-Caldwell is a member of the Plaintiff class in this action,
       and is entitled to monetary and injunctive relief from Defendant, the Board of Education
       of the City School District of the City of New York (“BOE”), as compensation for the
       injuries she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Grant-Caldwell would have been
                appointed as a regularly appointed teacher in July 1999. The Special Master also
                finds, and the Court agrees, that Ms. Grant-Caldwell is eligible to accrue backpay
                damages beginning September 1998.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Grant-Caldwell would have worked as
                a regularly appointed teacher until October 1, 1999, Ms. Grant-Caldwell accrues
                backpay damages until October 1, 1999, and Ms. Grant-Caldwell’s backpay
                damages should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Grant-Caldwell’s monthly mitigation during each month of the damages
                period was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Grant-Caldwell’s monthly backpay damages are as listed in the column
          entitled Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Grant-Caldwell has satisfied her burden of establishing her
   entitlement to the following monetary relief:

       a. Backpay in the amount of $30,439;

       b. A tax-component award in the amount of $3,577;

       c. $140 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. CAR Day damages in the amount of $301; and

       e. Pre-judgment interest in the amount of $15,507.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Grant-Caldwell has satisfied her burden of establishing her
   entitlement to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Grant-Caldwell’s counterfactual monthly BOE
          service history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Grant-Caldwell should receive retroactive seniority, based on the
          counterfactual monthly BOE service listed in the column entitled Title on Exhibit
          B, with respect to salary-step advancement, longevity bonuses, accrual of years of
          service for pension, post-retirement health care benefits, accrual of CAR days,
          sabbatical leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Grant-Caldwell (the “Pension
          Inputs”) should be imported into the Teachers’ Retirement System of the City of
          New York (“TRS”):

              i.    Date of Birth —          1953

              ii.   Gender — Female

              iii. Address —                            New York, NY 10128

              iv. Counterfactual date of appointment as a regularly appointed teacher —
                  July 17, 1999

              v.    BOE Employment Title — As listed in column entitled Title on Exhibit B



                                            2
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               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — October 1,
                   1999

               x.   Retirement date (if any) — June 29, 2015

DATED: November 23, 2021




                                            3
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
1998-09             $2,668         $2,668             $0               $0                $0
1998-10             $2,668          $510          $2,158           $2,158            $2,158
1998-11             $2,668          $510          $2,158           $2,147            $4,306
1998-12             $2,668          $510          $2,158           $2,136            $6,442
1999-01             $2,668           -$24         $2,692           $2,650            $9,093
1999-02             $2,668           -$24         $2,692           $2,637           $11,729
1999-03             $2,668           -$24         $2,692           $2,623           $14,352
1999-04             $2,721           -$24         $2,745           $2,662           $17,014
1999-05             $2,721           -$24         $2,745           $2,650           $19,665
1999-06             $2,721           -$24         $2,745           $2,638           $22,302
1999-07             $2,824           -$24         $2,848           $2,724           $25,027
1999-08             $2,824           -$24         $2,848           $2,712           $27,739
1999-09             $2,824           -$24         $2,848           $2,700           $30,439




                                                                                   Exhibit A to
                                                           E. Grant-Caldwell's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          1998-09     Regular Substitute Teacher                $32,016
          1998-10     Regular Substitute Teacher                $32,016
          1998-11     Regular Substitute Teacher                $32,016
          1998-12     Regular Substitute Teacher                $32,016
          1999-01     Regular Substitute Teacher                $32,016
          1999-02     Regular Substitute Teacher                $32,016
          1999-03     Regular Substitute Teacher                $32,016
          1999-04     Regular Substitute Teacher                $32,656
          1999-05     Regular Substitute Teacher                $32,656
          1999-06     Regular Substitute Teacher                $32,656
          1999-07     Regularly Appointed Teacher               $33,888
          1999-08     Regularly Appointed Teacher               $33,888
          1999-09     Regularly Appointed Teacher               $33,888




                                                                                   Exhibit B to
                                                           E. Grant-Caldwell's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : ESTHER
                                                                       : DOMECQ
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Esther Domecq (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on September 24, 2020, with respect to Ms.
Domecq’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Esther
Domecq, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Esther Domecq (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Domecq will have
judgment against the BOE as follows:

   1. Backpay in the amount of $220,020;

   2. Tax-component award in the amount of $25,852;

   3. LAST Fees in the amount of $480;

   4. ASAF account award in the amount of $2,679;

   5. CAR Day award in the amount of $9,127;

   6. Pre-judgment interest calculated to be $18,345; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Domecq will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Domecq’s counterfactual monthly service history, as listed on
          Exhibit B to the Findings of Fact and Conclusions of Law for Esther Domecq; and

       c. Grant Ms. Domecq retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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             Exhibit 1
    Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 108 of 299




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : ESTHER
THE BOARD OF EDUCATION OF THE CITY SCHOOL : DOMECQ
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Esther Domecq:

    1. Class Membership. Ms. Domecq is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Domecq would have been appointed as
                a regularly appointed teacher in January 2003. The Special Master also finds, and
                the Court agrees, that Ms. Domecq is eligible to accrue backpay damages
                beginning January 2003.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Domecq would have worked as a
                regularly appointed teacher until October 1, 2014, Ms. Domecq accrues backpay
                damages until December 1, 2018, and Ms. Domecq’s backpay damages should be
                reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Domecq’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Domecq’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Domecq has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $220,020;

       b. A tax-component award in the amount of $25,852;

       c. $480 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $2,679;

       e. CAR Day damages in the amount of $9,127; and

       f. Pre-judgment interest in the amount of $18,345.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Domecq has satisfied her burden of establishing her
   entitlement to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Domecq’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Domecq should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Domecq (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

              i.    Date of Birth —              1953

              ii.   Gender — Female

              iii. Address —                              Glen Cove, NY 11542

              iv. Counterfactual date of appointment as a regularly appointed teacher —
                  January 14, 2003



                                           2
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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — October 1,
                   2014

               x.   Retirement date (if any) — November 3, 2015

DATED: November 23, 2021




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Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 111 of 299
                                   Exhibit A --
                            Monthly Backpay Damages

           Counterfactual                                Monthly
                            Monthly        Monthly                     Cumulative
 Month       Monthly                                   Damages with
                            Mitigation     Damages                      Damages
              Earnings                                   Attrition
 2003-01           $3,304         $3,208         $96            $96               $96
 2003-02           $3,304         $3,208         $96            $96             $192
 2003-03           $3,304         $3,208         $96            $96             $288
 2003-04           $3,304         $3,208         $96            $96             $384
 2003-05           $3,304         $3,208         $96            $96             $480
 2003-06           $3,304         $3,208         $96            $96             $577
 2003-07           $3,304         $3,208         $96            $96             $673
 2003-08           $3,304         $3,208         $96            $96             $769
 2003-09           $3,352         $5,128          $0             $0             $769
 2003-10           $3,352         $5,128          $0             $0             $769
 2003-11           $3,352         $5,128          $0             $0             $769
 2003-12           $3,419         $5,128          $0             $0             $769
 2004-01           $3,419         $3,819          $0             $0             $769
 2004-02           $3,419         $3,819          $0             $0             $769
 2004-03           $3,419         $3,819          $0             $0             $769
 2004-04           $3,419         $3,819          $0             $0             $769
 2004-05           $3,419         $3,819          $0             $0             $769
 2004-06           $3,419         $3,819          $0             $0             $769
 2004-07           $3,419         $3,819          $0             $0             $769
 2004-08           $3,826         $3,819          $7             $7             $775
 2004-09           $3,868         $3,819         $49            $49             $824
 2004-10           $3,868         $3,819         $49            $49             $873
 2004-11           $3,868         $3,819         $49            $49             $922
 2004-12           $4,003         $3,819        $184           $184            $1,106
 2005-01           $4,003         $3,913         $91            $91            $1,197
 2005-02           $4,003         $3,913         $91            $91            $1,287
 2005-03           $4,003         $3,913         $91            $91            $1,378
 2005-04           $4,003         $3,913         $91            $91            $1,468
 2005-05           $4,003         $3,913         $91            $91            $1,559
 2005-06           $4,003         $3,913         $91            $91            $1,650
 2005-07           $4,003         $3,913         $91            $91            $1,740
 2005-08           $4,003         $3,913         $91            $91            $1,831
 2005-09           $4,051         $3,913        $138           $138            $1,968
 2005-10           $4,051         $3,913        $138           $138            $2,106
 2005-11           $4,273         $3,913        $360           $360            $2,467
 2005-12           $4,273         $3,913        $360           $360            $2,827
 2006-01           $4,273         $3,903        $370           $370            $3,197
 2006-02           $4,273         $3,903        $370           $370            $3,567
 2006-03           $4,344         $3,903        $440           $440            $4,008




                                                                               Exhibit A to
                                                               E. Domecq's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 112 of 299
                                   Exhibit A --
                            Monthly Backpay Damages

           Counterfactual                                Monthly
                            Monthly        Monthly                     Cumulative
 Month       Monthly                                   Damages with
                            Mitigation     Damages                      Damages
              Earnings                                   Attrition
 2006-04           $4,344         $3,903       $440           $440             $4,448
 2006-05           $4,344         $3,903       $440           $440             $4,888
 2006-06           $4,344         $3,903       $440           $438             $5,327
 2006-07           $4,344         $3,903       $440           $436             $5,763
 2006-08           $4,344         $3,903       $440           $434             $6,197
 2006-09           $4,448         $3,903       $545           $535             $6,732
 2006-10           $4,593         $3,903       $689           $673             $7,405
 2006-11           $4,593         $3,903       $689           $670             $8,075
 2006-12           $4,593         $3,903       $689           $667             $8,742
 2007-01           $4,615         $3,678       $938           $903             $9,645
 2007-02           $4,615         $3,678       $938           $898            $10,543
 2007-03           $4,868         $3,678      $1,190         $1,135           $11,678
 2007-04           $4,868         $3,678      $1,190         $1,129           $12,807
 2007-05           $4,868         $3,678      $1,190         $1,123           $13,930
 2007-06           $4,868         $3,678      $1,190         $1,118           $15,048
 2007-07           $4,868         $3,678      $1,190         $1,112           $16,161
 2007-08           $4,868         $3,678      $1,190         $1,107           $17,267
 2007-09           $5,104         $3,678      $1,426         $1,320           $18,587
 2007-10           $5,341         $3,678      $1,664         $1,532           $20,119
 2007-11           $5,341         $3,678      $1,664         $1,524           $21,644
 2007-12           $5,341         $3,678      $1,664         $1,517           $23,161
 2008-01           $5,341         $3,811      $1,531         $1,389           $24,549
 2008-02           $5,341         $3,811      $1,531         $1,382           $25,931
 2008-03           $5,627         $3,811      $1,817         $1,632           $27,562
 2008-04           $5,627         $3,811      $1,817         $1,623           $29,186
 2008-05           $5,992         $3,811      $2,182         $1,940           $31,125
 2008-06           $6,005         $3,811      $2,195         $1,941           $33,067
 2008-07           $6,005         $3,811      $2,195         $1,931           $34,998
 2008-08           $6,005         $3,811      $2,195         $1,922           $36,920
 2008-09           $6,005         $3,811      $2,195         $1,922           $38,841
 2008-10           $6,005         $3,811      $2,195         $1,922           $40,763
 2008-11           $6,005         $3,811      $2,195         $1,922           $42,685
 2008-12           $6,005         $3,811      $2,195         $1,922           $44,606
 2009-01           $6,005         $3,915      $2,090         $1,830           $46,436
 2009-02           $6,005         $3,915      $2,090         $1,830           $48,266
 2009-03           $6,005         $3,915      $2,090         $1,830           $50,096
 2009-04           $6,005         $3,915      $2,090         $1,830           $51,926
 2009-05           $6,005         $3,915      $2,090         $1,830           $53,756
 2009-06           $6,005         $3,915      $2,090         $1,830           $55,586
 2009-07           $6,005         $3,915      $2,090         $1,830           $57,416




                                                                               Exhibit A to
                                                               E. Domecq's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 113 of 299
                                   Exhibit A --
                            Monthly Backpay Damages

           Counterfactual                                Monthly
                            Monthly        Monthly                     Cumulative
 Month       Monthly                                   Damages with
                            Mitigation     Damages                      Damages
              Earnings                                   Attrition
 2009-08           $6,005         $3,915      $2,090         $1,787          $59,202
 2009-09           $6,005         $3,915      $2,090         $1,787          $60,989
 2009-10           $6,005         $3,915      $2,090         $1,787          $62,776
 2009-11           $6,005         $3,915      $2,090         $1,691          $64,468
 2009-12           $6,005         $3,915      $2,090         $1,682          $66,150
 2010-01           $6,005         $3,700      $2,305         $1,846          $67,995
 2010-02           $6,005         $3,700      $2,305         $1,835          $69,831
 2010-03           $6,005         $3,700      $2,305         $1,825          $71,656
 2010-04           $6,005         $3,700      $2,305         $1,815          $73,472
 2010-05           $6,005         $3,700      $2,305         $1,805          $75,277
 2010-06           $6,005         $3,700      $2,305         $1,795          $77,072
 2010-07           $6,005         $3,700      $2,305         $1,785          $78,857
 2010-08           $6,005         $3,700      $2,305         $1,775          $80,632
 2010-09           $6,262         $3,700      $2,562         $1,962          $82,594
 2010-10           $6,262         $3,700      $2,562         $1,951          $84,545
 2010-11           $6,262         $3,700      $2,562         $1,940          $86,484
 2010-12           $6,262         $3,700      $2,562         $1,929          $88,413
 2011-01           $6,262         $3,985      $2,277         $1,705          $90,118
 2011-02           $6,262         $3,985      $2,277         $1,695          $91,813
 2011-03           $6,262         $3,985      $2,277         $1,685          $93,498
 2011-04           $6,262         $3,985      $2,277         $1,676          $95,174
 2011-05           $6,262         $3,985      $2,277         $1,666          $96,840
 2011-06           $6,262         $3,985      $2,277         $1,656          $98,496
 2011-07           $6,262         $3,985      $2,277         $1,646         $100,142
 2011-08           $6,262         $3,985      $2,277         $1,637         $101,779
 2011-09           $6,262         $3,985      $2,277         $1,627         $103,406
 2011-10           $6,262         $3,985      $2,277         $1,617         $105,023
 2011-11           $6,262         $3,985      $2,277         $1,608         $106,631
 2011-12           $6,262         $3,985      $2,277         $1,598         $108,229
 2012-01           $6,262         $2,446      $3,816         $2,661         $110,890
 2012-02           $6,262         $2,446      $3,816         $2,645         $113,535
 2012-03           $6,262         $2,446      $3,816         $2,629         $116,164
 2012-04           $6,262         $2,446      $3,816         $2,613         $118,776
 2012-05           $6,262         $2,446      $3,816         $2,596         $121,373
 2012-06           $6,262         $2,446      $3,816         $2,580         $123,953
 2012-07           $6,262         $2,446      $3,816         $2,564         $126,516
 2012-08           $6,262         $2,446      $3,816         $2,547         $129,064
 2012-09           $6,262         $2,446      $3,816         $2,531         $131,595
 2012-10           $6,262         $2,446      $3,816         $2,515         $134,110
 2012-11           $6,262         $2,446      $3,816         $2,499         $136,609




                                                                               Exhibit A to
                                                               E. Domecq's Findings of Fact
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                                   Exhibit A --
                            Monthly Backpay Damages

           Counterfactual                                Monthly
                            Monthly        Monthly                     Cumulative
 Month       Monthly                                   Damages with
                            Mitigation     Damages                      Damages
              Earnings                                   Attrition
 2012-12           $6,262         $2,446      $3,816         $2,483         $139,091
 2013-01           $6,262         $4,009      $2,254         $1,457         $140,548
 2013-02           $6,262         $4,009      $2,254         $1,447         $141,995
 2013-03           $6,262         $4,009      $2,254         $1,438         $143,433
 2013-04           $6,262         $4,009      $2,254         $1,428         $144,862
 2013-05           $6,325         $4,009      $2,316         $1,458         $146,320
 2013-06           $6,325         $4,009      $2,316         $1,449         $147,769
 2013-07           $6,325         $4,009      $2,316         $1,439         $149,208
 2013-08           $6,325         $4,009      $2,316         $1,429         $150,637
 2013-09           $6,502         $4,009      $2,493         $1,528         $152,165
 2013-10           $6,502         $4,009      $2,493         $1,518         $153,683
 2013-11           $6,502         $4,009      $2,493         $1,507         $155,190
 2013-12           $6,502         $4,009      $2,493         $1,497         $156,687
 2014-01           $6,502         $4,835      $1,667          $994          $157,681
 2014-02           $6,502         $4,835      $1,667          $987          $158,668
 2014-03           $6,502         $4,835      $1,667          $980          $159,648
 2014-04           $6,502         $4,835      $1,667          $973          $160,622
 2014-05           $6,567         $4,835      $1,732         $1,004         $161,626
 2014-06           $6,567         $4,835      $2,732         $1,572         $163,198
 2014-07           $6,567         $4,835      $1,732          $990          $164,188
 2014-08           $6,567         $4,835      $1,732          $983          $165,171
 2014-09           $6,567         $4,835      $1,732          $975          $166,146
 2014-10           $6,567         $4,835      $1,732          $968          $167,115
 2014-11           $6,567         $4,835      $1,732          $961          $168,076
 2014-12           $6,567         $4,835      $1,732          $954          $169,030
 2015-01           $6,567         $4,180      $2,387         $1,305         $170,334
 2015-02           $6,567         $4,180      $2,387         $1,295         $171,629
 2015-03           $6,567         $4,180      $2,387         $1,285         $172,914
 2015-04           $6,567         $4,180      $2,387         $1,275         $174,189
 2015-05           $6,765         $4,180      $2,585         $1,370         $175,559
 2015-06           $6,765         $4,180      $2,585         $1,360         $176,919
 2015-07           $6,765         $4,180      $2,585         $1,349         $178,268
 2015-08           $6,765         $4,180      $2,585         $1,339         $179,607
 2015-09           $7,154         $4,180      $2,974         $1,528         $181,135
 2015-10           $7,154         $4,180      $2,974         $1,515         $182,650
 2015-11           $7,154         $4,180      $2,974         $1,503         $184,153
 2015-12           $7,154         $4,180      $2,974         $1,491         $185,645
 2016-01           $7,154         $5,226      $1,928          $959          $186,603
 2016-02           $7,154         $5,226      $1,928          $951          $187,554
 2016-03           $7,154         $5,226      $1,928          $943          $188,497




                                                                               Exhibit A to
                                                               E. Domecq's Findings of Fact
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                                   Exhibit A --
                            Monthly Backpay Damages

           Counterfactual                                Monthly
                            Monthly        Monthly                     Cumulative
 Month       Monthly                                   Damages with
                            Mitigation     Damages                      Damages
              Earnings                                   Attrition
 2016-04           $7,154         $5,226      $1,928          $935          $189,432
 2016-05           $7,404         $5,226      $2,177         $1,047         $190,479
 2016-06           $7,404         $5,226      $2,177         $1,038         $191,518
 2016-07           $7,404         $5,226      $2,177         $1,030         $192,547
 2016-08           $7,404         $5,226      $2,177          $973          $193,520
 2016-09           $7,404         $5,226      $2,177          $973          $194,493
 2016-10           $7,404         $5,226      $2,177          $973          $195,466
 2016-11           $7,404         $5,226      $2,177          $973          $196,439
 2016-12           $7,404         $5,226      $2,177          $973          $197,412
 2017-01           $7,404         $5,304      $2,099          $938          $198,350
 2017-02           $7,404         $5,304      $2,099          $933          $199,283
 2017-03           $7,404         $5,304      $2,099          $924          $200,207
 2017-04           $7,404         $5,304      $2,099          $916          $201,123
 2017-05           $7,741         $5,304      $2,436         $1,053         $202,176
 2017-06           $7,741         $5,304      $2,436         $1,043         $203,220
 2017-07           $7,741         $5,304      $2,436         $1,034         $204,253
 2017-08           $7,741         $5,304      $2,436          $923          $205,177
 2017-09           $7,741         $5,304      $2,436          $923          $206,100
 2017-10           $7,741         $5,304      $2,436          $923          $207,023
 2017-11           $7,741         $5,304      $2,436          $923          $207,946
 2017-12           $7,741         $5,304      $2,436          $923          $208,869
 2018-01           $7,741         $5,135      $2,605          $987          $209,857
 2018-02           $7,741         $5,135      $2,605          $987          $210,844
 2018-03           $7,741         $5,135      $2,605          $987          $211,831
 2018-04           $7,741         $5,135      $2,605          $987          $212,819
 2018-05           $7,892         $5,135      $2,757         $1,045         $213,863
 2018-06           $8,129         $5,135      $2,994         $1,135         $214,998
 2018-07           $8,129         $5,135      $2,994         $1,126         $216,124
 2018-08           $8,129         $5,135      $2,994          $947          $217,070
 2018-09           $8,245         $5,135      $3,110          $983          $218,054
 2018-10           $8,245         $5,135      $3,110          $983          $219,037
 2018-11           $8,245         $5,135      $3,110          $983          $220,020




                                                                               Exhibit A to
                                                               E. Domecq's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2003-01     Regularly Appointed Teacher               $39,650
          2003-02     Regularly Appointed Teacher               $39,650
          2003-03     Regularly Appointed Teacher               $39,650
          2003-04     Regularly Appointed Teacher               $39,650
          2003-05     Regularly Appointed Teacher               $39,650
          2003-06     Regularly Appointed Teacher               $39,650
          2003-07     Regularly Appointed Teacher               $39,650
          2003-08     Regularly Appointed Teacher               $39,650
          2003-09     Regularly Appointed Teacher               $40,225
          2003-10     Regularly Appointed Teacher               $40,225
          2003-11     Regularly Appointed Teacher               $40,225
          2003-12     Regularly Appointed Teacher               $41,030
          2004-01     Regularly Appointed Teacher               $41,030
          2004-02     Regularly Appointed Teacher               $41,030
          2004-03     Regularly Appointed Teacher               $41,030
          2004-04     Regularly Appointed Teacher               $41,030
          2004-05     Regularly Appointed Teacher               $41,030
          2004-06     Regularly Appointed Teacher               $41,030
          2004-07     Regularly Appointed Teacher               $41,030
          2004-08     Regularly Appointed Teacher               $45,912
          2004-09     Regularly Appointed Teacher               $46,416
          2004-10     Regularly Appointed Teacher               $46,416
          2004-11     Regularly Appointed Teacher               $46,416
          2004-12     Regularly Appointed Teacher               $48,041
          2005-01     Regularly Appointed Teacher               $48,041
          2005-02     Regularly Appointed Teacher               $48,041
          2005-03     Regularly Appointed Teacher               $48,041
          2005-04     Regularly Appointed Teacher               $48,041
          2005-05     Regularly Appointed Teacher               $48,041
          2005-06     Regularly Appointed Teacher               $48,041
          2005-07     Regularly Appointed Teacher               $48,041
          2005-08     Regularly Appointed Teacher               $48,041
          2005-09     Regularly Appointed Teacher               $48,606
          2005-10     Regularly Appointed Teacher               $48,606
          2005-11     Regularly Appointed Teacher               $51,279
          2005-12     Regularly Appointed Teacher               $51,279
          2006-01     Regularly Appointed Teacher               $51,279
          2006-02     Regularly Appointed Teacher               $51,279
          2006-03     Regularly Appointed Teacher               $52,122




                                                                                    Exhibit B to
                                                                    E. Domecq's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2006-04     Regularly Appointed Teacher               $52,122
          2006-05     Regularly Appointed Teacher               $52,122
          2006-06     Regularly Appointed Teacher               $52,122
          2006-07     Regularly Appointed Teacher               $52,122
          2006-08     Regularly Appointed Teacher               $52,122
          2006-09     Regularly Appointed Teacher               $53,375
          2006-10     Regularly Appointed Teacher               $55,110
          2006-11     Regularly Appointed Teacher               $55,110
          2006-12     Regularly Appointed Teacher               $55,110
          2007-01     Regularly Appointed Teacher               $55,385
          2007-02     Regularly Appointed Teacher               $55,385
          2007-03     Regularly Appointed Teacher               $58,412
          2007-04     Regularly Appointed Teacher               $58,412
          2007-05     Regularly Appointed Teacher               $58,412
          2007-06     Regularly Appointed Teacher               $58,412
          2007-07     Regularly Appointed Teacher               $58,412
          2007-08     Regularly Appointed Teacher               $58,412
          2007-09     Regularly Appointed Teacher               $61,245
          2007-10     Regularly Appointed Teacher               $64,097
          2007-11     Regularly Appointed Teacher               $64,097
          2007-12     Regularly Appointed Teacher               $64,097
          2008-01     Regularly Appointed Teacher               $64,097
          2008-02     Regularly Appointed Teacher               $64,097
          2008-03     Regularly Appointed Teacher               $67,528
          2008-04     Regularly Appointed Teacher               $67,528
          2008-05     Regularly Appointed Teacher               $71,905
          2008-06     Regularly Appointed Teacher               $72,060
          2008-07     Regularly Appointed Teacher               $72,060
          2008-08     Regularly Appointed Teacher               $72,060
          2008-09     Regularly Appointed Teacher               $72,060
          2008-10     Regularly Appointed Teacher               $72,060
          2008-11     Regularly Appointed Teacher               $72,060
          2008-12     Regularly Appointed Teacher               $72,060
          2009-01     Regularly Appointed Teacher               $72,060
          2009-02     Regularly Appointed Teacher               $72,060
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060




                                                                                    Exhibit B to
                                                                    E. Domecq's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $75,149
          2010-10     Regularly Appointed Teacher               $75,149
          2010-11     Regularly Appointed Teacher               $75,149
          2010-12     Regularly Appointed Teacher               $75,149
          2011-01     Regularly Appointed Teacher               $75,149
          2011-02     Regularly Appointed Teacher               $75,149
          2011-03     Regularly Appointed Teacher               $75,149
          2011-04     Regularly Appointed Teacher               $75,149
          2011-05     Regularly Appointed Teacher               $75,149
          2011-06     Regularly Appointed Teacher               $75,149
          2011-07     Regularly Appointed Teacher               $75,149
          2011-08     Regularly Appointed Teacher               $75,149
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149
          2012-06     Regularly Appointed Teacher               $75,149
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149




                                                                                    Exhibit B to
                                                                    E. Domecq's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $75,149
          2013-05     Regularly Appointed Teacher               $75,901
          2013-06     Regularly Appointed Teacher               $75,901
          2013-07     Regularly Appointed Teacher               $75,901
          2013-08     Regularly Appointed Teacher               $75,901
          2013-09     Regularly Appointed Teacher               $78,024
          2013-10     Regularly Appointed Teacher               $78,024
          2013-11     Regularly Appointed Teacher               $78,024
          2013-12     Regularly Appointed Teacher               $78,024
          2014-01     Regularly Appointed Teacher               $78,024
          2014-02     Regularly Appointed Teacher               $78,024
          2014-03     Regularly Appointed Teacher               $78,024
          2014-04     Regularly Appointed Teacher               $78,024
          2014-05     Regularly Appointed Teacher               $78,804
          2014-06     Regularly Appointed Teacher               $78,804
          2014-07     Regularly Appointed Teacher               $78,804
          2014-08     Regularly Appointed Teacher               $78,804
          2014-09     Regularly Appointed Teacher               $78,804




                                                                                    Exhibit B to
                                                                    E. Domecq's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : GEOVANNA
                                                                       : CUILAN
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Geovanna Cuilan (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on November 12, 2020, with respect to Ms.
Cuilan’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Geovanna
Cuilan, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Geovanna Cuilan (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Cuilan will have
judgment against the BOE as follows:

   1. Backpay in the amount of $305,908;

   2. Tax-component award in the amount of $35,944;

   3. LAST Fees in the amount of $70;

   4. ASAF account award in the amount of $3,565;

   5. CAR Day award in the amount of $10,986;

   6. Pre-judgment interest calculated to be $21,622; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Cuilan will be entitled to
the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Cuilan’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Geovanna Cuilan; and

       c. Grant Ms. Cuilan retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : GEOVANNA
THE BOARD OF EDUCATION OF THE CITY SCHOOL : CUILAN
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Geovanna Cuilan:

    1. Class Membership. Ms. Cuilan is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Cuilan would have been appointed as a
                regularly appointed teacher in November 2004. The Special Master also finds,
                and the Court agrees, that Ms. Cuilan is eligible to accrue backpay damages
                beginning November 2004.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Cuilan would have worked as a
                regularly appointed teacher until October 1, 2017, Ms. Cuilan accrues backpay
                damages through the date of judgment, and Ms. Cuilan’s backpay damages should
                be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Cuilan’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Cuilan’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Cuilan has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $305,908;

       b. A tax-component award in the amount of $35,944;

       c. $70 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $3,565;

       e. CAR Day damages in the amount of $10,986; and

       f. Pre-judgment interest in the amount of $21,622.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Cuilan has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Cuilan’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Cuilan should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Cuilan (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —                1970

               ii.   Gender — Female

               iii. Address —                              Bronx, NY 10475

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   November 10, 2004



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — October 1,
                   2017

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2004-11             $3,419         $2,576          $843            $843              $843
2004-12             $3,539         $2,576          $963            $960             $1,803
2005-01             $3,539         $2,909          $630            $626             $2,429
2005-02             $3,539         $2,909          $630            $624             $3,053
2005-03             $3,539         $2,909          $630            $623             $3,676
2005-04             $3,539         $2,909          $630            $621             $4,297
2005-05             $3,539         $2,909          $630            $619             $4,915
2005-06             $3,539         $2,909          $630            $617             $5,532
2005-07             $3,539         $2,909          $630            $615             $6,147
2005-08             $3,539         $2,909          $630            $613             $6,760
2005-09             $3,539         $2,909          $630            $612             $7,372
2005-10             $3,539         $2,909          $630            $610             $7,982
2005-11             $3,779         $2,909          $871            $840             $8,822
2005-12             $3,779         $2,909          $871            $838             $9,660
2006-01             $3,779         $2,948          $831            $798            $10,458
2006-02             $3,779         $2,948          $831            $796            $11,254
2006-03             $3,779         $2,948          $831            $794            $12,048
2006-04             $3,779         $2,948          $831            $792            $12,839
2006-05             $3,779         $2,948          $831            $790            $13,629
2006-06             $4,224         $2,948         $1,275          $1,208           $14,837
2006-07             $4,224         $2,948         $1,275          $1,205           $16,043
2006-08             $4,224         $2,948         $1,275          $1,202           $17,245
2006-09             $4,224         $2,948         $1,275          $1,199           $18,444
2006-10             $4,361         $2,948         $1,413          $1,325           $19,768
2006-11             $4,412         $2,948         $1,464          $1,369           $21,138
2006-12             $4,412         $2,948         $1,464          $1,366           $22,504
2007-01             $4,412         $2,737         $1,675          $1,559           $24,062
2007-02             $4,412         $2,737         $1,675          $1,555           $25,617
2007-03             $4,485         $2,737         $1,748          $1,618           $27,235
2007-04             $4,485         $2,737         $1,748          $1,614           $28,849
2007-05             $4,485         $2,737         $1,748          $1,610           $30,459
2007-06             $4,485         $2,737         $1,748          $1,606           $32,064
2007-07             $4,485         $2,737         $1,748          $1,602           $33,666
2007-08             $4,485         $2,737         $1,748          $1,598           $35,263
2007-09             $4,485         $2,737         $1,748          $1,593           $36,857
2007-10             $4,575         $2,737         $1,837          $1,671           $38,528
2007-11             $4,684         $2,737         $1,947          $1,766           $40,294
2007-12             $4,684         $2,737         $1,947          $1,762           $42,056
2008-01             $4,684         $3,317         $1,367          $1,234           $43,290
2008-02             $4,684         $3,317         $1,367          $1,231           $44,520
2008-03             $4,942         $3,317         $1,624          $1,459           $45,979
2008-04             $4,942         $3,317         $1,624          $1,455           $47,434
2008-05             $5,189         $3,317         $1,871          $1,672           $49,106


                                                                                  Exhibit A to
                                                                  G. Cuilan's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2008-06             $5,189         $3,317         $1,871          $1,668          $50,773
2008-07             $5,189         $3,317         $1,871          $1,664          $52,437
2008-08             $5,189         $3,317         $1,871          $1,659          $54,096
2008-09             $5,189         $3,317         $1,871          $1,655          $55,751
2008-10             $5,189         $3,317         $1,871          $1,651          $57,402
2008-11             $5,466         $3,317         $2,149          $1,891          $59,293
2008-12             $5,466         $3,317         $2,149          $1,886          $61,179
2009-01             $5,466         $3,815         $1,651          $1,446          $62,625
2009-02             $5,466         $3,815         $1,651          $1,442          $64,067
2009-03             $5,766         $3,815         $1,951          $1,700          $65,766
2009-04             $5,766         $3,815         $1,951          $1,696          $67,462
2009-05             $5,766         $3,815         $1,951          $1,691          $69,153
2009-06             $5,766         $3,815         $1,951          $1,687          $70,840
2009-07             $5,766         $3,815         $1,951          $1,683          $72,523
2009-08             $5,909         $3,815         $2,094          $1,801          $74,324
2009-09             $5,909         $3,815         $2,094          $1,796          $76,120
2009-10             $5,909         $3,815         $2,094          $1,792          $77,912
2009-11             $5,909         $3,815         $2,094          $1,787          $79,699
2009-12             $5,992         $3,815         $2,177          $1,854          $81,553
2010-01             $5,992         $4,380         $1,612          $1,369          $82,922
2010-02             $5,992         $4,380         $1,612          $1,366          $84,288
2010-03             $5,992         $4,380         $1,612          $1,362          $85,650
2010-04             $6,005         $4,380         $1,625          $1,370          $87,019
2010-05             $6,005         $4,380         $1,625          $1,366          $88,386
2010-06             $6,005         $4,380         $1,625          $1,363          $89,748
2010-07             $6,005         $4,380         $1,625          $1,359          $91,107
2010-08             $6,005         $4,380         $1,625          $1,356          $92,463
2010-09             $6,005         $4,380         $1,625          $1,352          $93,815
2010-10             $6,005         $4,380         $1,625          $1,349          $95,164
2010-11             $6,005         $4,380         $1,625          $1,345          $96,509
2010-12             $6,005         $4,380         $1,625          $1,342          $97,851
2011-01             $6,005         $4,294         $1,711          $1,409          $99,259
2011-02             $6,005         $4,294         $1,711          $1,405         $100,665
2011-03             $6,005         $4,294         $1,711          $1,402         $102,066
2011-04             $6,005         $4,294         $1,711          $1,398         $103,464
2011-05             $6,005         $4,294         $1,711          $1,394         $104,859
2011-06             $6,005         $4,294         $1,711          $1,391         $106,249
2011-07             $6,005         $4,294         $1,711          $1,387         $107,636
2011-08             $6,005         $4,294         $1,711          $1,383         $109,020
2011-09             $6,005         $4,294         $1,711          $1,380         $110,400
2011-10             $6,005         $4,294         $1,711          $1,376         $111,776
2011-11             $6,005         $4,294         $1,711          $1,373         $113,149
2011-12             $6,005         $4,294         $1,711          $1,369         $114,518


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2012-01             $6,005         $4,308         $1,697          $1,354         $115,872
2012-02             $6,005         $4,308         $1,697          $1,350         $117,222
2012-03             $6,005         $4,308         $1,697          $1,347         $118,569
2012-04             $6,005         $4,308         $1,697          $1,343         $119,912
2012-05             $6,005         $4,308         $1,697          $1,340         $121,252
2012-06             $6,005         $4,308         $1,697          $1,336         $122,588
2012-07             $6,005         $4,308         $1,697          $1,333         $123,921
2012-08             $6,005         $4,308         $1,697          $1,329         $125,250
2012-09             $6,005         $4,308         $1,697          $1,326         $126,576
2012-10             $6,005         $4,308         $1,697          $1,322         $127,898
2012-11             $6,005         $4,308         $1,697          $1,319         $129,217
2012-12             $6,005         $4,308         $1,697          $1,315         $130,532
2013-01             $6,005         $4,295         $1,710          $1,322         $131,854
2013-02             $6,005         $4,295         $1,710          $1,318         $133,172
2013-03             $6,005         $4,295         $1,710          $1,315         $134,487
2013-04             $6,005         $4,295         $1,710          $1,311         $135,798
2013-05             $6,065         $4,295         $1,770          $1,354         $137,152
2013-06             $6,065         $4,295         $1,770          $1,350         $138,502
2013-07             $6,065         $4,295         $1,770          $1,346         $139,848
2013-08             $6,065         $4,295         $1,770          $1,343         $141,191
2013-09             $6,065         $4,295         $1,770          $1,339         $142,530
2013-10             $6,065         $4,295         $1,770          $1,335         $143,865
2013-11             $6,065         $4,295         $1,770          $1,332         $145,197
2013-12             $6,065         $4,295         $1,770          $1,328         $146,525
2014-01             $6,065         $4,259         $1,806          $1,351         $147,877
2014-02             $6,065         $4,259         $1,806          $1,348         $149,224
2014-03             $6,065         $4,259         $1,806          $1,344         $150,568
2014-04             $6,065         $4,259         $1,806          $1,340         $151,909
2014-05             $6,126         $4,259         $1,866          $1,382         $153,290
2014-06             $6,126         $4,259         $1,866          $2,116         $155,407
2014-07             $6,126         $4,259         $1,866          $1,374         $156,781
2014-08             $6,126         $4,259         $1,866          $1,370         $158,151
2014-09             $6,126         $4,259         $1,866          $1,366         $159,517
2014-10             $6,126         $4,259         $1,866          $1,363         $160,880
2014-11             $6,126         $4,259         $1,866          $1,359         $162,239
2014-12             $6,388         $4,259         $2,129          $1,546         $163,785
2015-01             $6,388         $4,385         $2,003          $1,450         $165,235
2015-02             $6,388         $4,385         $2,003          $1,446         $166,682
2015-03             $6,388         $4,385         $2,003          $1,442         $168,124
2015-04             $6,388         $4,385         $2,003          $1,438         $169,562
2015-05             $6,581         $4,385         $2,196          $1,572         $171,135
2015-06             $6,581         $4,385         $2,196          $1,568         $172,703
2015-07             $6,581         $4,385         $2,196          $1,564         $174,267


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2015-08             $6,581         $4,385         $2,196          $1,559         $175,826
2015-09             $6,581         $4,385         $2,196          $1,555         $177,381
2015-10             $6,581         $4,385         $2,196          $1,550         $178,931
2015-11             $6,581         $4,385         $2,196          $1,546         $180,477
2015-12             $6,581         $4,385         $2,196          $1,542         $182,019
2016-01             $6,581         $4,473         $2,109          $1,476         $183,495
2016-02             $6,581         $4,473         $2,109          $1,472         $184,966
2016-03             $6,581         $4,473         $2,109          $1,468         $186,434
2016-04             $6,581         $4,473         $2,109          $1,463         $187,897
2016-05             $6,811         $4,473         $2,338          $1,618         $189,515
2016-06             $6,811         $4,473         $2,338          $1,613         $191,128
2016-07             $6,811         $4,473         $2,338          $1,609         $192,737
2016-08             $6,811         $4,473         $2,338          $1,604         $194,341
2016-09             $6,811         $4,473         $2,338          $1,599         $195,941
2016-10             $6,811         $4,473         $2,338          $1,595         $197,535
2016-11             $6,811         $4,473         $2,338          $1,590         $199,126
2016-12             $6,811         $4,473         $2,338          $1,586         $200,711
2017-01             $6,811         $4,562         $2,248          $1,520         $202,231
2017-02             $6,811         $4,562         $2,248          $1,516         $203,747
2017-03             $6,811         $4,562         $2,248          $1,511         $205,258
2017-04             $6,811         $4,562         $2,248          $1,507         $206,765
2017-05             $7,121         $4,562         $2,558          $1,709         $208,475
2017-06             $7,121         $4,562         $2,558          $1,704         $210,179
2017-07             $7,121         $4,562         $2,558          $1,699         $211,878
2017-08             $7,121         $4,562         $2,558          $1,694         $213,573
2017-09             $7,121         $4,562         $2,558          $1,689         $215,262
2017-10             $7,121         $4,562         $2,558          $1,684         $216,946
2017-11             $7,121         $4,562         $2,558          $1,679         $218,625
2017-12             $7,320         $4,562         $2,758          $1,805         $220,430
2018-01             $7,320         $4,653         $2,667          $1,740         $222,170
2018-02             $7,320         $4,653         $2,667          $1,735         $223,905
2018-03             $7,320         $4,653         $2,667          $1,730         $225,634
2018-04             $7,320         $4,653         $2,667          $1,724         $227,359
2018-05             $7,464         $4,653         $2,811          $1,812         $229,171
2018-06             $7,687         $4,653         $3,034          $1,950         $231,121
2018-07             $7,687         $4,653         $3,034          $1,944         $233,065
2018-08             $7,687         $4,653         $3,034          $1,938         $235,003
2018-09             $7,687         $4,653         $3,034          $1,932         $236,935
2018-10             $7,687         $4,653         $3,034          $1,926         $238,861
2018-11             $7,687         $4,653         $3,034          $1,920         $240,782
2018-12             $7,687         $4,653         $3,034          $1,914         $242,696
2019-01             $7,687         $4,746         $2,941          $1,850         $244,546
2019-02             $7,841         $4,746         $3,095          $1,941         $246,487


                                                                                  Exhibit A to
                                                                  G. Cuilan's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2019-03             $7,841         $4,746         $3,095          $1,935         $248,422
2019-04             $7,841         $4,746         $3,095          $1,929         $250,351
2019-05             $7,841         $4,746         $3,095          $1,923         $252,273
2019-06             $7,841         $4,746         $3,095          $1,917         $254,190
2019-07             $7,841         $4,746         $3,095          $1,911         $256,101
2019-08             $7,841         $4,746         $3,095          $1,905         $258,006
2019-09             $7,841         $4,746         $3,095          $1,899         $259,904
2019-10             $7,841         $4,746         $3,095          $1,893         $261,797
2019-11             $7,841         $4,746         $3,095          $1,887         $263,684
2019-12             $8,292         $4,746         $3,546          $2,155         $265,838
2020-01             $8,292         $4,841         $3,451          $2,090         $267,929
2020-02             $8,292         $4,841         $3,451          $2,084         $270,012
2020-03             $8,292         $4,841         $3,451          $2,077         $272,089
2020-04             $8,292         $4,841         $3,451          $2,070         $274,159
2020-05             $8,499         $4,841         $3,658          $2,188         $276,347
2020-06             $8,499         $4,841         $3,658          $2,181         $278,528
2020-07             $8,499         $4,841         $3,658          $2,173         $280,701
2020-08             $8,499         $4,841         $3,658          $2,166         $282,868
2020-09             $8,499         $4,841         $3,658          $2,159         $285,027
2020-10             $8,499         $4,841         $3,658          $2,152         $287,179
2020-11             $8,499         $4,841         $3,658          $2,145         $289,325
2020-12             $8,499         $4,841         $3,658          $2,138         $291,463
2021-01             $8,499         $4,938         $3,561          $2,075         $293,538
2021-02             $8,499         $4,938         $3,561          $2,068         $295,606
2021-03             $8,499         $4,938         $3,561          $2,061         $297,667
2021-04             $8,499         $4,938         $3,561          $2,054         $299,722
2021-05             $8,532         $4,938         $3,594          $2,067         $301,788
2021-06             $8,532         $4,938         $3,594          $2,060         $303,848
2021-07             $8,532         $4,938         $3,594          $2,060         $305,908




                                                                                  Exhibit A to
                                                                  G. Cuilan's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2004-11     Regularly Appointed Teacher               $41,030
          2004-12     Regularly Appointed Teacher               $42,466
          2005-01     Regularly Appointed Teacher               $42,466
          2005-02     Regularly Appointed Teacher               $42,466
          2005-03     Regularly Appointed Teacher               $42,466
          2005-04     Regularly Appointed Teacher               $42,466
          2005-05     Regularly Appointed Teacher               $42,466
          2005-06     Regularly Appointed Teacher               $42,466
          2005-07     Regularly Appointed Teacher               $42,466
          2005-08     Regularly Appointed Teacher               $42,466
          2005-09     Regularly Appointed Teacher               $42,466
          2005-10     Regularly Appointed Teacher               $42,466
          2005-11     Regularly Appointed Teacher               $45,352
          2005-12     Regularly Appointed Teacher               $45,352
          2006-01     Regularly Appointed Teacher               $45,352
          2006-02     Regularly Appointed Teacher               $45,352
          2006-03     Regularly Appointed Teacher               $45,352
          2006-04     Regularly Appointed Teacher               $45,352
          2006-05     Regularly Appointed Teacher               $45,352
          2006-06     Regularly Appointed Teacher               $50,683
          2006-07     Regularly Appointed Teacher               $50,683
          2006-08     Regularly Appointed Teacher               $50,683
          2006-09     Regularly Appointed Teacher               $50,683
          2006-10     Regularly Appointed Teacher               $52,332
          2006-11     Regularly Appointed Teacher               $52,947
          2006-12     Regularly Appointed Teacher               $52,947
          2007-01     Regularly Appointed Teacher               $52,947
          2007-02     Regularly Appointed Teacher               $52,947
          2007-03     Regularly Appointed Teacher               $53,818
          2007-04     Regularly Appointed Teacher               $53,818
          2007-05     Regularly Appointed Teacher               $53,818
          2007-06     Regularly Appointed Teacher               $53,818
          2007-07     Regularly Appointed Teacher               $53,818
          2007-08     Regularly Appointed Teacher               $53,818
          2007-09     Regularly Appointed Teacher               $53,818
          2007-10     Regularly Appointed Teacher               $54,894
          2007-11     Regularly Appointed Teacher               $56,212
          2007-12     Regularly Appointed Teacher               $56,212
          2008-01     Regularly Appointed Teacher               $56,212
          2008-02     Regularly Appointed Teacher               $56,212
          2008-03     Regularly Appointed Teacher               $59,300
          2008-04     Regularly Appointed Teacher               $59,300
          2008-05     Regularly Appointed Teacher               $62,265

                                                                                    Exhibit B to
                                                                    G. Cuilan's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2008-06     Regularly Appointed Teacher               $62,265
          2008-07     Regularly Appointed Teacher               $62,265
          2008-08     Regularly Appointed Teacher               $62,265
          2008-09     Regularly Appointed Teacher               $62,265
          2008-10     Regularly Appointed Teacher               $62,265
          2008-11     Regularly Appointed Teacher               $65,593
          2008-12     Regularly Appointed Teacher               $65,593
          2009-01     Regularly Appointed Teacher               $65,593
          2009-02     Regularly Appointed Teacher               $65,593
          2009-03     Regularly Appointed Teacher               $69,195
          2009-04     Regularly Appointed Teacher               $69,195
          2009-05     Regularly Appointed Teacher               $69,195
          2009-06     Regularly Appointed Teacher               $69,195
          2009-07     Regularly Appointed Teacher               $69,195
          2009-08     Regularly Appointed Teacher               $70,905
          2009-09     Regularly Appointed Teacher               $70,905
          2009-10     Regularly Appointed Teacher               $70,905
          2009-11     Regularly Appointed Teacher               $70,905
          2009-12     Regularly Appointed Teacher               $71,905
          2010-01     Regularly Appointed Teacher               $71,905
          2010-02     Regularly Appointed Teacher               $71,905
          2010-03     Regularly Appointed Teacher               $71,905
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $72,060
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $72,060
          2011-06     Regularly Appointed Teacher               $72,060
          2011-07     Regularly Appointed Teacher               $72,060
          2011-08     Regularly Appointed Teacher               $72,060
          2011-09     Regularly Appointed Teacher               $72,060
          2011-10     Regularly Appointed Teacher               $72,060
          2011-11     Regularly Appointed Teacher               $72,060
          2011-12     Regularly Appointed Teacher               $72,060

                                                                                    Exhibit B to
                                                                    G. Cuilan's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2012-01     Regularly Appointed Teacher               $72,060
          2012-02     Regularly Appointed Teacher               $72,060
          2012-03     Regularly Appointed Teacher               $72,060
          2012-04     Regularly Appointed Teacher               $72,060
          2012-05     Regularly Appointed Teacher               $72,060
          2012-06     Regularly Appointed Teacher               $72,060
          2012-07     Regularly Appointed Teacher               $72,060
          2012-08     Regularly Appointed Teacher               $72,060
          2012-09     Regularly Appointed Teacher               $72,060
          2012-10     Regularly Appointed Teacher               $72,060
          2012-11     Regularly Appointed Teacher               $72,060
          2012-12     Regularly Appointed Teacher               $72,060
          2013-01     Regularly Appointed Teacher               $72,060
          2013-02     Regularly Appointed Teacher               $72,060
          2013-03     Regularly Appointed Teacher               $72,060
          2013-04     Regularly Appointed Teacher               $72,060
          2013-05     Regularly Appointed Teacher               $72,781
          2013-06     Regularly Appointed Teacher               $72,781
          2013-07     Regularly Appointed Teacher               $72,781
          2013-08     Regularly Appointed Teacher               $72,781
          2013-09     Regularly Appointed Teacher               $72,781
          2013-10     Regularly Appointed Teacher               $72,781
          2013-11     Regularly Appointed Teacher               $72,781
          2013-12     Regularly Appointed Teacher               $72,781
          2014-01     Regularly Appointed Teacher               $72,781
          2014-02     Regularly Appointed Teacher               $72,781
          2014-03     Regularly Appointed Teacher               $72,781
          2014-04     Regularly Appointed Teacher               $72,781
          2014-05     Regularly Appointed Teacher               $73,509
          2014-06     Regularly Appointed Teacher               $73,509
          2014-07     Regularly Appointed Teacher               $73,509
          2014-08     Regularly Appointed Teacher               $73,509
          2014-09     Regularly Appointed Teacher               $73,509
          2014-10     Regularly Appointed Teacher               $73,509
          2014-11     Regularly Appointed Teacher               $73,509
          2014-12     Regularly Appointed Teacher               $76,660
          2015-01     Regularly Appointed Teacher               $76,660
          2015-02     Regularly Appointed Teacher               $76,660
          2015-03     Regularly Appointed Teacher               $76,660
          2015-04     Regularly Appointed Teacher               $76,660
          2015-05     Regularly Appointed Teacher               $78,975
          2015-06     Regularly Appointed Teacher               $78,975
          2015-07     Regularly Appointed Teacher               $78,975

                                                                                    Exhibit B to
                                                                    G. Cuilan's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2015-08     Regularly Appointed Teacher               $78,975
          2015-09     Regularly Appointed Teacher               $78,975
          2015-10     Regularly Appointed Teacher               $78,975
          2015-11     Regularly Appointed Teacher               $78,975
          2015-12     Regularly Appointed Teacher               $78,975
          2016-01     Regularly Appointed Teacher               $78,975
          2016-02     Regularly Appointed Teacher               $78,975
          2016-03     Regularly Appointed Teacher               $78,975
          2016-04     Regularly Appointed Teacher               $78,975
          2016-05     Regularly Appointed Teacher               $81,731
          2016-06     Regularly Appointed Teacher               $81,731
          2016-07     Regularly Appointed Teacher               $81,731
          2016-08     Regularly Appointed Teacher               $81,731
          2016-09     Regularly Appointed Teacher               $81,731
          2016-10     Regularly Appointed Teacher               $81,731
          2016-11     Regularly Appointed Teacher               $81,731
          2016-12     Regularly Appointed Teacher               $81,731
          2017-01     Regularly Appointed Teacher               $81,731
          2017-02     Regularly Appointed Teacher               $81,731
          2017-03     Regularly Appointed Teacher               $81,731
          2017-04     Regularly Appointed Teacher               $81,731
          2017-05     Regularly Appointed Teacher               $85,449
          2017-06     Regularly Appointed Teacher               $85,449
          2017-07     Regularly Appointed Teacher               $85,449
          2017-08     Regularly Appointed Teacher               $85,449
          2017-09     Regularly Appointed Teacher               $85,449




                                                                                    Exhibit B to
                                                                    G. Cuilan's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : GLADYS
                                                                       : BRYAN
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Gladys Bryan (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on April 15, 2021, with respect to Ms. Bryan’s
demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Gladys
Bryan, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Gladys Bryan (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Bryan will have
judgment against the BOE as follows:

   1. Backpay in the amount of $515,389;

   2. Tax-component award in the amount of $60,558;

   3. LAST Fees in the amount of $228;

   4. ASAF account award in the amount of $4,127;

   5. CAR Day award in the amount of $15,157;

   6. Pre-judgment interest calculated to be $49,908; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Bryan will be entitled to
the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Bryan’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Gladys Bryan; and

       c. Grant Ms. Bryan retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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             Exhibit 1



                                  3
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : GLADYS
THE BOARD OF EDUCATION OF THE CITY SCHOOL : BRYAN
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

The Special Master makes, and recommends that the Court adopt, the following findings of fact
and conclusions of law for Gladys Bryan:

    1. Class Membership. Ms. Bryan is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Bryan would have been appointed as a
                regularly appointed teacher in October 2001. The Special Master also finds, and
                the Court agrees, that Ms. Bryan is eligible to accrue backpay damages beginning
                October 2001.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Bryan would have worked as a
                regularly appointed teacher until February 1, 2018, Ms. Bryan accrues backpay
                damages through the date of judgment, and Ms. Bryan’s backpay damages should
                be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Bryan’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Bryan’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Bryan has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $515,389;

       b. A tax-component award in the amount of $60,558;

       c. $228 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $4,127;

       e. CAR Day damages in the amount of $15,157; and

       f. Pre-judgment interest in the amount of $49,908.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Bryan has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Bryan’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Bryan should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Bryan (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —            1967

               ii.   Gender — Female

               iii. Address —                                Bronx, NY 10464

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   October 15, 2001



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — January 1, 2010 through April 30,
                     2010

               ix. Termination of regularly appointed teacher service (if any) — February
                   1, 2018

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




                                            3
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2001-10             $2,821          $283          $2,538          $2,538            $2,538
2001-11             $2,962         $2,962             $0              $0            $2,538
2001-12             $3,020         $3,020             $0              $0            $2,538
2002-01             $3,020         $2,119          $901            $901             $3,439
2002-02             $3,020         $2,119          $901            $901             $4,340
2002-03             $3,020         $2,119          $901            $901             $5,242
2002-04             $3,020         $2,119          $901            $901             $6,143
2002-05             $3,020         $2,119          $901            $901             $7,044
2002-06             $3,020         $2,119          $901            $901             $7,945
2002-07             $3,020         $2,119          $901            $901             $8,846
2002-08             $3,020         $2,119          $901            $901             $9,748
2002-09             $3,304         $2,119         $1,185          $1,185           $10,933
2002-10             $3,304         $2,119         $1,185          $1,185           $12,118
2002-11             $3,304         $2,119         $1,185          $1,185           $13,304
2002-12             $3,352         $2,119         $1,233          $1,233           $14,537
2003-01             $3,352         $2,622          $730            $730            $15,267
2003-02             $3,352         $2,622          $730            $730            $15,996
2003-03             $3,352         $2,622          $730            $730            $16,726
2003-04             $3,352         $2,622          $730            $730            $17,456
2003-05             $3,352         $2,622          $730            $730            $18,186
2003-06             $3,352         $2,622          $730            $730            $18,915
2003-07             $3,352         $2,622          $730            $730            $19,645
2003-08             $3,751         $2,622         $1,129          $1,129           $20,773
2003-09             $3,751         $2,622         $1,129          $1,129           $21,902
2003-10             $3,751         $2,622         $1,129          $1,129           $23,031
2003-11             $3,751         $2,622         $1,129          $1,129           $24,159
2003-12             $3,868         $2,622         $1,246          $1,246           $25,405
2004-01             $3,868         $1,549         $2,319          $2,319           $27,723
2004-02             $3,868         $1,549         $2,319          $2,319           $30,042
2004-03             $3,868         $1,549         $2,319          $2,319           $32,360
2004-04             $3,868         $1,549         $2,319          $2,319           $34,679
2004-05             $3,868         $1,549         $2,319          $2,319           $36,997
2004-06             $3,868         $1,549         $2,319          $2,319           $39,316
2004-07             $3,868         $1,549         $2,319          $2,319           $41,635
2004-08             $3,868         $1,549         $2,319          $2,319           $43,953
2004-09             $3,868         $1,549         $2,319          $2,319           $46,272
2004-10             $3,868         $1,549         $2,319          $2,319           $48,590
2004-11             $3,868         $1,549         $2,319          $2,319           $50,909
2004-12             $4,051         $1,549         $2,501          $2,501           $53,410
2005-01             $4,051         $2,967         $1,084          $1,084           $54,493
2005-02             $4,051         $2,967         $1,084          $1,084           $55,577
2005-03             $4,117         $2,967         $1,150          $1,150           $56,727
2005-04             $4,117         $2,967         $1,150          $1,150           $57,877


                                                                                  Exhibit A to
                                                                   G. Bryan's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2005-05             $4,117         $2,967         $1,150          $1,150           $59,027
2005-06             $4,117         $2,967         $1,150          $1,150           $60,177
2005-07             $4,117         $2,967         $1,150          $1,150           $61,327
2005-08             $4,117         $2,967         $1,150          $1,150           $62,477
2005-09             $4,117         $2,967         $1,150          $1,150           $63,627
2005-10             $4,117         $2,967         $1,150          $1,150           $64,778
2005-11             $4,344         $2,967         $1,377          $1,377           $66,154
2005-12             $4,448         $2,967         $1,481          $1,481           $67,635
2006-01             $4,470         $3,000         $1,470          $1,470           $69,105
2006-02             $4,470         $3,000         $1,470          $1,470           $70,575
2006-03             $4,714         $3,000         $1,714          $1,714           $72,289
2006-04             $4,714         $3,000         $1,714          $1,714           $74,004
2006-05             $4,714         $3,000         $1,714          $1,714           $75,718
2006-06             $4,714         $3,000         $1,714          $1,714           $77,432
2006-07             $4,714         $3,000         $1,714          $1,714           $79,146
2006-08             $4,714         $3,000         $1,714          $1,714           $80,861
2006-09             $4,714         $3,000         $1,714          $1,714           $82,575
2006-10             $5,001         $3,000         $2,001          $2,001           $84,576
2006-11             $5,001         $3,000         $2,001          $2,001           $86,576
2006-12             $5,237         $3,000         $2,237          $2,237           $88,813
2007-01             $5,237         $3,200         $2,037          $2,037           $90,850
2007-02             $5,237         $3,200         $2,037          $2,037           $92,886
2007-03             $5,517         $3,200         $2,317          $2,317           $95,203
2007-04             $5,517         $3,200         $2,317          $2,317           $97,520
2007-05             $5,517         $3,200         $2,317          $2,317           $99,837
2007-06             $5,529         $3,200         $2,329          $2,329          $102,167
2007-07             $5,529         $3,200         $2,329          $2,329          $104,496
2007-08             $5,529         $3,200         $2,329          $2,329          $106,825
2007-09             $5,529         $3,200         $2,329          $2,329          $109,154
2007-10             $5,640         $3,200         $2,440          $2,440          $111,594
2007-11             $5,640         $3,200         $2,440          $2,440          $114,033
2007-12             $5,640         $3,200         $2,440          $2,440          $116,473
2008-01             $5,640         $2,644         $2,996          $2,996          $119,469
2008-02             $5,640         $2,080         $3,559          $3,559          $123,029
2008-03             $5,640         $1,458         $4,181          $4,181          $127,210
2008-04             $5,640         $1,605         $4,035          $4,035          $131,245
2008-05             $6,005         $1,458         $4,547          $4,547          $135,792
2008-06             $6,005         $2,432         $3,573          $3,573          $139,365
2008-07             $6,005         $2,337         $3,668          $3,668          $143,033
2008-08             $6,005         $2,337         $3,668          $3,668          $146,701
2008-09             $6,005         $2,337         $3,668          $3,668          $150,370
2008-10             $6,005         $2,337         $3,668          $3,668          $154,038
2008-11             $6,005         $2,337         $3,668          $3,668          $157,706


                                                                                  Exhibit A to
                                                                   G. Bryan's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2008-12             $6,005         $2,337         $3,668          $3,668          $161,374
2009-01             $6,005         $2,337         $3,668          $3,668          $165,042
2009-02             $6,005         $2,337         $3,668          $3,668          $168,710
2009-03             $6,005         $2,337         $3,668          $3,668          $172,379
2009-04             $6,005         $2,337         $3,668          $3,653          $176,032
2009-05             $6,005         $2,337         $3,668          $3,639          $179,671
2009-06             $6,005         $2,337         $3,668          $3,624          $183,294
2009-07             $6,005         $2,337         $3,668          $3,609          $186,904
2009-08             $6,005         $1,458         $4,547          $4,455          $191,359
2009-09             $6,005         $5,893          $112            $109           $191,468
2009-10             $6,005         $5,893          $112            $109           $191,577
2009-11             $6,005         $5,893          $112            $108           $191,685
2009-12             $6,262         $5,893          $369            $356           $192,041
2010-01                 $0             $0             $0              $0          $192,041
2010-02                 $0             $0             $0              $0          $192,041
2010-03                 $0             $0             $0              $0          $192,041
2010-04                 $0             $0             $0              $0          $192,041
2010-05             $6,262         $3,206         $3,057          $2,885          $194,926
2010-06             $6,262         $3,206         $3,057          $2,873          $197,800
2010-07             $6,262         $3,206         $3,057          $2,861          $200,661
2010-08             $6,262         $3,206         $3,057          $2,849          $203,510
2010-09             $6,262         $3,206         $3,057          $2,837          $206,347
2010-10             $6,262         $3,206         $3,057          $2,825          $209,172
2010-11             $6,262         $3,206         $3,057          $2,813          $211,984
2010-12             $6,262         $3,206         $3,057          $2,801          $214,785
2011-01             $6,262         $3,676         $2,586          $2,359          $217,144
2011-02             $6,262         $3,676         $2,586          $2,349          $219,494
2011-03             $6,262         $3,676         $2,586          $2,339          $221,833
2011-04             $6,262         $3,676         $2,586          $2,329          $224,161
2011-05             $6,262         $3,676         $2,586          $2,319          $226,480
2011-06             $6,262         $3,676         $2,586          $2,308          $228,788
2011-07             $6,262         $3,676         $2,586          $2,298          $231,086
2011-08             $6,262         $3,676         $2,586          $2,288          $233,374
2011-09             $6,262         $3,676         $2,586          $2,278          $235,652
2011-10             $6,262         $3,676         $2,586          $2,268          $237,920
2011-11             $6,262         $3,676         $2,586          $2,258          $240,177
2011-12             $6,262         $3,676         $2,586          $2,247          $242,425
2012-01             $6,262         $3,591         $2,671          $2,311          $244,736
2012-02             $6,262         $3,591         $2,671          $2,300          $247,036
2012-03             $6,262         $3,591         $2,671          $2,290          $249,326
2012-04             $6,262         $3,591         $2,671          $2,279          $251,605
2012-05             $6,262         $3,591         $2,671          $2,269          $253,874
2012-06             $6,262         $3,591         $2,671          $2,259          $256,133


                                                                                  Exhibit A to
                                                                   G. Bryan's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2012-07             $6,262         $3,591         $2,671          $2,248          $258,381
2012-08             $6,262         $3,591         $2,671          $2,238          $260,619
2012-09             $6,262         $3,591         $2,671          $2,227          $262,847
2012-10             $6,262         $3,591         $2,671          $2,217          $265,064
2012-11             $6,262         $3,591         $2,671          $2,207          $267,271
2012-12             $6,262         $3,591         $2,671          $2,196          $269,467
2013-01             $6,262         $3,226         $3,037          $2,485          $271,952
2013-02             $6,262         $3,226         $3,037          $2,473          $274,426
2013-03             $6,262         $3,226         $3,037          $2,462          $276,887
2013-04             $6,438         $3,226         $3,212          $2,591          $279,479
2013-05             $6,502         $3,226         $3,276          $2,630          $282,109
2013-06             $6,502         $3,226         $3,276          $2,618          $284,727
2013-07             $6,502         $3,226         $3,276          $2,605          $287,332
2013-08             $6,502         $3,226         $3,276          $2,592          $289,924
2013-09             $6,502         $3,226         $3,276          $2,580          $292,504
2013-10             $6,502         $3,226         $3,276          $2,567          $295,071
2013-11             $6,502         $3,226         $3,276          $2,555          $297,626
2013-12             $6,502         $3,226         $3,276          $2,542          $300,168
2014-01             $6,502         $3,792         $2,710          $2,092          $302,260
2014-02             $6,502         $3,792         $2,710          $2,082          $304,342
2014-03             $6,502         $3,792         $2,710          $2,071          $306,414
2014-04             $6,502         $3,792         $2,710          $2,061          $308,475
2014-05             $6,567         $3,792         $2,775          $2,100          $310,575
2014-06             $6,567         $3,792         $2,775          $2,842          $313,417
2014-07             $6,567         $3,792         $2,775          $2,079          $315,495
2014-08             $6,567         $3,792         $2,775          $2,068          $317,563
2014-09             $6,567         $3,792         $2,775          $2,057          $319,621
2014-10             $6,567         $3,792         $2,775          $2,047          $321,667
2014-11             $6,567         $3,792         $2,775          $2,036          $323,704
2014-12             $6,567         $3,792         $2,775          $2,026          $325,729
2015-01             $6,567         $3,754         $2,813          $2,043          $327,772
2015-02             $6,567         $3,754         $2,813          $2,032          $329,803
2015-03             $6,567         $3,754         $2,813          $2,021          $331,824
2015-04             $6,944         $3,754         $3,190          $2,280          $334,105
2015-05             $7,154         $3,754         $3,400          $2,417          $336,522
2015-06             $7,154         $3,754         $3,400          $2,404          $338,926
2015-07             $7,154         $3,754         $3,400          $2,391          $341,317
2015-08             $7,154         $3,754         $3,400          $2,378          $343,695
2015-09             $7,154         $3,754         $3,400          $2,365          $346,061
2015-10             $7,154         $3,754         $3,400          $2,353          $348,413
2015-11             $7,154         $3,754         $3,400          $2,340          $350,753
2015-12             $7,154         $3,754         $3,400          $2,327          $353,080
2016-01             $7,154         $3,651         $3,503          $2,384          $355,464


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2016-02             $7,154         $3,651         $3,503          $2,371          $357,836
2016-03             $7,154         $3,651         $3,503          $2,358          $360,193
2016-04             $7,154         $3,651         $3,503          $2,345          $362,538
2016-05             $7,404         $3,651         $3,753          $2,498          $365,036
2016-06             $7,404         $3,651         $3,753          $2,483          $367,519
2016-07             $7,404         $3,651         $3,753          $2,469          $369,989
2016-08             $7,404         $3,651         $3,753          $2,455          $372,444
2016-09             $7,404         $3,651         $3,753          $2,441          $374,885
2016-10             $7,404         $3,651         $3,753          $2,427          $377,311
2016-11             $7,404         $3,651         $3,753          $2,413          $379,724
2016-12             $7,404         $3,651         $3,753          $2,398          $382,122
2017-01             $7,404         $3,518         $3,886          $2,469          $384,591
2017-02             $7,404         $3,518         $3,886          $2,454          $387,045
2017-03             $7,404         $3,518         $3,886          $2,439          $389,485
2017-04             $7,404         $3,518         $3,886          $2,425          $391,910
2017-05             $7,741         $3,518         $4,223          $2,619          $394,529
2017-06             $7,741         $3,518         $4,223          $2,603          $397,132
2017-07             $7,741         $3,518         $4,223          $2,588          $399,720
2017-08             $7,741         $3,518         $4,223          $2,572          $402,291
2017-09             $7,741         $3,518         $4,223          $2,556          $404,847
2017-10             $7,741         $3,518         $4,223          $2,540          $407,388
2017-11             $7,741         $3,518         $4,223          $2,524          $409,912
2017-12             $7,741         $3,518         $4,223          $2,509          $412,421
2018-01             $7,741         $3,808         $3,933          $2,322          $414,742
2018-02             $7,741         $3,808         $3,933          $2,307          $417,049
2018-03             $7,741         $3,808         $3,933          $2,292          $419,341
2018-04             $7,851         $3,808         $4,043          $2,341          $421,683
2018-05             $8,005         $3,808         $4,197          $2,415          $424,098
2018-06             $8,245         $3,808         $4,437          $2,537          $426,634
2018-07             $8,245         $3,808         $4,437          $2,520          $429,154
2018-08             $8,245         $3,808         $4,437          $2,503          $431,657
2018-09             $8,245         $3,808         $4,437          $2,487          $434,144
2018-10             $8,245         $3,808         $4,437          $2,470          $436,615
2018-11             $8,245         $3,808         $4,437          $2,454          $439,069
2018-12             $8,245         $3,808         $4,437          $2,437          $441,506
2019-01             $8,245         $4,112         $4,133          $2,255          $443,761
2019-02             $8,410         $4,112         $4,298          $2,329          $446,090
2019-03             $8,410         $4,112         $4,298          $2,313          $448,403
2019-04             $8,410         $4,112         $4,298          $2,297          $450,700
2019-05             $8,410         $4,112         $4,298          $2,281          $452,981
2019-06             $8,410         $4,112         $4,298          $2,265          $455,246
2019-07             $8,410         $4,112         $4,298          $2,249          $457,496
2019-08             $8,410         $4,112         $4,298          $2,233          $459,729


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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2019-09             $8,410         $4,112         $4,298          $2,217          $461,946
2019-10             $8,410         $4,112         $4,298          $2,202          $464,148
2019-11             $8,410         $4,112         $4,298          $2,186          $466,333
2019-12             $8,410         $4,112         $4,298          $2,170          $468,503
2020-01             $8,410         $4,195         $4,215          $2,112          $470,615
2020-02             $8,410         $4,195         $4,215          $2,097          $472,712
2020-03             $8,410         $4,195         $4,215          $2,081          $474,793
2020-04             $9,284         $4,195         $5,089          $2,494          $477,288
2020-05             $9,516         $4,195         $5,321          $2,588          $479,876
2020-06             $9,516         $4,195         $5,321          $2,569          $482,444
2020-07             $9,516         $4,195         $5,321          $2,549          $484,993
2020-08             $9,516         $4,195         $5,321          $2,549          $487,542
2020-09             $9,516         $4,195         $5,321          $2,549          $490,091
2020-10             $9,516         $4,195         $5,321          $2,549          $492,640
2020-11             $9,516         $4,195         $5,321          $2,549          $495,189
2020-12             $9,516         $4,195         $5,321          $2,549          $497,738
2021-01             $9,516         $4,280         $5,236          $2,508          $500,247
2021-02             $9,516         $4,280         $5,236          $2,508          $502,755
2021-03             $9,516         $4,280         $5,236          $2,508          $505,264
2021-04             $9,516         $4,280         $5,236          $2,508          $507,772
2021-05             $9,580         $4,280         $5,300          $2,539          $510,311
2021-06             $9,580         $4,280         $5,300          $2,539          $512,850
2021-07             $9,580         $4,280         $5,300          $2,539          $515,389




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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2001-10     Regularly Appointed Teacher               $33,851
          2001-11     Regularly Appointed Teacher               $35,544
          2001-12     Regularly Appointed Teacher               $36,240
          2002-01     Regularly Appointed Teacher               $36,240
          2002-02     Regularly Appointed Teacher               $36,240
          2002-03     Regularly Appointed Teacher               $36,240
          2002-04     Regularly Appointed Teacher               $36,240
          2002-05     Regularly Appointed Teacher               $36,240
          2002-06     Regularly Appointed Teacher               $36,240
          2002-07     Regularly Appointed Teacher               $36,240
          2002-08     Regularly Appointed Teacher               $36,240
          2002-09     Regularly Appointed Teacher               $39,650
          2002-10     Regularly Appointed Teacher               $39,650
          2002-11     Regularly Appointed Teacher               $39,650
          2002-12     Regularly Appointed Teacher               $40,225
          2003-01     Regularly Appointed Teacher               $40,225
          2003-02     Regularly Appointed Teacher               $40,225
          2003-03     Regularly Appointed Teacher               $40,225
          2003-04     Regularly Appointed Teacher               $40,225
          2003-05     Regularly Appointed Teacher               $40,225
          2003-06     Regularly Appointed Teacher               $40,225
          2003-07     Regularly Appointed Teacher               $40,225
          2003-08     Regularly Appointed Teacher               $45,011
          2003-09     Regularly Appointed Teacher               $45,011
          2003-10     Regularly Appointed Teacher               $45,011
          2003-11     Regularly Appointed Teacher               $45,011
          2003-12     Regularly Appointed Teacher               $46,416
          2004-01     Regularly Appointed Teacher               $46,416
          2004-02     Regularly Appointed Teacher               $46,416
          2004-03     Regularly Appointed Teacher               $46,416
          2004-04     Regularly Appointed Teacher               $46,416
          2004-05     Regularly Appointed Teacher               $46,416
          2004-06     Regularly Appointed Teacher               $46,416
          2004-07     Regularly Appointed Teacher               $46,416
          2004-08     Regularly Appointed Teacher               $46,416
          2004-09     Regularly Appointed Teacher               $46,416
          2004-10     Regularly Appointed Teacher               $46,416
          2004-11     Regularly Appointed Teacher               $46,416
          2004-12     Regularly Appointed Teacher               $48,606
          2005-01     Regularly Appointed Teacher               $48,606
          2005-02     Regularly Appointed Teacher               $48,606
          2005-03     Regularly Appointed Teacher               $49,405
          2005-04     Regularly Appointed Teacher               $49,405

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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2005-05     Regularly Appointed Teacher               $49,405
          2005-06     Regularly Appointed Teacher               $49,405
          2005-07     Regularly Appointed Teacher               $49,405
          2005-08     Regularly Appointed Teacher               $49,405
          2005-09     Regularly Appointed Teacher               $49,405
          2005-10     Regularly Appointed Teacher               $49,405
          2005-11     Regularly Appointed Teacher               $52,122
          2005-12     Regularly Appointed Teacher               $53,375
          2006-01     Regularly Appointed Teacher               $53,641
          2006-02     Regularly Appointed Teacher               $53,641
          2006-03     Regularly Appointed Teacher               $56,571
          2006-04     Regularly Appointed Teacher               $56,571
          2006-05     Regularly Appointed Teacher               $56,571
          2006-06     Regularly Appointed Teacher               $56,571
          2006-07     Regularly Appointed Teacher               $56,571
          2006-08     Regularly Appointed Teacher               $56,571
          2006-09     Regularly Appointed Teacher               $56,571
          2006-10     Regularly Appointed Teacher               $60,008
          2006-11     Regularly Appointed Teacher               $60,008
          2006-12     Regularly Appointed Teacher               $62,841
          2007-01     Regularly Appointed Teacher               $62,841
          2007-02     Regularly Appointed Teacher               $62,841
          2007-03     Regularly Appointed Teacher               $66,204
          2007-04     Regularly Appointed Teacher               $66,204
          2007-05     Regularly Appointed Teacher               $66,204
          2007-06     Regularly Appointed Teacher               $66,349
          2007-07     Regularly Appointed Teacher               $66,349
          2007-08     Regularly Appointed Teacher               $66,349
          2007-09     Regularly Appointed Teacher               $66,349
          2007-10     Regularly Appointed Teacher               $67,677
          2007-11     Regularly Appointed Teacher               $67,677
          2007-12     Regularly Appointed Teacher               $67,677
          2008-01     Regularly Appointed Teacher               $67,677
          2008-02     Regularly Appointed Teacher               $67,677
          2008-03     Regularly Appointed Teacher               $67,677
          2008-04     Regularly Appointed Teacher               $67,677
          2008-05     Regularly Appointed Teacher               $72,060
          2008-06     Regularly Appointed Teacher               $72,060
          2008-07     Regularly Appointed Teacher               $72,060
          2008-08     Regularly Appointed Teacher               $72,060
          2008-09     Regularly Appointed Teacher               $72,060
          2008-10     Regularly Appointed Teacher               $72,060
          2008-11     Regularly Appointed Teacher               $72,060

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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2008-12     Regularly Appointed Teacher               $72,060
          2009-01     Regularly Appointed Teacher               $72,060
          2009-02     Regularly Appointed Teacher               $72,060
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $75,149
          2010-01     Regularly Appointed Teacher / LWOP        $75,149
          2010-02     Regularly Appointed Teacher / LWOP        $75,149
          2010-03     Regularly Appointed Teacher / LWOP        $75,149
          2010-04     Regularly Appointed Teacher / LWOP        $75,149
          2010-05     Regularly Appointed Teacher               $75,149
          2010-06     Regularly Appointed Teacher               $75,149
          2010-07     Regularly Appointed Teacher               $75,149
          2010-08     Regularly Appointed Teacher               $75,149
          2010-09     Regularly Appointed Teacher               $75,149
          2010-10     Regularly Appointed Teacher               $75,149
          2010-11     Regularly Appointed Teacher               $75,149
          2010-12     Regularly Appointed Teacher               $75,149
          2011-01     Regularly Appointed Teacher               $75,149
          2011-02     Regularly Appointed Teacher               $75,149
          2011-03     Regularly Appointed Teacher               $75,149
          2011-04     Regularly Appointed Teacher               $75,149
          2011-05     Regularly Appointed Teacher               $75,149
          2011-06     Regularly Appointed Teacher               $75,149
          2011-07     Regularly Appointed Teacher               $75,149
          2011-08     Regularly Appointed Teacher               $75,149
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149
          2012-06     Regularly Appointed Teacher               $75,149

                                                                                   Exhibit B to
                                                                    G. Bryan's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $77,251
          2013-05     Regularly Appointed Teacher               $78,024
          2013-06     Regularly Appointed Teacher               $78,024
          2013-07     Regularly Appointed Teacher               $78,024
          2013-08     Regularly Appointed Teacher               $78,024
          2013-09     Regularly Appointed Teacher               $78,024
          2013-10     Regularly Appointed Teacher               $78,024
          2013-11     Regularly Appointed Teacher               $78,024
          2013-12     Regularly Appointed Teacher               $78,024
          2014-01     Regularly Appointed Teacher               $78,024
          2014-02     Regularly Appointed Teacher               $78,024
          2014-03     Regularly Appointed Teacher               $78,024
          2014-04     Regularly Appointed Teacher               $78,024
          2014-05     Regularly Appointed Teacher               $78,804
          2014-06     Regularly Appointed Teacher               $78,804
          2014-07     Regularly Appointed Teacher               $78,804
          2014-08     Regularly Appointed Teacher               $78,804
          2014-09     Regularly Appointed Teacher               $78,804
          2014-10     Regularly Appointed Teacher               $78,804
          2014-11     Regularly Appointed Teacher               $78,804
          2014-12     Regularly Appointed Teacher               $78,804
          2015-01     Regularly Appointed Teacher               $78,804
          2015-02     Regularly Appointed Teacher               $78,804
          2015-03     Regularly Appointed Teacher               $78,804
          2015-04     Regularly Appointed Teacher               $83,333
          2015-05     Regularly Appointed Teacher               $85,849
          2015-06     Regularly Appointed Teacher               $85,849
          2015-07     Regularly Appointed Teacher               $85,849
          2015-08     Regularly Appointed Teacher               $85,849
          2015-09     Regularly Appointed Teacher               $85,849
          2015-10     Regularly Appointed Teacher               $85,849
          2015-11     Regularly Appointed Teacher               $85,849
          2015-12     Regularly Appointed Teacher               $85,849
          2016-01     Regularly Appointed Teacher               $85,849

                                                                                   Exhibit B to
                                                                    G. Bryan's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2016-02     Regularly Appointed Teacher               $85,849
          2016-03     Regularly Appointed Teacher               $85,849
          2016-04     Regularly Appointed Teacher               $85,849
          2016-05     Regularly Appointed Teacher               $88,844
          2016-06     Regularly Appointed Teacher               $88,844
          2016-07     Regularly Appointed Teacher               $88,844
          2016-08     Regularly Appointed Teacher               $88,844
          2016-09     Regularly Appointed Teacher               $88,844
          2016-10     Regularly Appointed Teacher               $88,844
          2016-11     Regularly Appointed Teacher               $88,844
          2016-12     Regularly Appointed Teacher               $88,844
          2017-01     Regularly Appointed Teacher               $88,844
          2017-02     Regularly Appointed Teacher               $88,844
          2017-03     Regularly Appointed Teacher               $88,844
          2017-04     Regularly Appointed Teacher               $88,844
          2017-05     Regularly Appointed Teacher               $92,886
          2017-06     Regularly Appointed Teacher               $92,886
          2017-07     Regularly Appointed Teacher               $92,886
          2017-08     Regularly Appointed Teacher               $92,886
          2017-09     Regularly Appointed Teacher               $92,886
          2017-10     Regularly Appointed Teacher               $92,886
          2017-11     Regularly Appointed Teacher               $92,886
          2017-12     Regularly Appointed Teacher               $92,886
          2018-01     Regularly Appointed Teacher               $92,886




                                                                                   Exhibit B to
                                                                    G. Bryan's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : JEAN CLAUDE
                                                                       : DELLY
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Jean Claude Delly (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on December 10, 2020, with respect to Mr.
Delly’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Jean Claude
Delly, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Jean Claude Delly (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Delly will have
judgment against the BOE as follows:

   1. Backpay in the amount of $274,537;

   2. Tax-component award in the amount of $32,258;

   3. LAST Fees in the amount of $160;

   4. ASAF account award in the amount of $2,105;

   5. CAR Day award in the amount of $10,618;

   6. Pre-judgment interest calculated to be $56,190; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Delly will be entitled to
the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Mr. Delly’s counterfactual monthly service history, as listed on Exhibit B
          to the Findings of Fact and Conclusions of Law for Jean Claude Delly; and

       c. Grant Mr. Delly retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : JEAN CLAUDE
THE BOARD OF EDUCATION OF THE CITY SCHOOL : DELLY
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Jean Claude Delly:

    1. Class Membership. Mr. Delly is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       he suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Delly would have been appointed as a
                regularly appointed teacher in July 2001. The Special Master also finds, and the
                Court agrees, that Mr. Delly is eligible to accrue backpay damages beginning July
                2000.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Delly would have worked as a regularly
                appointed teacher until July 1, 2011, Mr. Delly accrues backpay damages until
                December 1, 2019, and Mr. Delly’s backpay damages should be reduced by a
                probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Mr. Delly’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Mr. Delly’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Mr. Delly has satisfied his burden of establishing his entitlement to the
   following monetary relief:

       a. Backpay in the amount of $274,537;

       b. A tax-component award in the amount of $32,258;

       c. $160 to compensate him for the fees he paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $2,105;

       e. CAR Day damages in the amount of $10,618; and

       f. Pre-judgment interest in the amount of $56,190.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Mr. Delly has satisfied his burden of establishing his entitlement to
   the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Mr. Delly’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Mr. Delly should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Mr. Delly (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —          1952

               ii.   Gender — Male

               iii. Address —                                   Brooklyn, NY 11236

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   July 22, 2001



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — July 1,
                   2011

               x.   Retirement date (if any) — April 3, 2014

DATED: November 23, 2021




                                            3
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 158 of 299
                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                  Monthly
                            Monthly        Monthly                       Cumulative
 Month       Monthly                                     Damages with
                            Mitigation     Damages                        Damages
              Earnings                                     Attrition
 2000-07           $3,348         $3,348            $0              $0              $0
 2000-08           $3,348          $331         $3,017          $3,017          $3,017
 2000-09           $3,402          $599         $2,802          $2,802          $5,820
 2000-10           $3,402         $1,575        $1,827          $1,827          $7,647
 2000-11           $3,538         $1,728        $1,810          $1,810          $9,457
 2000-12           $3,538         $1,300        $2,238          $2,238         $11,694
 2001-01           $3,538         $1,254        $2,284          $2,284         $13,978
 2001-02           $3,538         $1,254        $2,284          $2,284         $16,262
 2001-03           $3,538          $143         $3,395          $3,378         $19,640
 2001-04           $3,538          $143         $3,395          $3,361         $23,001
 2001-05           $3,538          $143         $3,395          $3,345         $26,346
 2001-06           $3,538          $143         $3,395          $3,328         $29,674
 2001-07           $3,538         $1,132        $2,406          $2,347         $32,021
 2001-08           $3,538         $1,132        $2,406          $2,336         $34,357
 2001-09           $3,593         $1,132        $2,461          $2,378         $36,734
 2001-10           $3,593         $1,132        $2,461          $2,366         $39,100
 2001-11           $3,773         $1,132        $2,641          $2,527         $41,627
 2001-12           $3,773         $1,132        $2,641          $2,515         $44,142
 2002-01           $3,773         $1,208        $2,565          $2,431         $46,572
 2002-02           $3,773         $1,208        $2,565          $2,419         $48,992
 2002-03           $3,773         $1,208        $2,565          $2,408         $51,399
 2002-04           $3,773         $1,208        $2,565          $2,396         $53,795
 2002-05           $3,773         $1,208        $2,565          $2,385         $56,180
 2002-06           $3,773         $1,208        $2,565          $2,373         $58,553
 2002-07           $3,773         $1,208        $2,565          $2,362         $60,915
 2002-08           $3,773         $1,208        $2,565          $2,351         $63,265
 2002-09           $4,150         $1,208        $2,942          $2,683         $65,949
 2002-10           $4,150         $1,208        $2,942          $2,671         $68,620
 2002-11           $4,150         $1,208        $2,942          $2,658         $71,277
 2002-12           $4,150         $1,208        $2,942          $2,645         $73,922
 2003-01           $4,150         $1,208        $2,942          $2,632         $76,555
 2003-02           $4,150         $1,208        $2,942          $2,619         $79,174
 2003-03           $4,150         $1,208        $2,942          $2,607         $81,781
 2003-04           $4,150         $1,208        $2,942          $2,594         $84,376
 2003-05           $4,150         $1,208        $2,942          $2,582         $86,957
 2003-06           $4,150         $1,208        $2,942          $2,569         $89,527
 2003-07           $4,150         $1,208        $2,942          $2,557         $92,084
 2003-08           $4,150         $1,208        $2,942          $2,545         $94,628
 2003-09           $4,191         $1,208        $2,984          $2,568         $97,196
 2003-10           $4,191         $1,208        $2,984          $2,555         $99,751
 2003-11           $4,191         $1,208        $2,984          $2,543        $102,294
 2003-12           $4,275         $1,208        $3,067          $2,602        $104,896
 2004-01           $4,275         $1,280        $2,995          $2,527        $107,423


                                                                                  Exhibit A to
                                                                   J. Delly's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                  Monthly
                            Monthly        Monthly                       Cumulative
 Month       Monthly                                     Damages with
                            Mitigation     Damages                        Damages
              Earnings                                     Attrition
 2004-02           $4,275         $1,280        $2,995          $2,515        $109,938
 2004-03           $4,275         $1,280        $2,995          $2,502        $112,440
 2004-04           $4,275         $1,280        $2,995          $2,490        $114,930
 2004-05           $4,275         $1,280        $2,995          $2,478        $117,408
 2004-06           $4,275         $1,280        $2,995          $2,466        $119,873
 2004-07           $4,275         $1,280        $2,995          $2,453        $122,327
 2004-08           $4,275         $1,280        $2,995          $2,441        $124,768
 2004-09           $4,320         $1,280        $3,040          $2,466        $127,234
 2004-10           $4,320         $1,280        $3,040          $2,453        $129,687
 2004-11           $4,320         $1,280        $3,040          $2,441        $132,128
 2004-12           $4,472         $1,280        $3,191          $2,550        $134,678
 2005-01           $4,472         $3,530         $942            $749         $135,427
 2005-02           $4,472         $3,530         $942            $745         $136,172
 2005-03           $4,538         $3,530        $1,009           $793         $136,965
 2005-04           $4,538         $3,530        $1,009           $789         $137,754
 2005-05           $4,538         $3,530        $1,009           $785         $138,540
 2005-06           $4,538         $3,530        $1,009           $781         $139,321
 2005-07           $4,538         $3,530        $1,009           $777         $140,098
 2005-08           $4,538         $3,530        $1,009           $773         $140,872
 2005-09           $4,637         $3,530        $1,108           $845         $141,716
 2005-10           $4,637         $3,530        $1,108           $840         $142,557
 2005-11           $4,892         $3,530        $1,363          $1,028        $143,585
 2005-12           $4,892         $3,530        $1,363          $1,023        $144,608
 2006-01           $4,892         $3,329        $1,563          $1,167        $145,775
 2006-02           $4,892         $3,329        $1,563          $1,161        $146,936
 2006-03           $5,136         $3,329        $1,807          $1,335        $148,272
 2006-04           $5,136         $3,329        $1,807          $1,328        $149,600
 2006-05           $5,136         $3,329        $1,807          $1,321        $150,921
 2006-06           $5,136         $3,329        $1,807          $1,314        $152,234
 2006-07           $5,136         $3,329        $1,807          $1,307        $153,541
 2006-08           $5,136         $3,329        $1,807          $1,300        $154,841
 2006-09           $5,365         $3,329        $2,036          $1,464        $156,305
 2006-10           $5,540         $3,329        $2,210          $1,590        $157,895
 2006-11           $5,540         $3,329        $2,210          $1,590        $159,485
 2006-12           $5,540         $3,329        $2,210          $1,590        $161,075
 2007-01           $5,540         $4,027        $1,513          $1,088        $162,163
 2007-02           $5,540         $4,027        $1,513          $1,088        $163,251
 2007-03           $5,820         $4,027        $1,793          $1,290        $164,541
 2007-04           $5,820         $4,027        $1,793          $1,290        $165,830
 2007-05           $5,820         $4,027        $1,793          $1,290        $167,120
 2007-06           $5,820         $4,027        $1,793          $1,290        $168,410
 2007-07           $5,820         $4,027        $1,793          $1,290        $169,699
 2007-08           $5,820         $4,027        $1,793          $1,277        $170,976


                                                                                  Exhibit A to
                                                                   J. Delly's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 160 of 299
                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                  Monthly
                            Monthly        Monthly                       Cumulative
 Month       Monthly                                     Damages with
                            Mitigation     Damages                        Damages
              Earnings                                     Attrition
 2007-09           $5,820         $4,027        $1,793          $1,277        $172,253
 2007-10           $5,936         $4,027        $1,909          $1,360        $173,612
 2007-11           $5,936         $4,027        $1,909          $1,360        $174,972
 2007-12           $5,936         $4,027        $1,909          $1,360        $176,331
 2008-01           $5,936         $4,500        $1,436          $1,023        $177,354
 2008-02           $5,936         $4,500        $1,436          $1,023        $178,376
 2008-03           $5,936         $4,500        $1,436          $1,023        $179,399
 2008-04           $5,936         $4,500        $1,436           $923         $180,322
 2008-05           $6,316         $4,500        $1,816          $1,160        $181,482
 2008-06           $6,316         $4,500        $1,816          $1,153        $182,635
 2008-07           $6,316         $4,500        $1,816          $1,146        $183,781
 2008-08           $6,316         $4,500        $1,816          $1,139        $184,921
 2008-09           $6,316         $4,500        $1,816          $1,133        $186,053
 2008-10           $6,316         $4,500        $1,816          $1,126        $187,179
 2008-11           $6,316         $4,500        $1,816          $1,119        $188,298
 2008-12           $6,316         $4,500        $1,816          $1,112        $189,410
 2009-01           $6,316         $5,374         $942            $573         $189,983
 2009-02           $6,316         $5,374         $942            $570         $190,553
 2009-03           $6,316         $5,374         $942            $566         $191,120
 2009-04           $6,316         $5,374         $942            $563         $191,682
 2009-05           $6,316         $5,374         $942            $559         $192,242
 2009-06           $6,316         $5,374         $942            $556         $192,797
 2009-07           $6,316         $5,374         $942            $552         $193,349
 2009-08           $6,316         $5,374         $942            $549         $193,898
 2009-09           $6,574         $5,374        $1,200           $694         $194,592
 2009-10           $6,574         $5,374        $1,200           $689         $195,281
 2009-11           $6,574         $5,374        $1,200           $685         $195,966
 2009-12           $6,574         $5,374        $1,200           $680         $196,646
 2010-01           $6,574         $5,069        $1,505           $848         $197,494
 2010-02           $6,574         $5,069        $1,505           $842         $198,336
 2010-03           $6,574         $5,069        $1,505           $836         $199,172
 2010-04           $6,574         $5,069        $1,505           $831         $200,002
 2010-05           $6,574         $5,069        $1,505           $825         $200,827
 2010-06           $6,574         $5,069        $1,505           $819         $201,646
 2010-07           $6,574         $5,069        $1,505           $813         $202,460
 2010-08           $6,574         $5,069        $1,505           $808         $203,268
 2010-09           $6,574         $5,069        $1,505           $802         $204,070
 2010-10           $6,574         $5,069        $1,505           $797         $204,867
 2010-11           $6,574         $5,069        $1,505           $791         $205,658
 2010-12           $6,574         $5,069        $1,505           $786         $206,444
 2011-01           $6,574         $4,963        $1,610           $835         $207,278
 2011-02           $6,574         $4,963        $1,610           $829         $208,107
 2011-03           $6,574         $4,963        $1,610           $823         $208,930


                                                                                  Exhibit A to
                                                                   J. Delly's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 161 of 299
                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                  Monthly
                            Monthly        Monthly                       Cumulative
 Month       Monthly                                     Damages with
                            Mitigation     Damages                        Damages
              Earnings                                     Attrition
 2011-04           $6,574         $4,963        $1,610           $817         $209,747
 2011-05           $6,574         $4,963        $1,610           $811         $210,558
 2011-06           $6,574         $4,963        $1,610           $805         $211,363
 2011-07           $6,574         $4,963        $1,610           $799         $212,162
 2011-08           $6,574         $4,963        $1,610           $793         $212,955
 2011-09           $6,574         $4,963        $1,610           $787         $213,743
 2011-10           $6,574         $4,963        $1,610           $781         $214,524
 2011-11           $6,574         $4,963        $1,610           $776         $215,300
 2011-12           $6,574         $4,963        $1,610           $770         $216,069
 2012-01           $6,574         $4,959        $1,615           $766         $216,836
 2012-02           $6,574         $4,959        $1,615           $760         $217,596
 2012-03           $6,574         $4,959        $1,615           $754         $218,350
 2012-04           $6,574         $4,959        $1,615           $748         $219,098
 2012-05           $6,574         $4,959        $1,615           $742         $219,841
 2012-06           $6,574         $4,959        $1,615           $737         $220,577
 2012-07           $6,574         $4,959        $1,615           $731         $221,308
 2012-08           $6,574         $4,959        $1,615           $725         $222,033
 2012-09           $6,749         $4,959        $1,790           $797         $222,830
 2012-10           $6,749         $4,959        $1,790           $790         $223,620
 2012-11           $6,749         $4,959        $1,790           $784         $224,404
 2012-12           $6,749         $4,959        $1,790           $777         $225,182
 2013-01           $6,749         $4,974        $1,775           $764         $225,946
 2013-02           $6,749         $4,974        $1,775           $758         $226,704
 2013-03           $6,749         $4,974        $1,775           $752         $227,456
 2013-04           $6,749         $4,974        $1,775           $745         $228,201
 2013-05           $6,816         $4,974        $1,842           $767         $228,968
 2013-06           $6,816         $4,974        $1,842           $760         $229,728
 2013-07           $6,816         $4,974        $1,842           $754         $230,481
 2013-08           $6,816         $4,974        $1,842           $747         $231,228
 2013-09           $6,816         $4,974        $1,842           $740         $231,969
 2013-10           $6,816         $4,974        $1,842           $734         $232,703
 2013-11           $6,816         $4,974        $1,842           $727         $233,430
 2013-12           $6,816         $4,974        $1,842           $721         $234,151
 2014-01           $6,816         $4,925        $1,892           $734         $234,885
 2014-02           $6,816         $4,925        $1,892           $727         $235,611
 2014-03           $6,816         $4,925        $1,892           $720         $236,332
 2014-04           $6,816         $4,925        $1,892           $713         $237,045
 2014-05           $6,885         $4,925        $1,960           $732         $237,777
 2014-06           $6,885         $4,925        $2,960          $1,095        $238,873
 2014-07           $6,885         $4,925        $1,960           $718         $239,591
 2014-08           $6,885         $4,925        $1,960           $711         $240,302
 2014-09           $7,262         $4,925        $2,337           $840         $241,142
 2014-10           $7,262         $4,925        $2,337           $832         $241,974


                                                                                  Exhibit A to
                                                                   J. Delly's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                  Monthly
                            Monthly        Monthly                       Cumulative
 Month       Monthly                                     Damages with
                            Mitigation     Damages                        Damages
              Earnings                                     Attrition
 2014-11           $7,262         $4,925        $2,337           $824         $242,798
 2014-12           $7,262         $4,925        $2,337           $815         $243,613
 2015-01           $7,262         $5,790        $1,472           $508         $244,121
 2015-02           $7,262         $5,790        $1,472           $503         $244,624
 2015-03           $7,262         $5,790        $1,472           $498         $245,122
 2015-04           $7,262         $5,790        $1,472           $493         $245,615
 2015-05           $7,481         $5,790        $1,691           $560         $246,175
 2015-06           $7,481         $5,790        $1,691           $554         $246,729
 2015-07           $7,481         $5,790        $1,691           $548         $247,277
 2015-08           $7,481         $5,790        $1,691           $542         $247,819
 2015-09           $7,481         $5,790        $1,691           $536         $248,355
 2015-10           $7,481         $5,790        $1,691           $530         $248,885
 2015-11           $7,481         $5,790        $1,691           $524         $249,409
 2015-12           $7,481         $5,790        $1,691           $518         $249,927
 2016-01           $7,481         $5,462        $2,019           $612         $250,539
 2016-02           $7,481         $5,462        $2,019           $604         $251,143
 2016-03           $7,481         $5,462        $2,019           $597         $251,740
 2016-04           $7,481         $5,462        $2,019           $590         $252,330
 2016-05           $7,742         $5,462        $2,280           $658         $252,989
 2016-06           $7,742         $5,462        $2,280           $650         $253,639
 2016-07           $7,742         $5,462        $2,280           $642         $254,281
 2016-08           $7,742         $5,462        $2,280           $634         $254,915
 2016-09           $7,742         $5,462        $2,280           $626         $255,541
 2016-10           $7,742         $5,462        $2,280           $618         $256,159
 2016-11           $7,742         $5,462        $2,280           $610         $256,769
 2016-12           $7,742         $5,462        $2,280           $602         $257,371
 2017-01           $7,742         $5,582        $2,160           $563         $257,934
 2017-02           $7,742         $5,582        $2,160           $555         $258,488
 2017-03           $7,742         $5,582        $2,160           $547         $259,036
 2017-04           $7,742         $5,582        $2,160           $540         $259,575
 2017-05           $8,094         $5,582        $2,512           $619         $260,194
 2017-06           $8,094         $5,582        $2,512           $610         $260,804
 2017-07           $8,094         $5,582        $2,512           $601         $261,405
 2017-08           $8,094         $5,582        $2,512           $592         $261,997
 2017-09           $8,205         $5,582        $2,623           $609         $262,606
 2017-10           $8,205         $5,582        $2,623           $600         $263,206
 2017-11           $8,205         $5,582        $2,623           $590         $263,796
 2017-12           $8,205         $5,582        $2,623           $581         $264,377
 2018-01           $8,205         $5,664        $2,541           $554         $264,931
 2018-02           $8,205         $5,664        $2,541           $545         $265,476
 2018-03           $8,205         $5,664        $2,541           $536         $266,012
 2018-04           $8,205         $5,664        $2,541           $527         $266,540
 2018-05           $8,366         $5,664        $2,702           $552         $267,091


                                                                                  Exhibit A to
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                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                  Monthly
                            Monthly        Monthly                       Cumulative
 Month       Monthly                                     Damages with
                            Mitigation     Damages                        Damages
              Earnings                                     Attrition
 2018-06           $8,617         $5,664        $2,953           $593         $267,684
 2018-07           $8,617         $5,664        $2,953           $582         $268,266
 2018-08           $8,617         $5,664        $2,953           $577         $268,843
 2018-09           $8,617         $5,664        $2,953           $577         $269,420
 2018-10           $8,617         $5,664        $2,953           $577         $269,997
 2018-11           $8,617         $5,664        $2,953           $577         $270,573
 2018-12           $8,617         $5,664        $2,953           $577         $271,150
 2019-01           $8,617         $6,723        $1,893           $370         $271,520
 2019-02           $8,789         $6,127        $2,662           $520         $272,040
 2019-03           $8,789         $6,127        $2,662           $295         $272,335
 2019-04           $8,789         $6,127        $2,662           $295         $272,631
 2019-05           $8,789         $6,127        $2,662           $295         $272,926
 2019-06           $8,789         $6,127        $2,662           $295         $273,221
 2019-07           $8,789         $6,127        $2,662           $236         $273,457
 2019-08           $8,789         $6,127        $2,662           $227         $273,685
 2019-09           $9,663         $6,127        $3,536           $290         $273,975
 2019-10           $9,663         $6,127        $3,536           $284         $274,259
 2019-11           $9,663         $6,127        $3,536           $278         $274,537




                                                                                  Exhibit A to
                                                                   J. Delly's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2000-07     Regular Substitute Teacher                $40,180
          2000-08     Regular Substitute Teacher                $40,180
          2000-09     Regular Substitute Teacher                $40,819
          2000-10     Regular Substitute Teacher                $40,819
          2000-11     Regular Substitute Teacher                $42,452
          2000-12     Regular Substitute Teacher                $42,452
          2001-01     Regular Substitute Teacher                $42,452
          2001-02     Regular Substitute Teacher                $42,452
          2001-03     Regular Substitute Teacher                $42,452
          2001-04     Regular Substitute Teacher                $42,452
          2001-05     Regular Substitute Teacher                $42,452
          2001-06     Regular Substitute Teacher                $42,452
          2001-07     Regularly Appointed Teacher               $42,452
          2001-08     Regularly Appointed Teacher               $42,452
          2001-09     Regularly Appointed Teacher               $43,115
          2001-10     Regularly Appointed Teacher               $43,115
          2001-11     Regularly Appointed Teacher               $45,271
          2001-12     Regularly Appointed Teacher               $45,271
          2002-01     Regularly Appointed Teacher               $45,271
          2002-02     Regularly Appointed Teacher               $45,271
          2002-03     Regularly Appointed Teacher               $45,271
          2002-04     Regularly Appointed Teacher               $45,271
          2002-05     Regularly Appointed Teacher               $45,271
          2002-06     Regularly Appointed Teacher               $45,271
          2002-07     Regularly Appointed Teacher               $45,271
          2002-08     Regularly Appointed Teacher               $45,271
          2002-09     Regularly Appointed Teacher               $49,798
          2002-10     Regularly Appointed Teacher               $49,798
          2002-11     Regularly Appointed Teacher               $49,798
          2002-12     Regularly Appointed Teacher               $49,798
          2003-01     Regularly Appointed Teacher               $49,798
          2003-02     Regularly Appointed Teacher               $49,798
          2003-03     Regularly Appointed Teacher               $49,798
          2003-04     Regularly Appointed Teacher               $49,798
          2003-05     Regularly Appointed Teacher               $49,798
          2003-06     Regularly Appointed Teacher               $49,798
          2003-07     Regularly Appointed Teacher               $49,798
          2003-08     Regularly Appointed Teacher               $49,798
          2003-09     Regularly Appointed Teacher               $50,293
          2003-10     Regularly Appointed Teacher               $50,293
          2003-11     Regularly Appointed Teacher               $50,293
          2003-12     Regularly Appointed Teacher               $51,298
          2004-01     Regularly Appointed Teacher               $51,298

                                                                                    Exhibit B to
                                                                     J. Delly's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2004-02     Regularly Appointed Teacher               $51,298
          2004-03     Regularly Appointed Teacher               $51,298
          2004-04     Regularly Appointed Teacher               $51,298
          2004-05     Regularly Appointed Teacher               $51,298
          2004-06     Regularly Appointed Teacher               $51,298
          2004-07     Regularly Appointed Teacher               $51,298
          2004-08     Regularly Appointed Teacher               $51,298
          2004-09     Regularly Appointed Teacher               $51,844
          2004-10     Regularly Appointed Teacher               $51,844
          2004-11     Regularly Appointed Teacher               $51,844
          2004-12     Regularly Appointed Teacher               $53,659
          2005-01     Regularly Appointed Teacher               $53,659
          2005-02     Regularly Appointed Teacher               $53,659
          2005-03     Regularly Appointed Teacher               $54,458
          2005-04     Regularly Appointed Teacher               $54,458
          2005-05     Regularly Appointed Teacher               $54,458
          2005-06     Regularly Appointed Teacher               $54,458
          2005-07     Regularly Appointed Teacher               $54,458
          2005-08     Regularly Appointed Teacher               $54,458
          2005-09     Regularly Appointed Teacher               $55,645
          2005-10     Regularly Appointed Teacher               $55,645
          2005-11     Regularly Appointed Teacher               $58,706
          2005-12     Regularly Appointed Teacher               $58,706
          2006-01     Regularly Appointed Teacher               $58,706
          2006-02     Regularly Appointed Teacher               $58,706
          2006-03     Regularly Appointed Teacher               $61,636
          2006-04     Regularly Appointed Teacher               $61,636
          2006-05     Regularly Appointed Teacher               $61,636
          2006-06     Regularly Appointed Teacher               $61,636
          2006-07     Regularly Appointed Teacher               $61,636
          2006-08     Regularly Appointed Teacher               $61,636
          2006-09     Regularly Appointed Teacher               $64,380
          2006-10     Regularly Appointed Teacher               $66,475
          2006-11     Regularly Appointed Teacher               $66,475
          2006-12     Regularly Appointed Teacher               $66,475
          2007-01     Regularly Appointed Teacher               $66,475
          2007-02     Regularly Appointed Teacher               $66,475
          2007-03     Regularly Appointed Teacher               $69,838
          2007-04     Regularly Appointed Teacher               $69,838
          2007-05     Regularly Appointed Teacher               $69,838
          2007-06     Regularly Appointed Teacher               $69,838
          2007-07     Regularly Appointed Teacher               $69,838
          2007-08     Regularly Appointed Teacher               $69,838

                                                                                    Exhibit B to
                                                                     J. Delly's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2007-09     Regularly Appointed Teacher               $69,838
          2007-10     Regularly Appointed Teacher               $71,235
          2007-11     Regularly Appointed Teacher               $71,235
          2007-12     Regularly Appointed Teacher               $71,235
          2008-01     Regularly Appointed Teacher               $71,235
          2008-02     Regularly Appointed Teacher               $71,235
          2008-03     Regularly Appointed Teacher               $71,235
          2008-04     Regularly Appointed Teacher               $71,235
          2008-05     Regularly Appointed Teacher               $75,796
          2008-06     Regularly Appointed Teacher               $75,796
          2008-07     Regularly Appointed Teacher               $75,796
          2008-08     Regularly Appointed Teacher               $75,796
          2008-09     Regularly Appointed Teacher               $75,796
          2008-10     Regularly Appointed Teacher               $75,796
          2008-11     Regularly Appointed Teacher               $75,796
          2008-12     Regularly Appointed Teacher               $75,796
          2009-01     Regularly Appointed Teacher               $75,796
          2009-02     Regularly Appointed Teacher               $75,796
          2009-03     Regularly Appointed Teacher               $75,796
          2009-04     Regularly Appointed Teacher               $75,796
          2009-05     Regularly Appointed Teacher               $75,796
          2009-06     Regularly Appointed Teacher               $75,796
          2009-07     Regularly Appointed Teacher               $75,796
          2009-08     Regularly Appointed Teacher               $75,796
          2009-09     Regularly Appointed Teacher               $78,885
          2009-10     Regularly Appointed Teacher               $78,885
          2009-11     Regularly Appointed Teacher               $78,885
          2009-12     Regularly Appointed Teacher               $78,885
          2010-01     Regularly Appointed Teacher               $78,885
          2010-02     Regularly Appointed Teacher               $78,885
          2010-03     Regularly Appointed Teacher               $78,885
          2010-04     Regularly Appointed Teacher               $78,885
          2010-05     Regularly Appointed Teacher               $78,885
          2010-06     Regularly Appointed Teacher               $78,885
          2010-07     Regularly Appointed Teacher               $78,885
          2010-08     Regularly Appointed Teacher               $78,885
          2010-09     Regularly Appointed Teacher               $78,885
          2010-10     Regularly Appointed Teacher               $78,885
          2010-11     Regularly Appointed Teacher               $78,885
          2010-12     Regularly Appointed Teacher               $78,885
          2011-01     Regularly Appointed Teacher               $78,885
          2011-02     Regularly Appointed Teacher               $78,885
          2011-03     Regularly Appointed Teacher               $78,885

                                                                                    Exhibit B to
                                                                     J. Delly's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2011-04     Regularly Appointed Teacher               $78,885
          2011-05     Regularly Appointed Teacher               $78,885
          2011-06     Regularly Appointed Teacher               $78,885




                                                                                    Exhibit B to
                                                                     J. Delly's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : JENNIE
                                                                       : BONILLA
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Jennie Bonilla (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on September 24, 2020, with respect to Ms.
Bonilla’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Jennie
Bonilla, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Jennie Bonilla (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Bonilla will have
judgment against the BOE as follows:

   1. Backpay in the amount of $491,755;

   2. Tax-component award in the amount of $57,781;

   3. LAST Fees in the amount of $370;

   4. ASAF account award in the amount of $4,779;

   5. CAR Day award in the amount of $14,963;

   6. Pre-judgment interest calculated to be $36,962; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Bonilla will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Bonilla’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Jennie Bonilla; and

       c. Grant Ms. Bonilla retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : JENNIE
THE BOARD OF EDUCATION OF THE CITY SCHOOL : BONILLA
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Jennie Bonilla:

    1. Class Membership. Ms. Bonilla is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Bonilla would have been appointed as a
                regularly appointed teacher in July 2002. The Special Master also finds, and the
                Court agrees, that Ms. Bonilla is eligible to accrue backpay damages beginning
                July 2002.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Bonilla would have worked as a
                regularly appointed teacher until February 1, 2021, Ms. Bonilla accrues backpay
                damages through the date of judgment, and Ms. Bonilla’s backpay damages
                should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Bonilla’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Bonilla’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Bonilla has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $491,755;

       b. A tax-component award in the amount of $57,781;

       c. $370 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $4,779;

       e. CAR Day damages in the amount of $14,963; and

       f. Pre-judgment interest in the amount of $36,962.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Bonilla has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Bonilla’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Bonilla should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Bonilla (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —                1966

               ii.   Gender — Female

               iii. Address —                              New York, NY 10026

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   July 20, 2002



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — February
                   1, 2021

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2002-07             $2,904         $2,904             $0              $0                $0
2002-08             $2,904         $2,904             $0              $0                $0
2002-09             $3,277         $3,146           $131            $131             $131
2002-10             $3,277         $3,146           $131            $131             $261
2002-11             $3,277         $3,146           $131            $131             $392
2002-12             $3,277         $3,146           $131            $131             $523
2003-01             $3,277         $3,146           $131            $131             $653
2003-02             $3,277         $3,146           $131            $131             $784
2003-03             $3,277         $3,146           $131            $131             $915
2003-04             $3,277         $3,146           $131            $131            $1,045
2003-05             $3,277         $3,146           $131            $131            $1,176
2003-06             $3,277         $3,146           $131            $131            $1,307
2003-07             $3,277         $3,146           $131            $131            $1,437
2003-08             $3,277         $3,146           $131            $131            $1,568
2003-09             $3,304         $6,268             $0              $0            $1,568
2003-10             $3,304         $6,268             $0              $0            $1,568
2003-11             $3,304         $6,268             $0              $0            $1,568
2003-12             $3,370         $6,268             $0              $0            $1,568
2004-01             $3,370         $3,013           $357            $357            $1,925
2004-02             $3,777         $3,013           $764            $764            $2,689
2004-03             $3,777         $3,013           $764            $764            $3,452
2004-04             $3,777         $3,013           $764            $764            $4,216
2004-05             $3,777         $3,013           $764            $764            $4,980
2004-06             $3,777         $3,013           $764            $764            $5,744
2004-07             $3,777         $3,013           $764            $764            $6,508
2004-08             $3,777         $3,013           $764            $764            $7,271
2004-09             $3,826         $3,013           $813            $813            $8,084
2004-10             $3,826         $3,013           $813            $813            $8,897
2004-11             $3,826         $3,013           $813            $813            $9,709
2004-12             $3,960         $3,013           $947            $947           $10,656
2005-01             $3,960         $3,212           $748            $748           $11,404
2005-02             $3,960         $3,212           $748            $748           $12,153
2005-03             $3,960         $3,212           $748            $748           $12,901
2005-04             $3,960         $3,212           $748            $748           $13,649
2005-05             $3,960         $3,212           $748            $748           $14,397
2005-06             $3,960         $3,212           $748            $748           $15,146
2005-07             $3,960         $3,212           $748            $748           $15,894
2005-08             $3,960         $3,212           $748            $748           $16,642
2005-09             $4,003         $3,212           $792            $792           $17,434




                                                                                   Exhibit A to
                                                                  J. Bonilla's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2005-10             $4,003         $3,212          $792            $792            $18,226
2005-11             $4,224         $3,212         $1,012          $1,012           $19,238
2005-12             $4,224         $3,212         $1,012          $1,012           $20,250
2006-01             $4,224         $2,572         $1,652          $1,652           $21,901
2006-02             $4,224         $2,572         $1,652          $1,652           $23,553
2006-03             $4,224         $2,572         $1,652          $1,652           $25,204
2006-04             $4,224         $2,572         $1,652          $1,652           $26,856
2006-05             $4,224         $2,572         $1,652          $1,652           $28,507
2006-06             $4,224         $2,572         $1,652          $1,652           $30,159
2006-07             $4,246         $2,572         $1,674          $1,674           $31,832
2006-08             $4,246         $2,572         $1,674          $1,674           $33,506
2006-09             $4,295         $2,572         $1,723          $1,723           $35,229
2006-10             $4,435         $2,572         $1,863          $1,863           $37,092
2006-11             $4,435         $2,572         $1,863          $1,863           $38,956
2006-12             $4,435         $2,572         $1,863          $1,863           $40,819
2007-01             $4,435         $2,822         $1,613          $1,613           $42,432
2007-02             $4,435         $2,822         $1,613          $1,613           $44,045
2007-03             $4,508         $2,822         $1,686          $1,686           $45,731
2007-04             $4,641         $2,822         $1,819          $1,819           $47,550
2007-05             $4,641         $2,822         $1,819          $1,819           $49,369
2007-06             $4,641         $2,822         $1,819          $1,819           $51,187
2007-07             $4,641         $2,822         $1,819          $1,819           $53,006
2007-08             $4,641         $2,822         $1,819          $1,819           $54,825
2007-09             $4,748         $2,822         $1,927          $1,927           $56,752
2007-10             $4,843         $2,822         $2,021          $2,021           $58,773
2007-11             $4,843         $2,822         $2,021          $2,021           $60,794
2007-12             $4,856         $2,822         $2,034          $2,034           $62,828
2008-01             $4,856         $2,997         $1,858          $1,858           $64,687
2008-02             $4,856         $2,997         $1,858          $1,858           $66,545
2008-03             $5,113         $2,997         $2,116          $2,116           $68,661
2008-04             $5,113         $2,997         $2,116          $2,116           $70,776
2008-05             $5,452         $2,997         $2,455          $2,455           $73,231
2008-06             $5,452         $2,997         $2,455          $2,455           $75,685
2008-07             $5,452         $2,997         $2,455          $2,455           $78,140
2008-08             $5,452         $2,997         $2,455          $2,455           $80,595
2008-09             $5,705         $2,997         $2,707          $2,707           $83,302
2008-10             $5,705         $2,997         $2,707          $2,707           $86,009
2008-11             $5,705         $2,997         $2,707          $2,707           $88,717
2008-12             $5,705         $2,997         $2,707          $2,707           $91,424
2009-01             $5,705         $2,979         $2,726          $2,726           $94,151




                                                                                   Exhibit A to
                                                                  J. Bonilla's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2009-02             $5,705         $2,979         $2,726          $2,726           $96,877
2009-03             $6,005         $2,979         $3,026          $3,026           $99,903
2009-04             $6,005         $2,979         $3,026          $3,026          $102,930
2009-05             $6,005         $2,979         $3,026          $3,026          $105,956
2009-06             $6,005         $2,979         $3,026          $3,026          $108,983
2009-07             $6,005         $2,979         $3,026          $3,026          $112,009
2009-08             $6,005         $2,979         $3,026          $3,026          $115,036
2009-09             $6,005         $2,979         $3,026          $3,026          $118,062
2009-10             $6,005         $2,979         $3,026          $3,026          $121,088
2009-11             $6,005         $2,979         $3,026          $3,026          $124,115
2009-12             $6,005         $2,979         $3,026          $3,026          $127,141
2010-01             $6,005         $3,354         $2,651          $2,651          $129,793
2010-02             $6,005         $3,354         $2,651          $2,651          $132,444
2010-03             $6,005         $3,354         $2,651          $2,651          $135,096
2010-04             $6,005         $3,354         $2,651          $2,651          $137,747
2010-05             $6,005         $3,354         $2,651          $2,651          $140,399
2010-06             $6,005         $3,354         $2,651          $2,651          $143,050
2010-07             $6,005         $3,354         $2,651          $2,651          $145,701
2010-08             $6,005         $3,354         $2,651          $2,651          $148,353
2010-09             $6,005         $3,354         $2,651          $2,651          $151,004
2010-10             $6,005         $3,354         $2,651          $2,651          $153,656
2010-11             $6,005         $3,354         $2,651          $2,651          $156,307
2010-12             $6,005         $3,354         $2,651          $2,651          $158,959
2011-01             $6,005         $3,402         $2,603          $2,603          $161,562
2011-02             $6,005         $3,402         $2,603          $2,603          $164,165
2011-03             $6,005         $3,402         $2,603          $2,603          $166,769
2011-04             $6,005         $3,402         $2,603          $2,603          $169,372
2011-05             $6,005         $3,402         $2,603          $2,603          $171,975
2011-06             $6,005         $3,402         $2,603          $2,603          $174,579
2011-07             $6,005         $3,402         $2,603          $2,603          $177,182
2011-08             $6,005         $3,402         $2,603          $2,603          $179,785
2011-09             $6,262         $3,402         $2,861          $2,861          $182,646
2011-10             $6,262         $3,402         $2,861          $2,861          $185,507
2011-11             $6,262         $3,402         $2,861          $2,861          $188,368
2011-12             $6,262         $3,402         $2,861          $2,861          $191,229
2012-01             $6,262         $3,574         $2,689          $2,689          $193,917
2012-02             $6,262         $3,574         $2,689          $2,689          $196,606
2012-03             $6,262         $3,574         $2,689          $2,689          $199,295
2012-04             $6,262         $3,574         $2,689          $2,689          $201,983
2012-05             $6,262         $3,574         $2,689          $2,689          $204,672




                                                                                   Exhibit A to
                                                                  J. Bonilla's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2012-06             $6,262         $3,574         $2,689          $2,689          $207,361
2012-07             $6,262         $3,574         $2,689          $2,689          $210,049
2012-08             $6,262         $3,574         $2,689          $2,689          $212,738
2012-09             $6,262         $3,574         $2,689          $2,689          $215,427
2012-10             $6,262         $3,574         $2,689          $2,689          $218,115
2012-11             $6,262         $3,574         $2,689          $2,689          $220,804
2012-12             $6,262         $3,574         $2,689          $2,689          $223,493
2013-01             $6,262         $3,831         $2,431          $2,431          $225,924
2013-02             $6,262         $3,831         $2,431          $2,431          $228,355
2013-03             $6,262         $3,831         $2,431          $2,431          $230,787
2013-04             $6,262         $3,831         $2,431          $2,431          $233,218
2013-05             $6,325         $3,831         $2,494          $2,494          $235,712
2013-06             $6,325         $3,831         $2,494          $2,494          $238,206
2013-07             $6,325         $3,831         $2,494          $2,494          $240,700
2013-08             $6,325         $3,831         $2,494          $2,494          $243,194
2013-09             $6,325         $3,831         $2,494          $2,494          $245,688
2013-10             $6,325         $3,831         $2,494          $2,494          $248,182
2013-11             $6,325         $3,831         $2,494          $2,494          $250,676
2013-12             $6,325         $3,831         $2,494          $2,494          $253,170
2014-01             $6,325         $3,861         $2,464          $2,464          $255,634
2014-02             $6,325         $3,861         $2,464          $2,464          $258,097
2014-03             $6,325         $3,861         $2,464          $2,464          $260,561
2014-04             $6,325         $3,861         $2,464          $2,464          $263,025
2014-05             $6,388         $3,861         $2,527          $2,527          $265,552
2014-06             $6,388         $3,861         $3,527          $3,527          $269,079
2014-07             $6,388         $3,861         $2,527          $2,527          $271,606
2014-08             $6,388         $3,861         $2,527          $2,527          $274,133
2014-09             $6,567         $3,861         $2,706          $2,706          $276,838
2014-10             $6,567         $3,861         $2,706          $2,706          $279,544
2014-11             $6,567         $3,861         $2,706          $2,706          $282,250
2014-12             $6,567         $3,861         $2,706          $2,706          $284,955
2015-01             $6,567         $4,186         $2,381          $2,381          $287,336
2015-02             $6,567         $4,186         $2,381          $2,381          $289,716
2015-03             $6,567         $4,186         $2,381          $2,381          $292,097
2015-04             $6,567         $4,186         $2,381          $2,381          $294,478
2015-05             $6,765         $4,186         $2,579          $2,579          $297,057
2015-06             $6,765         $4,186         $2,579          $2,579          $299,636
2015-07             $6,765         $4,186         $2,579          $2,579          $302,215
2015-08             $6,765         $4,186         $2,579          $2,579          $304,794
2015-09             $6,765         $4,186         $2,579          $2,579          $307,373




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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2015-10             $6,765         $4,186         $2,579          $2,579          $309,952
2015-11             $6,765         $4,186         $2,579          $2,579          $312,531
2015-12             $6,765         $4,186         $2,579          $2,579          $315,110
2016-01             $6,765         $4,618         $2,147          $2,147          $317,257
2016-02             $6,765         $4,618         $2,147          $2,147          $319,404
2016-03             $6,765         $4,618         $2,147          $2,147          $321,551
2016-04             $6,765         $4,618         $2,147          $2,147          $323,698
2016-05             $7,001         $4,618         $2,383          $2,383          $326,082
2016-06             $7,001         $4,618         $2,383          $2,383          $328,465
2016-07             $7,001         $4,618         $2,383          $2,383          $330,848
2016-08             $7,001         $4,618         $2,383          $2,383          $333,232
2016-09             $7,404         $4,618         $2,785          $2,785          $336,017
2016-10             $7,404         $4,618         $2,785          $2,785          $338,803
2016-11             $7,404         $4,618         $2,785          $2,785          $341,588
2016-12             $7,404         $4,618         $2,785          $2,785          $344,374
2017-01             $7,404         $4,944         $2,460          $2,460          $346,833
2017-02             $7,404         $4,944         $2,460          $2,460          $349,293
2017-03             $7,404         $4,944         $2,460          $2,460          $351,753
2017-04             $7,404         $4,944         $2,460          $2,460          $354,212
2017-05             $7,741         $4,944         $2,797          $2,797          $357,009
2017-06             $7,741         $4,944         $2,797          $2,797          $359,805
2017-07             $7,741         $4,944         $2,797          $2,797          $362,602
2017-08             $7,741         $4,944         $2,797          $2,797          $365,399
2017-09             $7,741         $4,944         $2,797          $2,797          $368,195
2017-10             $7,741         $4,944         $2,797          $2,797          $370,992
2017-11             $7,741         $4,944         $2,797          $2,797          $373,788
2017-12             $7,741         $4,944         $2,797          $2,797          $376,585
2018-01             $7,741         $5,067         $2,674          $2,658          $379,242
2018-02             $7,741         $5,067         $2,674          $2,642          $381,884
2018-03             $7,741         $5,067         $2,674          $2,626          $384,510
2018-04             $7,741         $5,067         $2,674          $2,610          $387,120
2018-05             $7,892         $5,067         $2,825          $2,741          $389,861
2018-06             $8,129         $5,067         $3,062          $2,953          $392,813
2018-07             $8,129         $5,067         $3,062          $2,934          $395,747
2018-08             $8,129         $5,067         $3,062          $2,916          $398,664
2018-09             $8,129         $5,067         $3,062          $2,898          $401,561
2018-10             $8,129         $5,067         $3,062          $2,880          $404,441
2018-11             $8,129         $5,067         $3,062          $2,861          $407,302
2018-12             $8,129         $5,067         $3,062          $2,843          $410,146
2019-01             $8,129         $5,227         $2,902          $2,677          $412,823




                                                                                   Exhibit A to
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                         Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                          Damages
                                                             Attrition
2019-02             $8,292         $5,227         $3,064          $2,809          $415,631
2019-03             $8,292         $5,227         $3,064          $2,791          $418,422
2019-04             $8,292         $5,227         $3,064          $2,772          $421,195
2019-05             $8,292         $5,227         $3,064          $2,754          $423,949
2019-06             $8,292         $5,227         $3,064          $2,736          $426,685
2019-07             $8,292         $5,227         $3,064          $2,718          $429,403
2019-08             $8,292         $5,227         $3,064          $2,700          $432,103
2019-09             $8,410         $5,227         $3,183          $2,785          $434,889
2019-10             $8,410         $5,227         $3,183          $2,767          $437,655
2019-11             $8,410         $5,227         $3,183          $2,748          $440,403
2019-12             $8,410         $5,227         $3,183          $2,729          $443,132
2020-01             $8,410         $5,332         $3,078          $2,621          $445,753
2020-02             $8,410         $5,332         $3,078          $2,603          $448,357
2020-03             $8,410         $5,332         $3,078          $2,585          $450,942
2020-04             $8,410         $5,332         $3,078          $2,567          $453,509
2020-05             $8,620         $5,332         $3,289          $2,723          $456,232
2020-06             $8,620         $5,332         $3,289          $2,704          $458,935
2020-07             $8,620         $5,332         $3,289          $2,684          $461,619
2020-08             $8,620         $5,332         $3,289          $2,665          $464,284
2020-09             $8,620         $5,332         $3,289          $2,646          $466,930
2020-10             $8,620         $5,332         $3,289          $2,626          $469,557
2020-11             $8,620         $5,332         $3,289          $2,607          $472,164
2020-12             $8,620         $5,332         $3,289          $2,588          $474,752
2021-01             $8,620         $5,439         $3,182          $2,485          $477,237
2021-02             $8,620         $5,439         $3,182          $2,466          $479,703
2021-03             $8,620         $5,439         $3,182          $2,448          $482,151
2021-04             $8,620         $5,439         $3,182          $2,429          $484,580
2021-05             $8,620         $5,439         $3,182          $2,410          $486,990
2021-06             $8,620         $5,439         $3,182          $2,392          $489,382
2021-07             $8,620         $5,439         $3,182          $2,373          $491,755




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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2002-07     Regularly Appointed Teacher               $34,845
          2002-08     Regularly Appointed Teacher               $34,845
          2002-09     Regularly Appointed Teacher               $39,325
          2002-10     Regularly Appointed Teacher               $39,325
          2002-11     Regularly Appointed Teacher               $39,325
          2002-12     Regularly Appointed Teacher               $39,325
          2003-01     Regularly Appointed Teacher               $39,325
          2003-02     Regularly Appointed Teacher               $39,325
          2003-03     Regularly Appointed Teacher               $39,325
          2003-04     Regularly Appointed Teacher               $39,325
          2003-05     Regularly Appointed Teacher               $39,325
          2003-06     Regularly Appointed Teacher               $39,325
          2003-07     Regularly Appointed Teacher               $39,325
          2003-08     Regularly Appointed Teacher               $39,325
          2003-09     Regularly Appointed Teacher               $39,650
          2003-10     Regularly Appointed Teacher               $39,650
          2003-11     Regularly Appointed Teacher               $39,650
          2003-12     Regularly Appointed Teacher               $40,443
          2004-01     Regularly Appointed Teacher               $40,443
          2004-02     Regularly Appointed Teacher               $45,325
          2004-03     Regularly Appointed Teacher               $45,325
          2004-04     Regularly Appointed Teacher               $45,325
          2004-05     Regularly Appointed Teacher               $45,325
          2004-06     Regularly Appointed Teacher               $45,325
          2004-07     Regularly Appointed Teacher               $45,325
          2004-08     Regularly Appointed Teacher               $45,325
          2004-09     Regularly Appointed Teacher               $45,912
          2004-10     Regularly Appointed Teacher               $45,912
          2004-11     Regularly Appointed Teacher               $45,912
          2004-12     Regularly Appointed Teacher               $47,519
          2005-01     Regularly Appointed Teacher               $47,519
          2005-02     Regularly Appointed Teacher               $47,519
          2005-03     Regularly Appointed Teacher               $47,519
          2005-04     Regularly Appointed Teacher               $47,519
          2005-05     Regularly Appointed Teacher               $47,519
          2005-06     Regularly Appointed Teacher               $47,519
          2005-07     Regularly Appointed Teacher               $47,519
          2005-08     Regularly Appointed Teacher               $47,519
          2005-09     Regularly Appointed Teacher               $48,041




                                                                                     Exhibit B to
                                                                    J. Bonilla's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2005-10     Regularly Appointed Teacher               $48,041
          2005-11     Regularly Appointed Teacher               $50,683
          2005-12     Regularly Appointed Teacher               $50,683
          2006-01     Regularly Appointed Teacher               $50,683
          2006-02     Regularly Appointed Teacher               $50,683
          2006-03     Regularly Appointed Teacher               $50,683
          2006-04     Regularly Appointed Teacher               $50,683
          2006-05     Regularly Appointed Teacher               $50,683
          2006-06     Regularly Appointed Teacher               $50,683
          2006-07     Regularly Appointed Teacher               $50,949
          2006-08     Regularly Appointed Teacher               $50,949
          2006-09     Regularly Appointed Teacher               $51,545
          2006-10     Regularly Appointed Teacher               $53,222
          2006-11     Regularly Appointed Teacher               $53,222
          2006-12     Regularly Appointed Teacher               $53,222
          2007-01     Regularly Appointed Teacher               $53,222
          2007-02     Regularly Appointed Teacher               $53,222
          2007-03     Regularly Appointed Teacher               $54,093
          2007-04     Regularly Appointed Teacher               $55,689
          2007-05     Regularly Appointed Teacher               $55,689
          2007-06     Regularly Appointed Teacher               $55,689
          2007-07     Regularly Appointed Teacher               $55,689
          2007-08     Regularly Appointed Teacher               $55,689
          2007-09     Regularly Appointed Teacher               $56,981
          2007-10     Regularly Appointed Teacher               $58,120
          2007-11     Regularly Appointed Teacher               $58,120
          2007-12     Regularly Appointed Teacher               $58,269
          2008-01     Regularly Appointed Teacher               $58,269
          2008-02     Regularly Appointed Teacher               $58,269
          2008-03     Regularly Appointed Teacher               $61,357
          2008-04     Regularly Appointed Teacher               $61,357
          2008-05     Regularly Appointed Teacher               $65,424
          2008-06     Regularly Appointed Teacher               $65,424
          2008-07     Regularly Appointed Teacher               $65,424
          2008-08     Regularly Appointed Teacher               $65,424
          2008-09     Regularly Appointed Teacher               $68,458
          2008-10     Regularly Appointed Teacher               $68,458
          2008-11     Regularly Appointed Teacher               $68,458
          2008-12     Regularly Appointed Teacher               $68,458
          2009-01     Regularly Appointed Teacher               $68,458




                                                                                     Exhibit B to
                                                                    J. Bonilla's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2009-02     Regularly Appointed Teacher               $68,458
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $72,060
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $72,060
          2011-06     Regularly Appointed Teacher               $72,060
          2011-07     Regularly Appointed Teacher               $72,060
          2011-08     Regularly Appointed Teacher               $72,060
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149




                                                                                     Exhibit B to
                                                                    J. Bonilla's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2012-06     Regularly Appointed Teacher               $75,149
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $75,149
          2013-05     Regularly Appointed Teacher               $75,901
          2013-06     Regularly Appointed Teacher               $75,901
          2013-07     Regularly Appointed Teacher               $75,901
          2013-08     Regularly Appointed Teacher               $75,901
          2013-09     Regularly Appointed Teacher               $75,901
          2013-10     Regularly Appointed Teacher               $75,901
          2013-11     Regularly Appointed Teacher               $75,901
          2013-12     Regularly Appointed Teacher               $75,901
          2014-01     Regularly Appointed Teacher               $75,901
          2014-02     Regularly Appointed Teacher               $75,901
          2014-03     Regularly Appointed Teacher               $75,901
          2014-04     Regularly Appointed Teacher               $75,901
          2014-05     Regularly Appointed Teacher               $76,660
          2014-06     Regularly Appointed Teacher               $76,660
          2014-07     Regularly Appointed Teacher               $76,660
          2014-08     Regularly Appointed Teacher               $76,660
          2014-09     Regularly Appointed Teacher               $78,804
          2014-10     Regularly Appointed Teacher               $78,804
          2014-11     Regularly Appointed Teacher               $78,804
          2014-12     Regularly Appointed Teacher               $78,804
          2015-01     Regularly Appointed Teacher               $78,804
          2015-02     Regularly Appointed Teacher               $78,804
          2015-03     Regularly Appointed Teacher               $78,804
          2015-04     Regularly Appointed Teacher               $78,804
          2015-05     Regularly Appointed Teacher               $81,184
          2015-06     Regularly Appointed Teacher               $81,184
          2015-07     Regularly Appointed Teacher               $81,184
          2015-08     Regularly Appointed Teacher               $81,184
          2015-09     Regularly Appointed Teacher               $81,184




                                                                                     Exhibit B to
                                                                    J. Bonilla's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2015-10     Regularly Appointed Teacher               $81,184
          2015-11     Regularly Appointed Teacher               $81,184
          2015-12     Regularly Appointed Teacher               $81,184
          2016-01     Regularly Appointed Teacher               $81,184
          2016-02     Regularly Appointed Teacher               $81,184
          2016-03     Regularly Appointed Teacher               $81,184
          2016-04     Regularly Appointed Teacher               $81,184
          2016-05     Regularly Appointed Teacher               $84,018
          2016-06     Regularly Appointed Teacher               $84,018
          2016-07     Regularly Appointed Teacher               $84,018
          2016-08     Regularly Appointed Teacher               $84,018
          2016-09     Regularly Appointed Teacher               $88,844
          2016-10     Regularly Appointed Teacher               $88,844
          2016-11     Regularly Appointed Teacher               $88,844
          2016-12     Regularly Appointed Teacher               $88,844
          2017-01     Regularly Appointed Teacher               $88,844
          2017-02     Regularly Appointed Teacher               $88,844
          2017-03     Regularly Appointed Teacher               $88,844
          2017-04     Regularly Appointed Teacher               $88,844
          2017-05     Regularly Appointed Teacher               $92,886
          2017-06     Regularly Appointed Teacher               $92,886
          2017-07     Regularly Appointed Teacher               $92,886
          2017-08     Regularly Appointed Teacher               $92,886
          2017-09     Regularly Appointed Teacher               $92,886
          2017-10     Regularly Appointed Teacher               $92,886
          2017-11     Regularly Appointed Teacher               $92,886
          2017-12     Regularly Appointed Teacher               $92,886
          2018-01     Regularly Appointed Teacher               $92,886
          2018-02     Regularly Appointed Teacher               $92,886
          2018-03     Regularly Appointed Teacher               $92,886
          2018-04     Regularly Appointed Teacher               $92,886
          2018-05     Regularly Appointed Teacher               $94,708
          2018-06     Regularly Appointed Teacher               $97,549
          2018-07     Regularly Appointed Teacher               $97,549
          2018-08     Regularly Appointed Teacher               $97,549
          2018-09     Regularly Appointed Teacher               $97,549
          2018-10     Regularly Appointed Teacher               $97,549
          2018-11     Regularly Appointed Teacher               $97,549
          2018-12     Regularly Appointed Teacher               $97,549
          2019-01     Regularly Appointed Teacher               $97,549




                                                                                     Exhibit B to
                                                                    J. Bonilla's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2019-02     Regularly Appointed Teacher                $99,501
          2019-03     Regularly Appointed Teacher                $99,501
          2019-04     Regularly Appointed Teacher                $99,501
          2019-05     Regularly Appointed Teacher                $99,501
          2019-06     Regularly Appointed Teacher                $99,501
          2019-07     Regularly Appointed Teacher                $99,501
          2019-08     Regularly Appointed Teacher                $99,501
          2019-09     Regularly Appointed Teacher               $100,920
          2019-10     Regularly Appointed Teacher               $100,920
          2019-11     Regularly Appointed Teacher               $100,920
          2019-12     Regularly Appointed Teacher               $100,920
          2020-01     Regularly Appointed Teacher               $100,920
          2020-02     Regularly Appointed Teacher               $100,920
          2020-03     Regularly Appointed Teacher               $100,920
          2020-04     Regularly Appointed Teacher               $100,920
          2020-05     Regularly Appointed Teacher               $103,443
          2020-06     Regularly Appointed Teacher               $103,443
          2020-07     Regularly Appointed Teacher               $103,443
          2020-08     Regularly Appointed Teacher               $103,443
          2020-09     Regularly Appointed Teacher               $103,443
          2020-10     Regularly Appointed Teacher               $103,443
          2020-11     Regularly Appointed Teacher               $103,443
          2020-12     Regularly Appointed Teacher               $103,443
          2021-01     Regularly Appointed Teacher               $103,443




                                                                                     Exhibit B to
                                                                    J. Bonilla's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : MARIE
                                                                       : BRANCH
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Marie Branch (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on January 5, 2021, with respect to Ms. Branch’s
demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Marie
Branch, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Marie Branch (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Branch will have
judgment against the BOE as follows:

   1. Backpay in the amount of $79,220;

   2. Tax-component award in the amount of $9,308;

   3. LAST Fees in the amount of $230;

   4. ASAF account award in the amount of $1,483;

   5. CAR Day award in the amount of $7,350;

   6. Pre-judgment interest calculated to be $10,468; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Branch will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Branch’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Marie Branch; and

       c. Grant Ms. Branch retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : MARIE
THE BOARD OF EDUCATION OF THE CITY SCHOOL : BRANCH
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Marie Branch:

    1. Class Membership. Ms. Branch is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Branch would have been appointed as a
                regularly appointed teacher in January 2002. The Special Master also finds, and
                the Court agrees, that Ms. Branch is eligible to accrue backpay damages
                beginning January 2002.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Branch would have worked as a
                regularly appointed teacher until August 1, 2014, Ms. Branch accrues backpay
                damages through the date of judgment, and Ms. Branch’s backpay damages
                should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Branch’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Branch’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Branch has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $79,220;

       b. A tax-component award in the amount of $9,308;

       c. $230 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $1,483;

       e. CAR Day damages in the amount of $7,350; and

       f. Pre-judgment interest in the amount of $10,468.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Branch has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Branch’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Branch should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Branch (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —             1966

               ii.   Gender — Female

               iii. Address —                                      Bronx, NY 10475

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   January 15, 2002



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — August 1,
                   2014

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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                                     Exhibit A --
                              Monthly Backpay Damages

           Counterfactual                                   Monthly
                            Monthly        Monthly                        Cumulative
 Month       Monthly                                      Damages with
                            Mitigation     Damages                         Damages
              Earnings                                      Attrition
 2002-01           $2,962         $1,356         $1,606          $1,606         $1,606
 2002-02           $2,962         $1,523         $1,439          $1,439         $3,045
 2002-03           $3,020         $1,523         $1,497          $1,491         $4,537
 2002-04           $3,020         $1,523         $1,497          $1,486         $6,022
 2002-05           $3,020         $1,523         $1,497          $1,480         $7,502
 2002-06           $3,020         $1,523         $1,497          $1,474         $8,976
 2002-07           $3,020         $1,523         $1,497          $1,468        $10,443
 2002-08           $3,020         $1,523         $1,497          $1,462        $11,905
 2002-09           $3,304         $1,523         $1,781          $1,732        $13,638
 2002-10           $3,304         $1,523         $1,781          $1,725        $15,363
 2002-11           $3,304         $1,523         $1,781          $1,718        $17,082
 2002-12           $3,304         $1,523         $1,781          $1,712        $18,793
 2003-01           $3,304         $3,399             $0              $0        $18,793
 2003-02           $3,304         $3,399             $0              $0        $18,793
 2003-03           $3,352         $3,399             $0              $0        $18,793
 2003-04           $3,352         $3,399             $0              $0        $18,793
 2003-05           $3,352         $3,399             $0              $0        $18,793
 2003-06           $3,352         $3,399             $0              $0        $18,793
 2003-07           $3,352         $3,399             $0              $0        $18,793
 2003-08           $3,751         $3,399          $352            $328         $19,121
 2003-09           $3,751         $3,399          $352            $327         $19,448
 2003-10           $3,751         $3,399          $352            $326         $19,774
 2003-11           $3,751         $3,399          $352            $324         $20,098
 2003-12           $3,826         $3,399          $427            $392         $20,490
 2004-01           $3,826         $4,296             $0              $0        $20,490
 2004-02           $3,826         $4,296             $0              $0        $20,490
 2004-03           $3,868         $4,296             $0              $0        $20,490
 2004-04           $3,868         $4,296             $0              $0        $20,490
 2004-05           $3,868         $4,296             $0              $0        $20,490
 2004-06           $3,868         $4,296             $0              $0        $20,490
 2004-07           $3,868         $4,296             $0              $0        $20,490
 2004-08           $3,868         $4,296             $0              $0        $20,490
 2004-09           $3,868         $4,296             $0              $0        $20,490
 2004-10           $3,868         $4,296             $0              $0        $20,490
 2004-11           $3,868         $4,296             $0              $0        $20,490
 2004-12           $4,003         $4,296             $0              $0        $20,490
 2005-01           $4,003         $3,796          $208            $182         $20,672
 2005-02           $4,003         $3,796          $208            $182         $20,854
 2005-03           $4,051         $3,796          $255            $222         $21,076
 2005-04           $4,051         $3,796          $255            $221         $21,297
 2005-05           $4,051         $3,796          $255            $220         $21,517
 2005-06           $4,051         $3,796          $255            $219         $21,736
 2005-07           $4,051         $3,796          $255            $219         $21,955


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                                     Exhibit A --
                              Monthly Backpay Damages

           Counterfactual                                   Monthly
                            Monthly        Monthly                        Cumulative
 Month       Monthly                                      Damages with
                            Mitigation     Damages                         Damages
              Earnings                                      Attrition
 2005-08           $4,051         $3,796          $255            $218         $22,172
 2005-09           $4,051         $3,796          $255            $217         $22,389
 2005-10           $4,117         $3,796          $321            $273         $22,662
 2005-11           $4,344         $3,796          $548            $463         $23,125
 2005-12           $4,344         $3,796          $548            $461         $23,586
 2006-01           $4,366         $4,763             $0              $0        $23,586
 2006-02           $4,366         $4,763             $0              $0        $23,586
 2006-03           $4,470         $4,763             $0              $0        $23,586
 2006-04           $4,470         $4,763             $0              $0        $23,586
 2006-05           $4,470         $4,763             $0              $0        $23,586
 2006-06           $4,470         $4,763             $0              $0        $23,586
 2006-07           $4,470         $4,763             $0              $0        $23,586
 2006-08           $4,470         $4,763             $0              $0        $23,586
 2006-09           $4,470         $4,763             $0              $0        $23,586
 2006-10           $5,001         $4,763          $238            $193         $23,778
 2006-11           $5,001         $4,763          $238            $192         $23,970
 2006-12           $5,001         $4,763          $238            $191         $24,161
 2007-01           $5,001         $4,800          $201            $161         $24,322
 2007-02           $5,001         $4,800          $201            $160         $24,482
 2007-03           $5,237         $4,800          $437            $347         $24,830
 2007-04           $5,237         $4,800          $437            $346         $25,176
 2007-05           $5,237         $4,800          $437            $345         $25,520
 2007-06           $5,249         $4,800          $449            $353         $25,873
 2007-07           $5,249         $4,800          $449            $352         $26,225
 2007-08           $5,249         $4,800          $449            $350         $26,575
 2007-09           $5,249         $4,800          $449            $349         $26,924
 2007-10           $5,640         $4,800          $840            $650         $27,574
 2007-11           $5,640         $4,800          $840            $648         $28,222
 2007-12           $5,640         $4,800          $840            $645         $28,867
 2008-01           $5,640         $4,465         $1,175           $899         $29,766
 2008-02           $5,640         $4,465         $1,175           $896         $30,662
 2008-03           $5,640         $4,465         $1,175           $892         $31,554
 2008-04           $5,640         $4,465         $1,175           $889         $32,443
 2008-05           $6,005         $4,465         $1,540          $1,161        $33,604
 2008-06           $6,005         $4,465         $1,540          $1,156        $34,760
 2008-07           $6,005         $4,465         $1,540          $1,152        $35,911
 2008-08           $6,005         $4,465         $1,540          $1,147        $37,058
 2008-09           $6,005         $4,465         $1,540          $1,142        $38,201
 2008-10           $6,005         $4,465         $1,540          $1,138        $39,339
 2008-11           $6,005         $4,465         $1,540          $1,133        $40,472
 2008-12           $6,005         $4,465         $1,540          $1,129        $41,601
 2009-01           $6,005         $5,977            $28             $21        $41,622
 2009-02           $6,005         $5,977            $28             $20        $41,642


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                                     Exhibit A --
                              Monthly Backpay Damages

           Counterfactual                                   Monthly
                            Monthly        Monthly                        Cumulative
 Month       Monthly                                      Damages with
                            Mitigation     Damages                         Damages
              Earnings                                      Attrition
 2009-03           $6,005         $5,977            $28            $20         $41,663
 2009-04           $6,005         $5,977            $28            $20         $41,683
 2009-05           $6,005         $5,977            $28            $20         $41,703
 2009-06           $6,005         $5,977            $28            $20         $41,723
 2009-07           $6,005         $5,977            $28            $20         $41,743
 2009-08           $6,005         $5,977            $28            $20         $41,763
 2009-09           $6,005         $5,977            $28            $20         $41,783
 2009-10           $6,005         $5,977            $28            $20         $41,803
 2009-11           $6,005         $5,977            $28            $20         $41,822
 2009-12           $6,005         $5,977            $28            $20         $41,842
 2010-01           $6,005         $6,531             $0             $0         $41,842
 2010-02           $6,005         $6,531             $0             $0         $41,842
 2010-03           $6,005         $6,531             $0             $0         $41,842
 2010-04           $6,005         $6,531             $0             $0         $41,842
 2010-05           $6,005         $6,531             $0             $0         $41,842
 2010-06           $6,005         $6,531             $0             $0         $41,842
 2010-07           $6,005         $6,531             $0             $0         $41,842
 2010-08           $6,005         $6,531             $0             $0         $41,842
 2010-09           $6,005         $6,531             $0             $0         $41,842
 2010-10           $6,005         $6,531             $0             $0         $41,842
 2010-11           $6,005         $6,531             $0             $0         $41,842
 2010-12           $6,005         $6,531             $0             $0         $41,842
 2011-01           $6,005         $4,986         $1,019           $674         $42,516
 2011-02           $6,005         $4,986         $1,019           $671         $43,186
 2011-03           $6,005         $4,986         $1,019           $668         $43,854
 2011-04           $6,005         $4,986         $1,019           $665         $44,519
 2011-05           $6,262         $4,986         $1,276           $829         $45,349
 2011-06           $6,262         $4,986         $1,276           $826         $46,174
 2011-07           $6,262         $4,986         $1,276           $822         $46,996
 2011-08           $6,262         $4,986         $1,276           $818         $47,815
 2011-09           $6,262         $4,986         $1,276           $815         $48,629
 2011-10           $6,262         $4,986         $1,276           $811         $49,441
 2011-11           $6,262         $4,986         $1,276           $808         $50,248
 2011-12           $6,262         $4,986         $1,276           $804         $51,052
 2012-01           $6,262         $6,851             $0             $0         $51,052
 2012-02           $6,262         $6,851             $0             $0         $51,052
 2012-03           $6,262         $6,851             $0             $0         $51,052
 2012-04           $6,262         $6,851             $0             $0         $51,052
 2012-05           $6,262         $6,851             $0             $0         $51,052
 2012-06           $6,262         $6,851             $0             $0         $51,052
 2012-07           $6,262         $6,851             $0             $0         $51,052
 2012-08           $6,262         $6,851             $0             $0         $51,052
 2012-09           $6,262         $6,851             $0             $0         $51,052


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                                     Exhibit A --
                              Monthly Backpay Damages

           Counterfactual                                  Monthly
                            Monthly        Monthly                       Cumulative
 Month       Monthly                                     Damages with
                            Mitigation     Damages                        Damages
              Earnings                                     Attrition
 2012-10           $6,262         $6,851            $0             $0         $51,052
 2012-11           $6,262         $6,851            $0             $0         $51,052
 2012-12           $6,262         $6,851            $0             $0         $51,052
 2013-01           $6,262         $7,103            $0             $0         $51,052
 2013-02           $6,262         $7,103            $0             $0         $51,052
 2013-03           $6,262         $7,103            $0             $0         $51,052
 2013-04           $6,262         $7,103            $0             $0         $51,052
 2013-05           $6,325         $7,103            $0             $0         $51,052
 2013-06           $6,325         $7,103            $0             $0         $51,052
 2013-07           $6,325         $7,103            $0             $0         $51,052
 2013-08           $6,325         $7,103            $0             $0         $51,052
 2013-09           $6,325         $7,103            $0             $0         $51,052
 2013-10           $6,325         $7,103            $0             $0         $51,052
 2013-11           $6,325         $7,103            $0             $0         $51,052
 2013-12           $6,325         $7,103            $0             $0         $51,052
 2014-01           $6,325         $7,590            $0             $0         $51,052
 2014-02           $6,325         $7,590            $0             $0         $51,052
 2014-03           $6,325         $7,590            $0             $0         $51,052
 2014-04           $6,325         $7,590            $0             $0         $51,052
 2014-05           $6,567         $7,590            $0             $0         $51,052
 2014-06           $6,567         $7,590            $0             $0         $51,052
 2014-07           $6,567         $7,590            $0             $0         $51,052
 2014-08           $6,567         $7,590            $0             $0         $51,052
 2014-09           $6,567         $7,590            $0             $0         $51,052
 2014-10           $6,567         $7,590            $0             $0         $51,052
 2014-11           $6,567         $7,590            $0             $0         $51,052
 2014-12           $6,567         $7,590            $0             $0         $51,052
 2015-01           $6,567         $6,659            $0             $0         $51,052
 2015-02           $6,567         $6,659            $0             $0         $51,052
 2015-03           $6,567         $6,659            $0             $0         $51,052
 2015-04           $6,567         $6,659            $0             $0         $51,052
 2015-05           $6,765         $6,659          $106            $55         $51,107
 2015-06           $6,765         $6,659          $106            $55         $51,162
 2015-07           $6,765         $6,659          $106            $54         $51,216
 2015-08           $6,765         $6,659          $106            $54         $51,270
 2015-09           $6,765         $6,659          $106            $54         $51,324
 2015-10           $6,765         $6,659          $106            $54         $51,378
 2015-11           $6,765         $6,659          $106            $53         $51,431
 2015-12           $6,765         $6,659          $106            $53         $51,484
 2016-01           $6,765         $6,787            $0             $0         $51,484
 2016-02           $6,765         $6,787            $0             $0         $51,484
 2016-03           $6,765         $6,787            $0             $0         $51,484
 2016-04           $6,765         $6,787            $0             $0         $51,484


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                                     Exhibit A --
                              Monthly Backpay Damages

           Counterfactual                                   Monthly
                            Monthly        Monthly                        Cumulative
 Month       Monthly                                      Damages with
                            Mitigation     Damages                         Damages
              Earnings                                      Attrition
 2016-05           $7,404         $6,787          $616            $298         $51,782
 2016-06           $7,404         $6,787          $616            $296         $52,078
 2016-07           $7,404         $6,787          $616            $295         $52,373
 2016-08           $7,404         $6,787          $616            $293         $52,666
 2016-09           $7,404         $6,787          $616            $291         $52,958
 2016-10           $7,404         $6,787          $616            $290         $53,248
 2016-11           $7,404         $6,787          $616            $288         $53,536
 2016-12           $7,404         $6,787          $616            $286         $53,822
 2017-01           $7,404         $6,299         $1,105           $511         $54,333
 2017-02           $7,404         $6,299         $1,105           $508         $54,840
 2017-03           $7,404         $6,299         $1,105           $505         $55,345
 2017-04           $7,404         $6,299         $1,105           $502         $55,847
 2017-05           $7,741         $6,299         $1,442           $651         $56,497
 2017-06           $7,741         $6,299         $1,442           $647         $57,144
 2017-07           $7,741         $6,299         $1,442           $643         $57,787
 2017-08           $7,741         $6,299         $1,442           $639         $58,427
 2017-09           $7,741         $6,299         $1,442           $635         $59,062
 2017-10           $7,741         $6,299         $1,442           $631         $59,693
 2017-11           $7,741         $6,299         $1,442           $628         $60,321
 2017-12           $7,741         $6,299         $1,442           $624         $60,945
 2018-01           $7,741         $7,204          $537            $231         $61,176
 2018-02           $7,741         $7,204          $537            $229         $61,405
 2018-03           $7,741         $7,204          $537            $228         $61,633
 2018-04           $7,741         $7,204          $537            $227         $61,859
 2018-05           $7,892         $7,204          $689            $289         $62,148
 2018-06           $8,129         $7,204          $925            $386         $62,534
 2018-07           $8,129         $7,204          $925            $383         $62,917
 2018-08           $8,129         $7,204          $925            $381         $63,297
 2018-09           $8,129         $7,204          $925            $378         $63,675
 2018-10           $8,129         $7,204          $925            $376         $64,051
 2018-11           $8,129         $7,204          $925            $373         $64,424
 2018-12           $8,129         $7,204          $925            $371         $64,795
 2019-01           $8,129         $7,296          $833            $332         $65,127
 2019-02           $8,292         $7,296          $996            $394         $65,521
 2019-03           $8,292         $7,296          $996            $391         $65,912
 2019-04           $8,292         $7,296          $996            $389         $66,300
 2019-05           $8,410         $7,296         $1,114           $432         $66,732
 2019-06           $8,410         $7,296         $1,114           $429         $67,161
 2019-07           $8,410         $7,296         $1,114           $426         $67,587
 2019-08           $8,410         $7,296         $1,114           $423         $68,009
 2019-09           $8,410         $7,296         $1,114           $420         $68,429
 2019-10           $8,410         $7,296         $1,114           $417         $68,846
 2019-11           $8,410         $7,296         $1,114           $414         $69,260


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                                     Exhibit A --
                              Monthly Backpay Damages

           Counterfactual                                   Monthly
                            Monthly        Monthly                        Cumulative
 Month       Monthly                                      Damages with
                            Mitigation     Damages                         Damages
              Earnings                                      Attrition
 2019-12           $8,410         $7,296         $1,114           $411         $69,671
 2020-01           $8,410         $7,296         $1,114           $408         $70,080
 2020-02           $8,410         $7,296         $1,114           $405         $70,485
 2020-03           $8,410         $7,296         $1,114           $402         $70,887
 2020-04           $8,410         $7,296         $1,114           $399         $71,286
 2020-05           $8,620         $7,296         $1,325           $471         $71,758
 2020-06           $8,620         $7,296         $1,325           $468         $72,225
 2020-07           $8,620         $7,296         $1,325           $464         $72,690
 2020-08           $8,620         $7,296         $1,325           $461         $73,150
 2020-09           $8,620         $7,296         $1,325           $461         $73,611
 2020-10           $8,620         $7,296         $1,325           $461         $74,072
 2020-11           $8,620         $7,296         $1,325           $461         $74,533
 2020-12           $8,620         $7,296         $1,325           $461         $74,993
 2021-01           $8,620         $7,296         $1,325           $461         $75,454
 2021-02           $8,620         $7,296         $1,325           $461         $75,915
 2021-03           $8,620         $7,296         $1,325           $461         $76,376
 2021-04           $8,620         $7,296         $1,325           $461         $76,836
 2021-05           $9,580         $7,296         $2,284           $795         $77,631
 2021-06           $9,580         $7,296         $2,284           $795         $78,426
 2021-07           $9,580         $7,296         $2,284           $795         $79,220




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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2002-01     Regularly Appointed Teacher               $35,544
          2002-02     Regularly Appointed Teacher               $35,544
          2002-03     Regularly Appointed Teacher               $36,240
          2002-04     Regularly Appointed Teacher               $36,240
          2002-05     Regularly Appointed Teacher               $36,240
          2002-06     Regularly Appointed Teacher               $36,240
          2002-07     Regularly Appointed Teacher               $36,240
          2002-08     Regularly Appointed Teacher               $36,240
          2002-09     Regularly Appointed Teacher               $39,650
          2002-10     Regularly Appointed Teacher               $39,650
          2002-11     Regularly Appointed Teacher               $39,650
          2002-12     Regularly Appointed Teacher               $39,650
          2003-01     Regularly Appointed Teacher               $39,650
          2003-02     Regularly Appointed Teacher               $39,650
          2003-03     Regularly Appointed Teacher               $40,225
          2003-04     Regularly Appointed Teacher               $40,225
          2003-05     Regularly Appointed Teacher               $40,225
          2003-06     Regularly Appointed Teacher               $40,225
          2003-07     Regularly Appointed Teacher               $40,225
          2003-08     Regularly Appointed Teacher               $45,011
          2003-09     Regularly Appointed Teacher               $45,011
          2003-10     Regularly Appointed Teacher               $45,011
          2003-11     Regularly Appointed Teacher               $45,011
          2003-12     Regularly Appointed Teacher               $45,912
          2004-01     Regularly Appointed Teacher               $45,912
          2004-02     Regularly Appointed Teacher               $45,912
          2004-03     Regularly Appointed Teacher               $46,416
          2004-04     Regularly Appointed Teacher               $46,416
          2004-05     Regularly Appointed Teacher               $46,416
          2004-06     Regularly Appointed Teacher               $46,416
          2004-07     Regularly Appointed Teacher               $46,416
          2004-08     Regularly Appointed Teacher               $46,416
          2004-09     Regularly Appointed Teacher               $46,416
          2004-10     Regularly Appointed Teacher               $46,416
          2004-11     Regularly Appointed Teacher               $46,416
          2004-12     Regularly Appointed Teacher               $48,041
          2005-01     Regularly Appointed Teacher               $48,041
          2005-02     Regularly Appointed Teacher               $48,041
          2005-03     Regularly Appointed Teacher               $48,606
          2005-04     Regularly Appointed Teacher               $48,606
          2005-05     Regularly Appointed Teacher               $48,606
          2005-06     Regularly Appointed Teacher               $48,606
          2005-07     Regularly Appointed Teacher               $48,606

                                                                                    Exhibit C to
                                                                    M. Branch's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2005-08     Regularly Appointed Teacher               $48,606
          2005-09     Regularly Appointed Teacher               $48,606
          2005-10     Regularly Appointed Teacher               $49,405
          2005-11     Regularly Appointed Teacher               $52,122
          2005-12     Regularly Appointed Teacher               $52,122
          2006-01     Regularly Appointed Teacher               $52,388
          2006-02     Regularly Appointed Teacher               $52,388
          2006-03     Regularly Appointed Teacher               $53,641
          2006-04     Regularly Appointed Teacher               $53,641
          2006-05     Regularly Appointed Teacher               $53,641
          2006-06     Regularly Appointed Teacher               $53,641
          2006-07     Regularly Appointed Teacher               $53,641
          2006-08     Regularly Appointed Teacher               $53,641
          2006-09     Regularly Appointed Teacher               $53,641
          2006-10     Regularly Appointed Teacher               $60,008
          2006-11     Regularly Appointed Teacher               $60,008
          2006-12     Regularly Appointed Teacher               $60,008
          2007-01     Regularly Appointed Teacher               $60,008
          2007-02     Regularly Appointed Teacher               $60,008
          2007-03     Regularly Appointed Teacher               $62,841
          2007-04     Regularly Appointed Teacher               $62,841
          2007-05     Regularly Appointed Teacher               $62,841
          2007-06     Regularly Appointed Teacher               $62,986
          2007-07     Regularly Appointed Teacher               $62,986
          2007-08     Regularly Appointed Teacher               $62,986
          2007-09     Regularly Appointed Teacher               $62,986
          2007-10     Regularly Appointed Teacher               $67,677
          2007-11     Regularly Appointed Teacher               $67,677
          2007-12     Regularly Appointed Teacher               $67,677
          2008-01     Regularly Appointed Teacher               $67,677
          2008-02     Regularly Appointed Teacher               $67,677
          2008-03     Regularly Appointed Teacher               $67,677
          2008-04     Regularly Appointed Teacher               $67,677
          2008-05     Regularly Appointed Teacher               $72,060
          2008-06     Regularly Appointed Teacher               $72,060
          2008-07     Regularly Appointed Teacher               $72,060
          2008-08     Regularly Appointed Teacher               $72,060
          2008-09     Regularly Appointed Teacher               $72,060
          2008-10     Regularly Appointed Teacher               $72,060
          2008-11     Regularly Appointed Teacher               $72,060
          2008-12     Regularly Appointed Teacher               $72,060
          2009-01     Regularly Appointed Teacher               $72,060
          2009-02     Regularly Appointed Teacher               $72,060

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                                                                    M. Branch's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $72,060
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $75,149
          2011-06     Regularly Appointed Teacher               $75,149
          2011-07     Regularly Appointed Teacher               $75,149
          2011-08     Regularly Appointed Teacher               $75,149
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149
          2012-06     Regularly Appointed Teacher               $75,149
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149

                                                                                    Exhibit C to
                                                                    M. Branch's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 201 of 299

                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $75,149
          2013-05     Regularly Appointed Teacher               $75,901
          2013-06     Regularly Appointed Teacher               $75,901
          2013-07     Regularly Appointed Teacher               $75,901
          2013-08     Regularly Appointed Teacher               $75,901
          2013-09     Regularly Appointed Teacher               $75,901
          2013-10     Regularly Appointed Teacher               $75,901
          2013-11     Regularly Appointed Teacher               $75,901
          2013-12     Regularly Appointed Teacher               $75,901
          2014-01     Regularly Appointed Teacher               $75,901
          2014-02     Regularly Appointed Teacher               $75,901
          2014-03     Regularly Appointed Teacher               $75,901
          2014-04     Regularly Appointed Teacher               $75,901
          2014-05     Regularly Appointed Teacher               $78,804
          2014-06     Regularly Appointed Teacher               $78,804
          2014-07     Regularly Appointed Teacher               $78,805




                                                                                    Exhibit C to
                                                                    M. Branch's Findings of Fact
    Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 202 of 299




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : PHYLLIS
                                                                       : BEARD
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Phyllis Beard (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on April 8, 2021, with respect to Ms. Beard’s
demand for damages and Defendant’s objections, [ECF No. 8097];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Phyllis
Beard, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Phyllis Beard (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Beard will have
judgment against the BOE as follows:

   1. Backpay in the amount of $490,249;

   2. Tax-component award in the amount of $57,604;

   3. LAST Fees in the amount of $140;

   4. ASAF account award in the amount of $1,518;

   5. CAR Day award in the amount of $8,533;

   6. Pre-judgment interest calculated to be $32,136; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Beard will be entitled to
the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Beard’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Phyllis Beard; and

       c. Grant Ms. Beard retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : PHYLLIS
THE BOARD OF EDUCATION OF THE CITY SCHOOL : BEARD
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Phyllis Beard:

    1. Class Membership. Ms. Beard is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Beard would have been appointed as a
                regularly appointed teacher in March 2004. The Special Master also finds, and
                the Court agrees, that Ms. Beard is eligible to accrue backpay damages beginning
                March 2004.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Beard would have worked as a
                regularly appointed teacher until July 1, 2019, Ms. Beard accrues backpay
                damages through the date of judgment, and Ms. Beard’s backpay damages should
                be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Beard’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Beard’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Beard has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $490,249;

       b. A tax-component award in the amount of $57,604;

       c. $140 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $1,518;

       e. CAR Day damages in the amount of $8,533; and

       f. Pre-judgment interest in the amount of $32,136.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Beard has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Beard’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Beard should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Beard (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —                 1972

               ii.   Gender — Female

               iii. Address —                   Hot Springs National Park, AR 71901

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   March 28, 2004



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) —

                    a)     August 1, 2004 through August 31, 2005;

                    b)     April 1, 2006 through September 30, 2006;

                    c)     October 1, 2009 through October 31, 2010;

                    d)     February 1, 2012 through August 31, 2012; and

                    e)     October 1, 2014 through March 31, 2016

               ix. Termination of regularly appointed teacher service (if any) — July 1,
                   2019

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2004-03             $3,315         $2,741          $575            $575              $575
2004-04             $3,315         $1,436         $1,880          $1,880            $2,454
2004-05             $3,315         $2,219         $1,097          $1,097            $3,551
2004-06             $3,315         $1,436         $1,880          $1,880            $5,430
2004-07             $3,315         $1,208         $2,108          $2,108            $7,538
2004-08                 $0             $0             $0              $0            $7,538
2004-09                 $0             $0             $0              $0            $7,538
2004-10                 $0             $0             $0              $0            $7,538
2004-11                 $0             $0             $0              $0            $7,538
2004-12                 $0             $0             $0              $0            $7,538
2005-01                 $0             $0             $0              $0            $7,538
2005-02                 $0             $0             $0              $0            $7,538
2005-03                 $0             $0             $0              $0            $7,538
2005-04                 $0             $0             $0              $0            $7,538
2005-05                 $0             $0             $0              $0            $7,538
2005-06                 $0             $0             $0              $0            $7,538
2005-07                 $0             $0             $0              $0            $7,538
2005-08                 $0             $0             $0              $0            $7,538
2005-09             $3,431         $1,237         $2,194          $2,194            $9,732
2005-10             $3,431         $1,237         $2,194          $2,194           $11,926
2005-11             $3,620         $1,237         $2,383          $2,383           $14,309
2005-12             $3,620         $1,237         $2,383          $2,383           $16,692
2006-01             $3,620         $1,301         $2,319          $2,319           $19,011
2006-02             $3,620         $1,301         $2,319          $2,319           $21,330
2006-03             $3,620         $1,301         $2,319          $2,319           $23,649
2006-04                 $0             $0             $0              $0           $23,649
2006-05                 $0             $0             $0              $0           $23,649
2006-06                 $0             $0             $0              $0           $23,649
2006-07                 $0             $0             $0              $0           $23,649
2006-08                 $0             $0             $0              $0           $23,649
2006-09                 $0             $0             $0              $0           $23,649
2006-10             $3,769         $1,301         $2,468          $2,468           $26,117
2006-11             $3,769         $1,301         $2,468          $2,468           $28,584
2006-12             $3,769         $1,301         $2,468          $2,468           $31,052
2007-01             $3,769         $1,727         $2,042          $2,042           $33,094
2007-02             $3,769         $1,453         $2,316          $2,316           $35,410
2007-03             $3,769         $1,453         $2,316          $2,316           $37,726
2007-04             $3,769         $1,453         $2,316          $2,316           $40,043
2007-05             $3,769         $1,453         $2,316          $2,316           $42,359
2007-06             $3,769         $1,453         $2,316          $2,316           $44,675
2007-07             $3,769         $1,453         $2,316          $2,316           $46,991
2007-08             $3,769         $1,453         $2,316          $2,316           $49,307
2007-09             $3,769         $1,453         $2,316          $2,316           $51,623


                                                                                  Exhibit A to
                                                                   P. Beard's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2007-10             $4,344         $1,453         $2,891          $2,891           $54,515
2007-11             $4,344         $1,453         $2,891          $2,891           $57,406
2007-12             $4,344         $1,453         $2,891          $2,891           $60,297
2008-01             $4,344         $1,458         $2,885          $2,885           $63,182
2008-02             $4,344         $1,458         $2,885          $2,878           $66,060
2008-03             $4,344         $1,458         $2,885          $2,871           $68,931
2008-04             $4,344         $1,458         $2,885          $2,864           $71,795
2008-05             $4,561         $1,458         $3,103          $3,071           $74,866
2008-06             $4,561         $1,458         $3,103          $3,064           $77,930
2008-07             $4,561         $1,458         $3,103          $3,056           $80,986
2008-08             $4,561         $1,458         $3,103          $3,048           $84,034
2008-09             $4,561         $1,458         $3,103          $3,041           $87,075
2008-10             $4,620         $1,458         $3,162          $3,091           $90,165
2008-11             $4,620         $1,458         $3,162          $3,083           $93,248
2008-12             $4,620         $1,458         $3,162          $3,075           $96,323
2009-01             $4,620         $1,458         $3,162          $3,067           $99,390
2009-02             $4,620         $1,458         $3,162          $3,059          $102,449
2009-03             $4,620         $1,458         $3,162          $3,052          $105,501
2009-04             $4,620         $1,458         $3,162          $3,044          $108,545
2009-05             $4,620         $1,458         $3,162          $3,036          $111,581
2009-06             $4,620         $1,458         $3,162          $3,029          $114,610
2009-07             $4,620         $1,458         $3,162          $3,021          $117,631
2009-08             $4,620         $1,458         $3,162          $3,013          $120,644
2009-09             $4,620         $1,458         $3,162          $3,006          $123,649
2009-10                 $0             $0             $0              $0          $123,649
2009-11                 $0             $0             $0              $0          $123,649
2009-12                 $0             $0             $0              $0          $123,649
2010-01                 $0             $0             $0              $0          $123,649
2010-02                 $0             $0             $0              $0          $123,649
2010-03                 $0             $0             $0              $0          $123,649
2010-04                 $0             $0             $0              $0          $123,649
2010-05                 $0             $0             $0              $0          $123,649
2010-06                 $0             $0             $0              $0          $123,649
2010-07                 $0             $0             $0              $0          $123,649
2010-08                 $0             $0             $0              $0          $123,649
2010-09                 $0             $0             $0              $0          $123,649
2010-10                 $0             $0             $0              $0          $123,649
2010-11             $4,754         $1,458         $3,296          $3,022          $126,672
2010-12             $4,754         $1,458         $3,296          $3,015          $129,686
2011-01             $4,754         $1,626         $3,128          $2,854          $132,540
2011-02             $4,754         $1,626         $3,128          $2,847          $135,387
2011-03             $4,754         $1,626         $3,128          $2,839          $138,227
2011-04             $4,779         $1,626         $3,153          $2,854          $141,081


                                                                                  Exhibit A to
                                                                   P. Beard's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 210 of 299
                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2011-05             $4,779         $1,626         $3,153          $2,847          $143,927
2011-06             $4,779         $1,626         $3,153          $2,839          $146,767
2011-07             $4,779         $1,626         $3,153          $2,832          $149,598
2011-08             $4,779         $1,626         $3,153          $2,824          $152,423
2011-09             $4,779         $1,626         $3,153          $2,817          $155,240
2011-10             $4,779         $1,626         $3,153          $2,810          $158,049
2011-11             $4,833         $1,626         $3,208          $2,851          $160,901
2011-12             $4,833         $1,626         $3,208          $2,844          $163,744
2012-01             $4,976         $1,606         $3,370          $2,979          $166,723
2012-02                 $0             $0             $0              $0          $166,723
2012-03                 $0             $0             $0              $0          $166,723
2012-04                 $0             $0             $0              $0          $166,723
2012-05                 $0             $0             $0              $0          $166,723
2012-06                 $0             $0             $0              $0          $166,723
2012-07                 $0             $0             $0              $0          $166,723
2012-08                 $0             $0             $0              $0          $166,723
2012-09             $4,976         $1,606         $3,370          $2,917          $169,640
2012-10             $4,976         $1,606         $3,370          $2,909          $172,549
2012-11             $4,976         $1,606         $3,370          $2,901          $175,450
2012-12             $4,976         $1,606         $3,370          $2,893          $178,344
2013-01             $4,976         $1,932         $3,044          $2,606          $180,950
2013-02             $4,976         $1,932         $3,044          $2,599          $183,549
2013-03             $5,054         $1,932         $3,122          $2,659          $186,208
2013-04             $5,067         $1,932         $3,135          $2,662          $188,870
2013-05             $5,117         $1,932         $3,185          $2,698          $191,569
2013-06             $5,234         $1,932         $3,302          $2,789          $194,358
2013-07             $5,234         $1,932         $3,302          $2,782          $197,140
2013-08             $5,234         $1,932         $3,302          $2,774          $199,914
2013-09             $5,234         $1,932         $3,302          $2,767          $202,680
2013-10             $5,234         $1,932         $3,302          $2,759          $205,439
2013-11             $5,234         $1,932         $3,302          $2,752          $208,191
2013-12             $5,234         $1,932         $3,302          $2,744          $210,935
2014-01             $5,234         $1,488         $3,746          $3,105          $214,040
2014-02             $5,234         $1,488         $3,746          $3,096          $217,136
2014-03             $5,507         $1,488         $4,019          $3,313          $220,449
2014-04             $5,507         $1,488         $4,019          $3,304          $223,753
2014-05             $5,562         $1,488         $4,074          $3,340          $227,092
2014-06             $5,820         $1,488         $4,332          $4,359          $231,451
2014-07             $5,820         $1,488         $4,332          $3,532          $234,983
2014-08             $5,820         $1,488         $4,332          $3,522          $238,504
2014-09             $6,126         $1,488         $4,638          $3,760          $242,264
2014-10                 $0             $0             $0              $0          $242,264
2014-11                 $0             $0             $0              $0          $242,264


                                                                                  Exhibit A to
                                                                   P. Beard's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 211 of 299
                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2014-12                 $0             $0             $0              $0          $242,264
2015-01                 $0             $0             $0              $0          $242,264
2015-02                 $0             $0             $0              $0          $242,264
2015-03                 $0             $0             $0              $0          $242,264
2015-04                 $0             $0             $0              $0          $242,264
2015-05                 $0             $0             $0              $0          $242,264
2015-06                 $0             $0             $0              $0          $242,264
2015-07                 $0             $0             $0              $0          $242,264
2015-08                 $0             $0             $0              $0          $242,264
2015-09                 $0             $0             $0              $0          $242,264
2015-10                 $0             $0             $0              $0          $242,264
2015-11                 $0             $0             $0              $0          $242,264
2015-12                 $0             $0             $0              $0          $242,264
2016-01                 $0             $0             $0              $0          $242,264
2016-02                 $0             $0             $0              $0          $242,264
2016-03                 $0             $0             $0              $0          $242,264
2016-04             $6,311         $1,729         $4,582          $3,519          $245,783
2016-05             $6,531         $1,729         $4,802          $3,677          $249,461
2016-06             $6,531         $1,729         $4,802          $3,667          $253,128
2016-07             $6,531         $1,729         $4,802          $3,656          $256,784
2016-08             $6,531         $1,729         $4,802          $3,645          $260,429
2016-09             $6,531         $1,729         $4,802          $3,635          $264,064
2016-10             $6,531         $1,721         $4,810          $3,630          $267,694
2016-11             $6,531         $1,721         $4,810          $3,619          $271,313
2016-12             $6,531         $1,721         $4,810          $3,609          $274,922
2017-01             $6,531         $1,663         $4,868          $3,642          $278,564
2017-02             $6,531         $1,663         $4,868          $3,631          $282,195
2017-03             $6,531         $1,663         $4,868          $3,620          $285,816
2017-04             $6,531         $1,663         $4,868          $3,610          $289,426
2017-05             $6,828         $1,663         $5,166          $3,819          $293,244
2017-06             $6,828         $1,663         $5,166          $3,807          $297,052
2017-07             $6,828         $1,663         $5,166          $3,796          $300,847
2017-08             $6,828         $1,663         $5,166          $3,784          $304,632
2017-09             $6,828         $1,663         $5,166          $3,773          $308,405
2017-10             $6,828         $1,663         $5,166          $3,762          $312,167
2017-11             $6,828         $1,663         $5,166          $3,750          $315,917
2017-12             $7,121         $1,663         $5,458          $3,951          $319,868
2018-01             $7,121         $1,712         $5,409          $3,903          $323,771
2018-02             $7,121         $1,712         $5,409          $3,891          $327,662
2018-03             $7,121         $1,712         $5,409          $3,879          $331,541
2018-04             $7,121         $1,712         $5,409          $3,867          $335,409
2018-05             $7,260         $1,712         $5,548          $3,955          $339,364
2018-06             $7,478         $1,712         $5,766          $4,098          $343,462


                                                                                  Exhibit A to
                                                                   P. Beard's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 212 of 299
                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2018-07             $7,478         $1,712         $5,766          $4,085          $347,547
2018-08             $7,478         $1,712         $5,766          $4,073          $351,619
2018-09             $7,478         $1,712         $5,766          $4,060          $355,679
2018-10             $7,478         $1,712         $5,766          $4,047          $359,727
2018-11             $7,478         $1,712         $5,766          $4,035          $363,761
2018-12             $7,478         $1,712         $5,766          $4,022          $367,784
2019-01             $7,478         $1,763         $5,715          $3,974          $371,758
2019-02             $7,628         $1,763         $5,864          $4,065          $375,823
2019-03             $7,628         $1,763         $5,864          $4,053          $379,876
2019-04             $7,628         $1,763         $5,864          $4,040          $383,916
2019-05             $7,628         $1,763         $5,864          $4,027          $387,943
2019-06             $7,628         $1,763         $5,864          $4,014          $391,957
2019-07             $7,628         $1,763         $5,864          $4,002          $395,959
2019-08             $7,628         $1,763         $5,864          $3,989          $399,948
2019-09             $7,628         $1,763         $5,864          $3,976          $403,924
2019-10             $7,628         $1,763         $5,864          $3,963          $407,888
2019-11             $7,628         $1,763         $5,864          $3,951          $411,838
2019-12             $7,628         $1,763         $5,864          $3,938          $415,777
2020-01             $7,628         $1,822         $5,806          $3,886          $419,663
2020-02             $7,628         $1,822         $5,806          $3,874          $423,537
2020-03             $7,628         $1,822         $5,806          $3,861          $427,398
2020-04             $7,628         $1,822         $5,806          $3,849          $431,247
2020-05             $7,819         $1,822         $5,997          $3,962          $435,209
2020-06             $7,819         $1,822         $5,997          $3,949          $439,158
2020-07             $7,819         $1,822         $5,997          $3,936          $443,095
2020-08             $7,819         $1,822         $5,997          $3,924          $447,018
2020-09             $7,819         $1,822         $5,997          $3,911          $450,929
2020-10             $7,819         $1,822         $5,997          $3,898          $454,827
2020-11             $7,819         $1,822         $5,997          $3,885          $458,711
2020-12             $8,037         $1,822         $6,216          $4,013          $462,725
2021-01             $8,037         $1,876         $6,161          $3,965          $466,689
2021-02             $8,037         $1,876         $6,161          $3,951          $470,640
2021-03             $8,037         $1,876         $6,161          $3,938          $474,579
2021-04             $8,037         $1,876         $6,161          $3,925          $478,503
2021-05             $8,057         $1,876         $6,180          $3,924          $482,427
2021-06             $8,057         $1,876         $6,180          $3,911          $486,338
2021-07             $8,057         $1,876         $6,180          $3,911          $490,249




                                                                                  Exhibit A to
                                                                   P. Beard's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2004-03     Regularly Appointed Teacher               $39,780
          2004-04     Regularly Appointed Teacher               $39,780
          2004-05     Regularly Appointed Teacher               $39,780
          2004-06     Regularly Appointed Teacher               $39,780
          2004-07     Regularly Appointed Teacher               $39,780
          2004-08     Regularly Appointed Teacher / LWOP        $39,780
          2004-09     Regularly Appointed Teacher / LWOP        $39,780
          2004-10     Regularly Appointed Teacher / LWOP        $39,780
          2004-11     Regularly Appointed Teacher / LWOP        $39,780
          2004-12     Regularly Appointed Teacher / LWOP        $41,172
          2005-01     Regularly Appointed Teacher / LWOP        $41,172
          2005-02     Regularly Appointed Teacher / LWOP        $41,172
          2005-03     Regularly Appointed Teacher / LWOP        $41,172
          2005-04     Regularly Appointed Teacher / LWOP        $41,172
          2005-05     Regularly Appointed Teacher / LWOP        $41,172
          2005-06     Regularly Appointed Teacher / LWOP        $41,172
          2005-07     Regularly Appointed Teacher / LWOP        $41,172
          2005-08     Regularly Appointed Teacher / LWOP        $41,172
          2005-09     Regularly Appointed Teacher               $41,172
          2005-10     Regularly Appointed Teacher               $41,172
          2005-11     Regularly Appointed Teacher               $43,436
          2005-12     Regularly Appointed Teacher               $43,436
          2006-01     Regularly Appointed Teacher               $43,436
          2006-02     Regularly Appointed Teacher               $43,436
          2006-03     Regularly Appointed Teacher               $43,436
          2006-04     Regularly Appointed Teacher / LWOP        $43,436
          2006-05     Regularly Appointed Teacher / LWOP        $43,436
          2006-06     Regularly Appointed Teacher / LWOP        $43,436
          2006-07     Regularly Appointed Teacher / LWOP        $43,436
          2006-08     Regularly Appointed Teacher / LWOP        $43,436
          2006-09     Regularly Appointed Teacher / LWOP        $43,436
          2006-10     Regularly Appointed Teacher               $45,224
          2006-11     Regularly Appointed Teacher               $45,224
          2006-12     Regularly Appointed Teacher               $45,224
          2007-01     Regularly Appointed Teacher               $45,224
          2007-02     Regularly Appointed Teacher               $45,224
          2007-03     Regularly Appointed Teacher               $45,224
          2007-04     Regularly Appointed Teacher               $45,224
          2007-05     Regularly Appointed Teacher               $45,224
          2007-06     Regularly Appointed Teacher               $45,224
          2007-07     Regularly Appointed Teacher               $45,224
          2007-08     Regularly Appointed Teacher               $45,224
          2007-09     Regularly Appointed Teacher               $45,224

                                                                                   Exhibit B to
                                                                    P. Beard's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2007-10     Regularly Appointed Teacher               $52,124
          2007-11     Regularly Appointed Teacher               $52,124
          2007-12     Regularly Appointed Teacher               $52,124
          2008-01     Regularly Appointed Teacher               $52,124
          2008-02     Regularly Appointed Teacher               $52,124
          2008-03     Regularly Appointed Teacher               $52,124
          2008-04     Regularly Appointed Teacher               $52,124
          2008-05     Regularly Appointed Teacher               $54,731
          2008-06     Regularly Appointed Teacher               $54,731
          2008-07     Regularly Appointed Teacher               $54,731
          2008-08     Regularly Appointed Teacher               $54,731
          2008-09     Regularly Appointed Teacher               $54,731
          2008-10     Regularly Appointed Teacher               $55,438
          2008-11     Regularly Appointed Teacher               $55,438
          2008-12     Regularly Appointed Teacher               $55,438
          2009-01     Regularly Appointed Teacher               $55,438
          2009-02     Regularly Appointed Teacher               $55,438
          2009-03     Regularly Appointed Teacher               $55,438
          2009-04     Regularly Appointed Teacher               $55,438
          2009-05     Regularly Appointed Teacher               $55,438
          2009-06     Regularly Appointed Teacher               $55,438
          2009-07     Regularly Appointed Teacher               $55,438
          2009-08     Regularly Appointed Teacher               $55,438
          2009-09     Regularly Appointed Teacher               $55,438
          2009-10     Regularly Appointed Teacher / LWOP        $56,438
          2009-11     Regularly Appointed Teacher / LWOP        $56,438
          2009-12     Regularly Appointed Teacher / LWOP        $56,438
          2010-01     Regularly Appointed Teacher / LWOP        $56,438
          2010-02     Regularly Appointed Teacher / LWOP        $56,438
          2010-03     Regularly Appointed Teacher / LWOP        $56,438
          2010-04     Regularly Appointed Teacher / LWOP        $56,438
          2010-05     Regularly Appointed Teacher / LWOP        $56,438
          2010-06     Regularly Appointed Teacher / LWOP        $56,438
          2010-07     Regularly Appointed Teacher / LWOP        $56,438
          2010-08     Regularly Appointed Teacher / LWOP        $56,438
          2010-09     Regularly Appointed Teacher / LWOP        $56,438
          2010-10     Regularly Appointed Teacher / LWOP        $56,438
          2010-11     Regularly Appointed Teacher               $57,048
          2010-12     Regularly Appointed Teacher               $57,048
          2011-01     Regularly Appointed Teacher               $57,048
          2011-02     Regularly Appointed Teacher               $57,048
          2011-03     Regularly Appointed Teacher               $57,048
          2011-04     Regularly Appointed Teacher               $57,342

                                                                                   Exhibit B to
                                                                    P. Beard's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2011-05     Regularly Appointed Teacher               $57,342
          2011-06     Regularly Appointed Teacher               $57,342
          2011-07     Regularly Appointed Teacher               $57,342
          2011-08     Regularly Appointed Teacher               $57,342
          2011-09     Regularly Appointed Teacher               $57,342
          2011-10     Regularly Appointed Teacher               $57,342
          2011-11     Regularly Appointed Teacher               $58,001
          2011-12     Regularly Appointed Teacher               $58,001
          2012-01     Regularly Appointed Teacher               $59,711
          2012-02     Regularly Appointed Teacher / LWOP        $59,711
          2012-03     Regularly Appointed Teacher / LWOP        $59,711
          2012-04     Regularly Appointed Teacher / LWOP        $59,711
          2012-05     Regularly Appointed Teacher / LWOP        $59,711
          2012-06     Regularly Appointed Teacher / LWOP        $59,711
          2012-07     Regularly Appointed Teacher / LWOP        $59,711
          2012-08     Regularly Appointed Teacher / LWOP        $59,711
          2012-09     Regularly Appointed Teacher               $59,711
          2012-10     Regularly Appointed Teacher               $59,711
          2012-11     Regularly Appointed Teacher               $59,711
          2012-12     Regularly Appointed Teacher               $59,711
          2013-01     Regularly Appointed Teacher               $59,711
          2013-02     Regularly Appointed Teacher               $59,711
          2013-03     Regularly Appointed Teacher               $60,643
          2013-04     Regularly Appointed Teacher               $60,798
          2013-05     Regularly Appointed Teacher               $61,406
          2013-06     Regularly Appointed Teacher               $62,804
          2013-07     Regularly Appointed Teacher               $62,804
          2013-08     Regularly Appointed Teacher               $62,804
          2013-09     Regularly Appointed Teacher               $62,804
          2013-10     Regularly Appointed Teacher               $62,804
          2013-11     Regularly Appointed Teacher               $62,804
          2013-12     Regularly Appointed Teacher               $62,804
          2014-01     Regularly Appointed Teacher               $62,804
          2014-02     Regularly Appointed Teacher               $62,804
          2014-03     Regularly Appointed Teacher               $66,079
          2014-04     Regularly Appointed Teacher               $66,079
          2014-05     Regularly Appointed Teacher               $66,740
          2014-06     Regularly Appointed Teacher               $69,835
          2014-07     Regularly Appointed Teacher               $69,835
          2014-08     Regularly Appointed Teacher               $69,835
          2014-09     Regularly Appointed Teacher               $73,509
          2014-10     Regularly Appointed Teacher / LWOP        $73,509
          2014-11     Regularly Appointed Teacher / LWOP        $73,509

                                                                                   Exhibit B to
                                                                    P. Beard's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2014-12     Regularly Appointed Teacher / LWOP        $73,509
          2015-01     Regularly Appointed Teacher / LWOP        $73,509
          2015-02     Regularly Appointed Teacher / LWOP        $73,509
          2015-03     Regularly Appointed Teacher / LWOP        $73,509
          2015-04     Regularly Appointed Teacher / LWOP        $73,509
          2015-05     Regularly Appointed Teacher / LWOP        $75,729
          2015-06     Regularly Appointed Teacher / LWOP        $75,729
          2015-07     Regularly Appointed Teacher / LWOP        $75,729
          2015-08     Regularly Appointed Teacher / LWOP        $75,729
          2015-09     Regularly Appointed Teacher / LWOP        $75,729
          2015-10     Regularly Appointed Teacher / LWOP        $75,729
          2015-11     Regularly Appointed Teacher / LWOP        $75,729
          2015-12     Regularly Appointed Teacher / LWOP        $75,729
          2016-01     Regularly Appointed Teacher / LWOP        $75,729
          2016-02     Regularly Appointed Teacher / LWOP        $75,729
          2016-03     Regularly Appointed Teacher / LWOP        $75,729
          2016-04     Regularly Appointed Teacher               $75,729
          2016-05     Regularly Appointed Teacher               $78,372
          2016-06     Regularly Appointed Teacher               $78,372
          2016-07     Regularly Appointed Teacher               $78,372
          2016-08     Regularly Appointed Teacher               $78,372
          2016-09     Regularly Appointed Teacher               $78,372
          2016-10     Regularly Appointed Teacher               $78,372
          2016-11     Regularly Appointed Teacher               $78,372
          2016-12     Regularly Appointed Teacher               $78,372
          2017-01     Regularly Appointed Teacher               $78,372
          2017-02     Regularly Appointed Teacher               $78,372
          2017-03     Regularly Appointed Teacher               $78,372
          2017-04     Regularly Appointed Teacher               $78,372
          2017-05     Regularly Appointed Teacher               $81,938
          2017-06     Regularly Appointed Teacher               $81,938
          2017-07     Regularly Appointed Teacher               $81,938
          2017-08     Regularly Appointed Teacher               $81,938
          2017-09     Regularly Appointed Teacher               $81,938
          2017-10     Regularly Appointed Teacher               $81,938
          2017-11     Regularly Appointed Teacher               $81,938
          2017-12     Regularly Appointed Teacher               $85,449
          2018-01     Regularly Appointed Teacher               $85,449
          2018-02     Regularly Appointed Teacher               $85,449
          2018-03     Regularly Appointed Teacher               $85,449
          2018-04     Regularly Appointed Teacher               $85,449
          2018-05     Regularly Appointed Teacher               $87,125
          2018-06     Regularly Appointed Teacher               $89,738

                                                                                   Exhibit B to
                                                                    P. Beard's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2018-07     Regularly Appointed Teacher               $89,738
          2018-08     Regularly Appointed Teacher               $89,738
          2018-09     Regularly Appointed Teacher               $89,738
          2018-10     Regularly Appointed Teacher               $89,738
          2018-11     Regularly Appointed Teacher               $89,738
          2018-12     Regularly Appointed Teacher               $89,738
          2019-01     Regularly Appointed Teacher               $89,738
          2019-02     Regularly Appointed Teacher               $91,534
          2019-03     Regularly Appointed Teacher               $91,534
          2019-04     Regularly Appointed Teacher               $91,534
          2019-05     Regularly Appointed Teacher               $91,534
          2019-06     Regularly Appointed Teacher               $91,534




                                                                                   Exhibit B to
                                                                    P. Beard's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : REGINALD
                                                                       : PARKER
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Reginald Parker (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on December 10, 2020, with respect to Mr.
Parker’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Reginald
Parker, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Reginald Parker (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Parker will have
judgment against the BOE as follows:

   1. Backpay in the amount of $312,178;

   2. Tax-component award in the amount of $36,681;

   3. LAST Fees in the amount of $320;

   4. ASAF account award in the amount of $2,433;

   5. CAR Day award in the amount of $5,032;

   6. Pre-judgment interest calculated to be $37,289; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Parker will be entitled to
the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Mr. Parker’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Reginald Parker; and

       c. Grant Mr. Parker retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.


Dated: ___________                             ENTERED:




                                                2
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             Exhibit 1
    Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 221 of 299




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : REGINALD
THE BOARD OF EDUCATION OF THE CITY SCHOOL : PARKER
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Reginald Parker:

    1. Class Membership. Mr. Parker is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       he suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Parker would have been appointed as a
                regularly appointed teacher in January 2002. The Special Master also finds, and
                the Court agrees, that Mr. Parker is eligible to accrue backpay damages beginning
                January 2002.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Parker would have worked as a
                regularly appointed teacher until March 1, 2014, Mr. Parker accrues backpay
                damages until January 1, 2016, and Mr. Parker’s backpay damages should be
                reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Mr. Parker’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Mr. Parker’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Mr. Parker has satisfied his burden of establishing his entitlement to
   the following monetary relief:

       a. Backpay in the amount of $312,178;

       b. A tax-component award in the amount of $36,681;

       c. $320 to compensate him for the fees he paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $2,433;

       e. CAR Day damages in the amount of $5,032; and

       f. Pre-judgment interest in the amount of $37,289.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Mr. Parker has satisfied his burden of establishing his entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Mr. Parker’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Mr. Parker should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Mr. Parker (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —          1967

               ii.   Gender — Male

               iii. Address —                              Brooklyn, NY 11238

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   January 15, 2002



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) —

                    a)     January 1, 2006 through December 31, 2008; and

                    b)     January 1, 2013 through December 31, 2013

               ix. Termination of regularly appointed teacher service (if any) — March 1,
                   2014

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2002-01             $3,078         $3,078             $0              $0                $0
2002-02             $3,136         $3,078            $58             $58               $58
2002-03             $3,136         $3,078            $58             $58             $116
2002-04             $3,136         $3,078            $58             $58             $174
2002-05             $3,136         $3,078            $58             $58             $232
2002-06             $3,136         $3,078            $58             $58             $290
2002-07             $3,136         $3,078            $58             $58             $349
2002-08             $3,136         $3,078            $58             $58             $407
2002-09             $3,393         $1,539         $1,854          $1,854            $2,261
2002-10             $3,393         $1,208         $2,186          $2,186            $4,447
2002-11             $3,393         $1,208         $2,186          $2,179            $6,626
2002-12             $3,393         $1,208         $2,186          $2,172            $8,798
2003-01             $3,393         $2,304         $1,089          $1,079            $9,877
2003-02             $3,438         $2,304         $1,134          $1,120           $10,997
2003-03             $3,501         $2,304         $1,197          $1,179           $12,175
2003-04             $3,501         $2,304         $1,197          $1,176           $13,351
2003-05             $3,501         $2,304         $1,197          $1,172           $14,524
2003-06             $3,501         $2,304         $1,197          $1,169           $15,693
2003-07             $3,501         $2,304         $1,197          $1,166           $16,859
2003-08             $3,900         $2,304         $1,596          $1,550           $18,409
2003-09             $3,900         $2,304         $1,596          $1,546           $19,955
2003-10             $3,900         $2,304         $1,596          $1,542           $21,497
2003-11             $3,900         $2,304         $1,596          $1,538           $23,034
2003-12             $3,978         $2,304         $1,674          $1,608           $24,643
2004-01             $3,978         $2,621         $1,356          $1,300           $25,943
2004-02             $4,073         $2,621         $1,452          $1,388           $27,331
2004-03             $4,297         $2,621         $1,676          $1,597           $28,928
2004-04             $4,297         $2,621         $1,676          $1,593           $30,521
2004-05             $4,297         $2,621         $1,676          $1,589           $32,110
2004-06             $4,297         $2,621         $1,676          $1,585           $33,695
2004-07             $4,297         $2,621         $1,676          $1,580           $35,275
2004-08             $4,297         $2,621         $1,676          $1,576           $36,852
2004-09             $4,297         $2,621         $1,676          $1,572           $38,424
2004-10             $4,297         $2,621         $1,676          $1,568           $39,991
2004-11             $4,297         $2,621         $1,676          $1,564           $41,555
2004-12             $4,448         $2,621         $1,826          $1,700           $43,255
2005-01             $4,448         $2,172         $2,275          $2,112           $45,367
2005-02             $4,664         $2,172         $2,492          $2,307           $47,674
2005-03             $4,664         $2,172         $2,492          $2,301           $49,975
2005-04             $4,664         $2,172         $2,492          $2,295           $52,270
2005-05             $4,664         $2,172         $2,492          $2,289           $54,559
2005-06             $4,664         $2,172         $2,492          $2,283           $56,842
2005-07             $4,664         $2,172         $2,492          $2,277           $59,118


                                                                                  Exhibit A to
                                                                  R. Parker's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2005-08             $4,664         $2,172         $2,492          $2,270           $61,389
2005-09             $4,664         $2,172         $2,492          $2,264           $63,653
2005-10             $4,664         $2,172         $2,492          $2,258           $65,911
2005-11             $4,921         $2,172         $2,749          $2,484           $68,396
2005-12             $5,192         $2,172         $3,020          $2,722           $71,118
2006-01                 $0             $0             $0              $0           $71,118
2006-02                 $0             $0             $0              $0           $71,118
2006-03                 $0             $0             $0              $0           $71,118
2006-04                 $0             $0             $0              $0           $71,118
2006-05                 $0             $0             $0              $0           $71,118
2006-06                 $0             $0             $0              $0           $71,118
2006-07                 $0             $0             $0              $0           $71,118
2006-08                 $0             $0             $0              $0           $71,118
2006-09                 $0             $0             $0              $0           $71,118
2006-10                 $0             $0             $0              $0           $71,118
2006-11                 $0             $0             $0              $0           $71,118
2006-12                 $0             $0             $0              $0           $71,118
2007-01                 $0             $0             $0              $0           $71,118
2007-02                 $0             $0             $0              $0           $71,118
2007-03                 $0             $0             $0              $0           $71,118
2007-04                 $0             $0             $0              $0           $71,118
2007-05                 $0             $0             $0              $0           $71,118
2007-06                 $0             $0             $0              $0           $71,118
2007-07                 $0             $0             $0              $0           $71,118
2007-08                 $0             $0             $0              $0           $71,118
2007-09                 $0             $0             $0              $0           $71,118
2007-10                 $0             $0             $0              $0           $71,118
2007-11                 $0             $0             $0              $0           $71,118
2007-12                 $0             $0             $0              $0           $71,118
2008-01                 $0             $0             $0              $0           $71,118
2008-02                 $0             $0             $0              $0           $71,118
2008-03                 $0             $0             $0              $0           $71,118
2008-04                 $0             $0             $0              $0           $71,118
2008-05                 $0             $0             $0              $0           $71,118
2008-06                 $0             $0             $0              $0           $71,118
2008-07                 $0             $0             $0              $0           $71,118
2008-08                 $0             $0             $0              $0           $71,118
2008-09                 $0             $0             $0              $0           $71,118
2008-10                 $0             $0             $0              $0           $71,118
2008-11                 $0             $0             $0              $0           $71,118
2008-12                 $0             $0             $0              $0           $71,118
2009-01             $6,005         $1,628         $4,377          $3,570           $74,688
2009-02             $6,005         $1,628         $4,377          $3,560           $78,247


                                                                                  Exhibit A to
                                                                  R. Parker's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2009-03             $6,005         $1,628         $4,377          $3,550          $81,797
2009-04             $6,005         $1,628         $4,377          $3,540          $85,338
2009-05             $6,005         $1,628         $4,377          $3,531          $88,868
2009-06             $6,005         $1,628         $4,377          $3,521          $92,389
2009-07             $6,005         $1,628         $4,377          $3,511          $95,900
2009-08             $6,005         $1,628         $4,377          $3,501          $99,401
2009-09             $6,005         $1,628         $4,377          $3,492         $102,893
2009-10             $6,005         $1,628         $4,377          $3,482         $106,375
2009-11             $6,005         $1,628         $4,377          $3,472         $109,847
2009-12             $6,005         $1,628         $4,377          $3,462         $113,309
2010-01             $6,005         $1,641         $4,364          $3,443         $116,752
2010-02             $6,005         $1,641         $4,364          $3,433         $120,184
2010-03             $6,005         $1,641         $4,364          $3,423         $123,608
2010-04             $6,005         $1,641         $4,364          $3,413         $127,021
2010-05             $6,005         $1,641         $4,364          $3,404         $130,425
2010-06             $6,005         $1,641         $4,364          $3,394         $133,819
2010-07             $6,005         $1,641         $4,364          $3,384         $137,203
2010-08             $6,005         $1,641         $4,364          $3,375         $140,577
2010-09             $6,262         $1,641         $4,621          $3,563         $144,141
2010-10             $6,262         $1,641         $4,621          $3,553         $147,694
2010-11             $6,262         $1,641         $4,621          $3,543         $151,237
2010-12             $6,262         $1,641         $4,621          $3,532         $154,769
2011-01             $6,262         $1,931         $4,332          $3,301         $158,070
2011-02             $6,262         $1,931         $4,332          $3,292         $161,362
2011-03             $6,262         $1,931         $4,332          $3,282         $164,644
2011-04             $6,262         $1,931         $4,332          $3,272         $167,916
2011-05             $6,262         $1,931         $4,332          $3,263         $171,179
2011-06             $6,262         $1,931         $4,332          $3,253         $174,432
2011-07             $6,262         $1,931         $4,332          $3,243         $177,676
2011-08             $6,262         $1,931         $4,332          $3,234         $180,909
2011-09             $6,262         $1,931         $4,332          $3,224         $184,133
2011-10             $6,262         $1,931         $4,332          $3,214         $187,348
2011-11             $6,262         $1,931         $4,332          $3,205         $190,553
2011-12             $6,262         $1,931         $4,332          $3,195         $193,748
2012-01             $6,262         $1,458         $4,804          $3,533         $197,281
2012-02             $6,262         $1,458         $4,804          $3,523         $200,804
2012-03             $6,262         $1,458         $4,804          $3,512         $204,316
2012-04             $6,262         $1,458         $4,804          $3,502         $207,818
2012-05             $6,262         $1,458         $4,804          $3,491         $211,309
2012-06             $6,262         $1,458         $4,804          $3,481         $214,790
2012-07             $6,262         $1,458         $4,804          $3,471         $218,261
2012-08             $6,262         $1,458         $4,804          $3,460         $221,721
2012-09             $6,262         $1,458         $4,804          $3,450         $225,171


                                                                                  Exhibit A to
                                                                  R. Parker's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2012-10             $6,262         $1,458         $4,804          $3,439         $228,610
2012-11             $6,262         $1,458         $4,804          $3,429         $232,039
2012-12             $6,262         $1,458         $4,804          $3,419         $235,458
2013-01                 $0             $0             $0              $0         $235,458
2013-02                 $0             $0             $0              $0         $235,458
2013-03                 $0             $0             $0              $0         $235,458
2013-04                 $0             $0             $0              $0         $235,458
2013-05                 $0             $0             $0              $0         $235,458
2013-06                 $0             $0             $0              $0         $235,458
2013-07                 $0             $0             $0              $0         $235,458
2013-08                 $0             $0             $0              $0         $235,458
2013-09                 $0             $0             $0              $0         $235,458
2013-10                 $0             $0             $0              $0         $235,458
2013-11                 $0             $0             $0              $0         $235,458
2013-12                 $0             $0             $0              $0         $235,458
2014-01             $6,325         $1,488         $4,838          $3,308         $238,765
2014-02             $6,325         $1,488         $4,838          $3,297         $242,063
2014-03             $6,325         $1,488         $4,838          $3,287         $245,349
2014-04             $6,325         $1,488         $4,838          $3,277         $248,626
2014-05             $6,388         $1,488         $4,901          $3,309         $251,935
2014-06             $6,388         $1,488         $5,901          $3,972         $255,907
2014-07             $6,388         $1,488         $4,901          $3,288         $259,195
2014-08             $6,388         $1,488         $4,901          $3,278         $262,472
2014-09             $6,567         $1,488         $5,079          $3,386         $265,859
2014-10             $6,567         $1,488         $5,079          $3,376         $269,235
2014-11             $6,567         $1,488         $5,079          $3,365         $272,599
2014-12             $6,567         $1,488         $5,079          $3,354         $275,954
2015-01             $6,567         $2,030         $4,537          $2,986         $278,940
2015-02             $6,567         $2,030         $4,537          $2,977         $281,917
2015-03             $6,567         $2,030         $4,537          $2,967         $284,884
2015-04             $6,567         $2,030         $4,537          $2,958         $287,842
2015-05             $6,765         $2,030         $4,736          $3,077         $290,919
2015-06             $6,765         $2,030         $4,736          $3,067         $293,986
2015-07             $6,765         $2,030         $4,736          $3,057         $297,043
2015-08             $6,765         $2,030         $4,736          $3,047         $300,090
2015-09             $6,765         $2,030         $4,736          $3,037         $303,127
2015-10             $6,765         $2,030         $4,736          $3,027         $306,154
2015-11             $6,765         $2,030         $4,736          $3,017         $309,171
2015-12             $6,765         $2,030         $4,736          $3,007         $312,178




                                                                                  Exhibit A to
                                                                  R. Parker's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2002-01     Regularly Appointed Teacher               $36,937
          2002-02     Regularly Appointed Teacher               $37,634
          2002-03     Regularly Appointed Teacher               $37,634
          2002-04     Regularly Appointed Teacher               $37,634
          2002-05     Regularly Appointed Teacher               $37,634
          2002-06     Regularly Appointed Teacher               $37,634
          2002-07     Regularly Appointed Teacher               $37,634
          2002-08     Regularly Appointed Teacher               $37,634
          2002-09     Regularly Appointed Teacher               $40,720
          2002-10     Regularly Appointed Teacher               $40,720
          2002-11     Regularly Appointed Teacher               $40,720
          2002-12     Regularly Appointed Teacher               $40,720
          2003-01     Regularly Appointed Teacher               $40,720
          2003-02     Regularly Appointed Teacher               $41,255
          2003-03     Regularly Appointed Teacher               $42,012
          2003-04     Regularly Appointed Teacher               $42,012
          2003-05     Regularly Appointed Teacher               $42,012
          2003-06     Regularly Appointed Teacher               $42,012
          2003-07     Regularly Appointed Teacher               $42,012
          2003-08     Regularly Appointed Teacher               $46,798
          2003-09     Regularly Appointed Teacher               $46,798
          2003-10     Regularly Appointed Teacher               $46,798
          2003-11     Regularly Appointed Teacher               $46,798
          2003-12     Regularly Appointed Teacher               $47,734
          2004-01     Regularly Appointed Teacher               $47,734
          2004-02     Regularly Appointed Teacher               $48,881
          2004-03     Regularly Appointed Teacher               $51,565
          2004-04     Regularly Appointed Teacher               $51,565
          2004-05     Regularly Appointed Teacher               $51,565
          2004-06     Regularly Appointed Teacher               $51,565
          2004-07     Regularly Appointed Teacher               $51,565
          2004-08     Regularly Appointed Teacher               $51,565
          2004-09     Regularly Appointed Teacher               $51,565
          2004-10     Regularly Appointed Teacher               $51,565
          2004-11     Regularly Appointed Teacher               $51,565
          2004-12     Regularly Appointed Teacher               $53,370
          2005-01     Regularly Appointed Teacher               $53,370
          2005-02     Regularly Appointed Teacher               $55,971
          2005-03     Regularly Appointed Teacher               $55,971
          2005-04     Regularly Appointed Teacher               $55,971
          2005-05     Regularly Appointed Teacher               $55,971
          2005-06     Regularly Appointed Teacher               $55,971
          2005-07     Regularly Appointed Teacher               $55,971

                                                                                    Exhibit B to
                                                                    R. Parker's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2005-08     Regularly Appointed Teacher               $55,971
          2005-09     Regularly Appointed Teacher               $55,971
          2005-10     Regularly Appointed Teacher               $55,971
          2005-11     Regularly Appointed Teacher               $59,049
          2005-12     Regularly Appointed Teacher               $62,306
          2006-01     Regularly Appointed Teacher / LWOP        $62,572
          2006-02     Regularly Appointed Teacher / LWOP        $62,572
          2006-03     Regularly Appointed Teacher / LWOP        $62,572
          2006-04     Regularly Appointed Teacher / LWOP        $62,572
          2006-05     Regularly Appointed Teacher / LWOP        $62,572
          2006-06     Regularly Appointed Teacher / LWOP        $62,572
          2006-07     Regularly Appointed Teacher / LWOP        $62,572
          2006-08     Regularly Appointed Teacher / LWOP        $62,572
          2006-09     Regularly Appointed Teacher / LWOP        $62,572
          2006-10     Regularly Appointed Teacher / LWOP        $66,204
          2006-11     Regularly Appointed Teacher / LWOP        $66,204
          2006-12     Regularly Appointed Teacher / LWOP        $66,204
          2007-01     Regularly Appointed Teacher / LWOP        $66,204
          2007-02     Regularly Appointed Teacher / LWOP        $66,204
          2007-03     Regularly Appointed Teacher / LWOP        $66,204
          2007-04     Regularly Appointed Teacher / LWOP        $66,204
          2007-05     Regularly Appointed Teacher / LWOP        $66,204
          2007-06     Regularly Appointed Teacher / LWOP        $66,349
          2007-07     Regularly Appointed Teacher / LWOP        $66,349
          2007-08     Regularly Appointed Teacher / LWOP        $66,349
          2007-09     Regularly Appointed Teacher / LWOP        $66,349
          2007-10     Regularly Appointed Teacher / LWOP        $67,677
          2007-11     Regularly Appointed Teacher / LWOP        $67,677
          2007-12     Regularly Appointed Teacher / LWOP        $67,677
          2008-01     Regularly Appointed Teacher / LWOP        $67,677
          2008-02     Regularly Appointed Teacher / LWOP        $67,677
          2008-03     Regularly Appointed Teacher / LWOP        $67,677
          2008-04     Regularly Appointed Teacher / LWOP        $67,677
          2008-05     Regularly Appointed Teacher / LWOP        $72,060
          2008-06     Regularly Appointed Teacher / LWOP        $72,060
          2008-07     Regularly Appointed Teacher / LWOP        $72,060
          2008-08     Regularly Appointed Teacher / LWOP        $72,060
          2008-09     Regularly Appointed Teacher / LWOP        $72,060
          2008-10     Regularly Appointed Teacher / LWOP        $72,060
          2008-11     Regularly Appointed Teacher / LWOP        $72,060
          2008-12     Regularly Appointed Teacher / LWOP        $72,060
          2009-01     Regularly Appointed Teacher               $72,060
          2009-02     Regularly Appointed Teacher               $72,060

                                                                                    Exhibit B to
                                                                    R. Parker's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2009-03     Regularly Appointed Teacher               $72,060
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $75,149
          2010-10     Regularly Appointed Teacher               $75,149
          2010-11     Regularly Appointed Teacher               $75,149
          2010-12     Regularly Appointed Teacher               $75,149
          2011-01     Regularly Appointed Teacher               $75,149
          2011-02     Regularly Appointed Teacher               $75,149
          2011-03     Regularly Appointed Teacher               $75,149
          2011-04     Regularly Appointed Teacher               $75,149
          2011-05     Regularly Appointed Teacher               $75,149
          2011-06     Regularly Appointed Teacher               $75,149
          2011-07     Regularly Appointed Teacher               $75,149
          2011-08     Regularly Appointed Teacher               $75,149
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149
          2012-06     Regularly Appointed Teacher               $75,149
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149

                                                                                    Exhibit B to
                                                                    R. Parker's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher / LWOP        $75,149
          2013-02     Regularly Appointed Teacher / LWOP        $75,149
          2013-03     Regularly Appointed Teacher / LWOP        $75,149
          2013-04     Regularly Appointed Teacher / LWOP        $75,149
          2013-05     Regularly Appointed Teacher / LWOP        $75,901
          2013-06     Regularly Appointed Teacher / LWOP        $75,901
          2013-07     Regularly Appointed Teacher / LWOP        $75,901
          2013-08     Regularly Appointed Teacher / LWOP        $75,901
          2013-09     Regularly Appointed Teacher / LWOP        $75,901
          2013-10     Regularly Appointed Teacher / LWOP        $75,901
          2013-11     Regularly Appointed Teacher / LWOP        $75,901
          2013-12     Regularly Appointed Teacher / LWOP        $75,901
          2014-01     Regularly Appointed Teacher               $75,901
          2014-02     Regularly Appointed Teacher               $75,901




                                                                                    Exhibit B to
                                                                    R. Parker's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : ROBERTO
                                                                       : JOHNSON
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Roberto Johnson (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on September 24, 2020, with respect to Mr.
Johnson’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Roberto
Johnson, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Roberto Johnson (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Johnson will have
judgment against the BOE as follows:

   1. Backpay in the amount of $394,937;

   2. Tax-component award in the amount of $46,405;

   3. LAST Fees in the amount of $320;

   4. ASAF account award in the amount of $2,712;

   5. CAR Day award in the amount of $8,958;

   6. Pre-judgment interest calculated to be $32,047; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Mr. Johnson will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Mr. Johnson’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Roberto Johnson; and

       c. Grant Mr. Johnson retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.


Dated: ___________                             ENTERED:




                                                2
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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : ROBERTO
THE BOARD OF EDUCATION OF THE CITY SCHOOL : JOHNSON
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Roberto Johnson:

    1. Class Membership. Mr. Johnson is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       he suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Johnson would have been appointed as
                a regularly appointed teacher in January 2003. The Special Master also finds, and
                the Court agrees, that Mr. Johnson is eligible to accrue backpay damages
                beginning January 2003.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Mr. Johnson would have worked as a
                regularly appointed teacher until October 1, 2017, Mr. Johnson accrues backpay
                damages through the date of judgment, and Mr. Johnson’s backpay damages
                should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Mr. Johnson’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Mr. Johnson’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Mr. Johnson has satisfied his burden of establishing his entitlement to
   the following monetary relief:

       a. Backpay in the amount of $394,937;

       b. A tax-component award in the amount of $46,405;

       c. $320 to compensate him for the fees he paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $2,712;

       e. CAR Day damages in the amount of $8,958; and

       f. Pre-judgment interest in the amount of $32,047.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Mr. Johnson has satisfied his burden of establishing his entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Mr. Johnson’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Mr. Johnson should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Mr. Johnson (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —            1968

               ii.   Gender — Male

               iii. Address —                              New York, NY 10032

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   January 14, 2003



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — September 1, 2004 through October
                     31, 2009

               ix. Termination of regularly appointed teacher service (if any) — October 1,
                   2017

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




                                           3
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                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly       Monthly                         Cumulative
 Month      Monthly                                     Damages with
                           Mitigation    Damages                          Damages
             Earnings                                     Attrition
2003-01           $3,393        $3,270          $124            $124             $124
2003-02           $3,393        $3,270          $124            $124             $247
2003-03           $3,438        $3,270          $168            $168             $415
2003-04           $3,438        $3,270          $168            $168             $584
2003-05           $3,438        $3,270          $168            $168             $752
2003-06           $3,438        $3,270          $168            $168             $920
2003-07           $3,438        $3,270          $168            $168            $1,088
2003-08           $3,438        $3,270          $168            $168            $1,256
2003-09           $3,438        $1,137         $2,301          $2,301           $3,557
2003-10           $3,438        $1,137         $2,301          $2,301           $5,857
2003-11           $3,438        $1,137         $2,301          $2,301           $8,158
2003-12           $3,507        $1,137         $2,369          $2,369          $10,527
2004-01           $3,571         -$135         $3,706          $3,706          $14,233
2004-02           $3,571         -$135         $3,706          $3,706          $17,939
2004-03           $3,667         -$135         $3,801          $3,801          $21,740
2004-04           $3,667         -$135         $3,801          $3,801          $25,541
2004-05           $3,667         -$135         $3,801          $3,801          $29,343
2004-06           $3,667         -$135         $3,801          $3,801          $33,144
2004-07           $3,667         -$135         $3,801          $3,801          $36,945
2004-08           $4,073         -$135         $4,208          $4,208          $41,153
2004-09               $0            $0             $0              $0          $41,153
2004-10               $0            $0             $0              $0          $41,153
2004-11               $0            $0             $0              $0          $41,153
2004-12               $0            $0             $0              $0          $41,153
2005-01               $0            $0             $0              $0          $41,153
2005-02               $0            $0             $0              $0          $41,153
2005-03               $0            $0             $0              $0          $41,153
2005-04               $0            $0             $0              $0          $41,153
2005-05               $0            $0             $0              $0          $41,153
2005-06               $0            $0             $0              $0          $41,153
2005-07               $0            $0             $0              $0          $41,153
2005-08               $0            $0             $0              $0          $41,153
2005-09               $0            $0             $0              $0          $41,153
2005-10               $0            $0             $0              $0          $41,153
2005-11               $0            $0             $0              $0          $41,153
2005-12               $0            $0             $0              $0          $41,153
2006-01               $0            $0             $0              $0          $41,153
2006-02               $0            $0             $0              $0          $41,153
2006-03               $0            $0             $0              $0          $41,153




                                                                                Exhibit A to
                                                               R. Johnson's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                      Monthly
                           Monthly           Monthly                         Cumulative
 Month      Monthly                                         Damages with
                           Mitigation        Damages                          Damages
             Earnings                                         Attrition
2006-04               $0                $0             $0              $0          $41,153
2006-05               $0                $0             $0              $0          $41,153
2006-06               $0                $0             $0              $0          $41,153
2006-07               $0                $0             $0              $0          $41,153
2006-08               $0                $0             $0              $0          $41,153
2006-09               $0                $0             $0              $0          $41,153
2006-10               $0                $0             $0              $0          $41,153
2006-11               $0                $0             $0              $0          $41,153
2006-12               $0                $0             $0              $0          $41,153
2007-01               $0                $0             $0              $0          $41,153
2007-02               $0                $0             $0              $0          $41,153
2007-03               $0                $0             $0              $0          $41,153
2007-04               $0                $0             $0              $0          $41,153
2007-05               $0                $0             $0              $0          $41,153
2007-06               $0                $0             $0              $0          $41,153
2007-07               $0                $0             $0              $0          $41,153
2007-08               $0                $0             $0              $0          $41,153
2007-09               $0                $0             $0              $0          $41,153
2007-10               $0                $0             $0              $0          $41,153
2007-11               $0                $0             $0              $0          $41,153
2007-12               $0                $0             $0              $0          $41,153
2008-01               $0                $0             $0              $0          $41,153
2008-02               $0                $0             $0              $0          $41,153
2008-03               $0                $0             $0              $0          $41,153
2008-04               $0                $0             $0              $0          $41,153
2008-05               $0                $0             $0              $0          $41,153
2008-06               $0                $0             $0              $0          $41,153
2008-07               $0                $0             $0              $0          $41,153
2008-08               $0                $0             $0              $0          $41,153
2008-09               $0                $0             $0              $0          $41,153
2008-10               $0                $0             $0              $0          $41,153
2008-11               $0                $0             $0              $0          $41,153
2008-12               $0                $0             $0              $0          $41,153
2009-01               $0                $0             $0              $0          $41,153
2009-02               $0                $0             $0              $0          $41,153
2009-03               $0                $0             $0              $0          $41,153
2009-04               $0                $0             $0              $0          $41,153
2009-05               $0                $0             $0              $0          $41,153
2009-06               $0                $0             $0              $0          $41,153
2009-07               $0                $0             $0              $0          $41,153




                                                                                    Exhibit A to
                                                                   R. Johnson's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly       Monthly                         Cumulative
 Month      Monthly                                     Damages with
                           Mitigation    Damages                          Damages
             Earnings                                     Attrition
2009-08               $0            $0             $0              $0          $41,153
2009-09               $0            $0             $0              $0          $41,153
2009-10               $0            $0             $0              $0          $41,153
2009-11           $5,297        $1,458         $3,838          $3,211          $44,364
2009-12           $5,297        $1,458         $3,838          $3,202          $47,566
2010-01           $5,297        $1,816         $3,480          $2,895          $50,461
2010-02           $5,297        $1,816         $3,480          $2,887          $53,348
2010-03           $5,297        $1,816         $3,480          $2,878          $56,226
2010-04           $5,297        $1,816         $3,480          $2,870          $59,096
2010-05           $5,692        $1,816         $3,876          $3,186          $62,282
2010-06           $5,692        $1,816         $3,876          $3,177          $65,459
2010-07           $5,692        $1,816         $3,876          $3,167          $68,626
2010-08           $5,692        $1,816         $3,876          $3,158          $71,784
2010-09           $5,692        $1,816         $3,876          $3,149          $74,933
2010-10           $5,692        $1,816         $3,876          $3,140          $78,073
2010-11           $5,692        $1,816         $3,876          $3,130          $81,203
2010-12           $5,692        $1,816         $3,876          $3,121          $84,324
2011-01           $5,705        $2,120         $3,585          $2,879          $87,203
2011-02           $5,705        $2,120         $3,585          $2,870          $90,073
2011-03           $6,005        $2,120         $3,885          $3,101          $93,174
2011-04           $6,005        $2,120         $3,885          $3,092          $96,266
2011-05           $6,005        $2,120         $3,885          $3,083          $99,349
2011-06           $6,005        $2,120         $3,885          $3,073         $102,422
2011-07           $6,005        $2,120         $3,885          $3,064         $105,486
2011-08           $6,005        $2,120         $3,885          $3,055         $108,540
2011-09           $6,005        $2,120         $3,885          $3,045         $111,586
2011-10           $6,005        $2,120         $3,885          $3,036         $114,622
2011-11           $6,005        $2,120         $3,885          $3,027         $117,649
2011-12           $6,005        $2,120         $3,885          $3,018         $120,667
2012-01           $6,005        $2,312         $3,693          $2,859         $123,526
2012-02           $6,005        $2,312         $3,693          $2,850         $126,376
2012-03           $6,005        $2,312         $3,693          $2,842         $129,218
2012-04           $6,005        $2,312         $3,693          $2,833         $132,051
2012-05           $6,005        $2,312         $3,693          $2,824         $134,875
2012-06           $6,005        $2,312         $3,693          $2,816         $137,691
2012-07           $6,005        $2,312         $3,693          $2,807         $140,498
2012-08           $6,005        $2,312         $3,693          $2,798         $143,296
2012-09           $6,005        $2,312         $3,693          $2,790         $146,086
2012-10           $6,005        $2,312         $3,693          $2,781         $148,867
2012-11           $6,005        $2,312         $3,693          $2,772         $151,639




                                                                                Exhibit A to
                                                               R. Johnson's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 241 of 299
                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly       Monthly                         Cumulative
 Month      Monthly                                     Damages with
                           Mitigation    Damages                          Damages
             Earnings                                     Attrition
2012-12           $6,005        $2,312         $3,693          $2,764         $154,403
2013-01           $6,005        $1,785         $4,220          $3,149         $157,552
2013-02           $6,005        $1,785         $4,220          $3,139         $160,691
2013-03           $6,005        $1,785         $4,220          $3,129         $163,820
2013-04           $6,005        $1,785         $4,220          $3,119         $166,939
2013-05           $6,065        $1,785         $4,280          $3,153         $170,092
2013-06           $6,065        $1,785         $4,280          $3,144         $173,236
2013-07           $6,065        $1,785         $4,280          $3,134         $176,370
2013-08           $6,065        $1,785         $4,280          $3,124         $179,493
2013-09           $6,065        $1,785         $4,280          $3,114         $182,607
2013-10           $6,065        $1,785         $4,280          $3,104         $185,711
2013-11           $6,065        $1,785         $4,280          $3,094         $188,805
2013-12           $6,065        $1,785         $4,280          $3,084         $191,888
2014-01           $6,065        $2,489         $3,577          $2,568         $194,457
2014-02           $6,065        $2,489         $3,577          $2,560         $197,017
2014-03           $6,065        $2,489         $3,577          $2,552         $199,569
2014-04           $6,065        $2,489         $3,577          $2,544         $202,113
2014-05           $6,126        $2,489         $3,637          $2,578         $204,691
2014-06           $6,126        $2,489         $4,637          $3,277         $207,968
2014-07           $6,126        $2,489         $3,637          $2,562         $210,529
2014-08           $6,126        $2,489         $3,637          $2,553         $213,083
2014-09           $6,126        $2,489         $3,637          $2,545         $215,628
2014-10           $6,126        $2,489         $3,637          $2,537         $218,164
2014-11           $6,388        $2,489         $3,900          $2,711         $220,875
2014-12           $6,388        $2,489         $3,900          $2,702         $223,576
2015-01           $6,388        $2,415         $3,974          $2,744         $226,320
2015-02           $6,388        $2,415         $3,974          $2,735         $229,055
2015-03           $6,388        $2,415         $3,974          $2,726         $231,780
2015-04           $6,388        $2,415         $3,974          $2,716         $234,497
2015-05           $6,581        $2,415         $4,167          $2,839         $237,336
2015-06           $6,581        $2,415         $4,167          $2,829         $240,165
2015-07           $6,581        $2,415         $4,167          $2,820         $242,985
2015-08           $6,581        $2,415         $4,167          $2,810         $245,796
2015-09           $6,581        $2,415         $4,167          $2,801         $248,597
2015-10           $6,581        $2,415         $4,167          $2,791         $251,388
2015-11           $6,581        $2,415         $4,167          $2,782         $254,170
2015-12           $6,581        $2,415         $4,167          $2,772         $256,942
2016-01           $6,581        $3,608         $2,973          $1,972         $258,914
2016-02           $6,581        $3,608         $2,973          $1,965         $260,879
2016-03           $6,581        $3,608         $2,973          $1,958         $262,837




                                                                                Exhibit A to
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                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly       Monthly                         Cumulative
 Month      Monthly                                     Damages with
                           Mitigation    Damages                          Damages
             Earnings                                     Attrition
2016-04           $6,581        $3,608         $2,973          $1,951         $264,789
2016-05           $6,811        $3,608         $3,203          $2,095         $266,884
2016-06           $6,811        $3,608         $3,203          $2,088         $268,971
2016-07           $6,811        $3,608         $3,203          $2,080         $271,052
2016-08           $6,811        $3,608         $3,203          $2,073         $273,125
2016-09           $6,811        $3,608         $3,203          $2,066         $275,190
2016-10           $6,811        $3,608         $3,203          $2,059         $277,249
2016-11           $6,811        $3,608         $3,203          $2,051         $279,300
2016-12           $6,811        $3,608         $3,203          $2,044         $281,344
2017-01           $6,811        $3,899         $2,912          $1,851         $283,196
2017-02           $6,811        $3,899         $2,912          $1,845         $285,041
2017-03           $6,811        $3,899         $2,912          $1,838         $286,879
2017-04           $6,811        $3,899         $2,912          $1,832         $288,711
2017-05           $7,121        $3,899         $3,221          $2,020         $290,730
2017-06           $7,121        $3,899         $3,221          $2,012         $292,742
2017-07           $7,121        $3,899         $3,221          $2,005         $294,747
2017-08           $7,121        $3,899         $3,221          $1,998         $296,745
2017-09           $7,121        $3,899         $3,221          $1,991         $298,736
2017-10           $7,121        $3,899         $3,221          $1,983         $300,719
2017-11           $7,320        $3,899         $3,421          $2,098         $302,818
2017-12           $7,320        $3,899         $3,421          $2,091         $304,908
2018-01           $7,320        $2,912         $4,409          $2,685         $307,593
2018-02           $7,320        $2,912         $4,409          $2,675         $310,267
2018-03           $7,320        $2,912         $4,409          $2,665         $312,932
2018-04           $7,320        $2,912         $4,409          $2,655         $315,587
2018-05           $7,464        $2,912         $4,553          $2,732         $318,319
2018-06           $7,687        $2,912         $4,776          $2,855         $321,174
2018-07           $7,687        $2,912         $4,776          $2,844         $324,019
2018-08           $7,687        $2,912         $4,776          $2,834         $326,853
2018-09           $7,687        $2,912         $4,776          $2,823         $329,676
2018-10           $7,687        $2,912         $4,776          $2,813         $332,488
2018-11           $7,687        $2,912         $4,776          $2,802         $335,290
2018-12           $7,687        $2,912         $4,776          $2,791         $338,081
2019-01           $7,687        $4,813         $2,874          $1,673         $339,755
2019-02           $7,841        $4,813         $3,028          $1,756         $341,511
2019-03           $7,841        $4,813         $3,028          $1,749         $343,261
2019-04           $7,841        $4,813         $3,028          $1,743         $345,003
2019-05           $7,841        $4,813         $3,028          $1,736         $346,739
2019-06           $7,841        $4,813         $3,028          $1,729         $348,469
2019-07           $7,841        $4,813         $3,028          $1,723         $350,191




                                                                                Exhibit A to
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                                    Exhibit A --
                             Monthly Backpay Damages

          Counterfactual                                  Monthly
                           Monthly       Monthly                         Cumulative
 Month      Monthly                                     Damages with
                           Mitigation    Damages                          Damages
             Earnings                                     Attrition
2019-08           $7,841        $4,813         $3,028          $1,716         $351,907
2019-09           $7,841        $4,813         $3,028          $1,709         $353,616
2019-10           $7,841        $4,813         $3,028          $1,702         $355,318
2019-11           $8,292        $4,813         $3,479          $1,948         $357,266
2019-12           $8,292        $4,813         $3,479          $1,940         $359,207
2020-01           $8,292        $4,909         $3,382          $1,879         $361,086
2020-02           $8,292        $4,909         $3,382          $1,872         $362,958
2020-03           $8,292        $4,909         $3,382          $1,864         $364,822
2020-04           $8,292        $4,909         $3,382          $1,857         $366,679
2020-05           $8,499        $4,909         $3,590          $1,963         $368,642
2020-06           $8,499        $4,909         $3,590          $1,955         $370,596
2020-07           $8,499        $4,909         $3,590          $1,947         $372,543
2020-08           $8,499        $4,909         $3,590          $1,939         $374,482
2020-09           $8,499        $4,909         $3,590          $1,931         $376,413
2020-10           $8,499        $4,909         $3,590          $1,923         $378,337
2020-11           $8,499        $4,909         $3,590          $1,915         $380,252
2020-12           $8,499        $4,909         $3,590          $1,908         $382,159
2021-01           $8,499        $5,007         $3,492          $1,848         $384,007
2021-02           $8,499        $5,007         $3,492          $1,840         $385,847
2021-03           $8,499        $5,007         $3,492          $1,833         $387,680
2021-04           $8,499        $5,007         $3,492          $1,825         $389,505
2021-05           $8,500        $5,007         $3,493          $1,818         $391,323
2021-06           $8,501        $5,007         $3,494          $1,811         $393,133
2021-07           $8,502        $5,007         $3,495          $1,803         $394,937




                                                                                Exhibit A to
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                               Exhibit A --
                        Monthly Backpay Damages


                                                    Car
                          Attrition   Month
                                                  Attrition

                             1.000    2003-01        0.000
                             1.000    2003-02        0.000
                             1.000    2003-03        0.000
                             1.000    2003-04        0.000
                             1.000    2003-05        0.000
                             1.000    2003-06        0.000
                             1.000    2003-07        0.000
                             1.000    2003-08        0.000
                             1.000    2003-09        1.000
                             1.000    2003-10        1.000
                             1.000    2003-11        1.000
                             1.000    2003-12        1.000
                             1.000    2004-01        1.000
                             1.000    2004-02        1.000
                             1.000    2004-03        1.000
                             1.000    2004-04        1.000
                             1.000    2004-05        1.000
                             1.000    2004-06        1.000
                             1.000    2004-07        1.000
                             1.000    2004-08        1.000
                             0.997    2004-09        0.000
                             0.994    2004-10        0.000
                             0.991    2004-11        0.000
                             0.989    2004-12        0.000
                             0.986    2005-01        0.000
                             0.983    2005-02        0.000
                             0.980    2005-03        0.000
                             0.978    2005-04        0.000
                             0.975    2005-05        0.000
                             0.972    2005-06        0.000
                             0.969    2005-07        0.000
                             0.967    2005-08        0.000
                             0.964    2005-09        0.000
                             0.961    2005-10        0.000
                             0.959    2005-11        0.000
                             0.956    2005-12        0.000
                             0.953    2006-01        0.000
                             0.951    2006-02        0.000
                             0.948    2006-03        0.000




                                                                               Exhibit A to
                                                              R. Johnson's Findings of Fact
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                               Exhibit A --
                        Monthly Backpay Damages


                                                    Car
                          Attrition   Month
                                                  Attrition

                             0.945    2006-04        0.000
                             0.943    2006-05        0.000
                             0.940    2006-06        0.000
                             0.937    2006-07        0.000
                             0.935    2006-08        0.000
                             0.932    2006-09        0.000
                             0.930    2006-10        0.000
                             0.927    2006-11        0.000
                             0.924    2006-12        0.000
                             0.922    2007-01        0.000
                             0.919    2007-02        0.000
                             0.917    2007-03        0.000
                             0.914    2007-04        0.000
                             0.912    2007-05        0.000
                             0.909    2007-06        0.000
                             0.907    2007-07        0.000
                             0.904    2007-08        0.000
                             0.902    2007-09        0.000
                             0.899    2007-10        0.000
                             0.897    2007-11        0.000
                             0.894    2007-12        0.000
                             0.892    2008-01        0.000
                             0.889    2008-02        0.000
                             0.886    2008-03        0.000
                             0.884    2008-04        0.000
                             0.881    2008-05        0.000
                             0.879    2008-06        0.000
                             0.876    2008-07        0.000
                             0.874    2008-08        0.000
                             0.871    2008-09        0.000
                             0.869    2008-10        0.000
                             0.866    2008-11        0.000
                             0.864    2008-12        0.000
                             0.861    2009-01        0.000
                             0.859    2009-02        0.000
                             0.856    2009-03        0.000
                             0.854    2009-04        0.000
                             0.851    2009-05        0.000
                             0.849    2009-06        0.000
                             0.846    2009-07        0.000




                                                                               Exhibit A to
                                                              R. Johnson's Findings of Fact
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                               Exhibit A --
                        Monthly Backpay Damages


                                                    Car
                          Attrition   Month
                                                  Attrition

                             0.844    2009-08        0.000
                             0.842    2009-09        0.000
                             0.839    2009-10        0.000
                             0.837    2009-11        0.837
                             0.834    2009-12        0.834
                             0.832    2010-01        0.832
                             0.829    2010-02        0.829
                             0.827    2010-03        0.827
                             0.825    2010-04        0.825
                             0.822    2010-05        0.822
                             0.820    2010-06        0.820
                             0.817    2010-07        0.817
                             0.815    2010-08        0.815
                             0.812    2010-09        0.812
                             0.810    2010-10        0.810
                             0.808    2010-11        0.808
                             0.805    2010-12        0.805
                             0.803    2011-01        0.803
                             0.801    2011-02        0.801
                             0.798    2011-03        0.798
                             0.796    2011-04        0.796
                             0.793    2011-05        0.793
                             0.791    2011-06        0.791
                             0.789    2011-07        0.789
                             0.786    2011-08        0.786
                             0.784    2011-09        0.784
                             0.781    2011-10        0.781
                             0.779    2011-11        0.779
                             0.777    2011-12        0.777
                             0.774    2012-01        0.774
                             0.772    2012-02        0.772
                             0.770    2012-03        0.770
                             0.767    2012-04        0.767
                             0.765    2012-05        0.765
                             0.763    2012-06        0.763
                             0.760    2012-07        0.760
                             0.758    2012-08        0.758
                             0.755    2012-09        0.755
                             0.753    2012-10        0.753
                             0.751    2012-11        0.751




                                                                               Exhibit A to
                                                              R. Johnson's Findings of Fact
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                               Exhibit A --
                        Monthly Backpay Damages


                                                    Car
                          Attrition   Month
                                                  Attrition

                             0.748    2012-12        0.748
                             0.746    2013-01        0.746
                             0.744    2013-02        0.744
                             0.741    2013-03        0.741
                             0.739    2013-04        0.739
                             0.737    2013-05        0.737
                             0.734    2013-06        0.734
                             0.732    2013-07        0.732
                             0.730    2013-08        0.730
                             0.727    2013-09        0.727
                             0.725    2013-10        0.725
                             0.723    2013-11        0.723
                             0.720    2013-12        0.720
                             0.718    2014-01        0.718
                             0.716    2014-02        0.716
                             0.714    2014-03        0.714
                             0.711    2014-04        0.711
                             0.709    2014-05        0.709
                             0.707    2014-06        0.707
                             0.704    2014-07        0.704
                             0.702    2014-08        0.702
                             0.700    2014-09        0.700
                             0.697    2014-10        0.697
                             0.695    2014-11        0.695
                             0.693    2014-12        0.693
                             0.690    2015-01        0.690
                             0.688    2015-02        0.688
                             0.686    2015-03        0.686
                             0.684    2015-04        0.684
                             0.681    2015-05        0.681
                             0.679    2015-06        0.679
                             0.677    2015-07        0.677
                             0.675    2015-08        0.675
                             0.672    2015-09        0.672
                             0.670    2015-10        0.670
                             0.668    2015-11        0.668
                             0.665    2015-12        0.665
                             0.663    2016-01        0.663
                             0.661    2016-02        0.661
                             0.659    2016-03        0.659




                                                                               Exhibit A to
                                                              R. Johnson's Findings of Fact
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                               Exhibit A --
                        Monthly Backpay Damages


                                                    Car
                          Attrition   Month
                                                  Attrition

                             0.656    2016-04        0.656
                             0.654    2016-05        0.654
                             0.652    2016-06        0.652
                             0.649    2016-07        0.649
                             0.647    2016-08        0.647
                             0.645    2016-09        0.645
                             0.643    2016-10        0.643
                             0.640    2016-11        0.640
                             0.638    2016-12        0.638
                             0.636    2017-01        0.636
                             0.634    2017-02        0.634
                             0.631    2017-03        0.631
                             0.629    2017-04        0.629
                             0.627    2017-05        0.627
                             0.625    2017-06        0.625
                             0.622    2017-07        0.622
                             0.620    2017-08        0.620
                             0.618    2017-09        0.618
                             0.616    2017-10        0.616
                             0.613    2017-11        0.613
                             0.611    2017-12        0.611
                             0.609    2018-01        0.609
                             0.607    2018-02        0.607
                             0.604    2018-03        0.604
                             0.602    2018-04        0.602
                             0.600    2018-05        0.600
                             0.598    2018-06        0.598
                             0.596    2018-07        0.596
                             0.593    2018-08        0.593
                             0.591    2018-09        0.591
                             0.589    2018-10        0.589
                             0.587    2018-11        0.587
                             0.584    2018-12        0.584
                             0.582    2019-01        0.582
                             0.580    2019-02        0.580
                             0.578    2019-03        0.578
                             0.576    2019-04        0.576
                             0.573    2019-05        0.573
                             0.571    2019-06        0.571
                             0.569    2019-07        0.569




                                                                               Exhibit A to
                                                              R. Johnson's Findings of Fact
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                               Exhibit A --
                        Monthly Backpay Damages


                                                    Car
                          Attrition   Month
                                                  Attrition

                             0.567    2019-08        0.567
                             0.564    2019-09        0.564
                             0.562    2019-10        0.562
                             0.560    2019-11        0.560
                             0.558    2019-12        0.558
                             0.556    2020-01        0.556
                             0.553    2020-02        0.553
                             0.551    2020-03        0.551
                             0.549    2020-04        0.549
                             0.547    2020-05        0.547
                             0.545    2020-06        0.545
                             0.542    2020-07        0.542
                             0.540    2020-08        0.540
                             0.538    2020-09        0.538
                             0.536    2020-10        0.536    102.254
                             0.534    2020-11        0.534
                             0.531    2020-12        0.531
                             0.529    2021-01        0.529
                             0.527    2021-02        0.527
                             0.525    2021-03        0.525
                             0.523    2021-04        0.523
                             0.520    2021-05        0.520
                             0.518    2021-06        0.518
                             0.516    2021-07
                                                   106.461




                                                                               Exhibit A to
                                                              R. Johnson's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2003-01     Regularly Appointed Teacher               $40,720
          2003-02     Regularly Appointed Teacher               $40,720
          2003-03     Regularly Appointed Teacher               $41,255
          2003-04     Regularly Appointed Teacher               $41,255
          2003-05     Regularly Appointed Teacher               $41,255
          2003-06     Regularly Appointed Teacher               $41,255
          2003-07     Regularly Appointed Teacher               $41,255
          2003-08     Regularly Appointed Teacher               $41,255
          2003-09     Regularly Appointed Teacher               $41,255
          2003-10     Regularly Appointed Teacher               $41,255
          2003-11     Regularly Appointed Teacher               $41,255
          2003-12     Regularly Appointed Teacher               $42,080
          2004-01     Regularly Appointed Teacher               $42,852
          2004-02     Regularly Appointed Teacher               $42,852
          2004-03     Regularly Appointed Teacher               $43,999
          2004-04     Regularly Appointed Teacher               $43,999
          2004-05     Regularly Appointed Teacher               $43,999
          2004-06     Regularly Appointed Teacher               $43,999
          2004-07     Regularly Appointed Teacher               $43,999
          2004-08     Regularly Appointed Teacher               $48,881
          2004-09     Regularly Appointed Teacher / LWOP        $48,881
          2004-10     Regularly Appointed Teacher / LWOP        $48,881
          2004-11     Regularly Appointed Teacher / LWOP        $48,881
          2004-12     Regularly Appointed Teacher / LWOP        $50,592
          2005-01     Regularly Appointed Teacher / LWOP        $50,592
          2005-02     Regularly Appointed Teacher / LWOP        $50,592
          2005-03     Regularly Appointed Teacher / LWOP        $50,592
          2005-04     Regularly Appointed Teacher / LWOP        $50,592
          2005-05     Regularly Appointed Teacher / LWOP        $50,592
          2005-06     Regularly Appointed Teacher / LWOP        $50,592
          2005-07     Regularly Appointed Teacher / LWOP        $50,592
          2005-08     Regularly Appointed Teacher / LWOP        $50,592
          2005-09     Regularly Appointed Teacher / LWOP        $50,592
          2005-10     Regularly Appointed Teacher / LWOP        $50,592
          2005-11     Regularly Appointed Teacher / LWOP        $53,375
          2005-12     Regularly Appointed Teacher / LWOP        $53,375
          2006-01     Regularly Appointed Teacher / LWOP        $53,375
          2006-02     Regularly Appointed Teacher / LWOP        $53,375
          2006-03     Regularly Appointed Teacher / LWOP        $53,375




                                                                                     Exhibit B to
                                                                    R. Johnson's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2006-04     Regularly Appointed Teacher / LWOP        $53,375
          2006-05     Regularly Appointed Teacher / LWOP        $53,375
          2006-06     Regularly Appointed Teacher / LWOP        $53,375
          2006-07     Regularly Appointed Teacher / LWOP        $53,375
          2006-08     Regularly Appointed Teacher / LWOP        $53,375
          2006-09     Regularly Appointed Teacher / LWOP        $53,375
          2006-10     Regularly Appointed Teacher / LWOP        $55,110
          2006-11     Regularly Appointed Teacher / LWOP        $55,110
          2006-12     Regularly Appointed Teacher / LWOP        $55,110
          2007-01     Regularly Appointed Teacher / LWOP        $55,110
          2007-02     Regularly Appointed Teacher / LWOP        $55,110
          2007-03     Regularly Appointed Teacher / LWOP        $55,110
          2007-04     Regularly Appointed Teacher / LWOP        $55,110
          2007-05     Regularly Appointed Teacher / LWOP        $55,110
          2007-06     Regularly Appointed Teacher / LWOP        $55,110
          2007-07     Regularly Appointed Teacher / LWOP        $55,110
          2007-08     Regularly Appointed Teacher / LWOP        $55,110
          2007-09     Regularly Appointed Teacher / LWOP        $55,110
          2007-10     Regularly Appointed Teacher / LWOP        $56,212
          2007-11     Regularly Appointed Teacher / LWOP        $56,212
          2007-12     Regularly Appointed Teacher / LWOP        $56,212
          2008-01     Regularly Appointed Teacher / LWOP        $56,212
          2008-02     Regularly Appointed Teacher / LWOP        $56,212
          2008-03     Regularly Appointed Teacher / LWOP        $56,212
          2008-04     Regularly Appointed Teacher / LWOP        $56,212
          2008-05     Regularly Appointed Teacher / LWOP        $60,023
          2008-06     Regularly Appointed Teacher / LWOP        $60,023
          2008-07     Regularly Appointed Teacher / LWOP        $60,023
          2008-08     Regularly Appointed Teacher / LWOP        $60,023
          2008-09     Regularly Appointed Teacher / LWOP        $60,023
          2008-10     Regularly Appointed Teacher / LWOP        $60,023
          2008-11     Regularly Appointed Teacher / LWOP        $60,023
          2008-12     Regularly Appointed Teacher / LWOP        $60,023
          2009-01     Regularly Appointed Teacher / LWOP        $60,023
          2009-02     Regularly Appointed Teacher / LWOP        $60,023
          2009-03     Regularly Appointed Teacher / LWOP        $60,023
          2009-04     Regularly Appointed Teacher / LWOP        $60,023
          2009-05     Regularly Appointed Teacher / LWOP        $60,023
          2009-06     Regularly Appointed Teacher / LWOP        $60,023
          2009-07     Regularly Appointed Teacher / LWOP        $60,023




                                                                                     Exhibit B to
                                                                    R. Johnson's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2009-08     Regularly Appointed Teacher / LWOP        $60,317
          2009-09     Regularly Appointed Teacher / LWOP        $60,317
          2009-10     Regularly Appointed Teacher / LWOP        $60,317
          2009-11     Regularly Appointed Teacher               $63,559
          2009-12     Regularly Appointed Teacher               $63,559
          2010-01     Regularly Appointed Teacher               $63,559
          2010-02     Regularly Appointed Teacher               $63,559
          2010-03     Regularly Appointed Teacher               $63,559
          2010-04     Regularly Appointed Teacher               $63,559
          2010-05     Regularly Appointed Teacher               $68,303
          2010-06     Regularly Appointed Teacher               $68,303
          2010-07     Regularly Appointed Teacher               $68,303
          2010-08     Regularly Appointed Teacher               $68,303
          2010-09     Regularly Appointed Teacher               $68,303
          2010-10     Regularly Appointed Teacher               $68,303
          2010-11     Regularly Appointed Teacher               $68,303
          2010-12     Regularly Appointed Teacher               $68,303
          2011-01     Regularly Appointed Teacher               $68,458
          2011-02     Regularly Appointed Teacher               $68,458
          2011-03     Regularly Appointed Teacher               $72,060
          2011-04     Regularly Appointed Teacher               $72,060
          2011-05     Regularly Appointed Teacher               $72,060
          2011-06     Regularly Appointed Teacher               $72,060
          2011-07     Regularly Appointed Teacher               $72,060
          2011-08     Regularly Appointed Teacher               $72,060
          2011-09     Regularly Appointed Teacher               $72,060
          2011-10     Regularly Appointed Teacher               $72,060
          2011-11     Regularly Appointed Teacher               $72,060
          2011-12     Regularly Appointed Teacher               $72,060
          2012-01     Regularly Appointed Teacher               $72,060
          2012-02     Regularly Appointed Teacher               $72,060
          2012-03     Regularly Appointed Teacher               $72,060
          2012-04     Regularly Appointed Teacher               $72,060
          2012-05     Regularly Appointed Teacher               $72,060
          2012-06     Regularly Appointed Teacher               $72,060
          2012-07     Regularly Appointed Teacher               $72,060
          2012-08     Regularly Appointed Teacher               $72,060
          2012-09     Regularly Appointed Teacher               $72,060
          2012-10     Regularly Appointed Teacher               $72,060
          2012-11     Regularly Appointed Teacher               $72,060




                                                                                     Exhibit B to
                                                                    R. Johnson's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2012-12     Regularly Appointed Teacher               $72,060
          2013-01     Regularly Appointed Teacher               $72,060
          2013-02     Regularly Appointed Teacher               $72,060
          2013-03     Regularly Appointed Teacher               $72,060
          2013-04     Regularly Appointed Teacher               $72,060
          2013-05     Regularly Appointed Teacher               $72,781
          2013-06     Regularly Appointed Teacher               $72,781
          2013-07     Regularly Appointed Teacher               $72,781
          2013-08     Regularly Appointed Teacher               $72,781
          2013-09     Regularly Appointed Teacher               $72,781
          2013-10     Regularly Appointed Teacher               $72,781
          2013-11     Regularly Appointed Teacher               $72,781
          2013-12     Regularly Appointed Teacher               $72,781
          2014-01     Regularly Appointed Teacher               $72,781
          2014-02     Regularly Appointed Teacher               $72,781
          2014-03     Regularly Appointed Teacher               $72,781
          2014-04     Regularly Appointed Teacher               $72,781
          2014-05     Regularly Appointed Teacher               $73,509
          2014-06     Regularly Appointed Teacher               $73,509
          2014-07     Regularly Appointed Teacher               $73,509
          2014-08     Regularly Appointed Teacher               $73,509
          2014-09     Regularly Appointed Teacher               $73,509
          2014-10     Regularly Appointed Teacher               $73,509
          2014-11     Regularly Appointed Teacher               $76,660
          2014-12     Regularly Appointed Teacher               $76,660
          2015-01     Regularly Appointed Teacher               $76,660
          2015-02     Regularly Appointed Teacher               $76,660
          2015-03     Regularly Appointed Teacher               $76,660
          2015-04     Regularly Appointed Teacher               $76,660
          2015-05     Regularly Appointed Teacher               $78,975
          2015-06     Regularly Appointed Teacher               $78,975
          2015-07     Regularly Appointed Teacher               $78,975
          2015-08     Regularly Appointed Teacher               $78,975
          2015-09     Regularly Appointed Teacher               $78,975
          2015-10     Regularly Appointed Teacher               $78,975
          2015-11     Regularly Appointed Teacher               $78,975
          2015-12     Regularly Appointed Teacher               $78,975
          2016-01     Regularly Appointed Teacher               $78,975
          2016-02     Regularly Appointed Teacher               $78,975
          2016-03     Regularly Appointed Teacher               $78,975




                                                                                     Exhibit B to
                                                                    R. Johnson's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2016-04     Regularly Appointed Teacher               $78,975
          2016-05     Regularly Appointed Teacher               $81,731
          2016-06     Regularly Appointed Teacher               $81,731
          2016-07     Regularly Appointed Teacher               $81,731
          2016-08     Regularly Appointed Teacher               $81,731
          2016-09     Regularly Appointed Teacher               $81,731
          2016-10     Regularly Appointed Teacher               $81,731
          2016-11     Regularly Appointed Teacher               $81,731
          2016-12     Regularly Appointed Teacher               $81,731
          2017-01     Regularly Appointed Teacher               $81,731
          2017-02     Regularly Appointed Teacher               $81,731
          2017-03     Regularly Appointed Teacher               $81,731
          2017-04     Regularly Appointed Teacher               $81,731
          2017-05     Regularly Appointed Teacher               $85,449
          2017-06     Regularly Appointed Teacher               $85,449
          2017-07     Regularly Appointed Teacher               $85,449
          2017-08     Regularly Appointed Teacher               $85,449
          2017-09     Regularly Appointed Teacher               $85,449




                                                                                     Exhibit B to
                                                                    R. Johnson's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : ROSLYN
                                                                       : MATTHEWS
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Roslyn Matthews (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on December 10, 2020, with respect to Ms.
Matthews’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Roslyn
Matthews, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Roslyn Matthews (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Matthews will have
judgment against the BOE as follows:

   1. Backpay in the amount of $109,276;

   2. Tax-component award in the amount of $12,840;

   3. LAST Fees in the amount of $160;

   4. CAR Day award in the amount of $2,588;

   5. Pre-judgment interest calculated to be $17,812; and

   6. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Matthews will be
entitled to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Matthews’s counterfactual monthly service history, as listed on
          Exhibit B to the Findings of Fact and Conclusions of Law for Roslyn Matthews; and

       c. Grant Ms. Matthews retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : ROSLYN
THE BOARD OF EDUCATION OF THE CITY SCHOOL : MATTHEWS
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Roslyn Matthews:

    1. Class Membership. Ms. Matthews is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Matthews would have been appointed
                as a regularly appointed teacher in November 2004. The Special Master also
                finds, and the Court agrees, that Ms. Matthews is eligible to accrue backpay
                damages beginning September 2003.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Matthews would have worked as a
                regularly appointed teacher until June 1, 2020, Ms. Matthews accrues backpay
                damages through the date of judgment, and Ms. Matthews’s backpay damages
                should be reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Matthews’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Matthews’s monthly backpay damages are as listed in the column
          entitled Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Matthews has satisfied her burden of establishing her entitlement
   to the following monetary relief:

       a. Backpay in the amount of $109,276;

       b. A tax-component award in the amount of $12,840;

       c. $160 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. CAR Day damages in the amount of $2,588; and

       e. Pre-judgment interest in the amount of $17,812.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Matthews has satisfied her burden of establishing her
   entitlement to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Matthews’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Matthews should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Matthews (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

              i.    Date of Birth —             1967

              ii.   Gender — Female

              iii. Address —                             Flushing, NY 11367

              iv. Counterfactual date of appointment as a regularly appointed teacher —
                  November 10, 2004

              v.    BOE Employment Title — As listed in column entitled Title on Exhibit B



                                            2
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               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — September 1, 2007 through March
                     31, 2020

               ix. Termination of regularly appointed teacher service (if any) — June 1,
                   2020

               x.   Retirement date (if any) — N/A

DATED: November 23, 2021




                                           3
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2003-09             $3,085         $1,208         $1,877          $1,877           $1,877
2003-10             $3,085         $1,208         $1,877          $1,867           $3,744
2003-11             $3,085         $1,208         $1,877          $1,859           $5,603
2003-12             $3,209         $1,208         $2,002          $1,974           $7,577
2004-01             $3,209         $1,513         $1,697          $1,665           $9,242
2004-02             $3,209         $1,513         $1,697          $1,659          $10,900
2004-03             $3,209         $1,513         $1,697          $1,652          $12,552
2004-04             $3,209         $1,513         $1,697          $1,645          $14,198
2004-05             $3,209         $1,513         $1,697          $1,639          $15,837
2004-06             $3,209         $1,513         $1,697          $1,632          $17,469
2004-07             $3,209         $1,513         $1,697          $1,626          $19,095
2004-08             $3,209         $1,513         $1,697          $1,620          $20,715
2004-09             $3,209         $1,513         $1,697          $1,614          $22,329
2004-10             $3,209         $1,513         $1,697          $1,608          $23,936
2004-11             $3,343         $1,513         $1,830          $1,727          $25,663
2004-12             $3,488         $1,513         $1,975          $1,858          $27,521
2005-01             $3,488         $2,145         $1,343          $1,258          $28,779
2005-02             $3,488         $2,145         $1,343          $1,254          $30,033
2005-03             $3,488         $2,145         $1,343          $1,249          $31,282
2005-04             $3,488         $2,145         $1,343          $1,244          $32,526
2005-05             $3,488         $2,145         $1,343          $1,240          $33,766
2005-06             $3,488         $2,145         $1,343          $1,235          $35,001
2005-07             $3,488         $2,145         $1,343          $1,230          $36,232
2005-08             $3,488         $2,145         $1,343          $1,226          $37,458
2005-09             $3,488         $2,145         $1,343          $1,221          $38,679
2005-10             $3,488         $2,145         $1,343          $1,217          $39,896
2005-11             $3,680         $2,145         $1,535          $1,386          $41,281
2005-12             $3,734         $2,145         $1,588          $1,429          $42,710
2006-01             $3,734         $1,998         $1,736          $1,555          $44,265
2006-02             $3,734         $1,998         $1,736          $1,550          $45,815
2006-03             $3,734         $1,998         $1,736          $1,544          $47,359
2006-04             $3,734         $1,998         $1,736          $1,538          $48,897
2006-05             $3,734         $1,998         $1,736          $1,532          $50,429
2006-06             $4,178         $1,998         $2,180          $1,917          $52,347
2006-07             $4,178         $1,998         $2,180          $1,910          $54,257
2006-08             $4,178         $1,998         $2,180          $1,903          $56,160
2006-09             $4,178         $1,998         $2,180          $1,896          $58,056
2006-10             $4,314         $1,998         $2,316          $2,007          $60,063
2006-11             $4,314         $1,998         $2,316          $1,999          $62,062
2006-12             $4,361         $1,998         $2,363          $2,033          $64,095
2007-01             $4,361         $1,453         $2,909          $2,492          $66,587
2007-02             $4,361         $1,453         $2,909          $2,483          $69,070
2007-03             $4,361         $1,453         $2,909          $2,474          $71,544


                                                                                 Exhibit A to
                                                               R. Matthews's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2007-04             $4,361         $1,453         $2,909          $2,465          $74,009
2007-05             $4,361         $1,453         $2,909          $2,455          $76,464
2007-06             $4,361         $1,453         $2,909          $2,446          $78,911
2007-07             $4,361         $1,453         $2,909          $2,437          $81,348
2007-08             $4,361         $1,453         $2,909          $2,428          $83,776
2007-09                 $0             $0             $0              $0          $83,776
2007-10                 $0             $0             $0              $0          $83,776
2007-11                 $0             $0             $0              $0          $83,776
2007-12                 $0             $0             $0              $0          $83,776
2008-01                 $0             $0             $0              $0          $83,776
2008-02                 $0             $0             $0              $0          $83,776
2008-03                 $0             $0             $0              $0          $83,776
2008-04                 $0             $0             $0              $0          $83,776
2008-05                 $0             $0             $0              $0          $83,776
2008-06                 $0             $0             $0              $0          $83,776
2008-07                 $0             $0             $0              $0          $83,776
2008-08                 $0             $0             $0              $0          $83,776
2008-09                 $0             $0             $0              $0          $83,776
2008-10                 $0             $0             $0              $0          $83,776
2008-11                 $0             $0             $0              $0          $83,776
2008-12                 $0             $0             $0              $0          $83,776
2009-01                 $0             $0             $0              $0          $83,776
2009-02                 $0             $0             $0              $0          $83,776
2009-03                 $0             $0             $0              $0          $83,776
2009-04                 $0             $0             $0              $0          $83,776
2009-05                 $0             $0             $0              $0          $83,776
2009-06                 $0             $0             $0              $0          $83,776
2009-07                 $0             $0             $0              $0          $83,776
2009-08                 $0             $0             $0              $0          $83,776
2009-09                 $0             $0             $0              $0          $83,776
2009-10                 $0             $0             $0              $0          $83,776
2009-11                 $0             $0             $0              $0          $83,776
2009-12                 $0             $0             $0              $0          $83,776
2010-01                 $0             $0             $0              $0          $83,776
2010-02                 $0             $0             $0              $0          $83,776
2010-03                 $0             $0             $0              $0          $83,776
2010-04                 $0             $0             $0              $0          $83,776
2010-05                 $0             $0             $0              $0          $83,776
2010-06                 $0             $0             $0              $0          $83,776
2010-07                 $0             $0             $0              $0          $83,776
2010-08                 $0             $0             $0              $0          $83,776
2010-09                 $0             $0             $0              $0          $83,776
2010-10                 $0             $0             $0              $0          $83,776


                                                                                 Exhibit A to
                                                               R. Matthews's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                                Monthly
           Counterfactual    Monthly           Monthly                         Cumulative
Month                                                         Damages with
          Monthly Earnings   Mitigation        Damages                          Damages
                                                                Attrition
2010-11                 $0                $0             $0              $0          $83,776
2010-12                 $0                $0             $0              $0          $83,776
2011-01                 $0                $0             $0              $0          $83,776
2011-02                 $0                $0             $0              $0          $83,776
2011-03                 $0                $0             $0              $0          $83,776
2011-04                 $0                $0             $0              $0          $83,776
2011-05                 $0                $0             $0              $0          $83,776
2011-06                 $0                $0             $0              $0          $83,776
2011-07                 $0                $0             $0              $0          $83,776
2011-08                 $0                $0             $0              $0          $83,776
2011-09                 $0                $0             $0              $0          $83,776
2011-10                 $0                $0             $0              $0          $83,776
2011-11                 $0                $0             $0              $0          $83,776
2011-12                 $0                $0             $0              $0          $83,776
2012-01                 $0                $0             $0              $0          $83,776
2012-02                 $0                $0             $0              $0          $83,776
2012-03                 $0                $0             $0              $0          $83,776
2012-04                 $0                $0             $0              $0          $83,776
2012-05                 $0                $0             $0              $0          $83,776
2012-06                 $0                $0             $0              $0          $83,776
2012-07                 $0                $0             $0              $0          $83,776
2012-08                 $0                $0             $0              $0          $83,776
2012-09                 $0                $0             $0              $0          $83,776
2012-10                 $0                $0             $0              $0          $83,776
2012-11                 $0                $0             $0              $0          $83,776
2012-12                 $0                $0             $0              $0          $83,776
2013-01                 $0                $0             $0              $0          $83,776
2013-02                 $0                $0             $0              $0          $83,776
2013-03                 $0                $0             $0              $0          $83,776
2013-04                 $0                $0             $0              $0          $83,776
2013-05                 $0                $0             $0              $0          $83,776
2013-06                 $0                $0             $0              $0          $83,776
2013-07                 $0                $0             $0              $0          $83,776
2013-08                 $0                $0             $0              $0          $83,776
2013-09                 $0                $0             $0              $0          $83,776
2013-10                 $0                $0             $0              $0          $83,776
2013-11                 $0                $0             $0              $0          $83,776
2013-12                 $0                $0             $0              $0          $83,776
2014-01                 $0                $0             $0              $0          $83,776
2014-02                 $0                $0             $0              $0          $83,776
2014-03                 $0                $0             $0              $0          $83,776
2014-04                 $0                $0             $0              $0          $83,776
2014-05                 $0                $0             $0              $0          $83,776


                                                                                    Exhibit A to
                                                                  R. Matthews's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                                Monthly
           Counterfactual    Monthly           Monthly                         Cumulative
Month                                                         Damages with
          Monthly Earnings   Mitigation        Damages                          Damages
                                                                Attrition
2014-06                 $0                $0             $0              $0          $83,776
2014-07                 $0                $0             $0              $0          $83,776
2014-08                 $0                $0             $0              $0          $83,776
2014-09                 $0                $0             $0              $0          $83,776
2014-10                 $0                $0             $0              $0          $83,776
2014-11                 $0                $0             $0              $0          $83,776
2014-12                 $0                $0             $0              $0          $83,776
2015-01                 $0                $0             $0              $0          $83,776
2015-02                 $0                $0             $0              $0          $83,776
2015-03                 $0                $0             $0              $0          $83,776
2015-04                 $0                $0             $0              $0          $83,776
2015-05                 $0                $0             $0              $0          $83,776
2015-06                 $0                $0             $0              $0          $83,776
2015-07                 $0                $0             $0              $0          $83,776
2015-08                 $0                $0             $0              $0          $83,776
2015-09                 $0                $0             $0              $0          $83,776
2015-10                 $0                $0             $0              $0          $83,776
2015-11                 $0                $0             $0              $0          $83,776
2015-12                 $0                $0             $0              $0          $83,776
2016-01                 $0                $0             $0              $0          $83,776
2016-02                 $0                $0             $0              $0          $83,776
2016-03                 $0                $0             $0              $0          $83,776
2016-04                 $0                $0             $0              $0          $83,776
2016-05                 $0                $0             $0              $0          $83,776
2016-06                 $0                $0             $0              $0          $83,776
2016-07                 $0                $0             $0              $0          $83,776
2016-08                 $0                $0             $0              $0          $83,776
2016-09                 $0                $0             $0              $0          $83,776
2016-10                 $0                $0             $0              $0          $83,776
2016-11                 $0                $0             $0              $0          $83,776
2016-12                 $0                $0             $0              $0          $83,776
2017-01                 $0                $0             $0              $0          $83,776
2017-02                 $0                $0             $0              $0          $83,776
2017-03                 $0                $0             $0              $0          $83,776
2017-04                 $0                $0             $0              $0          $83,776
2017-05                 $0                $0             $0              $0          $83,776
2017-06                 $0                $0             $0              $0          $83,776
2017-07                 $0                $0             $0              $0          $83,776
2017-08                 $0                $0             $0              $0          $83,776
2017-09                 $0                $0             $0              $0          $83,776
2017-10                 $0                $0             $0              $0          $83,776
2017-11                 $0                $0             $0              $0          $83,776
2017-12                 $0                $0             $0              $0          $83,776


                                                                                    Exhibit A to
                                                                  R. Matthews's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 265 of 299
                                      Exhibit A --
                               Monthly Backpay Damages

                                                             Monthly
           Counterfactual    Monthly         Monthly                        Cumulative
Month                                                      Damages with
          Monthly Earnings   Mitigation      Damages                         Damages
                                                             Attrition
2018-01                 $0             $0             $0              $0          $83,776
2018-02                 $0             $0             $0              $0          $83,776
2018-03                 $0             $0             $0              $0          $83,776
2018-04                 $0             $0             $0              $0          $83,776
2018-05                 $0             $0             $0              $0          $83,776
2018-06                 $0             $0             $0              $0          $83,776
2018-07                 $0             $0             $0              $0          $83,776
2018-08                 $0             $0             $0              $0          $83,776
2018-09                 $0             $0             $0              $0          $83,776
2018-10                 $0             $0             $0              $0          $83,776
2018-11                 $0             $0             $0              $0          $83,776
2018-12                 $0             $0             $0              $0          $83,776
2019-01                 $0             $0             $0              $0          $83,776
2019-02                 $0             $0             $0              $0          $83,776
2019-03                 $0             $0             $0              $0          $83,776
2019-04                 $0             $0             $0              $0          $83,776
2019-05                 $0             $0             $0              $0          $83,776
2019-06                 $0             $0             $0              $0          $83,776
2019-07                 $0             $0             $0              $0          $83,776
2019-08                 $0             $0             $0              $0          $83,776
2019-09                 $0             $0             $0              $0          $83,776
2019-10                 $0             $0             $0              $0          $83,776
2019-11                 $0             $0             $0              $0          $83,776
2019-12                 $0             $0             $0              $0          $83,776
2020-01                 $0             $0             $0              $0          $83,776
2020-02                 $0             $0             $0              $0          $83,776
2020-03                 $0             $0             $0              $0          $83,776
2020-04             $5,689         $1,822         $3,868          $1,552          $85,328
2020-05             $5,831         $1,822         $4,010          $1,599          $86,927
2020-06             $5,831         $1,822         $4,010          $1,588          $88,515
2020-07             $6,004         $1,822         $4,182          $1,645          $90,160
2020-08             $6,004         $1,822         $4,182          $1,634          $91,793
2020-09             $6,004         $1,822         $4,182          $1,623          $93,416
2020-10             $6,004         $1,822         $4,182          $1,611          $95,027
2020-11             $6,004         $1,822         $4,182          $1,600          $96,628
2020-12             $6,004         $1,822         $4,182          $1,589          $98,217
2021-01             $6,004         $1,876         $4,128          $1,557          $99,774
2021-02             $6,004         $1,876         $4,128          $1,546         $101,320
2021-03             $6,101         $1,876         $4,225          $1,571         $102,892
2021-04             $6,101         $1,876         $4,225          $1,560         $104,452
2021-05             $6,284         $1,876         $4,408          $1,616         $106,068
2021-06             $6,284         $1,876         $4,408          $1,604         $107,672
2021-07             $6,284         $1,877         $4,407          $1,604         $109,276


                                                                                 Exhibit A to
                                                               R. Matthews's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

                                                         Monthly
         Counterfactual    Monthly         Monthly                      Cumulative
Month                                                  Damages with
        Monthly Earnings   Mitigation      Damages                       Damages
                                                         Attrition




                                                                             Exhibit A to
                                                           R. Matthews's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2003-09     Regular Substitute Teacher                $37,016
          2003-10     Regular Substitute Teacher                $37,016
          2003-11     Regular Substitute Teacher                $37,016
          2003-12     Regular Substitute Teacher                $38,512
          2004-01     Regular Substitute Teacher                $38,512
          2004-02     Regular Substitute Teacher                $38,512
          2004-03     Regular Substitute Teacher                $38,512
          2004-04     Regular Substitute Teacher                $38,512
          2004-05     Regular Substitute Teacher                $38,512
          2004-06     Regular Substitute Teacher                $38,512
          2004-07     Regular Substitute Teacher                $38,512
          2004-08     Regular Substitute Teacher                $38,512
          2004-09     Regular Substitute Teacher                $38,512
          2004-10     Regular Substitute Teacher                $38,512
          2004-11     Regularly Appointed Teacher               $40,112
          2004-12     Regularly Appointed Teacher               $41,859
          2005-01     Regularly Appointed Teacher               $41,859
          2005-02     Regularly Appointed Teacher               $41,859
          2005-03     Regularly Appointed Teacher               $41,859
          2005-04     Regularly Appointed Teacher               $41,859
          2005-05     Regularly Appointed Teacher               $41,859
          2005-06     Regularly Appointed Teacher               $41,859
          2005-07     Regularly Appointed Teacher               $41,859
          2005-08     Regularly Appointed Teacher               $41,859
          2005-09     Regularly Appointed Teacher               $41,859
          2005-10     Regularly Appointed Teacher               $41,859
          2005-11     Regularly Appointed Teacher               $44,161
          2005-12     Regularly Appointed Teacher               $44,802
          2006-01     Regularly Appointed Teacher               $44,802
          2006-02     Regularly Appointed Teacher               $44,802
          2006-03     Regularly Appointed Teacher               $44,802
          2006-04     Regularly Appointed Teacher               $44,802
          2006-05     Regularly Appointed Teacher               $44,802
          2006-06     Regularly Appointed Teacher               $50,133
          2006-07     Regularly Appointed Teacher               $50,133
          2006-08     Regularly Appointed Teacher               $50,133
          2006-09     Regularly Appointed Teacher               $50,133
          2006-10     Regularly Appointed Teacher               $51,763
          2006-11     Regularly Appointed Teacher               $51,763
          2006-12     Regularly Appointed Teacher               $52,332
          2007-01     Regularly Appointed Teacher               $52,332
          2007-02     Regularly Appointed Teacher               $52,332
          2007-03     Regularly Appointed Teacher               $52,332

                                                                                  Exhibit B to
                                                               R. Matthewss's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2007-04     Regularly Appointed Teacher               $52,332
          2007-05     Regularly Appointed Teacher               $52,332
          2007-06     Regularly Appointed Teacher               $52,332
          2007-07     Regularly Appointed Teacher               $52,332
          2007-08     Regularly Appointed Teacher               $52,332
          2007-09     Regularly Appointed Teacher / LWOP        $52,332
          2007-10     Regularly Appointed Teacher / LWOP        $53,379
          2007-11     Regularly Appointed Teacher / LWOP        $53,379
          2007-12     Regularly Appointed Teacher / LWOP        $53,379
          2008-01     Regularly Appointed Teacher / LWOP        $53,379
          2008-02     Regularly Appointed Teacher / LWOP        $53,379
          2008-03     Regularly Appointed Teacher / LWOP        $53,379
          2008-04     Regularly Appointed Teacher / LWOP        $53,379
          2008-05     Regularly Appointed Teacher / LWOP        $56,048
          2008-06     Regularly Appointed Teacher / LWOP        $56,048
          2008-07     Regularly Appointed Teacher / LWOP        $56,048
          2008-08     Regularly Appointed Teacher / LWOP        $56,048
          2008-09     Regularly Appointed Teacher / LWOP        $56,048
          2008-10     Regularly Appointed Teacher / LWOP        $56,048
          2008-11     Regularly Appointed Teacher / LWOP        $56,048
          2008-12     Regularly Appointed Teacher / LWOP        $56,048
          2009-01     Regularly Appointed Teacher / LWOP        $56,048
          2009-02     Regularly Appointed Teacher / LWOP        $56,048
          2009-03     Regularly Appointed Teacher / LWOP        $56,048
          2009-04     Regularly Appointed Teacher / LWOP        $56,048
          2009-05     Regularly Appointed Teacher / LWOP        $56,048
          2009-06     Regularly Appointed Teacher / LWOP        $56,048
          2009-07     Regularly Appointed Teacher / LWOP        $56,048
          2009-08     Regularly Appointed Teacher / LWOP        $56,048
          2009-09     Regularly Appointed Teacher / LWOP        $56,048
          2009-10     Regularly Appointed Teacher / LWOP        $56,048
          2009-11     Regularly Appointed Teacher / LWOP        $56,048
          2009-12     Regularly Appointed Teacher / LWOP        $56,048
          2010-01     Regularly Appointed Teacher / LWOP        $56,048
          2010-02     Regularly Appointed Teacher / LWOP        $56,048
          2010-03     Regularly Appointed Teacher / LWOP        $56,048
          2010-04     Regularly Appointed Teacher / LWOP        $56,048
          2010-05     Regularly Appointed Teacher / LWOP        $56,048
          2010-06     Regularly Appointed Teacher / LWOP        $56,048
          2010-07     Regularly Appointed Teacher / LWOP        $56,048
          2010-08     Regularly Appointed Teacher / LWOP        $56,048
          2010-09     Regularly Appointed Teacher / LWOP        $56,048
          2010-10     Regularly Appointed Teacher / LWOP        $56,048

                                                                                  Exhibit B to
                                                               R. Matthewss's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2010-11     Regularly Appointed Teacher / LWOP        $56,048
          2010-12     Regularly Appointed Teacher / LWOP        $56,048
          2011-01     Regularly Appointed Teacher / LWOP        $56,048
          2011-02     Regularly Appointed Teacher / LWOP        $56,048
          2011-03     Regularly Appointed Teacher / LWOP        $56,048
          2011-04     Regularly Appointed Teacher / LWOP        $56,048
          2011-05     Regularly Appointed Teacher / LWOP        $56,048
          2011-06     Regularly Appointed Teacher / LWOP        $56,048
          2011-07     Regularly Appointed Teacher / LWOP        $56,048
          2011-08     Regularly Appointed Teacher / LWOP        $56,048
          2011-09     Regularly Appointed Teacher / LWOP        $56,048
          2011-10     Regularly Appointed Teacher / LWOP        $56,048
          2011-11     Regularly Appointed Teacher / LWOP        $56,048
          2011-12     Regularly Appointed Teacher / LWOP        $56,048
          2012-01     Regularly Appointed Teacher / LWOP        $56,048
          2012-02     Regularly Appointed Teacher / LWOP        $56,048
          2012-03     Regularly Appointed Teacher / LWOP        $56,048
          2012-04     Regularly Appointed Teacher / LWOP        $56,048
          2012-05     Regularly Appointed Teacher / LWOP        $56,048
          2012-06     Regularly Appointed Teacher / LWOP        $56,048
          2012-07     Regularly Appointed Teacher / LWOP        $56,048
          2012-08     Regularly Appointed Teacher / LWOP        $56,048
          2012-09     Regularly Appointed Teacher / LWOP        $56,048
          2012-10     Regularly Appointed Teacher / LWOP        $56,048
          2012-11     Regularly Appointed Teacher / LWOP        $56,048
          2012-12     Regularly Appointed Teacher / LWOP        $56,048
          2013-01     Regularly Appointed Teacher / LWOP        $56,048
          2013-02     Regularly Appointed Teacher / LWOP        $56,048
          2013-03     Regularly Appointed Teacher / LWOP        $56,048
          2013-04     Regularly Appointed Teacher / LWOP        $56,048
          2013-05     Regularly Appointed Teacher / LWOP        $56,608
          2013-06     Regularly Appointed Teacher / LWOP        $56,608
          2013-07     Regularly Appointed Teacher / LWOP        $56,608
          2013-08     Regularly Appointed Teacher / LWOP        $56,608
          2013-09     Regularly Appointed Teacher / LWOP        $56,608
          2013-10     Regularly Appointed Teacher / LWOP        $56,608
          2013-11     Regularly Appointed Teacher / LWOP        $56,608
          2013-12     Regularly Appointed Teacher / LWOP        $56,608
          2014-01     Regularly Appointed Teacher / LWOP        $56,608
          2014-02     Regularly Appointed Teacher / LWOP        $56,608
          2014-03     Regularly Appointed Teacher / LWOP        $56,608
          2014-04     Regularly Appointed Teacher / LWOP        $56,608
          2014-05     Regularly Appointed Teacher / LWOP        $57,175

                                                                                  Exhibit B to
                                                               R. Matthewss's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2014-06     Regularly Appointed Teacher / LWOP        $57,175
          2014-07     Regularly Appointed Teacher / LWOP        $57,175
          2014-08     Regularly Appointed Teacher / LWOP        $57,175
          2014-09     Regularly Appointed Teacher / LWOP        $57,175
          2014-10     Regularly Appointed Teacher / LWOP        $57,175
          2014-11     Regularly Appointed Teacher / LWOP        $57,175
          2014-12     Regularly Appointed Teacher / LWOP        $57,175
          2015-01     Regularly Appointed Teacher / LWOP        $57,175
          2015-02     Regularly Appointed Teacher / LWOP        $57,175
          2015-03     Regularly Appointed Teacher / LWOP        $57,175
          2015-04     Regularly Appointed Teacher / LWOP        $57,175
          2015-05     Regularly Appointed Teacher / LWOP        $58,901
          2015-06     Regularly Appointed Teacher / LWOP        $58,901
          2015-07     Regularly Appointed Teacher / LWOP        $58,901
          2015-08     Regularly Appointed Teacher / LWOP        $58,901
          2015-09     Regularly Appointed Teacher / LWOP        $58,901
          2015-10     Regularly Appointed Teacher / LWOP        $58,901
          2015-11     Regularly Appointed Teacher / LWOP        $58,901
          2015-12     Regularly Appointed Teacher / LWOP        $58,901
          2016-01     Regularly Appointed Teacher / LWOP        $58,901
          2016-02     Regularly Appointed Teacher / LWOP        $58,901
          2016-03     Regularly Appointed Teacher / LWOP        $58,901
          2016-04     Regularly Appointed Teacher / LWOP        $58,901
          2016-05     Regularly Appointed Teacher / LWOP        $60,959
          2016-06     Regularly Appointed Teacher / LWOP        $60,959
          2016-07     Regularly Appointed Teacher / LWOP        $60,959
          2016-08     Regularly Appointed Teacher / LWOP        $60,959
          2016-09     Regularly Appointed Teacher / LWOP        $60,959
          2016-10     Regularly Appointed Teacher / LWOP        $60,959
          2016-11     Regularly Appointed Teacher / LWOP        $60,959
          2016-12     Regularly Appointed Teacher / LWOP        $60,959
          2017-01     Regularly Appointed Teacher / LWOP        $60,959
          2017-02     Regularly Appointed Teacher / LWOP        $60,959
          2017-03     Regularly Appointed Teacher / LWOP        $60,959
          2017-04     Regularly Appointed Teacher / LWOP        $60,959
          2017-05     Regularly Appointed Teacher / LWOP        $63,733
          2017-06     Regularly Appointed Teacher / LWOP        $63,733
          2017-07     Regularly Appointed Teacher / LWOP        $63,733
          2017-08     Regularly Appointed Teacher / LWOP        $63,733
          2017-09     Regularly Appointed Teacher / LWOP        $63,733
          2017-10     Regularly Appointed Teacher / LWOP        $63,733
          2017-11     Regularly Appointed Teacher / LWOP        $63,733
          2017-12     Regularly Appointed Teacher / LWOP        $63,733

                                                                                  Exhibit B to
                                                               R. Matthewss's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2018-01     Regularly Appointed Teacher / LWOP        $63,733
          2018-02     Regularly Appointed Teacher / LWOP        $63,733
          2018-03     Regularly Appointed Teacher / LWOP        $63,733
          2018-04     Regularly Appointed Teacher / LWOP        $63,733
          2018-05     Regularly Appointed Teacher / LWOP        $64,982
          2018-06     Regularly Appointed Teacher / LWOP        $66,931
          2018-07     Regularly Appointed Teacher / LWOP        $66,931
          2018-08     Regularly Appointed Teacher / LWOP        $66,931
          2018-09     Regularly Appointed Teacher / LWOP        $66,931
          2018-10     Regularly Appointed Teacher / LWOP        $66,931
          2018-11     Regularly Appointed Teacher / LWOP        $66,931
          2018-12     Regularly Appointed Teacher / LWOP        $66,931
          2019-01     Regularly Appointed Teacher / LWOP        $66,931
          2019-02     Regularly Appointed Teacher / LWOP        $68,270
          2019-03     Regularly Appointed Teacher / LWOP        $68,270
          2019-04     Regularly Appointed Teacher / LWOP        $68,270
          2019-05     Regularly Appointed Teacher / LWOP        $68,270
          2019-06     Regularly Appointed Teacher / LWOP        $68,270
          2019-07     Regularly Appointed Teacher / LWOP        $68,270
          2019-08     Regularly Appointed Teacher / LWOP        $68,270
          2019-09     Regularly Appointed Teacher / LWOP        $68,270
          2019-10     Regularly Appointed Teacher / LWOP        $68,270
          2019-11     Regularly Appointed Teacher / LWOP        $68,270
          2019-12     Regularly Appointed Teacher / LWOP        $68,270
          2020-01     Regularly Appointed Teacher / LWOP        $68,270
          2020-02     Regularly Appointed Teacher / LWOP        $68,270
          2020-03     Regularly Appointed Teacher / LWOP        $68,270
          2020-04     Regularly Appointed Teacher               $68,270
          2020-05     Regularly Appointed Teacher               $69,977




                                                                                  Exhibit B to
                                                               R. Matthewss's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : SHARYN
                                                                       : HUGHES
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Sharyn Hughes (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on November 19, 2020, with respect to Ms.
Hughes’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Sharyn
Hughes, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Sharyn Hughes (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Hughes will have
judgment against the BOE as follows:

   1. Backpay in the amount of $418,422;

   2. Tax-component award in the amount of $49,165;

   3. LAST Fees in the amount of $90;

   4. ASAF account award in the amount of $1,897;

   5. CAR Day award in the amount of $5,849;

   6. Pre-judgment interest calculated to be $50,210; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Hughes will be entitled
to the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Hughes’s counterfactual monthly service history, as listed on Exhibit
          B to the Findings of Fact and Conclusions of Law for Sharyn Hughes; and

       c. Grant Ms. Hughes retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




                                                2
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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : SHARYN
THE BOARD OF EDUCATION OF THE CITY SCHOOL : HUGHES
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Sharyn Hughes:

    1. Class Membership. Ms. Hughes is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Hughes would have been appointed as
                a regularly appointed teacher in January 2004. The Special Master also finds, and
                the Court agrees, that Ms. Hughes is eligible to accrue backpay damages
                beginning September 2003.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Hughes would have worked as a
                regularly appointed teacher until August 1, 2014, Ms. Hughes accrues backpay
                damages until January 1, 2015, and Ms. Hughes’s backpay damages should be
                reduced by a probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Hughes’s monthly mitigation during each month of the damages period
                was as listed in the column entitled Monthly Mitigation on Exhibit A.


1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



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       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Hughes’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Hughes has satisfied her burden of establishing her entitlement to
   the following monetary relief:

       a. Backpay in the amount of $418,422;

       b. A tax-component award in the amount of $49,165;

       c. $90 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $1,897;

       e. CAR Day damages in the amount of $5,849; and

       f. Pre-judgment interest in the amount of $50,210.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Hughes has satisfied her burden of establishing her entitlement
   to the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Hughes’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Hughes should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Hughes (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —         1954

               ii.   Gender — Female

               iii. Address —                           Brooklyn, NY 11207

               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   January 20, 2004



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               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — January 1, 2008 through December
                     31, 2009

               ix. Termination of regularly appointed teacher service (if any) — August 1,
                   2014

               x.   Retirement date (if any) — July 18, 2016

DATED: November 23, 2021




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                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                Monthly
                            Monthly        Monthly                      Cumulative
 Month       Monthly                                   Damages with
                            Mitigation     Damages                       Damages
              Earnings                                   Attrition
 2003-09           $3,270         $1,208      $2,062          $2,062           $2,062
 2003-10           $3,270         $1,208      $2,062          $2,062           $4,125
 2003-11           $3,270         $1,208      $2,062          $2,062           $6,187
 2003-12           $3,335         $1,208      $2,128          $2,128           $8,314
 2004-01           $3,461         $1,208      $2,254          $2,254          $10,568
 2004-02           $3,461         $1,208      $2,254          $2,254          $12,822
 2004-03           $3,461         $1,208      $2,254          $2,254          $15,075
 2004-04           $3,461         $1,208      $2,254          $2,254          $17,329
 2004-05           $3,461         $1,208      $2,254          $2,254          $19,583
 2004-06           $3,461         $1,208      $2,254          $2,254          $21,836
 2004-07           $3,461         $1,208      $2,254          $2,254          $24,090
 2004-08           $3,461         $1,208      $2,254          $2,254          $26,344
 2004-09           $3,461         $1,208      $2,254          $2,254          $28,597
 2004-10           $3,461         $1,208      $2,254          $2,254          $30,851
 2004-11           $3,461         $1,208      $2,254          $2,254          $33,105
 2004-12           $3,582         $1,208      $2,375          $2,375          $35,480
 2005-01           $3,629         $1,237      $2,393          $2,393          $37,872
 2005-02           $3,696         $1,237      $2,459          $2,459          $40,332
 2005-03           $3,696         $1,237      $2,459          $2,459          $42,791
 2005-04           $3,696         $1,237      $2,459          $2,459          $45,250
 2005-05           $3,696         $1,237      $2,459          $2,459          $47,710
 2005-06           $3,696         $1,237      $2,459          $2,459          $50,169
 2005-07           $3,696         $1,237      $2,459          $2,459          $52,628
 2005-08           $4,117         $1,237      $2,880          $2,880          $55,509
 2005-09           $4,117         $1,237      $2,880          $2,880          $58,389
 2005-10           $4,117         $1,237      $2,880          $2,880          $61,270
 2005-11           $4,344         $1,237      $3,107          $3,107          $64,376
 2005-12           $4,344         $1,237      $3,107          $3,107          $67,483
 2006-01           $4,448         $1,301      $3,147          $3,137          $70,620
 2006-02           $4,692         $1,301      $3,391          $3,370          $73,990
 2006-03           $4,692         $1,301      $3,391          $3,360          $77,349
 2006-04           $4,692         $1,301      $3,391          $3,349          $80,699
 2006-05           $4,692         $1,301      $3,391          $3,339          $84,038
 2006-06           $4,692         $1,301      $3,391          $3,329          $87,367
 2006-07           $4,692         $1,301      $3,391          $3,319          $90,686
 2006-08           $4,692         $1,301      $3,391          $3,309          $93,995
 2006-09           $4,692         $1,301      $3,391          $3,299          $97,293
 2006-10           $4,845         $1,301      $3,544          $3,436         $100,730
 2006-11           $4,845         $1,301      $3,544          $3,426         $104,156
 2006-12           $4,845         $1,301      $3,544          $3,415         $107,571
 2007-01           $5,081         $1,453      $3,628          $3,486         $111,057
 2007-02           $5,081         $1,453      $3,628          $3,475         $114,532
 2007-03           $5,081         $1,453      $3,628          $3,464         $117,996


                                                                                Exhibit A to
                                                                S. Hughes's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                Monthly
                            Monthly        Monthly                      Cumulative
 Month       Monthly                                   Damages with
                            Mitigation     Damages                       Damages
              Earnings                                   Attrition
 2007-04           $5,081         $1,453      $3,628          $3,453         $121,449
 2007-05           $5,081         $1,453      $3,628          $3,442         $124,891
 2007-06           $5,081         $1,453      $3,628          $3,431         $128,322
 2007-07           $5,081         $1,453      $3,628          $3,420         $131,743
 2007-08           $5,081         $1,453      $3,628          $3,410         $135,152
 2007-09           $5,081         $1,453      $3,628          $3,399         $138,551
 2007-10           $5,182         $1,453      $3,730          $3,483         $142,033
 2007-11           $5,182         $1,453      $3,730          $3,471         $145,505
 2007-12           $5,468         $1,453      $4,016          $3,726         $149,230
 2008-01               $0             $0          $0              $0         $149,230
 2008-02               $0             $0          $0              $0         $149,230
 2008-03               $0             $0          $0              $0         $149,230
 2008-04               $0             $0          $0              $0         $149,230
 2008-05               $0             $0          $0              $0         $149,230
 2008-06               $0             $0          $0              $0         $149,230
 2008-07               $0             $0          $0              $0         $149,230
 2008-08               $0             $0          $0              $0         $149,230
 2008-09               $0             $0          $0              $0         $149,230
 2008-10               $0             $0          $0              $0         $149,230
 2008-11               $0             $0          $0              $0         $149,230
 2008-12               $0             $0          $0              $0         $149,230
 2009-01               $0             $0          $0              $0         $149,230
 2009-02               $0             $0          $0              $0         $149,230
 2009-03               $0             $0          $0              $0         $149,230
 2009-04               $0             $0          $0              $0         $149,230
 2009-05               $0             $0          $0              $0         $149,230
 2009-06               $0             $0          $0              $0         $149,230
 2009-07               $0             $0          $0              $0         $149,230
 2009-08               $0             $0          $0              $0         $149,230
 2009-09               $0             $0          $0              $0         $149,230
 2009-10               $0             $0          $0              $0         $149,230
 2009-11               $0             $0          $0              $0         $149,230
 2009-12               $0             $0          $0              $0         $149,230
 2010-01           $6,005         $1,556      $4,449          $4,013         $153,243
 2010-02           $6,005         $1,556      $4,449          $4,013         $157,256
 2010-03           $6,005         $1,556      $4,449          $4,013         $161,269
 2010-04           $6,005         $1,556      $4,449          $4,013         $165,282
 2010-05           $6,005         $1,556      $4,449          $4,013         $169,295
 2010-06           $6,005         $1,556      $4,449          $4,013         $173,307
 2010-07           $6,005         $1,556      $4,449          $3,714         $177,021
 2010-08           $6,005         $1,556      $4,449          $3,700         $180,722
 2010-09           $6,005         $1,556      $4,449          $3,687         $184,409
 2010-10           $6,005         $1,556      $4,449          $3,674         $188,083


                                                                                Exhibit A to
                                                                S. Hughes's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                Monthly
                            Monthly        Monthly                      Cumulative
 Month       Monthly                                   Damages with
                            Mitigation     Damages                       Damages
              Earnings                                   Attrition
 2010-11           $6,005         $1,556      $4,449          $3,660         $191,743
 2010-12           $6,005         $1,556      $4,449          $3,647         $195,390
 2011-01           $6,005         $1,458      $4,547          $3,714         $199,104
 2011-02           $6,262         $1,458      $4,804          $3,909         $203,013
 2011-03           $6,262         $1,458      $4,804          $3,895         $206,908
 2011-04           $6,262         $1,458      $4,804          $3,881         $210,789
 2011-05           $6,262         $1,458      $4,804          $3,866         $214,655
 2011-06           $6,262         $1,458      $4,804          $3,852         $218,507
 2011-07           $6,262         $1,458      $4,804          $3,837         $222,345
 2011-08           $6,262         $1,458      $4,804          $3,823         $226,168
 2011-09           $6,262         $1,458      $4,804          $3,809         $229,976
 2011-10           $6,262         $1,458      $4,804          $3,794         $233,771
 2011-11           $6,262         $1,458      $4,804          $3,780         $237,550
 2011-12           $6,262         $1,458      $4,804          $3,765         $241,316
 2012-01           $6,262         $1,458      $4,804          $4,804         $246,120
 2012-02           $6,262         $1,458      $4,804          $4,804         $250,924
 2012-03           $6,262         $1,458      $4,804          $4,804         $255,728
 2012-04           $6,262         $1,458      $4,804          $4,804         $260,532
 2012-05           $6,262         $1,458      $4,804          $4,804         $265,336
 2012-06           $6,262         $1,458      $4,804          $4,804         $270,141
 2012-07           $6,262         $1,458      $4,804          $4,804         $274,945
 2012-08           $6,262         $1,458      $4,804          $4,804         $279,749
 2012-09           $6,262         $1,458      $4,804          $4,804         $284,553
 2012-10           $6,262         $1,458      $4,804          $4,804         $289,357
 2012-11           $6,262         $1,458      $4,804          $4,804         $294,161
 2012-12           $6,262         $1,458      $4,804          $4,804         $298,965
 2013-01           $6,262         $1,476      $4,787          $4,787         $303,752
 2013-02           $6,262         $1,476      $4,787          $4,787         $308,538
 2013-03           $6,262         $1,476      $4,787          $4,787         $313,325
 2013-04           $6,262         $1,476      $4,787          $4,787         $318,112
 2013-05           $6,325         $1,476      $4,849          $4,849         $322,961
 2013-06           $6,325         $1,476      $4,849          $4,849         $327,810
 2013-07           $6,325         $1,476      $4,849          $4,849         $332,659
 2013-08           $6,325         $1,476      $4,849          $4,849         $337,509
 2013-09           $6,325         $1,476      $4,849          $4,849         $342,358
 2013-10           $6,325         $1,476      $4,849          $4,849         $347,207
 2013-11           $6,325         $1,476      $4,849          $4,849         $352,056
 2013-12           $6,325         $1,476      $4,849          $4,849         $356,906
 2014-01           $6,325         $1,488      $4,838          $4,838         $361,743
 2014-02           $6,502         $1,488      $5,014          $5,014         $366,758
 2014-03           $6,502         $1,488      $5,014          $5,014         $371,772
 2014-04           $6,502         $1,488      $5,014          $5,014         $376,787
 2014-05           $6,567         $1,488      $5,079          $5,079         $381,866


                                                                                Exhibit A to
                                                                S. Hughes's Findings of Fact
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                                    Exhibit A --
                             Monthly Backpay Damages

           Counterfactual                                Monthly
                            Monthly        Monthly                      Cumulative
 Month       Monthly                                   Damages with
                            Mitigation     Damages                       Damages
              Earnings                                   Attrition
 2014-06           $6,567         $1,488      $5,079          $6,079         $387,946
 2014-07           $6,567         $1,488      $5,079          $5,079         $393,025
 2014-08           $6,567         $1,488      $5,079          $5,079         $398,104
 2014-09           $6,567         $1,488      $5,079          $5,079         $403,184
 2014-10           $6,567         $1,488      $5,079          $5,079         $408,263
 2014-11           $6,567         $1,488      $5,079          $5,079         $413,343
 2014-12           $6,567         $1,488      $5,079          $5,079         $418,422




                                                                                Exhibit A to
                                                                S. Hughes's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2003-09     Regular Substitute Teacher                $39,237
          2003-10     Regular Substitute Teacher                $39,237
          2003-11     Regular Substitute Teacher                $39,237
          2003-12     Regular Substitute Teacher                $40,022
          2004-01     Regularly Appointed Teacher               $41,534
          2004-02     Regularly Appointed Teacher               $41,534
          2004-03     Regularly Appointed Teacher               $41,534
          2004-04     Regularly Appointed Teacher               $41,534
          2004-05     Regularly Appointed Teacher               $41,534
          2004-06     Regularly Appointed Teacher               $41,534
          2004-07     Regularly Appointed Teacher               $41,534
          2004-08     Regularly Appointed Teacher               $41,534
          2004-09     Regularly Appointed Teacher               $41,534
          2004-10     Regularly Appointed Teacher               $41,534
          2004-11     Regularly Appointed Teacher               $41,534
          2004-12     Regularly Appointed Teacher               $42,988
          2005-01     Regularly Appointed Teacher               $43,553
          2005-02     Regularly Appointed Teacher               $44,352
          2005-03     Regularly Appointed Teacher               $44,352
          2005-04     Regularly Appointed Teacher               $44,352
          2005-05     Regularly Appointed Teacher               $44,352
          2005-06     Regularly Appointed Teacher               $44,352
          2005-07     Regularly Appointed Teacher               $44,352
          2005-08     Regularly Appointed Teacher               $49,405
          2005-09     Regularly Appointed Teacher               $49,405
          2005-10     Regularly Appointed Teacher               $49,405
          2005-11     Regularly Appointed Teacher               $52,122
          2005-12     Regularly Appointed Teacher               $52,122
          2006-01     Regularly Appointed Teacher               $53,375
          2006-02     Regularly Appointed Teacher               $56,305
          2006-03     Regularly Appointed Teacher               $56,305
          2006-04     Regularly Appointed Teacher               $56,305
          2006-05     Regularly Appointed Teacher               $56,305
          2006-06     Regularly Appointed Teacher               $56,305
          2006-07     Regularly Appointed Teacher               $56,305
          2006-08     Regularly Appointed Teacher               $56,305
          2006-09     Regularly Appointed Teacher               $56,305
          2006-10     Regularly Appointed Teacher               $58,137
          2006-11     Regularly Appointed Teacher               $58,137
          2006-12     Regularly Appointed Teacher               $58,137
          2007-01     Regularly Appointed Teacher               $60,970
          2007-02     Regularly Appointed Teacher               $60,970
          2007-03     Regularly Appointed Teacher               $60,970

                                                                                    Exhibit B to
                                                                    S. Hughes's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2007-04     Regularly Appointed Teacher               $60,970
          2007-05     Regularly Appointed Teacher               $60,970
          2007-06     Regularly Appointed Teacher               $60,970
          2007-07     Regularly Appointed Teacher               $60,970
          2007-08     Regularly Appointed Teacher               $60,970
          2007-09     Regularly Appointed Teacher               $60,970
          2007-10     Regularly Appointed Teacher               $62,189
          2007-11     Regularly Appointed Teacher               $62,189
          2007-12     Regularly Appointed Teacher               $65,620
          2008-01     Regularly Appointed Teacher / LWOP        $65,900
          2008-02     Regularly Appointed Teacher / LWOP        $65,900
          2008-03     Regularly Appointed Teacher / LWOP        $65,900
          2008-04     Regularly Appointed Teacher / LWOP        $65,900
          2008-05     Regularly Appointed Teacher / LWOP        $70,195
          2008-06     Regularly Appointed Teacher / LWOP        $70,195
          2008-07     Regularly Appointed Teacher / LWOP        $70,195
          2008-08     Regularly Appointed Teacher / LWOP        $70,195
          2008-09     Regularly Appointed Teacher / LWOP        $70,195
          2008-10     Regularly Appointed Teacher / LWOP        $71,905
          2008-11     Regularly Appointed Teacher / LWOP        $71,905
          2008-12     Regularly Appointed Teacher / LWOP        $71,905
          2009-01     Regularly Appointed Teacher / LWOP        $71,905
          2009-02     Regularly Appointed Teacher / LWOP        $71,905
          2009-03     Regularly Appointed Teacher / LWOP        $71,905
          2009-04     Regularly Appointed Teacher / LWOP        $71,905
          2009-05     Regularly Appointed Teacher / LWOP        $71,905
          2009-06     Regularly Appointed Teacher / LWOP        $72,060
          2009-07     Regularly Appointed Teacher / LWOP        $72,060
          2009-08     Regularly Appointed Teacher / LWOP        $72,060
          2009-09     Regularly Appointed Teacher / LWOP        $72,060
          2009-10     Regularly Appointed Teacher / LWOP        $72,060
          2009-11     Regularly Appointed Teacher / LWOP        $72,060
          2009-12     Regularly Appointed Teacher / LWOP        $72,060
          2010-01     Regularly Appointed Teacher               $72,060
          2010-02     Regularly Appointed Teacher               $72,060
          2010-03     Regularly Appointed Teacher               $72,060
          2010-04     Regularly Appointed Teacher               $72,060
          2010-05     Regularly Appointed Teacher               $72,060
          2010-06     Regularly Appointed Teacher               $72,060
          2010-07     Regularly Appointed Teacher               $72,060
          2010-08     Regularly Appointed Teacher               $72,060
          2010-09     Regularly Appointed Teacher               $72,060
          2010-10     Regularly Appointed Teacher               $72,060

                                                                                    Exhibit B to
                                                                    S. Hughes's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2010-11     Regularly Appointed Teacher               $72,060
          2010-12     Regularly Appointed Teacher               $72,060
          2011-01     Regularly Appointed Teacher               $72,060
          2011-02     Regularly Appointed Teacher               $75,149
          2011-03     Regularly Appointed Teacher               $75,149
          2011-04     Regularly Appointed Teacher               $75,149
          2011-05     Regularly Appointed Teacher               $75,149
          2011-06     Regularly Appointed Teacher               $75,149
          2011-07     Regularly Appointed Teacher               $75,149
          2011-08     Regularly Appointed Teacher               $75,149
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149
          2012-06     Regularly Appointed Teacher               $75,149
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $75,149
          2013-01     Regularly Appointed Teacher               $75,149
          2013-02     Regularly Appointed Teacher               $75,149
          2013-03     Regularly Appointed Teacher               $75,149
          2013-04     Regularly Appointed Teacher               $75,149
          2013-05     Regularly Appointed Teacher               $75,901
          2013-06     Regularly Appointed Teacher               $75,901
          2013-07     Regularly Appointed Teacher               $75,901
          2013-08     Regularly Appointed Teacher               $75,901
          2013-09     Regularly Appointed Teacher               $75,901
          2013-10     Regularly Appointed Teacher               $75,901
          2013-11     Regularly Appointed Teacher               $75,901
          2013-12     Regularly Appointed Teacher               $75,901
          2014-01     Regularly Appointed Teacher               $75,901
          2014-02     Regularly Appointed Teacher               $78,024
          2014-03     Regularly Appointed Teacher               $78,024
          2014-04     Regularly Appointed Teacher               $78,024
          2014-05     Regularly Appointed Teacher               $78,804

                                                                                    Exhibit B to
                                                                    S. Hughes's Findings of Fact
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2014-06     Regularly Appointed Teacher               $78,804
          2014-07     Regularly Appointed Teacher               $78,804




                                                                                    Exhibit B to
                                                                    S. Hughes's Findings of Fact
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                   - against -                                         : [PROPOSED]
                                                                       : JUDGMENT
THE BOARD OF EDUCATION OF THE CITY SCHOOL : FOR
DISTRICT OF THE CITY OF NEW YORK,                                      : VIRGINIA
                                                                       : CRUZ
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- x

WHEREAS, the Court certified a remedy-phase class of Plaintiffs (See Gulino v. Bd. of Educ. of
the City Sch. Dist. of the City of N.Y., Opinion and Order, No. 96-cv-8414, [ECF No. 386]), and
Virginia Cruz (“Claimant”) is a member of that class;

WHEREAS, the Court appointed a Special Master (See May 20, 2014 Order of Appointment,
[ECF No. 435]; November 12, 2014 Second Amended Order of Appointment, [ECF No. 524]) to
hear, among other things, demands for damages;

WHEREAS, the Special Master held a hearing on September 17, 2020, with respect to Ms.
Cruz’s demand for damages and Defendant’s objections, [ECF No. 7219];

WHEREAS, the Special Master made, and the Court adopted, Classwide Conclusions of Law,
[ECF Nos. 999, 1008]);

WHEREAS, the Board of Education of the City School District of the City of New York
(“BOE”) and Plaintiffs entered into, and the Court so ordered, a Stipulation of Classwide Facts &
Procedures, [ECF No. 1009];

WHEREAS, the BOE and Plaintiffs entered into, and the Court so ordered, a Sixth Supplemental
Stipulation Concerning Admissibility of Exhibits, which attached a Sixth Supplemental Index of
Exhibits (collectively referred to as the “Classwide Exhibits”) filed with the Court, [ECF No.
8247];

WHEREAS, the Special Master made Findings of Fact and Conclusions of Law for Virginia
Cruz, which the Special Master recommends that the Court adopt;

WHEREAS, the Special Master recommended, and the parties agreed with the Special Master’s
recommendation, that the Court certify this judgment as final and appealable pursuant to Federal
Rule of Civil Procedure 54(b);


                                                   1
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IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the annexed Findings of Fact
and Conclusions of Law for Virginia Cruz (Exhibit 1) is adopted;

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Cruz will have judgment
against the BOE as follows:

   1. Backpay in the amount of $455,081;

   2. Tax-component award in the amount of $53,472;

   3. LAST Fees in the amount of $230;

   4. ASAF account award in the amount of $2,422;

   5. CAR Day award in the amount of $9,981;

   6. Pre-judgment interest calculated to be $51,554; and

   7. Pension-related relief pursuant to the terms of the Court’s Order dated December 17,
      2018 (Pension Stipulation & Order, [ECF No. 1014]).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Ms. Cruz will be entitled to
the following non-monetary relief:

   1. The BOE is ordered to amend its internal service, salary, payroll, and human resources
      systems as follows:

       a. Incorporate the “Pension Inputs” detailed in Paragraph 4 of Exhibit 1;

       b. Incorporate Ms. Cruz’s counterfactual monthly service history, as listed on Exhibit B
          to the Findings of Fact and Conclusions of Law for Virginia Cruz; and

       c. Grant Ms. Cruz retroactive seniority based on her counterfactual monthly service
          history, as described in Paragraph 4 of Exhibit 1.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Court adopts the Special
Master’s recommendation that this judgment be certified as final and appealable pursuant to
Federal Rule of Civil Procedure 54(b) and expressly determines that there is no just reason for
delay for the reasons stated in the Special Master’s Report and Recommendation.

This Judgment Entry is certified and entered by the Court pursuant to Rule 54(b) of the Federal
Rules of Civil Procedure.

Dated: ___________                             ENTERED:




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             Exhibit 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- x
ELSA GULINO, MAYLING RALPH, PETER WILDS, :
and NIA GREENE, on behalf of themselves and all others :
similarly situated,                                                    : 96 Civ. 8414 (KMW)
                                                                       :
                                    Plaintiffs,                        : FINDINGS OF FACT
                                                                       : AND CONCLUSIONS OF
                   - against -                                         : LAW FOR
                                                                       : VIRGINIA
THE BOARD OF EDUCATION OF THE CITY SCHOOL : CRUZ
DISTRICT OF THE CITY OF NEW YORK,                                      :
                                                                       :
                                    Defendant.                         :
---------------------------------------------------------------------- x

        The Special Master makes, and recommends that the Court adopt, the following findings
of fact and conclusions of law for Virginia Cruz:

    1. Class Membership. Ms. Cruz is a member of the Plaintiff class in this action, and is
       entitled to monetary and injunctive relief from Defendant, the Board of Education of the
       City School District of the City of New York (“BOE”), as compensation for the injuries
       she suffered as a result of what the Court found to be the BOE’s discrimination. 1

    2. Calculation of Backpay Damages.

             a. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Cruz would have been appointed as a
                regularly appointed teacher in November 2003. The Special Master also finds,
                and the Court agrees, that Ms. Cruz is eligible to accrue backpay damages
                beginning September 2003.

             b. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that absent the BOE’s discrimination, Ms. Cruz would have worked as a regularly
                appointed teacher until September 1, 2013, Ms. Cruz accrues backpay damages
                until June 30, 2019, and Ms. Cruz’s backpay damages should be reduced by a
                probability of pre-retirement attrition.

             c. Based on the evidence presented, the Special Master finds, and the Court agrees,
                that Ms. Cruz’s monthly mitigation during each month of the damages period was
                as listed in the column entitled Monthly Mitigation on Exhibit A. The Special
                Master finds, and the Court agrees, that Ms. Cruz’s backpay damages should be

1
 See Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
321]; Gulino v. Bd. of Educ. of the City Sch. Dist. of the City of N.Y., Opinion and Order, 1:96-cv-08414, [ECF No.
386].



                                                         1
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           decreased by $2,025 to account for the current value of employer contributions
           Ms. Cruz received in her retirement account during the damages period.

       d. Based on the evidence presented, the Special Master finds, and the Court agrees,
          that Ms. Cruz’s monthly backpay damages are as listed in the column entitled
          Monthly Damages with Attrition on Exhibit A.

3. Monetary Relief. Based on the evidence presented, the Special Master finds, and the
   Court agrees, that Ms. Cruz has satisfied her burden of establishing her entitlement to the
   following monetary relief:

       a. Backpay in the amount of $455,081;

       b. A tax-component award in the amount of $53,472;

       c. $230 to compensate her for the fees she paid to take the Liberal Arts and Sciences
          Test;

       d. Annuity Savings Accumulation Fund damages in the amount of $2,422;

       e. CAR Day damages in the amount of $9,981; and

       f. Pre-judgment interest in the amount of $51,554.

4. Non-Monetary Relief. Based on the evidence presented, the Special Master finds, and
   the Court agrees, that Ms. Cruz has satisfied her burden of establishing her entitlement to
   the following non-monetary relief:

       a. The BOE’s internal service, salary, payroll, and human resources systems should
          be amended to incorporate Ms. Cruz’s counterfactual monthly BOE service
          history, as listed in the column entitled Title on Exhibit B;

       b. Ms. Cruz should receive retroactive seniority, based on the counterfactual
          monthly BOE service listed in the column entitled Title on Exhibit B, with respect
          to salary-step advancement, longevity bonuses, accrual of years of service for
          pension, post-retirement health care benefits, accrual of CAR days, sabbatical
          leave rights, restoration of health leave rights, and hardship transfers;

       c. Pursuant to the procedures set forth in the Pension Stipulation & Order, [ECF No.
          1014], the following information regarding Ms. Cruz (the “Pension Inputs”)
          should be imported into the Teachers’ Retirement System of the City of New
          York (“TRS”):

               i.    Date of Birth —         1949

               ii.   Gender — Female

               iii. Address —                                 Brooklyn, NY 11226



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               iv. Counterfactual date of appointment as a regularly appointed teacher —
                   November 11, 2003

               v.   BOE Employment Title — As listed in column entitled Title on Exhibit B

               vi. Annual contractual salary — As listed in column entitled Counterfactual
                   Annual Salary on Exhibit B

               vii. Monthly contractual salary — As listed in column entitled Counterfactual
                    Monthly Earnings on Exhibit A

               viii. Dates of breaks in service (if any) — N/A

               ix. Termination of regularly appointed teacher service (if any) — September
                   1, 2013

               x.   Retirement date (if any) — September 1, 2013

DATED: November 23, 2021




                                            3
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 292 of 299
                                      Exhibit A --
                               Monthly Backpay Damages

                                                     Monthly
          Counterfactual
                           Monthly       Monthly     Damages      Cumulative    Adjusted
 Month      Monthly
                           Mitigation    Damages       with        Damages      Damages
             Earnings
                                                     Attrition
2003-09           $3,270        $2,182      $1,087       $1,087       $1,087         $1,087
2003-10           $3,270        $2,182      $1,087       $1,087       $2,175         $2,175
2003-11           $3,352        $2,182      $1,170       $1,170       $3,344         $3,344
2003-12           $3,419        $2,182      $1,237       $1,237       $4,581         $4,581
2004-01           $3,419         $852       $2,567       $2,567       $7,148         $7,148
2004-02           $3,419         $852       $2,567       $2,567       $9,715         $9,715
2004-03           $3,461         $852       $2,609       $2,609      $12,324        $12,324
2004-04           $3,461         $852       $2,609       $2,609      $14,934        $14,934
2004-05           $3,461         $852       $2,609       $2,609      $17,543        $17,543
2004-06           $3,461         $852       $2,609       $2,609      $20,152        $20,152
2004-07           $3,461         $852       $2,609       $2,609      $22,761        $22,761
2004-08           $3,461         $852       $2,609       $2,604      $25,365        $25,365
2004-09           $3,461        $1,208      $2,254       $2,249      $27,614        $27,614
2004-10           $3,461        $1,208      $2,254       $2,249      $29,863        $29,863
2004-11           $3,461        $1,208      $2,254       $2,249      $32,113        $32,113
2004-12           $3,582        $1,208      $2,375       $2,370      $34,483        $34,483
2005-01           $3,582        $1,248      $2,334       $2,329      $36,812        $36,812
2005-02           $3,582        $1,248      $2,334       $2,329      $39,142        $39,142
2005-03           $3,629        $1,248      $2,381       $2,376      $41,518        $41,518
2005-04           $3,629        $1,248      $2,381       $2,376      $43,894        $43,894
2005-05           $3,629        $1,248      $2,381       $2,376      $46,271        $46,271
2005-06           $4,051        $1,248      $2,802       $2,797      $49,067        $49,067
2005-07           $4,051        $1,248      $2,802       $2,565      $51,632        $51,632
2005-08           $4,051        $1,248      $2,802       $2,555      $54,188        $54,188
2005-09           $4,051        $1,248      $2,802       $2,545      $56,733        $56,733
2005-10           $4,051        $1,248      $2,802       $2,536      $59,269        $59,269
2005-11           $4,273        $1,248      $3,025       $2,727      $61,996        $61,996
2005-12           $4,344        $1,248      $3,095       $2,781      $64,777        $64,777
2006-01           $4,344        $1,310      $3,034       $2,716      $67,493        $67,493
2006-02           $4,344        $1,310      $3,034       $2,706      $70,199        $70,199
2006-03           $4,448        $1,310      $3,138       $2,790      $72,989        $72,989
2006-04           $4,448        $1,310      $3,138       $2,780      $75,769        $75,769
2006-05           $4,448        $1,310      $3,138       $2,770      $78,539        $78,539
2006-06           $4,448        $1,310      $3,138       $2,760      $81,299        $81,299
2006-07           $4,448        $1,310      $3,138       $2,750      $84,049        $84,049
2006-08           $4,448        $1,310      $3,138       $2,740      $86,789        $86,789
2006-09           $4,448        $1,310      $3,138       $2,731      $89,520        $89,520
2006-10           $4,593        $1,310      $3,283       $2,846      $92,366        $92,366
2006-11           $4,593        $1,310      $3,283       $2,836      $95,202        $95,202




                                                                                     Exhibit A to
                                                                       V. Cruz's Findings of Fact
Case 1:96-cv-08414-KMW Document 9377-2 Filed 11/26/21 Page 293 of 299
                                      Exhibit A --
                               Monthly Backpay Damages

                                                     Monthly
          Counterfactual
                           Monthly       Monthly     Damages      Cumulative    Adjusted
 Month      Monthly
                           Mitigation    Damages       with        Damages      Damages
             Earnings
                                                     Attrition
2006-12           $4,845        $1,310      $3,535       $3,043      $98,244        $98,244
2007-01           $4,845        $1,453      $3,392       $2,909     $101,153       $101,153
2007-02           $4,845        $1,453      $3,392       $2,899     $104,052       $104,052
2007-03           $5,081        $1,453      $3,628       $3,089     $107,141       $107,141
2007-04           $5,081        $1,453      $3,628       $3,077     $110,218       $110,218
2007-05           $5,081        $1,453      $3,628       $3,066     $113,284       $113,284
2007-06           $5,081        $1,453      $3,628       $3,055     $116,339       $116,339
2007-07           $5,081        $1,453      $3,628       $3,043     $119,382       $119,382
2007-08           $5,081        $1,453      $3,628       $3,032     $122,414       $122,414
2007-09           $5,081        $1,453      $3,628       $3,020     $125,435       $125,435
2007-10           $5,182        $1,453      $3,730       $3,093     $128,528       $128,528
2007-11           $5,206        $1,453      $3,753       $3,101     $131,629       $131,629
2007-12           $5,492        $1,453      $4,039       $3,324     $134,953       $134,953
2008-01           $5,492        $1,555      $3,937       $3,228     $138,181       $138,181
2008-02           $5,492        $1,555      $3,937       $3,216     $141,397       $141,397
2008-03           $5,492        $1,555      $3,937       $3,203     $144,600       $144,600
2008-04           $5,492        $1,555      $3,937       $3,191     $147,791       $147,791
2008-05           $5,850        $1,555      $4,295       $3,467     $151,258       $151,258
2008-06           $5,850        $1,555      $4,295       $3,454     $154,712       $154,712
2008-07           $5,850        $1,555      $4,295       $3,440     $158,153       $158,153
2008-08           $5,992        $1,555      $4,437       $3,541     $161,694       $161,694
2008-09           $5,992        $1,555      $4,437       $3,527     $165,220       $165,220
2008-10           $5,992        $1,555      $4,437       $3,513     $168,733       $168,733
2008-11           $5,992        $1,555      $4,437       $3,499     $172,232       $172,232
2008-12           $5,992        $1,555      $4,437       $3,485     $175,717       $175,717
2009-01           $5,992        $1,756      $4,236       $3,313     $179,030       $179,030
2009-02           $5,992        $1,756      $4,236       $3,300     $182,330       $182,330
2009-03           $5,992        $1,756      $4,236       $3,287     $185,617       $185,617
2009-04           $6,005        $1,756      $4,249       $3,283     $188,900       $188,900
2009-05           $6,005        $1,756      $4,249       $3,270     $192,170       $192,170
2009-06           $6,005        $1,756      $4,249       $3,257     $195,426       $195,426
2009-07           $6,005        $1,756      $4,249       $3,243     $198,670       $198,670
2009-08           $6,005        $1,756      $4,249       $3,230     $201,900       $201,900
2009-09           $6,005        $1,756      $4,249       $3,217     $205,116       $205,116
2009-10           $6,005        $1,756      $4,249       $3,203     $208,320       $208,320
2009-11           $6,005        $1,756      $4,249       $3,190     $211,509       $211,509
2009-12           $6,262        $1,756      $4,506       $3,369     $214,878       $214,878
2010-01           $6,262        $1,555      $4,708       $3,505     $218,383       $218,383
2010-02           $6,262        $1,555      $4,708       $3,490     $221,873       $221,873
2010-03           $6,262        $1,555      $4,708       $3,475     $225,348       $225,348
2010-04           $6,262        $1,555      $4,708       $3,460     $228,809       $228,809
2010-05           $6,262        $1,555      $4,708       $3,446     $232,255       $232,255
2010-06           $6,262        $1,555      $4,708       $3,431     $235,685       $235,685

                                                                                     Exhibit A to
                                                                       V. Cruz's Findings of Fact
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                     Monthly
          Counterfactual
                           Monthly       Monthly     Damages      Cumulative    Adjusted
 Month      Monthly
                           Mitigation    Damages       with        Damages      Damages
             Earnings
                                                     Attrition
2010-07           $6,262        $1,555      $4,708       $3,417     $239,102       $239,102
2010-08           $6,262        $1,555      $4,708       $3,403     $242,505       $242,505
2010-09           $6,262        $1,555      $4,708       $3,389     $245,894       $245,894
2010-10           $6,262        $1,555      $4,708       $3,375     $249,269       $249,269
2010-11           $6,262        $1,555      $4,708       $3,361     $252,630       $252,630
2010-12           $6,262        $1,555      $4,708       $3,347     $255,976       $255,976
2011-01           $6,262        $1,458      $4,804       $3,401     $259,378       $259,378
2011-02           $6,262        $1,458      $4,804       $3,387     $262,765       $262,765
2011-03           $6,262        $1,458      $4,804       $3,373     $266,138       $266,138
2011-04           $6,262        $1,458      $4,804       $3,359     $269,496       $269,496
2011-05           $6,262        $1,458      $4,804       $3,345     $272,841       $272,841
2011-06           $6,262        $1,458      $4,804       $3,331     $276,172       $276,172
2011-07           $6,262        $1,458      $4,804       $3,316     $279,488       $279,488
2011-08           $6,262        $1,458      $4,804       $3,254     $282,742       $282,742
2011-09           $6,262        $1,458      $4,804       $3,254     $285,995       $285,995
2011-10           $6,262        $1,458      $4,804       $3,254     $289,249       $289,249
2011-11           $6,262        $1,458      $4,804       $3,254     $292,503       $292,503
2011-12           $6,262        $1,458      $4,804       $3,246     $295,748       $295,748
2012-01           $6,262        $1,977      $4,285       $2,883     $298,631       $298,631
2012-02           $6,262        $1,977      $4,285       $2,870     $301,501       $301,501
2012-03           $6,262        $1,977      $4,285       $2,858     $304,359       $304,359
2012-04           $6,262        $1,977      $4,285       $2,845     $307,204       $307,204
2012-05           $6,262        $1,977      $4,285       $2,833     $310,036       $310,036
2012-06           $6,262        $1,977      $4,285       $2,820     $312,856       $312,856
2012-07           $6,262        $1,977      $4,285       $2,808     $315,664       $315,664
2012-08           $6,262        $1,977      $4,285       $2,572     $318,236       $318,236
2012-09           $6,262        $1,977      $4,285       $2,572     $320,807       $320,807
2012-10           $6,262        $1,977      $4,285       $2,572     $323,379       $323,379
2012-11           $6,262        $1,977      $4,285       $2,572     $325,951       $325,951
2012-12           $6,438        $1,977      $4,460       $2,677     $328,628       $328,628
2013-01           $6,438        $2,180      $4,258       $2,555     $331,183       $331,183
2013-02           $6,438        $2,180      $4,258       $2,555     $333,738       $333,738
2013-03           $6,438        $2,180      $4,258       $2,555     $336,294       $336,294
2013-04           $6,438        $2,180      $4,258       $2,555     $338,849       $338,849
2013-05           $6,502        $2,180      $4,322       $2,594     $341,443       $341,443
2013-06           $6,502        $2,180      $4,322       $2,594     $344,037       $344,037
2013-07           $6,502        $2,180      $4,322       $2,594     $346,631       $346,631
2013-08           $6,502        $2,180      $4,322       $2,259     $348,890       $348,890
2013-09           $6,502        $2,180      $4,322       $2,259     $351,149       $351,149
2013-10           $6,502        $2,180      $4,322       $2,259     $353,408       $353,408
2013-11           $6,502        $2,180      $4,322       $2,259     $355,667       $355,667
2013-12           $6,502        $2,180      $4,322       $2,259     $357,926       $357,926
2014-01           $6,502        $1,695      $4,807       $2,512     $360,438       $360,438

                                                                                     Exhibit A to
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                     Monthly
          Counterfactual
                           Monthly       Monthly     Damages      Cumulative    Adjusted
 Month      Monthly
                           Mitigation    Damages       with        Damages      Damages
             Earnings
                                                     Attrition
2014-02           $6,502        $1,695      $4,807       $2,512     $362,950       $362,950
2014-03           $6,502        $1,695      $4,807       $2,512     $365,462       $365,462
2014-04           $6,502        $1,695      $4,807       $2,512     $367,974       $367,974
2014-05           $6,567        $1,695      $4,872       $2,546     $370,520       $370,520
2014-06           $6,567        $1,695      $5,872       $3,069     $373,589       $373,589
2014-07           $6,567        $1,695      $4,872       $2,546     $376,135       $376,135
2014-08           $6,567        $1,695      $4,872       $2,180     $378,315       $378,315
2014-09           $6,567        $1,695      $4,872       $2,180     $380,496       $380,496
2014-10           $6,567        $1,695      $4,872       $2,180     $382,676       $382,676
2014-11           $6,567        $1,695      $4,872       $2,180     $384,856       $384,856
2014-12           $6,944        $1,695      $5,249       $2,349     $387,205       $387,205
2015-01           $6,944        $2,702      $4,243       $1,899     $389,104       $389,104
2015-02           $6,944        $2,702      $4,243       $1,899     $391,003       $391,003
2015-03           $6,944        $2,702      $4,243       $1,899     $392,902       $392,902
2015-04           $6,944        $2,702      $4,243       $1,899     $394,800       $394,800
2015-05           $7,154        $2,702      $4,452       $1,993     $396,793       $396,793
2015-06           $7,154        $2,702      $4,452       $1,993     $398,786       $398,786
2015-07           $7,154        $2,702      $4,452       $1,993     $400,778       $400,778
2015-08           $7,154        $2,702      $4,452       $1,680     $402,458       $402,458
2015-09           $7,154        $2,702      $4,452       $1,680     $404,137       $404,137
2015-10           $7,154        $2,702      $4,452       $1,680     $405,817       $405,817
2015-11           $7,154        $2,702      $4,452       $1,680     $407,496       $407,496
2015-12           $7,154        $2,702      $4,452       $1,680     $409,176       $409,176
2016-01           $7,154        $3,210      $3,944       $1,488     $410,664       $410,664
2016-02           $7,154        $3,210      $3,944       $1,488     $412,152       $412,152
2016-03           $7,154        $3,210      $3,944       $1,488     $413,639       $413,639
2016-04           $7,154        $3,210      $3,944       $1,488     $415,127       $415,127
2016-05           $7,404        $3,210      $4,194       $1,582     $416,709       $416,709
2016-06           $7,404        $3,210      $4,194       $1,582     $418,291       $418,291
2016-07           $7,404        $3,210      $4,194       $1,582     $419,873       $419,873
2016-08           $7,404        $3,210      $4,194       $1,314     $421,187       $421,187
2016-09           $7,404        $3,210      $4,194       $1,314     $422,501       $422,501
2016-10           $7,404        $3,210      $4,194       $1,165     $423,666       $423,666
2016-11           $7,404        $3,210      $4,194       $1,165     $424,831       $424,831
2016-12           $7,404        $3,210      $4,194       $1,163     $425,994       $425,994
2017-01           $7,404        $4,026      $3,378        $937      $426,931       $426,931
2017-02           $7,404        $4,026      $3,378        $937      $427,868       $427,868
2017-03           $7,404        $4,026      $3,378        $937      $428,804       $428,804
2017-04           $7,404        $4,026      $3,378        $861      $429,665       $429,665
2017-05           $7,741        $4,026      $3,715        $947      $430,612       $430,612
2017-06           $7,741        $4,026      $3,715        $947      $431,559       $431,559
2017-07           $7,741        $4,026      $3,715        $947      $432,506       $432,506
2017-08           $7,741        $4,026      $3,715        $947      $433,452       $433,452

                                                                                     Exhibit A to
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                                      Exhibit A --
                               Monthly Backpay Damages

                                                     Monthly
          Counterfactual
                           Monthly       Monthly     Damages      Cumulative    Adjusted
 Month      Monthly
                           Mitigation    Damages       with        Damages      Damages
             Earnings
                                                     Attrition
2017-09           $7,741        $4,026      $3,715        $876      $434,328       $434,328
2017-10           $7,741        $4,026      $3,715        $876      $435,204       $435,204
2017-11           $7,741        $4,026      $3,715        $876      $436,080       $436,080
2017-12           $7,851        $4,026      $3,825        $902      $436,983       $436,983
2018-01           $7,851        $2,406      $5,445       $1,284     $438,267       $438,267
2018-02           $7,851        $2,406      $5,445       $1,223     $439,489       $439,489
2018-03           $7,851        $2,406      $5,445       $1,181     $440,671       $440,671
2018-04           $7,851        $2,406      $5,445       $1,140     $441,810       $441,810
2018-05           $8,005        $2,406      $5,599       $1,172     $442,983       $442,983
2018-06           $8,245        $2,406      $5,839       $1,178     $444,161       $444,161
2018-07           $8,245        $2,406      $5,839       $1,156     $445,318       $445,318
2018-08           $8,245        $2,406      $5,839       $1,135     $446,452       $446,452
2018-09           $8,245        $2,406      $5,839       $1,113     $447,565       $447,565
2018-10           $8,245        $2,406      $5,839       $1,113     $448,677       $448,677
2018-11           $8,245        $2,406      $5,839       $1,113     $449,790       $449,790
2018-12           $8,245        $2,406      $5,839       $1,113     $450,903       $450,903
2019-01           $8,245        $2,406      $5,839       $1,072     $451,975       $451,975
2019-02           $8,410        $2,406      $6,004       $1,080     $453,055       $453,055
2019-03           $8,410        $2,406      $6,004       $1,058     $454,114       $454,114
2019-04           $8,410        $2,406      $6,004       $1,036     $455,150       $455,150
2019-05           $8,410        $2,406      $6,004       $1,014     $456,164       $456,164
2019-06           $8,410        $2,406      $6,004        $943      $457,106       $455,081




                                                                                     Exhibit A to
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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2003-09     Regular Substitute Teacher                $39,237
          2003-10     Regular Substitute Teacher                $39,237
          2003-11     Regularly Appointed Teacher               $40,225
          2003-12     Regularly Appointed Teacher               $41,030
          2004-01     Regularly Appointed Teacher               $41,030
          2004-02     Regularly Appointed Teacher               $41,030
          2004-03     Regularly Appointed Teacher               $41,534
          2004-04     Regularly Appointed Teacher               $41,534
          2004-05     Regularly Appointed Teacher               $41,534
          2004-06     Regularly Appointed Teacher               $41,534
          2004-07     Regularly Appointed Teacher               $41,534
          2004-08     Regularly Appointed Teacher               $41,534
          2004-09     Regularly Appointed Teacher               $41,534
          2004-10     Regularly Appointed Teacher               $41,534
          2004-11     Regularly Appointed Teacher               $41,534
          2004-12     Regularly Appointed Teacher               $42,988
          2005-01     Regularly Appointed Teacher               $42,988
          2005-02     Regularly Appointed Teacher               $42,988
          2005-03     Regularly Appointed Teacher               $43,553
          2005-04     Regularly Appointed Teacher               $43,553
          2005-05     Regularly Appointed Teacher               $43,553
          2005-06     Regularly Appointed Teacher               $48,606
          2005-07     Regularly Appointed Teacher               $48,606
          2005-08     Regularly Appointed Teacher               $48,606
          2005-09     Regularly Appointed Teacher               $48,606
          2005-10     Regularly Appointed Teacher               $48,606
          2005-11     Regularly Appointed Teacher               $51,279
          2005-12     Regularly Appointed Teacher               $52,122
          2006-01     Regularly Appointed Teacher               $52,122
          2006-02     Regularly Appointed Teacher               $52,122
          2006-03     Regularly Appointed Teacher               $53,375
          2006-04     Regularly Appointed Teacher               $53,375
          2006-05     Regularly Appointed Teacher               $53,375
          2006-06     Regularly Appointed Teacher               $53,375
          2006-07     Regularly Appointed Teacher               $53,375
          2006-08     Regularly Appointed Teacher               $53,375
          2006-09     Regularly Appointed Teacher               $53,375
          2006-10     Regularly Appointed Teacher               $55,110
          2006-11     Regularly Appointed Teacher               $55,110




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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2006-12     Regularly Appointed Teacher               $58,137
          2007-01     Regularly Appointed Teacher               $58,137
          2007-02     Regularly Appointed Teacher               $58,137
          2007-03     Regularly Appointed Teacher               $60,970
          2007-04     Regularly Appointed Teacher               $60,970
          2007-05     Regularly Appointed Teacher               $60,970
          2007-06     Regularly Appointed Teacher               $60,970
          2007-07     Regularly Appointed Teacher               $60,970
          2007-08     Regularly Appointed Teacher               $60,970
          2007-09     Regularly Appointed Teacher               $60,970
          2007-10     Regularly Appointed Teacher               $62,189
          2007-11     Regularly Appointed Teacher               $62,469
          2007-12     Regularly Appointed Teacher               $65,900
          2008-01     Regularly Appointed Teacher               $65,900
          2008-02     Regularly Appointed Teacher               $65,900
          2008-03     Regularly Appointed Teacher               $65,900
          2008-04     Regularly Appointed Teacher               $65,900
          2008-05     Regularly Appointed Teacher               $70,195
          2008-06     Regularly Appointed Teacher               $70,195
          2008-07     Regularly Appointed Teacher               $70,195
          2008-08     Regularly Appointed Teacher               $71,905
          2008-09     Regularly Appointed Teacher               $71,905
          2008-10     Regularly Appointed Teacher               $71,905
          2008-11     Regularly Appointed Teacher               $71,905
          2008-12     Regularly Appointed Teacher               $71,905
          2009-01     Regularly Appointed Teacher               $71,905
          2009-02     Regularly Appointed Teacher               $71,905
          2009-03     Regularly Appointed Teacher               $71,905
          2009-04     Regularly Appointed Teacher               $72,060
          2009-05     Regularly Appointed Teacher               $72,060
          2009-06     Regularly Appointed Teacher               $72,060
          2009-07     Regularly Appointed Teacher               $72,060
          2009-08     Regularly Appointed Teacher               $72,060
          2009-09     Regularly Appointed Teacher               $72,060
          2009-10     Regularly Appointed Teacher               $72,060
          2009-11     Regularly Appointed Teacher               $72,060
          2009-12     Regularly Appointed Teacher               $75,149
          2010-01     Regularly Appointed Teacher               $75,149
          2010-02     Regularly Appointed Teacher               $75,149
          2010-03     Regularly Appointed Teacher               $75,149
          2010-04     Regularly Appointed Teacher               $75,149
          2010-05     Regularly Appointed Teacher               $75,149
          2010-06     Regularly Appointed Teacher               $75,149

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                                    Exhibit B --
                    Counterfactual BOE Service and Salary History

           Month                       Title                  Annual Salary
          2010-07     Regularly Appointed Teacher               $75,149
          2010-08     Regularly Appointed Teacher               $75,149
          2010-09     Regularly Appointed Teacher               $75,149
          2010-10     Regularly Appointed Teacher               $75,149
          2010-11     Regularly Appointed Teacher               $75,149
          2010-12     Regularly Appointed Teacher               $75,149
          2011-01     Regularly Appointed Teacher               $75,149
          2011-02     Regularly Appointed Teacher               $75,149
          2011-03     Regularly Appointed Teacher               $75,149
          2011-04     Regularly Appointed Teacher               $75,149
          2011-05     Regularly Appointed Teacher               $75,149
          2011-06     Regularly Appointed Teacher               $75,149
          2011-07     Regularly Appointed Teacher               $75,149
          2011-08     Regularly Appointed Teacher               $75,149
          2011-09     Regularly Appointed Teacher               $75,149
          2011-10     Regularly Appointed Teacher               $75,149
          2011-11     Regularly Appointed Teacher               $75,149
          2011-12     Regularly Appointed Teacher               $75,149
          2012-01     Regularly Appointed Teacher               $75,149
          2012-02     Regularly Appointed Teacher               $75,149
          2012-03     Regularly Appointed Teacher               $75,149
          2012-04     Regularly Appointed Teacher               $75,149
          2012-05     Regularly Appointed Teacher               $75,149
          2012-06     Regularly Appointed Teacher               $75,149
          2012-07     Regularly Appointed Teacher               $75,149
          2012-08     Regularly Appointed Teacher               $75,149
          2012-09     Regularly Appointed Teacher               $75,149
          2012-10     Regularly Appointed Teacher               $75,149
          2012-11     Regularly Appointed Teacher               $75,149
          2012-12     Regularly Appointed Teacher               $77,251
          2013-01     Regularly Appointed Teacher               $77,251
          2013-02     Regularly Appointed Teacher               $77,251
          2013-03     Regularly Appointed Teacher               $77,251
          2013-04     Regularly Appointed Teacher               $77,251
          2013-05     Regularly Appointed Teacher               $78,024
          2013-06     Regularly Appointed Teacher               $78,024
          2013-07     Regularly Appointed Teacher               $78,024
          2013-08     Regularly Appointed Teacher               $78,024




                                                                                   Exhibit B to
                                                                     V. Cruz's Findings of Fact
